      Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 1 of 199. PageID #: 460




                      UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF OHIO
                             EASTERN DIVISION

 ANGELA L. RUCKMAN,                                 :     Case No.: 5:21-cv-00923-JRA
                                                    :
                       Plaintiff,                   :     Judge Bridget Meehan Brennan
                                                    :
 v.                                                 :
                                                    :
 PHH MORTGAGE CORPORATION d/b/a                     :     NOTICE OF FILING OF
 PHH MORTGAGE SERVICING, et al.,                    :     DEPOSITION TRANSCRIPT
                                                    :
                       Defendants.
                                                    :


        Defendant PHH Mortgage Corporation (“PHH”), by and through undersigned counsel,

hereby gives Notice of Filing of the attached deposition transcript of Plaintiff Angela L. Ruckman,

held on January 4, 2022.



                                                        Respectfully Submitted,

Dated: February 25, 2022                                /s/ Sarah A. Wilson
                                                        Sarah A. Wilson
                                                        John R. Wirthlin
                                                        BLANK ROME, LLP
                                                        1700 PNC Center
                                                        201 East Fifth Street
                                                        Cincinnati, Ohio 45202
                                                        Tel: (513) 362-8748
                                                        Fax: (513) 362-8777
                                                        Email: sarah.wilson@blankrome.com
                                                                john.wirthlin@blankrome.com
                                                        Counsel for Defendant PHH Mortgage
                                                        Corporation
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                               CERTIFICATE OF SERVICE

       I certify that an exact copy of the foregoing document was electronically filed and served

via the ECF system on February 25, 2022.


                                                   /s/ Sarah A. Wilson
                                                   Sarah A. Wilson
     Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 3 of 199. PageID #: 462



                                                                       Page 1

 1                         UNITED STATES DISTRICT COURT
 2                       FOR THE NORTHERN DISTRICT OF OHIO
 3                               EASTERN DIVISION
 4      ________________________________
 5      ANGELA L. RUCKMAN,
 6                      Plaintiff,
 7             v.                                               Case No.
 8      PHH MORTGAGE CORPORATION D/B/A                          5:21-cv-00923-
 9      PHH MORTGAGE SERVICING, ET AL.,                         JRA
10                      Defendants.
11      ________________________________
12                         VIDEOCONFERENCE DEPOSITION OF
13                                ANGELA RUCKMAN
14      DATE:                Tuesday, January 4, 2022
15      TIME:                10:14 a.m.
16      LOCATION:            Remote Proceeding
17                           116 Park Avenue West
18                           Mansfield, OH 44902
19      REPORTED BY:         Michael R. Rennillo, Notary Public
20      JOB NO.:             5011406
21
22
23
24
25

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Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 4 of 199. PageID #: 463


                                                           Page 2                                                                  Page 4
 1          APPEARANCES                                              1            PROCEEDINGS
 2 ON BEHALF OF PLAINTIFF ANGELA L. RUCKMAN:                         2           THE REPORTER: Good morning. My name
 3   MARC DANN, ESQUIRE                                              3 is Michael Rennillo; I am the reporter assigned by
 4   DAN SOLAR, ESQUIRE (by videoconference)                         4 Veritext to take the record of this proceeding. We
 5   Dann Law Firm                                                   5 are now on the record at 10:14 a.m.
 6   15000 Madison Avenue                                            6           This is the deposition of Angela
 7   Cleveland, OH 44107                                             7 Ruckman taken in the matter of Angela L. Ruckman vs.
 8   mdann@dannlaw.com                                               8 PHH MORTGAGE CORPORATION on January 4, 2022, at
 9                                                                   9 Holiday Inn Suites, 116 Park Avenue West, Mansfield,
10 ON BEHALF OF DEFENDANT PHH MORTGAGE CORPORATION D/B/A 10 Ohio 44902.
11 PHH MORTGAGE SERVICING:                                          11           I am a notary authorized to take
12   SARAH A. WILSON, ESQUIRE (by videoconference)                  12 acknowledgements and administer oaths in Ohio.
13   JOHN WIRTHLIN, ESQUIRE (by videoconference)                    13           Additionally, absent an objection on
14   Blank Rome, LLP                                                14 the record before the witness is sworn, all parties
15   1700 PNC Center, 201 East Fifth Street                         15 and the witness understand and agree that any
16   Cincinnati, OH 45202                                           16 certified transcript produced from the recording of
17   sarah.wilson@blankrome.com                                     17 this proceeding:
18                                                                  18           - is intended for all uses permitted
19 ON BEHALF OF DEFENDANT CLUNK HOOSE CO., LPA:                     19           under applicable procedural and
20   ASHLEY MUELLER, ESQUIRE (by videoconference)                   20           evidentiary rules and laws in the same
21   Clunk Paisley Hoose Company                                    21           manner as a deposition recorded by
22   4500 Courthouse Boulevard                                      22           stenographic means; and
23   Stow, OH 44224                                                 23           - shall constitute written stipulation
24   amueller@clunkhoose.com                                        24           of such.
25                                                                  25           At this time will everyone in

                                                           Page 3                                                                  Page 5
 1              INDEX                                                1   attendance and appearing remotely please identify
 2   EXAMINATION:                                       PAGE         2   yourself for the record, beginning with the witness.
 3     By Ms. Wilson                               5                 3              MS. RUCKMAN: Angela Ruckman.
 4     By Ms. Mueller                              54                4              MS. WILSON: Sarah Wilson for PHH.
 5                                                                   5              MS. MUELLER: Ashley Mueller for Clunk
 6               EXHIBITS                                            6   Hoose.
 7   NO.        DESCRIPTION                    PAGE                  7              MR. WIRTHLIN: Excuse me. John
 8   Exhibit 1   Deposition Notice            N/A                    8   Wirthlin, also for PHH.
 9   Exhibit 2   Complaint for Damages            8                  9              MR. SOLAR: Dan Solar for Angela
10   Exhibit 3   Mortgage                  10                       10   Ruckman.
11   Exhibit 4   Approval for Permanent                             11              THE REPORTER: Mr. Dann?
12             Modification             15                          12              MR. DANN: Marc Dann for the plaintiff.
13   Exhibit 5   Email, 12/07/20             16                     13              THE REPORTER: Thank you. Hearing no
14   Exhibit 6   Emails, 01/07/21 - 01/12/21      22                14   objection, I will now swear in the witness. Ms.
15   Exhibit 7   Loan Modification Agreement        26              15   Ruckman, would you please raise your right hand for
16   Exhibit 8   Decision on Request for                            16   me? Thank you very much.
17             Mortgage Assistance          28                      17   WHEREUPON,
18   Exhibit 9   Kroger Receipt              31                     18                  ANGELA RUCKMAN,
19   Exhibit 10 Account Error Report             34                 19   called as a witness, and having been first duly sworn
20   Exhibit 11 Email, 03/08/21               35                    20   to tell the truth, the whole truth and nothing but the
21   Exhibit 12 Discovery Responses              42                 21   truth, was examined and testified as follows:
22   Exhibit 13 Affidavit                 43                        22              THE REPORTER: Thank you very much.
23   Exhibit 14 Interrogatory Responses           N/A               23                   EXAMINATION
24                                                                  24   BY MS. WILSON:
25                (Exhibits attached.)                              25       Q Good morning, Ms. Ruckman. Again, my name

                                                                                                                          2 (Pages 2 - 5)
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Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 5 of 199. PageID #: 464


                                                         Page 6                                                       Page 8
 1   is Sarah Wilson. We spoke a couple weeks ago. We 1                           MS. WILSON: Okay. Well, then we'll go
 2   started a deposition and now we're going to,          2           to what's labeled Exhibit 2, the Federal Complaint
 3   hopefully, conclude it today.                         3           because we did not get through that at the last
 4          I just want to reiterate the ground rules to   4           deposition or it was not clear for the record.
 5   make sure we're on the same page. Please let me       5                      (Exhibit 2 was marked for
 6   finish speaking before you answer and we need verbal 6                       identification.)
 7   responses. Do you understand those rules?             7                      MS. WILSON: I will share my screen if
 8       A Yes.                                            8           that's what is necessary. Should we go off the record
 9       Q Are you physically able to testify today?       9           for a second?
10       A Yes.                                           10                      THE REPORTER: Please standby. Going
11       Q Are you mentally able to testify today?        11           off the record at 10:18.
12       A Yes.                                           12                      (Off the record.)
13       Q Are you under the influence of any drugs or 13                         THE REPORTER: We are back on the
14   alcohol?                                             14           record at 10:19 a.m.
15       A No.                                            15           BY MS. WILSON:
16       Q Is there any reason today that would prevent 16                Q Ms. Ruckman, I am sharing my screen right
17   you from testifying?                                 17           now, which is Exhibit 2. This is -- I will tell you,
18       A No.                                            18           this is the Complaint for Damages.
19       Q As a reminder, we can take breaks during the 19                     We started to discuss this last time before
20   deposition, just let me know. I just ask that you    20           the deposition ended. Is this a document you're
21   finish answering the question that I've asked before 21           familiar with?
22   we take a break.                                     22              A Yes.
23          Since the last time that we spoke, have you   23              Q Okay. Have you seen -- so you've seen the
24   done anything to prepare or review for this          24           document before?
25   deposition?                                          25              A Yes.
                                                         Page 7                                                       Page 9
 1       A No.                                                     1      Q Did you review this document for accuracy
 2       Q Okay. Did you discuss the deposition that               2   before it was filed with the court on May 4, 2021?
 3   we started last time with anybody else?                       3      A Yes.
 4       A No.                                                     4      Q Did you review it carefully?
 5       Q Did you review any documents for the                    5      A Yes.
 6   deposition?                                                   6      Q Did you understand that you had an
 7       A No.                                                     7   obligation to present truthful and accurate
 8       Q And did you bring any documents with you                8   information to the court?
 9   today?                                                        9      A Yes.
10       A No.                                                    10      Q Did you verify the facts set forth from the
11       Q Okay. So we're going to jump right in. The             11   document were truthful and accurate?
12   first couple questions might seem a little duplicative       12      A Yes.
13   but I want to make sure we have a clear record.              13      Q Did you make any edits or corrections to the
14           What claims are you bringing against PHH in          14   draft complaint before it was filed?
15   this case?                                                   15      A No.
16                MR. DANN: Didn't we already go through          16      Q Are there any paragraphs in this that you
17   this?                                                        17   think are incorrect currently?
18                MS. WILSON: Yes. But I'm -- it's                18      A Not to my knowledge.
19   unclear how much was on the record. It's just the            19      Q How much time did you spend reviewing this
20   first -- it's two or three questions.                        20   document?
21                MR. DANN: I object and I'm going to             21      A I'm not sure.
22   ask her not to answer questions that have been already       22      Q Did you rely on counsel for any facts set
23   asked. And the whole -- we were doing this for your          23   forth in the document?
24   convenience and enough's enough already. Just get on         24      A Yes.
25   with this continued deposition, please.                      25      Q Which facts?

                                                                                                           3 (Pages 6 - 9)
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Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 6 of 199. PageID #: 465


                                                  Page 10                                                          Page 12
 1       A My attorney would have knowledge of any of        1             THE WITNESS: Yes. I made payments
 2   the federal and state ordinances.                       2   under the mortgage, yes.
 3       Q Anything else?                                    3   BY MS. WILSON:
 4       A I'm not sure. They -- they know the law           4       Q Did you make all of your payments under the
 5   better than I do.                                       5   mortgage?
 6       Q Okay. I'm going to show you what now I'll         6             MR. DANN: Objection.
 7   call Exhibit 3.                                         7       A I mean, I've been in the house -- what?
 8              (Exhibit 3 was marked for                    8   It's almost 16 years. I would say yes. I don't have
 9              identification.)                             9   100 percent, you know, I did file bankruptcy, so I
10       Q I'll tell you that this is a copy of your        10   would say I missed a few.
11   mortgage or that is what I'm claiming it is. Is this   11       Q Do you recall when you stopped making timely
12   something you recognize? If you want to take --        12   payments?
13              MR. DANN: And I'm just pulling the          13       A It's not a question of I stopped on purpose.
14   full document --                                       14   I mean, I did file bankruptcy.
15              MS. WILSON: If you want to take a           15       Q Do you recall when that was?
16   minute to review it, please do.                        16       A I filed bankruptcy two times. I don't
17              MR. DANN: Yeah. I'm going to pull the       17   recall the exact dates.
18   full document for her on my iPad, okay?                18       Q Do you recall the years? The general time
19              MS. WILSON: Okay.                           19   frame?
20              MR. DANN: This is Exhibit 3?                20       A No. Not at this time.
21              MS. WILSON: Yes.                            21       Q Has your loan ever become more than 60 days
22              MR. DANN: Okay. Then that way she can       22   past due?
23   scroll it. The way -- that was one of the problems.    23       A Yes.
24   Except that it didn't come through. You're going to    24       Q Do you recall when that was?
25   have to scroll it because this one didn't come         25       A No, I don't. Not at this time.
                                                  Page 11                                                          Page 13
 1   through. Here it is.                                    1       Q Okay. HSBC Bank filed a foreclosure action
 2              MS. WILSON: Oh, okay. Yeah. I can            2   against you in the year 2020 due to your failure to
 3   scroll it.                                              3   make timely payments. Is that correct?
 4   BY MS. WILSON:                                          4       A In 2020? It's possible.
 5       Q Okay. I'm now looking at page 12 of this          5       Q Do you recall a foreclosure action being
 6   document that I'm saying -- that I've introduced as     6   filed against you?
 7   the mortgage.                                           7       A Yes.
 8          Did you say -- have you -- do you recognize      8       Q Do you recall how many payments behind you
 9   this document?                                          9   were at the time?
10       A Looks like the original mortgage.                10       A No.
11       Q Okay. Is that your signature in front of         11       Q Did the foreclosure action being filed, did
12   you on page 12?                                        12   that cause you any kind of stress?
13       A Yes. Yeah.                                       13       A Not necessarily. In the beginning, no.
14       Q Okay. Now, under the mortgage, you have to       14       Q It didn't -- did it cause you any anxiety?
15   make a monthly payment, correct?                       15       A In the beginning, no.
16       A Yes.                                             16       Q When you say "in the beginning," can you
17              MR. DANN: Objection.                        17   elaborate on that?
18       Q Did you make all of your payments under this     18       A I had filed bankruptcy and it was my
19   monthly mortgage?                                      19   bankruptcy lawyer that did not file for the
20              MR. DANN: Objection.                        20   modification, which then started the proceeding for
21              MS. WILSON: As a reminder, you still        21   the foreclosure.
22   need to respond even though he objected unless he      22          So in the beginning, no, I was not stressed
23   tells you not to.                                      23   out because I thought the bankruptcy lawyer was taking
24              MR. DANN: You can answer if you made        24   care of things.
25   any payments on your mortgage.                         25       Q Okay. And when did you determine that that

                                                                                                     4 (Pages 10 - 13)
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Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 7 of 199. PageID #: 466


                                                   Page 14                                                          Page 16
 1   had not happened?                                       1        A By the time I had received everything, I had
 2      A After the bankruptcy was completed. It was, 2           asked for an extension. I don't recall the exact
 3   you know, over with and then that's when I found out 3       dates.
 4   when the foreclosure was being filed, that the          4           Like I said, we were dealing with the
 5   bankruptcy lawyer never filed the modification.         5    magistrate at the Richland County Courts and I do
 6          That's when I had to start the modification      6    recall -- like I said, I don't recall the exact dates
 7   process.                                                7    in front of me.
 8      Q Do you recall a time frame for that?               8           I had asked for an extension so I could
 9      A It was in 2020. I don't know the exact             9    speak to a lawyer regarding the terms of the permanent
10   dates. But I started the modification process, if I    10    modification.
11   recall, I think August of 2020.                        11        Q Okay. So when you received this, you did
12      Q Okay. And did you have any fear that you          12    not -- and further down, there's paperwork that has to
13   were going to lose your home at that time?             13    be signed and sent back. You did not immediately sign
14      A At that time, no.                                 14    and send it back, correct?
15      Q Okay. And so you said you started the             15        A I'd ask the courts for -- when we had went
16   modification process. Can you walk us through that? 16       to the next court date -- for an extension so that I
17      A I filed the paperwork -- like I said, I'm         17    could speak with a lawyer regarding the terms of the
18   pretty positive it was in august of 2020 -- turned     18    modification.
19   everything in that they needed, the financials, any    19        Q Okay. The next thing I'm going to show you
20   documents they needed.                                 20    is Exhibit 5.
21          Was granted the beginning where I think it      21               (Exhibit 5 was marked for
22   was, like, you make three payments of the -- regarding 22               identification.)
23   the modification and then it's supposed to go through 23         Q These are emails between you and -- I'm
24   to where the modification is granted and the new       24    seeing that they're emails between you and Diane
25   paperwork is started.                                  25    Bennett. I'll let you look through these for a
                                                   Page 15                                                          Page 17
 1           And that's what I had done. In the               1   minute, but is this your email address at the top of
 2   meantime, the foreclosure was filed in Richland          2   this document?
 3   County -- the courthouse.                                3       A Yes.
 4           But the modification was granted, so I           4       Q aruckman419@gmail.com?
 5   started making the payments even though we were          5       A Yes. I have two different emails but that
 6   dealing with the foreclosure in the Richland County      6   is one of mine.
 7   Courts. But I was still making my modification           7       Q Okay. I'll give you a second to look
 8   payments.                                                8   through these emails. It looks like that on November
 9       Q Okay. So you were approved -- I'm going to         9   23rd, you were told you had an extension. Is that the
10   share my screen again. I'm sorry. I'm on the wrong      10   extension you were discussing?
11   page. So this is Exhibit 4.                             11       A Okay.
12               (Exhibit 4 was marked for                   12       Q Are you familiar with these emails?
13               identification.)                            13       A Yes.
14       Q Does this document look familiar to you?          14       Q Okay. And you request an extension
15       A Yes.                                              15   discussed with a lawyer -- attorney?
16       Q Okay. Do you recall -- I'll say that this         16       A Yes.
17   is the Approval for the Permanent Modification -- do    17       Q And it looks like the extension was granted
18   you recall receiving this document?                     18   until the 31st of December?
19       A Yes.                                              19       A Yes.
20       Q Do you remember when you received the             20       Q And you understood that you had to return
21   document?                                               21   the executed documents to PHH by the 31st of December?
22       A It was late November by the time I received       22       A Yes.
23   it. If I --                                             23       Q Okay. In this top email, December 7th, it
24       Q Did you -- go ahead. I'm sorry. I didn't          24   says, "Our client has reviewed your counteroffer and
25   mean to interrupt you.                                  25   it has been rejected."

                                                                                                      5 (Pages 14 - 17)
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Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 8 of 199. PageID #: 467


                                                   Page 18                                                         Page 20
 1          What was that counteroffer? Do you recall?         1      Q Where -- what bank did you go get them
 2       A I had asked if we could possibly discuss            2   notarized at?
 3   raising the monthly payments to try to get the balloon    3      A At Richland Bank.
 4   payment down a little bit so that I was not facing        4      Q Do you remember what day of the week it was?
 5   such a large balloon payment.                             5      A No.
 6          That was one of the suggestions. And there         6      Q What time of day?
 7   was another suggestion. I don't recall the second one     7      A It would've been in the daytime 'cause they
 8   but I was just trying to get the balloon payment down     8   close at five.
 9   so that in 15 years it wasn't so large.                   9      Q Do you know if you were helped by a man or a
10          And their office -- I forget the gentleman        10   woman?
11   out of the lawyer's office -- says that he had taken     11      A It would've been a woman.
12   both offers to PHH and they refused.                     12      Q Did you know this woman? Whoever
13       Q When you say "lawyers office," was that            13   notarized --
14   through Mr. Dann's office or a different --              14      A No. At the time with -- no. At the time
15       A Clunk. Clunk. PHH's lawyer who is handling         15   with COVID, they were not doing things in person. You
16   this. It wasn't Diane Bennett that I had been talking    16   had to go through the drive-thru, send your documents
17   to. It was a gentleman out of the same office as her.    17   through the tube, they'd notarize them, and send them
18       Q Okay. Had you spoken with a lawyer at this         18   right back. So I have no idea who did it.
19   point?                                                   19      Q Did they ask for any kind of identification?
20       A I had spoken to a lawyer just to get advice        20      A Your driver's license.
21   on the loan modification to explain some of the -- the   21      Q Do you know if they kept any kind of log?
22   wording and stuff so I understood everything with the    22      A Each notary kept their own individual log.
23   balloon payment. I was not with Dann Law at that         23      Q Have you gone and asked them if they have a
24   time, no.                                                24   log of notarizing this document?
25       Q Okay. And who was that attorney?                   25      A Yes. I went to Richland Bank and because
                                                   Page 19                                                         Page 21
 1             MR. DANN: Objection. Go ahead and               1   employees come and go, they said each notary keeps
 2   answer.                                                   2   their own log. The bank themselves do not keep a log
 3      A I -- trying to think of his name.                    3   on top of the notary logs.
 4   Underwood. Attorney Underwood was his name.               4          We've already tried to figure out which one
 5      Q And where is he located?                             5   did it and we have not been able to discover who
 6      A Here in Mansfield.                                   6   would've notarized back in December of 2020.
 7      Q Okay. And you made that counteroffer after           7       Q Okay. Did you keep a copy of that document?
 8   you had received the approval for the loan mod,           8       A No. 'Cause at that time I did not realize
 9   correct?                                                  9   it was going to come down to this to where I needed a
10      A Yes. 'Cause I was concerned about the               10   copy of that document. I have not --
11   balloon payment.                                         11       Q Do you have any sort -- do you have any sort
12      Q Okay. And then what did you do next after           12   of tracking number?
13   the counteroffer was denied?                             13       A No. No. Like I said, at that time I did
14      A I had signed -- I don't know the exact date,        14   not realize it was going to come down to this to where
15   but I went and I had no choice but to sign the papers    15   I would need copies of those documents.
16   and send them back -- back in if I wanted to keep my     16          I have never kept copies before, so I didn't
17   house.                                                   17   realize I was going to have to have a copy now.
18      Q And when did that occur? I know you said            18       Q And how did you say you sent that back to
19   you don't know the exact date but --                     19   PHH?
20      A Like I said, I -- I don't recall the exact          20       A United States Postal Service.
21   date that I did it. I went to the bank, had them         21       Q Regular mail?
22   notarized, and I sent them in. I mailed them in.         22       A Yes.
23      Q And do you know what month that was?                23       Q Did you ask for any kind of tracking
24      A It would've been December 'cause they were          24   information?
25   due back before December 31st.                           25       A No.

                                                                                                     6 (Pages 18 - 21)
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Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 9 of 199. PageID #: 468


                                                      Page 22                                                          Page 24
 1      Q Okay. I'm now showing you what I'm calling             1   never sent the financials in.
 2   Exhibit 6 and these are emails from January 2021.           2      Q And how did you -- do you have copies of
 3              (Exhibit 6 was marked for                        3   what you submitted?
 4              identification.)                                 4      A No. Again, at that time I did not realize
 5      Q I can give you a few minutes to look through           5   this was going to be the outcome, so I didn't realize
 6   these, see if you're familiar with them.                    6   I had to keep copies of things.
 7              MS. WILSON: Mark, does -- can she                7      Q Okay. I'm now looking at the January 11th
 8   scroll through them or am I scrolling through them for      8   email in this grouping and it says at the bottom,
 9   her?                                                        9   "Will you be sending updated documents for me to
10              MR. DANN: Which one is it, Sarah? I'm           10   sign?" What did you mean by that?
11   sorry.                                                     11      A When I was talking to -- I think this one
12              MS. WILSON: Exhibit 6.                          12   was to Ms. Bennett -- because all the paperwork
13              MR. DANN: 6? Okay. I'll pull it up              13   regarding the modification was all dated in November
14   for her. So these are emails?                              14   and if we had had these extensions and this and that,
15              MS. WILSON: Emails between Ms. Ruckman          15   wouldn't they want updated contract paperwork with
16   and Ms. Bennett.                                           16   current dates?
17              MR. DANN: If you could scroll too,              17      Q Okay. So did you think that the other
18   that'll help me.                                           18   paperwork was no longer valid?
19              MS. WILSON: Okay.                               19      A Well, this was where we were getting into
20   BY MS. WILSON:                                             20   when they claimed that they had never received the
21      Q Have you been able to look at those emails?           21   paperwork before the December 31st deadline.
22      A Yes.                                                  22          And, you know, sending in a new application
23      Q I -- it's actually on -- I have it up here            23   for modification, we were still discussing that one.
24   on the screen. On January 7th it says, "I sent             24          And then we were coming up on the -- they
25   another request for modification approximately three       25   didn't receive the first set of modification papers
                                                      Page 23                                                          Page 25
 1   and a half weeks ago." Why did you request another          1   and so that's why I was asking if we need an updated
 2   modification?                                               2   current date.
 3       A I was told that possibly by sending in a              3      Q Okay. I'm just scrolling up. So on January
 4   request for another modification, that I might get          4   12th, you state that you're waiting on a permanent
 5   different terms.                                            5   modification. Was that something different than what
 6       Q So were you rejecting the original                    6   you said you already sent in?
 7   modification that had been offered to you?                  7      A I said that these were all regarding the
 8       A It wasn't a rejection. I was told I could             8   permanent modification paperwork.
 9   go ahead and sign and send that one in, but I could         9         Like I said, the effective date is, you
10   also request another modification to where they might      10   know, that's why I worded it, you know, it's effective
11   offer something different.                                 11   November 1st as the effective date.
12       Q And were you told that by someone other than         12      Q So you thought that they would send you
13   your attorney?                                             13   potentially new paperwork?
14       A When I called PHH direct.                            14      A Well, I was asking about the date as being
15       Q Do you know when you called PHH?                     15   an effective date. You know, when you sign a
16       A Obviously, it would've been, I mean, if I            16   contract, usually you have the correct dates.
17   sent the paperwork three and a half weeks prior to         17      Q And what did you think the correct date
18   January 7th, then it would've been three and a half        18   should be?
19   weeks prior to January 7th I would've called PHH, so       19      A That's what I was inquiring about. That if
20   it would've been sometime in December.                     20   I'm resigning documents with a different date compared
21       Q Do you recall who you spoke to?                      21   to what the paperwork is stating as an effective date.
22       A No. It would've just been calling the                22         That's what I was discussing with her.
23   customer service number and asking them.                   23      Q Okay. And now, if you look at this January
24       Q So did you submit new information?                   24   12th email from Diane Bennett, she says that if you
25       A I just submitted the initial paperwork but I         25   want to try, you need to sign and notarize the

                                                                                                         7 (Pages 22 - 25)
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Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 10 of 199. PageID #: 469


                                                     Page 26                                                         Page 28
 1   documents and send them overnight mail and keeping the     1      A Could you repeat that?
 2   tracking information. Do you see that?                     2      Q So you had this notarized on January 12th.
 3      A Mm-hmm.                                               3   When did you know how soon after that you sent it to
 4      Q Okay.                                                 4   PHH?
 5              MR. DANN: Is that a yes?                        5      A How soon did they receive it?
 6              THE WITNESS: Yes.                               6      Q No. How soon did you send it?
 7   BY MS. WILSON:                                             7      A Within, I mean, probably within 15, 20
 8      Q And is that what you did?                             8   minutes. I remember going straight down and having it
 9      A For the second set of notarized documents,            9   mailed out.
10   yes.                                                      10      Q So on the 12th?
11      Q Okay. I'm going to show you what I have as           11      A Yeah.
12   Exhibit 7.                                                12      Q And then what did you -- what happened after
13                  (Exhibit 7 was marked for                  13   that?
14              identification.)                               14      A I'm pretty positive I notified Diane that I
15      Q I'll scroll through this but the important           15   had sent it.
16   part is, is that your signature?                          16      Q Okay. Now, I'm going to show you what I'll
17      A Yes.                                                 17   call Exhibit 8.
18      Q And what's the date on that?                         18             (Exhibit 8 was marked for
19      A January 12, 2021.                                    19             identification.)
20      Q And this is the notary section of the same           20      Q It's a letter to you from NewRez dated the
21   document?                                                 21   14th, so two days letter. Is this a document you're
22      A Yes.                                                 22   familiar with?
23      Q Okay. And where did you get this notarized?          23      A No.
24      A Possibly the bank. I don't recall.                   24      Q Do you need a minute to look through it?
25      Q And where did you get this paperwork that            25             MR. DANN: I'm sorry. What exhibit is
                                                     Page 27                                                         Page 29
 1   was signed?                                                1   that?
 2       A I don't recall at this time.                         2              MS. WILSON: It's just --
 3       Q Is it possible that it is the original               3              MR. DANN: Sarah, I'm sorry. We're
 4   paperwork that was sent to you?                            4   having a hard time hearing you.
 5       A I don't recall. I don't know. I doubt it,            5              MS. WILSON: I'm sorry. Exhibit 8.
 6   I mean, unless I made a copy -- if I downloaded a          6              MR. DANN: Okay. I just want to open
 7   copy. I don't know. I don't know if Diane sent me a        7   the full thing for her.
 8   new copy. I don't know.                                    8              THE WITNESS: Okay. I'm familiar with
 9       Q Did you -- throughout this process, did you          9   this after reading it through my lawyer but I never
10   have access to a printer?                                 10   personally received this at my home.
11       A Do I -- I have three printers in my office          11   BY MS. WILSON:
12   at home.                                                  12       Q Okay. Is that your name and address on the
13       Q Okay. And how did you send this PHH? Did            13   letter?
14   you do regular mail or --                                 14       A Yes.
15       A This one, I -- I don't recall if                    15       Q And does this letter say that your
16   overnighted it or if I did the priority two days. I'm     16   modification was denied?
17   not sure. I don't recall.                                 17       A Yes.
18       Q Do you have that tracking information?              18       Q Okay. So what did you do after you --
19       A Currently? No.                                      19   you're saying you never received this letter?
20       Q Did you send it in a way that would have            20       A No.
21   tracking information this time?                           21       Q Okay. Then what did you do after you sent
22       A Yes.                                                22   in the paperwork on the 12th?
23       Q Did you receive any other information, after        23       A Continued making my payments and then we
24   you sent this in, that the modification would be          24   went to court on January 29th by phone 'cause of
25   implemented?                                              25   COVID. And on January 29th, the courts were notified

                                                                                                       8 (Pages 26 - 29)
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Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 11 of 199. PageID #: 470


                                                      Page 30                                                         Page 32
 1   that I had been making all my payments and that the         1   only two local to me that could make the payments.
 2   modification went through.                                  2      Q And who told you to make payments that way?
 3          And they were waiting on PHH to sign their           3      A PHH. It's on their paperwork.
 4   portion of the document and the courts did not set a        4      Q And were there any other options for making
 5   new court date and stated that they would just wait         5   payments that you're aware of?
 6   for the copy of the permanent modification and then         6      A I don't recall on the paperwork. But that
 7   they would dismiss the case. And that was on January        7   was the main thing, was how to make the payments for
 8   29th.                                                       8   the modification.
 9       Q Okay. And then, had you made a payment                9      Q All right. I'm going to go back to Exhibit
10   between when you sent in the paperwork and that            10   4, which is your approval for the loan modification.
11   hearing?                                                   11          Is this the paperwork part you were
12       A Yep.                                                 12   discussing? This is page 6 of Exhibit 4.
13       Q Okay. Can you explain the process of how             13      A If I recall, with the trial paperwork there
14   you made those payments to PHH?                            14   was a different page if I recall. And with the trial
15       A Through Krogers.                                     15   paperwork, that was asking more for the Western Union
16       Q Okay. So can you kind of walk me through             16   to be used.
17   the process? Did you, like, take cash to Kroger, did       17      Q Okay. Is this the paperwork for payment
18   you --                                                     18   starting for the December?
19       A Debit card.                                          19      A Yeah. But I'm thinking there was a
20       Q Okay.                                                20   different paper that was recommended with the trial
21       A All my payments -- my trial payments and the         21   paperwork.
22   modification payments, you go to Krogers. The very         22      Q Okay.
23   first one I made, I told them I needed to pay my           23      A Because it was asking more for the Western
24   mortgage company.                                          24   Union to be used.
25          They asked what the mortgage company name           25      Q Okay. I'm going to go back to Exhibit 9
                                                      Page 31                                                         Page 33
 1   was and I told them. And pretty much they just pulled       1   that we just talked about. Now, this is not Western
 2   up on a screen, you give them your account number and       2   Union, correct? This payment?
 3   they run it through, and you pay with your debit card       3      A Nope.
 4   and they give you a receipt.                                4      Q It's CheckFreePay?
 5          And the money is there within twenty-four --         5      A Yes. Which is a subsidiary of Western
 6   well, within 24 hours with Western Union and then           6   Union.
 7   within one to two days with CheckFreePay. They use          7      Q And how do you know that it's a subsidiary
 8   the same processor to make the payment.                     8   of Western Union?
 9      Q Okay. I'm going to show you Exhibit 9.                 9      A Krogers.
10             (Exhibit 9 was marked for                        10      Q Okay.
11             identification.)                                 11      A They use the -- they use the same processor.
12      Q Just so we're all, you know, documenting              12   CheckFreePay is only a $1.50 fee. Western Union is
13   with what you're just discussing, is Exhibit 9, is         13   $10. When the very first time that I had to make the
14   this the Kroger receipt that you're discussing?            14   payment, I wasn't even given the option.
15      A Mm-hmm.                                               15         I just came in, said I need to pay my
16      Q Okay.                                                 16   mortgage. They asked who it was with, I said PHH,
17             MR. DANN: Is that a yes?                         17   they pulled it up, ran it through. I did not even --
18             THE WITNESS: Yes. I'm sorry.                     18   wasn't even aware that there was a choice.
19   BY MS. WILSON:                                             19         Did it for several months, a payment went
20      Q And why did you choose to make your payments          20   through. And then, like, making payment number 4 or
21   through Kroger?                                            21   so I was then asked and that's when I said, "Well,
22      A From the beginning, I was told to use                 22   what's the difference?"
23   Western Union to make the payments and CheckFreePay is     23         And they said, "Nothing really. With
24   basically a subsidiary of Western Union.                   24   Western Union, it's there overnight. With -- or with
25          And Krogers or Walmart were supposedly the          25   CheckFreePay, it's there, like, the very next day or

                                                                                                        9 (Pages 30 - 33)
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Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 12 of 199. PageID #: 471


                                                       Page 34                                                         Page 36
 1   maybe day number 2."                                         1   you an updated one this morning.
 2           That's when I was told there was a                   2               MR. DANN: Oh, that's the new one.
 3   difference. But since at the time, my payments were          3   Okay. It's going to take me a second.
 4   going through, there was never an issue, I stayed with       4               THE WITNESS: Okay.
 5   CheckFreePay because it was cheaper.                         5               MS. WILSON: While we're doing that,
 6      Q Okay. Did you have any issues with paying               6   are you doing okay? Do you need a break or anything?
 7   through Kroger?                                              7               THE WITNESS: I'm fine.
 8      A I didn't, no.                                           8               MS. WILSON: Okay.
 9      Q Okay. I'm going to show you Exhibit 10,                 9               MR. DANN: Okay. This is the March
10   which is -- this looks like there was a payment that        10   6th, March 8th email? Is that right?
11   was returned.                                               11               THE WITNESS: Yeah.
12              (Exhibit 10 was marked for                       12               MS. WILSON: It starts on -- yes.
13              identification.)                                 13               THE WITNESS: Yeah.
14       I'll give you a moment. I don't want to --              14   BY MS. WILSON:
15      A That's -- that's a payment that PHH                    15       Q Okay. You've reviewed these?
16   rejected.                                                   16       A Yes.
17      Q Right. How were you notified of that?                  17       Q And you agree these are emails between you
18      A Krogers called me and told me that they had            18   and Ms. Bennett?
19   received an error report and asked me to come in.           19       A Yes.
20      Q Okay. Did they return your payment to you?             20       Q Okay. It looks like on March 6th, which is
21      A Yes. First, I contacted Diane Bennett.                 21   the bottom of the first page, you told her that you
22      Q Okay. This is -- I'll say this is dated the            22   were notified today by Kroger.
23   25th of February. Were you -- did you get called            23           Is that -- the notification -- the document
24   right away or can you tell me a little bit more of the      24   I just showed you? I can show you again. Exhibit 10.
25   time frame?                                                 25       A Yes.
                                                       Page 35                                                         Page 37
 1      A That Krogers contacted me?                              1      Q And then Ms. Bennett, on March 8th, told
 2      Q Yes.                                                    2   you, you needed to make a payment of 873.93 for the
 3      A As soon as they were notified, they                     3   modification to be implemented.
 4   contacted me.                                                4      A Yes.
 5      Q Okay. So then did -- you were contacted and             5      Q And then -- so that was March 8th. And then
 6   then can you walk me through what happened next?             6   on March 23rd, she breaks down the payments that were
 7      A As soon as they contacted me and told me                7   received and she again states that you need to send
 8   that PHH rejected the payment, I then contacted Diane        8   873.93, correct?
 9   Bennett and asked her why my payment was rejected.           9      A Yep.
10      Q Okay.                                                  10      Q And on the last page, this was actually a
11      A And then she -- she told me she would check            11   few days before that, she again says 873.93, and the
12   into it and get back with me. And then I called             12   funds need to be received by the 25th of March.
13   Krogers back and told them that I would get back with       13      A Mm-hmm.
14   them as soon as I knew what was going on.                   14             MR. DANN: Is that a yes?
15      Q Okay. Now, we're on Exhibit 11.                        15             THE WITNESS: Yes.
16             (Exhibit 11 was marked for                        16   BY MS. WILSON:
17             identification.)                                  17      Q Okay. Did you send in 873.93?
18      Q I'm going to give you a few minutes to look            18      A No.
19   through these because I believe this is what you were       19      Q And why not?
20   just discussing.                                            20      A 'Cause I sent her copies of all the receipts
21           These are marked emails between you and             21   showing that I was current on all my payments and that
22   Diane Bennett. If you want to take some time, I can         22   the only payment that was in question was the one
23   scroll through them or you can.                             23   payment that was refused by PHH.
24             MR. DANN: Which one is that, Sarah?               24          And so I went back to Krogers, they refunded
25             MS. WILSON: It's Exhibit 11. I sent               25   that payment that was rejected, and then I turned

                                                                                                        10 (Pages 34 - 37)
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Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 13 of 199. PageID #: 472


                                                      Page 38                                                          Page 40
 1   around and resent that one payment and then sent a          1      A That's how they did the first payment that
 2   copy of that receipt to Ms. Bennett.                        2   was rejected. You have a copy of the email.
 3          And she had had all the other copies of the          3      Q But it turned out they actually were
 4   receipts to show that I had paid all my payments and        4   holding -- eventually, you found out they were holding
 5   was current.                                                5   three additional payments?
 6       Q So before the 25th in the month of March,             6      A It wasn't a question of holding. We -- we
 7   you did not send the 873.93?                                7   don't -- I don't know the circumstances, the policies,
 8       A No. 'Cause there was only one payment in              8   procedures.
 9   question which was the one payment that PHH rejected,       9          But like I said, it eventually came down to
10   so I resent that payment.                                  10   both law firms being involved, going back and forth,
11       Q And did you confirm that that was received?          11   and me going to Krogers several times, that eventually
12       A I don't recall if I -- with Ms. Bennett if           12   we tracked the money down with the help of
13   it was received. I just -- I sent a copy of the            13   CheckFreePay.
14   receipt to Ms. Bennett to show that I resent the one       14          And Krogers did have to reimburse me, like I
15   payment that PHH rejected.                                 15   said, I think it was three -- three of the payments
16       Q Okay. Did you check with Kroger to see if            16   they did refund to me.
17   they had been any -- the payment had been rejected at      17      Q Okay. And those came from CheckFreePay not
18   that point?                                                18   Western Union, correct?
19       A No. 'Cause Krogers would've notified me if           19      A Yes.
20   there was any other payments that were rejected.           20      Q Okay.
21       Q Okay. Did Kroger notify you of any other             21              MS. WILSON: Can we take a five-minute
22   rejected payments after that February?                     22   break? Is that okay with everybody?
23       A No.                                                  23              THE REPORTER: Sure. Going off the
24       Q Did they end up having to reimburse you any          24   record at 11:05 a.m.
25   other funds?                                               25              (Off the record.)
                                                      Page 39                                                          Page 41
 1       A Yes.                                             1                  THE REPORTER: We are back on the
 2       Q And when was that?                               2        record at 11:21 a.m.
 3       A I don't have the exact date. I'm thinking        3        BY MS. WILSON:
 4   it was July of 2021. I don't have the exact dates in   4            Q Okay. Ms. Ruckman, I just wanted to go back
 5   front of me.                                           5        to something that you had said about whether or not
 6       Q So there were other payments that were           6        you sent that 873.93 in.
 7   rejected?                                              7            A Mm-hmm.
 8       A Eventually, it -- it came down to where I        8            Q What I'm looking at is page 3 of
 9   did have to go back to Krogers. I don't know what the 9         Exhibit 11 --
10   circumstances was, but it took both law firms being 10              A Mm-hmm.
11   involved, going back and forth, and eventually, I did 11                  MR. DANN: Is that a yes?
12   go to Krogers and did get -- get some of the money 12                     THE WITNESS: Yes.
13   back, yes.                                            13        BY MS. WILSON:
14       Q Do you recall how much money that was?          14            Q -- email to Angela Ruckman from Diane
15       A I don't have the exact figure in front of me    15        Bennett because you had you said that you sent all the
16   but I'm thinking it was three payments if I recall.   16        receipts and everything in to Ms. Bennett, correct?
17       Q And that money was given to you by Kroger, 17                 A Mm-hmm.
18   correct?                                              18            Q This email right here, it looks -- she is
19       A Yes.                                            19        breaking down all the payments that were received by
20       Q That money did not come to you directly from 20           PHH, correct?
21   PHH?                                                  21            A Yes.
22       A No.                                             22            Q And she'd still said that you owe 873.93?
23       Q Okay. And how did you -- so you said that       23            A Yes.
24   Kroger would've let you know if there were rejected 24              Q But you did not send that amount in?
25   payments?                                             25            A No.

                                                                                                       11 (Pages 38 - 41)
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Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 14 of 199. PageID #: 473


                                                    Page 42                                                     Page 44
 1      Q Okay. I just wanted to confirm that. Okay.           1       A Okay.
 2   So moving on, we're now going to look at Exhibit 12.      2       Q Would you say that those paragraphs are not
 3             (Exhibit 12 was marked for                      3   correct?
 4             identification.)                                4       A They're worded incorrectly.
 5      Q These are your discover responses --                 5       Q Okay. Is there anything -- when you say --
 6   discovery. Do you all need a few minutes to look          6   you said they're worded correctly?
 7   through that or is this something you're familiar         7       A Incorrectly.
 8   with?                                                     8       Q Incorrectly. Is there anything else in this
 9      A Yes. I'm familiar with it.                           9   affidavit that you think is worded incorrectly?
10      Q Okay. And these are the interrogatory               10       A Not to my knowledge at this time.
11   responses that your counsel prepared in this case?       11       Q Okay. All right. What are the damages that
12      A Yes.                                                12   you're claiming in this case?
13      Q And you understand that you had an                  13       A Emotional and mental stress.
14   obligation to present truthful and accurate              14       Q Do you have out-of-pocket costs that you're
15   information?                                             15   claiming?
16      A Yes.                                                16       A Missing work-related.
17      Q And you did sign the verification page -- I         17       Q Can you give more --
18   thought it was --                                        18       A Lawyer -- legal fees.
19             MR. DANN: We'll stipulate --                   19       Q Do you have documents to support those
20             MS. WILSON: -- but you signed the              20   amounts?
21   verification page for these, correct?                    21       A My lawyer has the legal fees to be
22             MR. DANN: We'll stipulate that she             22   addressed, obviously. Time off of work, I can submit
23   signed the verification page to her discovery.           23   that, yes.
24             MS. WILSON: Did you go through all of          24       Q Yes, please do that. Have you been making
25   these responses with your counsel?                       25   payments to your attorneys?
                                                    Page 43                                                     Page 45
 1       A I didn't hear you, Ms. Wilson. What was             1      A    I have made a payment to my attorney, yes.
 2   that?                                                     2      Q    Just one?
 3       Q I'm sorry. And you went through these               3      A    Yes, at this time.
 4   responses with your counsel before they were sent --      4      Q    Are you on any kind of payment plan?
 5       A Yes. Yes.                                           5              MR. DANN: Objection. Go ahead and
 6       Q Okay. I'm sorry. Just give me one second.           6   answer.
 7   I thought I had the right page.                           7       A I can make payments monthly, so I would
 8          I just want to verify, right here your             8   state yes.
 9   request for admission Number 1, it says "Admit that       9       Q How much are you paying or have you paid?
10   you did not make payments in 2021 using Western Union    10       A I don't care to disclose the arrangements
11   Quick Collect," and you admitted that. Is that           11   between me and my lawyer at this time.
12   correct?                                                 12       Q Are you requesting legal fees in this
13       A Yes.                                               13   matter?
14       Q Okay. Are you aware that you had previously        14       A On behalf of my lawyer, yes.
15   stated in an affidavit, which I'm going to show you,     15       Q We need documentation to support the request
16   that you did use Western Union Quick Collect for all     16   for --
17   of your payments?                                        17       A My lawyer has that.
18       A I'm not aware.                                     18              MR. DANN: Sarah, we can send you the
19       Q Okay. Exhibit 13, this is an affidavit that        19   fee agreements. Do you want that?
20   was attached to your complaint.                          20              MS. WILSON: I just need to know the
21              (Exhibit 13 was marked for                    21   damages. We can update that.
22              identification.)                              22   BY MS. WILSON:
23       Q I'll give you a minute or two to go through        23       Q What other -- okay -- out-of-pocket costs
24   that. But I was specifically referring to paragraph      24   besides your legal fees? What are those? What else?
25   16 and paragraph 12.                                     25       A Time missed from work.

                                                                                                 12 (Pages 42 - 45)
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Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 15 of 199. PageID #: 474


                                                       Page 46                                                          Page 48
 1      Q How much time have you missed from work?                1   started.
 2      A Roughly combined since last March to now                2       Q Okay. So foreclosure was filed a year
 3   would probably be equivalent if I added it all up --         3   before that, correct?
 4   like I said, I have a lot of it wrote down at home --        4       A But I also had a modification that I did the
 5   combined I would say probably looking about 40 hours'        5   trial payments and was making the regular payments and
 6   worth of work.                                               6   was doing everything that I was supposed to be doing
 7          And I make 21.76 an hour. So that would be            7   and the courts in Richland County were being told by
 8   work-related.                                                8   PHH's law firm that I was doing everything that the
 9      Q And why did you miss that time?                         9   modification asked me to do.
10      A Between emails, phone calls, having to track           10          And I was paying like I was supposed to, had
11   down money, having to make myself available for my          11   my receipts, and it wasn't until March that the first
12   lawyers, et cetera, regarding this issue.                   12   payment that I was notified was being rejected.
13      Q Okay. When you say "track down money," can             13   January 29th, they told the courts that it was a done
14   you elaborate on that?                                      14   deal, that the modification went through, they were
15      A Spent a lot of time between lawyers and                15   waiting for PHH to sign.
16   having to go to Krogers trying to figure out where          16          So to my knowledge, come January 29th, the
17   missing payments were.                                      17   modification was done. We were just waiting for PHH
18      Q And who held that money that you were --               18   to sign and my house was safe. The foreclosure
19      A Krogers did but PHH for many months. I                 19   would've been dismissed. It was March that we found
20   mean, Ms. Bennett should be testifying to that that         20   out that first payment was rejected and everything was
21   she didn't even know that PHH had rejected other            21   going downhill.
22   payments.                                                   22          That's when my stress started. That's when
23          Nobody knew until it came down, I think,             23   the emotional distress started.
24   until June or July during the summertime, that they         24       Q Okay. And it's your understanding that it
25   had been rejecting payments all along and did not           25   was a done deal even without PHH signing?
                                                       Page 47                                                          Page 49
 1   notify anybody.                                              1       A That's what they told the courts on January
 2      Q Okay. Your -- can you explain your                      2   29th. January 29th is when they told them.
 3   emotional damages?                                           3       Q And who's "they?"
 4      A My emotional damage was a lot of stress, not            4       A The law firm representing PHH when we had
 5   knowing if I was going to have a home. Day to day not        5   the court -- our last court hearing with the
 6   knowing am I going to have a home?                           6   magistrate.
 7          That home, you know, I finished raising my            7       Q Okay. Have you been treated with any
 8   children in that house. You know, I have pets in that        8   doctors or medical professionals for the emotional
 9   house. That's all I have is my home.                         9   distress you're claiming in this action?
10          I think anybody would be stressed knowing            10       A Yes.
11   are you going to lose your home? That home was --           11       Q And who have you sought treatment with?
12      Q And when did that -- I'm sorry.                        12       A Dr. Molina was one of my doctors.
13      A When did the stress that? The stress                   13       Q And how long have you been treated? Been
14   started immediately come, I would say, March is really      14   treated by Dr. Molina?
15   when the stress started.                                    15       A I've been seeing Dr. Molina for -- well, I
16          Thinking that you have a modification that           16   was seeing him for about three years. And then I'm no
17   their lawyers, you know, told on January 29th that          17   longer seeing him. I now have a trauma therapist that
18   everything was a done deal, we were just waiting on         18   I see her once a week.
19   PHH to finish signing the modification.                     19          And then my primary care doctor, he's taken
20          And then you find out in March that all of a         20   over the depression part and the PTSD. And I see my
21   sudden, payments are being rejected but you're holding      21   trauma therapist, she handles the rest, the PTSD and
22   on to receipts that state that you're paid in full and      22   anxiety.
23   you're paying like you're supposed to.                      23       Q Okay. And who's your trauma therapist?
24          And now, all of a sudden, you're facing a            24       A Her first name's Holly. You should have all
25   foreclosure that was filed. That's when the stress          25   that information.

                                                                                                        13 (Pages 46 - 49)
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Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 16 of 199. PageID #: 475


                                                       Page 50                                                           Page 52
 1       Q And how long have you been seeing Holly?               1   February 7, 2013, but I didn't seek out help until
 2       A Two months now.                                        2   about four years ago. Four or five years ago.
 3       Q Okay. And when you say "PTSD," what is                 3       Q Okay. You said that was for anxiety,
 4   that? Have you been diagnosed with PTSD?                     4   depression, and PTSD?
 5       A Yes.                                                   5       A Yes.
 6       Q When were you diagnosed with PTSD?                     6       Q But in this matter, you're claiming
 7       A When?                                                  7   emotional stress as a result of action by PHH?
 8       Q Yes.                                                   8       A I'm claiming that what their actions did
 9       A About four years ago.                                  9   made this -- my situation with my medical condition --
10       Q So before this matter? Before this --                 10   a lot worse.
11       A Yes. And my PTSD and anxiety was somewhat             11          My medical condition was pretty much stable,
12   under control, and when this all started this past          12   livable, doable, tolerable, until their actions what
13   March, it made everything a lot worse.                      13   took place.
14       Q Okay. Were you experiencing stress in                 14       Q Okay. Are you taking any medications for
15   October 2020?                                               15   this?
16       A Everybody experiences stress.                         16       A Yes.
17       Q Were you hospitalized in October 2020?                17       Q Have you taken any medications for this in
18       A Yes.                                                  18   the past?
19       Q And what were you hospitalized for?                   19       A Yes.
20       A I became extremely sick over the summertime.          20       Q Okay. I'm sorry. By past, meaning, pre-
21   It started roughly in the end of May going into June        21   2021?
22   of 2020.                                                    22       A Yeah. Yes.
23       Q Okay. And did they determine the cause of             23       Q Has your medication changed?
24   that?                                                       24       A Yes.
25       A In May and June, I started having severe              25       Q Okay. What -- can you explain the changes
                                                       Page 51                                                           Page 53
 1   edema in my legs, and then I ended up starting to lose       1   to me?
 2   weight. And then I had two leg wounds that were              2       A I no longer take four or five medications
 3   leaking water due to the edema and then my weight            3   for it. I now only take two as of three months ago.
 4   started spiraling downhill to the point I was roughly        4   Roughly, I think, three or four months ago.
 5   80 pounds.                                                   5       Q And what symptoms do attribute to PHH?
 6          And all my doctors kept saying that I was             6       A An increase in my anxiety and stress. Daily
 7   okay. I went to the ER twice and was sent home. A            7   living with PTSD and anxiety, you tend to isolate more
 8   well-check was even done on me and I was sent home.          8   because of the stress/anxiety levels.
 9   And then I made it to another emergency room which           9       Q Were you still able to work?
10   then sent me down to OSU.                                   10       A My work hours went down. It's hard to be
11          And at that point, I was 77 pounds. And              11   around people when your stress level is extremely
12   they did different MRIs, different tests on me. I had       12   high.
13   broken ribs where I'd fallen twice. And at that             13       Q Have you had high-stress levels in the past;
14   point, they determined my body was not absorbing fat        14   meaning pre-2021?
15   or nutrients and that's when I was hospitalized for         15       A I have but not to that degree.
16   roughly three and a half weeks.                             16       Q Are there any other out-of-pocket direct
17      Q Are they -- was there any mention of any               17   expenses that you're attributing to PHH?
18   kind of anxiety or stress at that time?                     18       A No.
19      A Diagnosed, you mean, down there at OSU?                19              MS. WILSON: All right. That's all I
20      Q Yes.                                                   20   have. Ashley, were you going to ask questions?
21      A I will have a permanent diagnosis of PTSD,             21   Sorry, you're on mute.
22   anxiety, and depression for the rest of my life.            22              MS. MUELLER: Can I have a couple
23      Q And when were you diagnosed with depression?           23   minutes and then I'll come back and just ask a few
24      A I think I was -- it was all diagnosed                  24   questions?
25   roughly four years ago. I should've been diagnosed          25              THE REPORTER: Sure thing.

                                                                                                         14 (Pages 50 - 53)
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Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 17 of 199. PageID #: 476


                                                       Page 54                                                          Page 56
 1             MS. WILSON: Yes. If we could go off                1   making the payments. There was some financial issues
 2   the record for a couple minutes?                             2   going on due to some medical stuff going on and some
 3             THE REPORTER: Sure thing. Going off                3   work things.
 4   the record at 11:39.                                         4          That's when I reached out to her regarding
 5             (Off the record.)                                  5   doing a bankruptcy. And that's when she had told me
 6             THE REPORTER: We are back on the                   6   to, you know, not make payments to the credit cards,
 7   record at 11:44 a.m.                                         7   the loan company, the mortgage company, that she was
 8                  EXAMINATION                                   8   going to start the bankruptcy and work things out with
 9   BY MS. MUELLER:                                              9   everybody, which would put me in a better financial
10       Q Good morning, Ms. Ruckman. My name is                 10   situation.
11   Ashley Mueller and I'm an attorney that is                  11          It was then a little bit later on down the
12   representing the law firm, Clunk Hoose. I just wanted       12   road that I found out that she did not do everything
13   to ask a few additional questions.                          13   that she was supposed to be doing.
14          This shouldn't take too long at all. The             14       Q So you had a lot of financial obligations
15   same rules apply for the questions that I ask as            15   around that time that you were trying to handle?
16   applied when attorney Wilson was asking you earlier.        16       A It was not a lot of financial obligation.
17   Do you understand that?                                     17   It was just a few that I needed to handle and take
18       A Yes.                                                  18   care of, and I needed her assistance.
19       Q Can you explain to me what damages you are            19       Q Was the decision to file a bankruptcy
20   alleging against Clunk Hoose?                               20   stressful at all for you?
21       A It would be the same damages of emotional             21       A No. It was actually more of a relief.
22   stress and mental stress.                                   22       Q So were you having stress prior to the
23       Q And can you explain to me where that stems            23   decision to file the bankruptcy?
24   from?                                                       24       A Not really stressful. It was just more just
25       A It would be from Diane Bennett and her                25   knowing things that, you know, had some situations in
                                                       Page 55                                                          Page 57
 1   emails. She seemed to be taking charge and taking the        1   life and knowing that there was resolutions and a way
 2   rein being the communicator between your office and          2   to -- a way to answer and take care of some matters in
 3   PHH. She was the one that was answering all the              3   life.
 4   questions.                                                   4          I mean, people go through things in life and
 5          You know, she was the one that was stating            5   I was fortunate to find a solution.
 6   how much money was owed and what I should and should         6       Q I know that at the first deposition you said
 7   not be doing, what paperwork was received/not                7   you worked for Medicaid, correct?
 8   received, and, like I said, she seemed to be the one         8       A I'm a subcontract for the state of Ohio and
 9   representing your office and PHH.                            9   I get paid by Medicaid. I don't work directly for
10       Q Can you tell me what led to your -- the               10   Medicaid.
11   monetary default on the note and mortgage in July of        11       Q Okay. And you have worked in that job since
12   2019?                                                       12   2007?
13       A I started the bankruptcy proceedings with my          13       A Yes.
14   lawyer and at that time she is the one that had told        14       Q And is that a stressful job?
15   me to hold off making payments because she was going        15       A No.
16   to start a loan modification process within my              16       Q Have you had physical interactions with some
17   bankruptcy, so I had trusted my lawyer at that time         17   of the people that you work with or for?
18   that was doing my bankruptcy.                               18       A I have to. That's my job.
19       Q So your lawyer advised you to stop making             19       Q So part of your job is getting into a
20   payments?                                                   20   physical fight with the people that you work for?
21       A Yes. At that time because she was going to            21       A No.
22   be doing a loan modification.                               22       Q Do you recall sending an email to Diane
23       Q Were you having problems making your monthly          23   Bennett at my office stating that you had gone to the
24   payments at that time?                                      24   hospital because you were physically assaulted by one
25       A At that specific time, not 100 percent                25   of your clients?

                                                                                                        15 (Pages 54 - 57)
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Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 18 of 199. PageID #: 477


                                                      Page 58                                                         Page 60
 1       A It's the way you're wording it. That I "get      1        home. They didn't feel that I was taking my medical
 2   into a fight with my clients" is not accurate. We      2        seriously enough.
 3   don't fight.                                           3            Q So the doctors were concerned about your
 4           Yes, if you have a client that has             4        mental health?
 5   behaviors, it is possible that you can be assaulted    5            A Because I -- they -- their excuse to the
 6   but it's not a fight.                                  6        court was that I was not taking my medical serious
 7           You have to understand the population of       7        enough.
 8   people that I work with.                               8                That I was not comprehending the
 9       Q So you have been physically assaulted by         9        dangerousness of me having to stay and continue
10   your clients while you're working?                    10        gaining weight under medical care even though I asked
11       A I think since 2007, I would say I probably      11        to even come home to a nursing home, intermediate care
12   have been maybe hit or maybe kicked to the point that 12        facility, something closer because I wanted to be near
13   I've had to seek medical treatment maybe three times 13         my grandson.
14   since 2007.                                           14            Q Were they concerned about your PTSD when you
15       Q And is that stressful?                          15        were there?
16       A No. Because that's part of the training         16            A Not in general. I mean, it was never
17   with this job that I have to do. It's expected. We    17        discussed. I mean, we didn't have groups or anything.
18   know that this is a possibility even if they don't    18        It was pretty much you stayed on this one side, you
19   have a behavior add-on with their ISPs.               19        ate, slept, whatever you wanted to do.
20           We know that any of these type of people can 20                 I mean, that was it. If they were so
21   be potentially capable of doing it. Just kind of like 21        concerned about something you think that you would
22   you know what you're walking into.                    22        have individual counseling or something, but we
23       Q Okay. I want to jump over to your               23        didn't.
24   hospitalization in October 2020.                      24            Q Was being involuntarily admitted to the
25       A Okay.                                           25        hospital in October 2020 a stressful situation for
                                                      Page 59                                                         Page 61
 1      Q Were you voluntarily admitted to that                  1   you?
 2   hospital in October 2020?                                   2       A Stressful to the point -- only because I
 3      A Voluntarily? When I was first taken down, I            3   wanted to be near my grandson. And I was -- what? An
 4   don't know the exact date.                                  4   hour and 12 minutes away.
 5          I think I was there six days on one side of          5       Q Okay. So it was a stressful situation then,
 6   the hospital and then I had to be -- I was basically        6   correct?
 7   forced onto the other side and then probated because I      7       A Not being -- not being in the hospital but
 8   had asked to come closer back to Mansfield, so I could      8   being away from my grandson. I think we need to
 9   be closer to my grandson so that he could come see me       9   clarify that.
10   because they felt that I was not taking my medical         10       Q Did your doctor show concern that you were
11   serious enough, that I needed to stay to be admitted.      11   not able to care for yourself in October 2020?
12          So they forced me to stay another, like, two        12       A No. In the first, probably, four or five
13   and a half weeks. But what they didn't realize is          13   days, yes. Because I had two leaking leg wounds, was
14   that I was the one that took my medical seriously          14   77 pounds, and extremely weak, yes. And broken ribs
15   because nobody here in Mansfield from June to October      15   and a bruised tailbone.
16   took my medical seriously.                                 16       Q And what led to all of that? Your physical
17          That's why I dropped to 77 pounds. And but          17   injuries?
18   I made it to a different ER that actually got me the       18       A From falling.
19   help, so -- but the courts didn't see it that way.         19       Q How did you fall?
20   But I did come home about two and a half weeks later       20       A As we discussed earlier, when it all started
21   once I got my weight up.                                   21   in June when I had two leaking leg wounds, the edema,
22      Q Were your doctors concerned about anything            22   and my weight started going down.
23   else besides your weight while you were in the             23          And I had, like, four doctors telling me
24   hospital?                                                  24   there was nothing wrong with me plus the ER.
25      A My mental health because I wanted to come             25       Q Okay. So are you saying that you fell

                                                                                                      16 (Pages 58 - 61)
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Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 19 of 199. PageID #: 478


                                                        Page 62                                                       Page 64
 1   because you were weak?                              1             I wrote was the honest truth. So I can't say that I
 2       A Yes. When you start losing weight and you     2             have stress today over an email that took place a year
 3   have severe edema and two leaking leg wounds, yes. 3              ago.
 4       Q And the doctors determined that you were      4                 Q Did the stress -- was the stress alleviated
 5   losing all of this weight because your body wasn't  5             once the modification went through in --
 6   able to absorb protein. Is that correct?            6                 A Well, of course.
 7       A What I was told from OSU was that my body 7                     Q -- in July?
 8   had stopped absorbing fat, minerals, vitamins, et   8                 A Once the modification went through, yes, the
 9   cetera.                                             9             stress was alleviated.
10       Q While you were in the hospital in October    10                 Q Are there any other damages that you're
11   2020, were you sleeping well?                      11             claiming against Clunk Hoose that we haven't talked
12       A Off and on.                                  12             about today?
13       Q And did you have chronic pain when you were 13                  A That would then be relayed to my attorney.
14   admitted in the hospital during that time?         14             Like I said, you know, he's the one that knows the
15       A Yes.                                         15             laws, the ordinances, you know, federal and state.
16       Q Did you have difficulty sleeping because of  16                    Those things would come to him. And any
17   that pain?                                         17             legal fees, that would then come on to my legal team.
18       A Yes.                                         18                 Q Well, I'm asking you what damages you have
19       Q Do you still have difficulty sleeping        19             suffered. Not what your attorney has suffered.
20   because of that pain?                              20                 A Oh. What I've suffered would be anything
21       A I wouldn't say just, I mean, that pain. I    21             work-related, costs, and mental and emotional.
22   do have pain in certain areas of my body but I     22                        MS. MUELLER: I don't have any more
23   wouldn't say that pain. My ribs have healed, my    23             questions.
24   tailbone has healed, my knee has healed.           24                        MR. DANN: No questions for the
25          I mean, I do have other medical issues but  25             plaintiff.
                                                        Page 63                                                       Page 65
 1   the broken bones and stuff have healed.                       1             MS. WILSON: I have no additional
 2       Q So are you in any chronic pain right now?               2   questions.
 3       A Yes, I have pain.                                       3             MR. DANN: We'll read.
 4       Q And so some of this, maybe new pain, does               4             THE REPORTER: Thank you very much.
 5   that affect your sleeping habits?                             5   You'll read. Ms. Wilson, would you like a transcript
 6       A Not necessarily. There's different things               6   on this?
 7   that affect my sleeping habits.                               7             MS. WILSON: Yes, please.
 8       Q Okay. Can you explain what would affect                 8             THE REPORTER: Ten days good?
 9   your sleep?                                                   9             MS. WILSON: Yes.
10       A Anything could affect my sleep, from the               10             THE REPORTER: Thank you. Mr. Dann,
11   temperature of the house, what I've ate, noise               11   transcript?
12   outside. I mean, there's different things that can           12             MR. DANN: No.
13   affect your sleep.                                           13             THE REPORTER: Thank you. No order.
14       Q So at this time, what kind of stress are you           14   Anybody else? Everybody else covered? We're going
15   feeling due to the emails that you had with Diane back       15   off the record at 12:01.
16   in -- starting in July 2020 through, I think, March          16             (Signature reserved.)
17   2021?                                                        17             (Whereupon, at 12:01 p.m., the
18       A I mean, I don't have any stress currently              18             proceeding was concluded.)
19   today regarding those emails. I mean, that's                 19
20   something that took place back then. I mean, the             20
21   modification has went through, so I know my house is         21
22   safe, that I own my house.                                   22
23           So to sit here and ask if I stress today             23
24   over an email that took place last year -- the emails        24
25   are, I mean, in my opinion, correct and honest. What         25

                                                                                                       17 (Pages 62 - 65)
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Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 20 of 199. PageID #: 479


                                                     Page 66                                                                               Page 68
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 1         CERTIFICATE OF DEPOSITION OFFICER                                        1100 Superior Ave
 2        I, MICHAEL R. RENNILLO, the officer before            2                     Suite 1820
                                                                                   Cleveland, Ohio 44114
 3 whom the foregoing proceedings were taken, do hereby         3                  Phone: 216-523-1313
 4 certify that any witness(es) in the foregoing                4   January 17, 2022
                                                                5   To: Marc Dann, Esq.
 5 proceedings, prior to testifying, were duly sworn;           6   Case Name: Ruckman, Angela L. v.
 6 that the proceedings were recorded by me and                           PHH Mortgage Corporation, etc., et al.
                                                                7
 7 thereafter reduced to typewriting by a qualified                 Veritext Reference Number: 5011406
                                                                8
 8 transcriptionist; that said digital audio recording of           Witness: Angela Ruckman           Deposition Date: 1/4/2022
 9 said proceedings are a true and accurate record to the       9
                                                                    Dear Sir/Madam:
10 best of my knowledge, skills, and ability; that I am        10
11 neither counsel for, related to, nor employed by any             The deposition transcript taken in the above-referenced
                                                               11
12 of the parties to the action in which this was taken;            matter, with the reading and signing having not been
                                                               12
13 and, further, that I am not a relative or employee of
                                                                    expressly waived, has been completed and is available
14 any counsel or attorney employed by the parties             13
                                                                    for review and signature. Please call our office to
15 hereto, nor financially or otherwise interested in the      14
16 outcome of this action.                                          make arrangements for a convenient location to
                                                               15
                         <%21018,Signature%>                        accomplish this or if you prefer a certified transcript
17                          MICHAEL R. RENNILLO                16
                                                                    can be purchased.
18                    Notary Public in and for the             17
                                                                    If the errata is not returned within thirty days of your
19                              State of Ohio                  18
20                                                                  receipt of this letter, the reading and signing will be
                                                               19
21 [X] Review of the transcript was requested.                    deemed waived.
22                                                             20
                                                               21 Sincerely,
23                                                             22
24                                                             23 Production Department
                                                               24
25                                                             25 NO NOTARY REQUIRED IN CA

                                                     Page 67                                                                               Page 69
                                                                1            DEPOSITION REVIEW
 1             CERTIFICATE OF TRANSCRIBER                                   CERTIFICATION OF WITNESS
 2          I, CHRISTIAN ATCHLEY, do hereby certify that        2
                                                                        ASSIGNMENT REFERENCE NO: 5011406
 3   this transcript was prepared from the digital audio        3       CASE NAME: Ruckman, Angela L. v.
                                                                               PHH Mortgage Corporation, etc., et al.
 4   recording of the foregoing proceeding, that said                   DATE OF DEPOSITION: 1/4/2022
 5   transcript is a true and accurate record of the            4       WITNESS' NAME: Angela Ruckman
                                                                5       In accordance with the Rules of Civil
 6   proceedings to the best of my knowledge, skills, and           Procedure, I have read the entire transcript of
                                                                6   my testimony or it has been read to me.
 7   ability; that I am neither counsel for, related to,
                                                                7       I have made no changes to the testimony
 8   nor employed by any of the parties to the action in            as transcribed by the court reporter.
                                                                8
 9   which this was taken; and, further, that I am not a          _______________           ________________________
10   relative or employee of any counsel or attorney            9 Date              Angela Ruckman
                                                               10     Sworn to and subscribed before me, a
11   employed by the parties hereto, nor financially or           Notary Public in and for the State and County,
                                                               11 the referenced witness did personally appear
12   otherwise interested in the outcome of this action.          and acknowledge that:
13                                                             12
                                                                      They have read the transcript;
14                     <%26979,Signature%>                     13     They signed the foregoing Sworn
                                                                          Statement; and
15                       CHRISTIAN ATCHLEY                     14     Their execution of this Statement is of
16                                                                        their free act and deed.
                                                               15
17                                                                    I have affixed my name and official seal
                                                               16
18                                                                this ______ day of_____________________, 20____.
19                                                             17
                                                                          ___________________________________
20                                                             18         Notary Public
21                                                             19         ___________________________________
                                                                          Commission Expiration Date
22                                                             20
                                                               21
23                                                             22
24                                                             23
                                                               24
25                                                             25


                                                                                                                               18 (Pages 66 - 69)
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Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 21 of 199. PageID #: 480


                                                                Page 70
 1           DEPOSITION REVIEW
            CERTIFICATION OF WITNESS
 2
         ASSIGNMENT REFERENCE NO: 5011406
 3       CASE NAME: Ruckman, Angela L. v.
                 PHH Mortgage Corporation, etc., et al.
         DATE OF DEPOSITION: 1/4/2022
 4       WITNESS' NAME: Angela Ruckman
 5       In accordance with the Rules of Civil
     Procedure, I have read the entire transcript of
 6   my testimony or it has been read to me.
 7       I have listed my changes on the attached
     Errata Sheet, listing page and line numbers as
 8   well as the reason(s) for the change(s).
 9       I request that these changes be entered
     as part of the record of my testimony.
10
       I have executed the Errata Sheet, as well
11 as this Certificate, and request and authorize
   that both be appended to the transcript of my
12 testimony and be incorporated therein.
13 _______________           ________________________
   Date              Angela Ruckman
14
       Sworn to and subscribed before me, a
15 Notary Public in and for the State and County,
   the referenced witness did personally appear
16 and acknowledge that:
17     They have read the transcript;
       They have listed all of their corrections
18         in the appended Errata Sheet;
       They signed the foregoing Sworn
19         Statement; and
       Their execution of this Statement is of
20         their free act and deed.
21     I have affixed my name and official seal
22 this ______ day of_____________________, 20____.
23         ___________________________________
           Notary Public
24
           ___________________________________
25         Commission Expiration Date

                                                     Page 71
 1             ERRATA SHEET
           VERITEXT LEGAL SOLUTIONS MIDWEST
 2           ASSIGNMENT NO: 5011406
 3    PAGE/LINE(S) /    CHANGE       /REASON
 4    ___________________________________________________
 5    ___________________________________________________
 6    ___________________________________________________
 7    ___________________________________________________
 8    ___________________________________________________
 9    ___________________________________________________
10    ___________________________________________________
11    ___________________________________________________
12    ___________________________________________________
13    ___________________________________________________
14    ___________________________________________________
15    ___________________________________________________
16    ___________________________________________________
17    ___________________________________________________
18    ___________________________________________________
19
   _______________     ________________________
20 Date          Angela Ruckman
21 SUBSCRIBED AND SWORN TO BEFORE ME THIS ________
22 DAY OF ________________________, 20______ .
23       ___________________________________
         Notary Public
24
         ___________________________________
25       Commission Expiration Date

                                                                                     19 (Pages 70 - 71)
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 Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 22 of 199. PageID #: 481


[00923 - additional]                                                           Page 1

          0            1700 2:15             31st 17:18,21         80 51:5
 00923 1:8             1820 68:2               19:25 24:21         873.93 37:2,8,11
 01/07/21 3:14         1st 25:11             34 3:19                 37:17 38:7 41:6
 01/12/21 3:14                  2            35 3:20                 41:22
 03/08/21 3:20                                        4            8th 36:10 37:1,5
                       2 3:9 8:2,5,17 34:1
          1            20 28:7 69:16         4 1:14 3:11 4:8 9:2            9
 1 3:8 43:9              70:22 71:22           15:11,12 32:10,12   9 3:18 31:9,10,13
 1.50 33:12            2007 57:12 58:11        33:20                 32:25
 1/4/2022 68:8 69:3      58:14               40 46:5                        a
   70:3                201 2:15              42 3:21
                                                                   a.m. 1:15 4:5 8:14
 10 3:10,19 33:13      2013 52:1             43 3:22
                                                                     40:24 41:2 54:7
   34:9,12 36:24       2019 55:12            44107 2:7
                                                                   ability 66:10 67:7
 100 12:9 55:25        2020 13:2,4 14:9      44114 68:2
                                                                   able 6:9,11 21:5
 10:14 1:15 4:5          14:11,18 21:6       44224 2:23
                                                                     22:21 53:9 61:11
 10:18 8:11              50:15,17,22 58:24   44902 1:18 4:10
                                                                     62:6
 10:19 8:14              59:2 60:25 61:11    4500 2:22
                                                                   absent 4:13
 11 3:20 35:15,16        62:11 63:16         45202 2:16
                                                                   absorb 62:6
   35:25 41:9          2021 9:2 22:2                  5            absorbing 51:14
 1100 68:1               26:19 39:4 43:10
                                             5 3:3,13 16:20,21       62:8
 116 1:17 4:9            52:21 53:14 63:17
                                             5011406 1:20 68:7     access 27:10
 11:05 40:24           2022 1:14 4:8 68:4
                                               69:2 70:2 71:2      accomplish 68:15
 11:21 41:2            21.76 46:7
                                             54 3:4                account 3:19 31:2
 11:39 54:4            21018 66:16
                                             5:21 1:8              accuracy 9:1
 11:44 54:7            216-523-1313 68:3
                                                      6            accurate 9:7,11
 11th 24:7             22 3:14
                                                                     42:14 58:2 66:9
                       23rd 17:9 37:6        6 3:14 22:2,3,12,13
 12 3:21 11:5,12                                                     67:5
                       24 31:6                 32:12
   26:19 42:2,3                                                    acknowledge
                       25th 34:23 37:12      60 12:21
   43:25 61:4                                                        69:11 70:16
                         38:6                6th 36:10,20
 12/07/20 3:13                                                     acknowledgeme...
 12:01 65:15,17        26 3:15                        7              4:12
 12th 25:4,24 28:2     26979 67:14           7 3:15 26:12,13       act 69:14 70:20
   28:10 29:22         28 3:17                 52:1                action 13:1,5,11
 13 3:22 43:19,21      29th 29:24,25 30:8    77 51:11 59:17          49:9 52:7 66:12
 14 3:23                 47:17 48:13,16        61:14                 66:16 67:8,12
 14th 28:21              49:2,2              7th 17:23 22:24       actions 52:8,12
 15 3:12 18:9 28:7              3              23:18,19            add 58:19
 15000 2:6             3 3:10 10:7,8,20               8            added 46:3
 16 3:13 12:8 43:25      41:8                8 3:9,16 28:17,18     additional 40:5
 17 68:4               31 3:18                 29:5                  54:13 65:1


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 Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 23 of 199. PageID #: 482


[additionally - breaking]                                                       Page 2

 additionally 4:13       57:2                assigned 4:3          bank 13:1 19:21
 address 17:1          answering 6:21        assignment 69:2         20:1,3,25 21:2
   29:12                 55:3                  70:2 71:2             26:24
 addressed 44:22       anxiety 13:14         assistance 3:17       bankruptcy 12:9
 administer 4:12         49:22 50:11 51:18     56:18                 12:14,16 13:18,19
 admission 43:9          51:22 52:3 53:6,7   atchley 67:2,15         13:23 14:2,5
 admit 43:9              53:8                ate 60:19 63:11         55:13,17,18 56:5,8
 admitted 43:11        anybody 7:3 47:1      attached 3:25           56:19,23
   59:1,11 60:24         47:10 65:14           43:20 70:7          basically 31:24
   62:14               appear 69:11          attendance 5:1          59:6
 advice 18:20            70:15               attorney 10:1         beginning 5:2
 advised 55:19         appearing 5:1           17:15 18:25 19:4      13:13,15,16,22
 affect 63:5,7,8,10    appended 70:11          23:13 45:1 54:11      14:21 31:22
   63:13                 70:18                 54:16 64:13,19      behalf 2:2,10,19
 affidavit 3:22        applicable 4:19         66:14 67:10           45:14
   43:15,19 44:9       application 24:22     attorneys 44:25       behavior 58:19
 affixed 69:15         applied 54:16         attribute 53:5        behaviors 58:5
   70:21               apply 54:15           attributing 53:17     believe 35:19
 ago 6:1 23:1 50:9     approval 3:11         audio 66:8 67:3       bennett 16:25
   51:25 52:2,2 53:3     15:17 19:8 32:10    august 14:11,18         18:16 22:16 24:12
   53:4 64:3           approved 15:9         authorize 70:11         25:24 34:21 35:9
 agree 4:15 36:17      approximately         authorized 4:11         35:22 36:18 37:1
 agreement 3:15          22:25               available 46:11         38:2,12,14 41:15
 agreements 45:19      areas 62:22             68:12                 41:16 46:20 54:25
 ahead 15:24 19:1      arrangements          ave 68:1                57:23
   23:9 45:5             45:10 68:14         avenue 1:17 2:6       best 66:10 67:6
 al 1:9 68:6 69:3      aruckman419             4:9                 better 10:5 56:9
   70:3                  17:4                aware 32:5 33:18      bit 18:4 34:24
 alcohol 6:14          ashley 2:20 5:5         43:14,18              56:11
 alleging 54:20          53:20 54:11                   b           blank 2:14
 alleviated 64:4,9     asked 6:21 7:23                             blankrome.com
                                             b 1:8 2:10 3:6
 amount 41:24            16:2,8 18:2 20:23                           2:17
                                             back 8:13 16:13
 amounts 44:20           30:25 33:16,21                            body 51:14 62:5,7
                                               16:14 19:16,16,25
 amueller 2:24           34:19 35:9 48:9                             62:22
                                               20:18 21:6,18
 angela 1:5,13 2:2       59:8 60:10                                bones 63:1
                                               32:9,25 35:12,13
   4:6,7 5:3,9,18      asking 23:23 25:1                           bottom 24:8 36:21
                                               35:13 37:24 39:9
   41:14 68:6,8 69:3     25:14 32:15,23                            boulevard 2:22
                                               39:11,13 40:10
   69:4,9 70:3,4,13      54:16 64:18                               break 6:22 36:6
                                               41:1,4 53:23 54:6
   71:20               assaulted 57:24                               40:22
                                               59:8 63:15,20
 answer 6:6 7:22         58:5,9                                    breaking 41:19
                                             balloon 18:3,5,8
   11:24 19:2 45:6
                                               18:23 19:11
                                Veritext Legal Solutions
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 Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 24 of 199. PageID #: 483


[breaks - covered]                                                               Page 3

 breaks 6:19 37:6      cetera 46:12 62:9     combined 46:2,5        copy 10:10 21:7
 bring 7:8             change 70:8 71:3      come 10:24,25            21:10,17 27:6,7,8
 bringing 7:14         changed 52:23           21:1,9,14 34:19        30:6 38:2,13 40:2
 broken 51:13          changes 52:25           39:20 47:14 48:16    corporation 1:8
   61:14 63:1            69:7 70:7,9           53:23 59:8,9,20,25     2:10 4:8 68:6 69:3
 bruised 61:15         charge 55:1             60:11 64:16,17         70:3
           c           cheaper 34:5          coming 24:24           correct 11:15 13:3
                       check 35:11 38:16     commission 69:19         16:14 19:9 25:16
 c 2:1 4:1
                         51:8                  70:25 71:25            25:17 33:2 37:8
 ca 68:25
                       checkfreepay 31:7     communicator             39:18 40:18 41:16
 call 10:7 28:17
                         31:23 33:4,12,25      55:2                   41:20 42:21 43:12
   68:13
                         34:5 40:13,17       company 2:21             44:3 48:3 57:7
 called 5:19 23:14
                       children 47:8           30:24,25 56:7,7        61:6 62:6 63:25
   23:15,19 34:18,23
                       choice 19:15 33:18    compared 25:20         corrections 9:13
   35:12
                       choose 31:20          complaint 3:9 8:2        70:17
 calling 22:1 23:22
                       christian 67:2,15       8:18 9:14 43:20      correctly 44:6
 calls 46:10
                       chronic 62:13 63:2    completed 14:2         costs 44:14 45:23
 capable 58:21
                       cincinnati 2:16         68:12                  64:21
 card 30:19 31:3
                       circumstances         comprehending          counsel 9:22 42:11
 cards 56:6
                         39:10 40:7            60:8                   42:25 43:4 66:11
 care 13:24 45:10
                       civil 69:5 70:5       concern 61:10            66:14 67:7,10
   49:19 56:18 57:2
                       claimed 24:20         concerned 19:10        counseling 60:22
   60:10,11 61:11
                       claiming 10:11          59:22 60:3,14,21     counteroffer
 carefully 9:4
                         44:12,15 49:9       conclude 6:3             17:24 18:1 19:7
 case 1:7 7:15 30:7
                         52:6,8 64:11        concluded 65:18          19:13
   42:11 44:12 68:6
                       claims 7:14           condition 52:9,11      county 15:3,6 16:5
   69:3 70:3
                       clarify 61:9          confirm 38:11            48:7 69:10 70:15
 cash 30:17
                       clear 7:13 8:4          42:1                 couple 6:1 7:12
 cause 13:12,14
                       cleveland 2:7 68:2    constitute 4:23          53:22 54:2
   19:10,24 20:7
                       client 17:24 58:4     contacted 34:21        course 64:6
   21:8 29:24 37:20
                       clients 57:25 58:2      35:1,4,5,7,8         court 1:1 9:2,8
   38:8,19 50:23
                         58:10               continue 60:9            16:16 29:24 30:5
 center 2:15
                       close 20:8            continued 7:25           49:5,5 60:6 69:7
 certain 62:22
                       closer 59:8,9 60:12     29:23                courthouse 2:22
 certificate 66:1
                       clunk 2:19,21 5:5     contract 24:15           15:3
   67:1 70:11
                         18:15,15 54:12,20     25:16                courts 15:7 16:5
 certification 69:1
                         64:11               control 50:12            16:15 29:25 30:4
   70:1
                       clunkhoose.com        convenience 7:24         48:7,13 49:1
 certified 4:16
                         2:24                convenient 68:14         59:19
   68:15
                       collect 43:11,16      copies 21:15,16        covered 65:14
 certify 66:4 67:2
                                               24:2,6 37:20 38:3

                                Veritext Legal Solutions
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 Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 25 of 199. PageID #: 484


[covid - duly]                                                                   Page 4

 covid 20:15 29:25      dates 12:17 14:10     description 3:7       division 1:3
 credit 56:6              16:3,6 24:16        determine 13:25       doable 52:12
 current 24:16 25:2       25:16 39:4            50:23               doctor 49:19
   37:21 38:5           day 20:4,6 33:25      determined 51:14        61:10
 currently 9:17           34:1 47:5,5 69:16     62:4                doctors 49:8,12
   27:19 63:18            70:22 71:22         diagnosed 50:4,6        51:6 59:22 60:3
 customer 23:23         days 12:21 27:16        51:19,23,24,25        61:23 62:4
 cv 1:8                   28:21 31:7 37:11    diagnosis 51:21       document 8:20,24
           d              59:5 61:13 65:8     diane 16:24 18:16       9:1,11,20,23 10:14
                          68:17                 25:24 27:7 28:14      10:18 11:6,9
 d 1:8 2:10 3:1 4:1
                        daytime 20:7            34:21 35:8,22         15:14,18,21 17:2
 daily 53:6
                        deadline 24:21          41:14 54:25 57:22     20:24 21:7,10
 damage 47:4
                        deal 47:18 48:14        63:15                 26:21 28:21 30:4
 damages 3:9 8:18
                          48:25               difference 33:22        36:23
   44:11 45:21 47:3
                        dealing 15:6 16:4       34:3                documentation
   54:19,21 64:10,18
                        dear 68:9             different 17:5          45:15
 dan 2:4 5:9
                        debit 30:19 31:3        18:14 23:5,11       documenting
 dangerousness
                        december 17:18          25:5,20 32:14,20      31:12
   60:9
                          17:21,23 19:24,25     51:12,12 59:18      documents 7:5,8
 dann 2:3,5 5:11,12
                          21:6 23:20 24:21      63:6,12               14:20 17:21 20:16
   5:12 7:16,21
                          32:18               difficulty 62:16,19     21:15 24:9 25:20
   10:13,17,20,22
                        decision 3:16         digital 66:8 67:3       26:1,9 44:19
   11:17,20,24 12:6
                          56:19,23            direct 23:14 53:16    doing 7:23 20:15
   18:23 19:1 22:10
                        deed 69:14 70:20      directly 39:20          36:5,6 48:6,6,8
   22:13,17 26:5
                        deemed 68:19            57:9                  55:7,18,22 56:5,13
   28:25 29:3,6
                        default 55:11         disclose 45:10          58:21
   31:17 35:24 36:2
                        defendant 2:10,19     discover 21:5 42:5    doubt 27:5
   36:9 37:14 41:11
                        defendants 1:10       discovery 3:21        downhill 48:21
   42:19,22 45:5,18
                        degree 53:15            42:6,23               51:4
   64:24 65:3,10,12
                        denied 19:13          discuss 7:2 8:19      downloaded 27:6
   68:5
                          29:16                 18:2                dr 49:12,14,15
 dann's 18:14
                        department 68:23      discussed 17:15       draft 9:14
 dannlaw.com 2:8
                        deposition 1:12         60:17 61:20         drive 20:16
 date 1:14 16:16
                          3:8 4:6,21 6:2,20   discussing 17:10      driver's 20:20
   19:14,19,21 25:2,9
                          6:25 7:2,6,25 8:4     24:23 25:22 31:13   dropped 59:17
   25:11,14,15,17,20
                          8:20 57:6 66:1        31:14 32:12 35:20   drugs 6:13
   25:21 26:18 30:5
                          68:8,10 69:1,3      dismiss 30:7          due 12:22 13:2
   39:3 59:4 68:8
                          70:1,3              dismissed 48:19         19:25 51:3 56:2
   69:3,9,19 70:3,13
                        depression 49:20      distress 48:23 49:9     63:15
   70:25 71:20,25
                          51:22,23 52:4       district 1:1,2        duly 5:19 66:5
 dated 24:13 28:20
   34:22
                                 Veritext Legal Solutions
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 Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 26 of 199. PageID #: 485


[duplicative - forth]                                                              Page 5

 duplicative 7:12       errata 68:17 70:7      experiences 50:16      fight 57:20 58:2,3
           e              70:10,18 71:1        experiencing              58:6
                        error 3:19 34:19          50:14               figure 21:4 39:15
 e 2:1,1 3:1,6 4:1,1
                        es 66:4                expiration 69:19          46:16
 earlier 54:16
                        esq 68:5                  70:25 71:25         file 12:9,14 13:19
   61:20
                        esquire 2:3,4,12       explain 18:21             56:19,23
 east 2:15
                          2:13,20                 30:13 47:2 52:25    filed 9:2,14 12:16
 eastern 1:3
                        et 1:9 46:12 62:8         54:19,23 63:8          13:1,6,11,18 14:4
 edema 51:1,3
                          68:6 69:3 70:3       expressly 68:12           14:5,17 15:2
   61:21 62:3
                        eventually 39:8,11     extension 16:2,8          47:25 48:2
 edits 9:13
                          40:4,9,11               16:16 17:9,10,14    financial 56:1,9,14
 effective 25:9,10
                        everybody 40:22           17:17                  56:16
   25:11,15,21
                          50:16 56:9 65:14     extensions 24:14       financially 66:15
 elaborate 13:17
                        evidentiary 4:20       extremely 50:20           67:11
   46:14
                        exact 12:17 14:9          53:11 61:14         financials 14:19
 email 3:13,20 17:1
                          16:2,6 19:14,19,20             f               24:1
   17:23 24:8 25:24
                          39:3,4,15 59:4                              find 47:20 57:5
   36:10 40:2 41:14                            facility 60:12
                        examination 3:2                               fine 36:7
   41:18 57:22 63:24                           facing 18:4 47:24
                          5:23 54:8                                   finish 6:6,21 47:19
   64:2                                        facts 9:10,22,25
                        examined 5:21                                 finished 47:7
 emails 3:14 16:23                             failure 13:2
                        excuse 5:7 60:5                               firm 2:5 48:8 49:4
   16:24 17:5,8,12                             fall 61:19
                        executed 17:21                                   54:12
   22:2,14,15,21                               fallen 51:13
                          70:10                                       firms 39:10 40:10
   35:21 36:17 46:10                           falling 61:18
                        execution 69:14                               first 5:19 7:12,20
   55:1 63:15,19,24                            familiar 8:21
                          70:19                                          24:25 30:23 33:13
 emergency 51:9                                   15:14 17:12 22:6
                        exhibit 3:8,9,10,11                              34:21 36:21 40:1
 emotional 44:13                                  28:22 29:8 42:7,9
                          3:13,14,15,16,18                               48:11,20 49:24
   47:3,4 48:23 49:8                           fat 51:14 62:8
                          3:19,20,21,22,23                               57:6 59:3 61:12
   52:7 54:21 64:21                            fear 14:12
                          8:2,5,17 10:7,8,20                          five 20:8 40:21
 employed 66:11                                february 34:23
                          15:11,12 16:20,21                              52:2 53:2 61:12
   66:14 67:8,11                                  38:22 52:1
                          22:2,3,12 26:12,13                          follows 5:21
 employee 66:13                                federal 8:2 10:2
                          28:17,18,25 29:5                            forced 59:7,12
   67:10                                          64:15
                          31:9,10,13 32:9,12                          foreclosure 13:1,5
 employees 21:1                                fee 33:12 45:19
                          32:25 34:9,12                                  13:11,21 14:4
 ended 8:20 51:1                               feel 60:1
                          35:15,16,25 36:24                              15:2,6 47:25 48:2
 enough's 7:24                                 feeling 63:15
                          41:9 42:2,3 43:19                              48:18
 entered 70:9                                  fees 44:18,21
                          43:21                                       foregoing 66:3,4
 entire 69:5 70:5                                 45:12,24 64:17
                        exhibits 3:25                                    67:4 69:13 70:18
 equivalent 46:3                               fell 61:25
                        expected 58:17                                forget 18:10
 er 51:7 59:18                                 felt 59:10
                        expenses 53:17                                forth 9:10,23
   61:24                                       fifth 2:15
                                                                         39:11 40:10

                                  Veritext Legal Solutions
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 Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 27 of 199. PageID #: 486


[fortunate - isps]                                                             Page 6

 fortunate 57:5          26:11 28:8,16       helped 20:9           identify 5:1
 found 14:3 40:4         31:9 32:9,25 34:4   hereto 66:15 67:11    immediately 16:13
   48:19 56:12           34:9 35:14,18       high 53:12,13           47:14
 four 31:5 50:9          36:3 39:11 40:10    hit 58:12             implemented
   51:25 52:2,2 53:2     40:11,23 42:2       hmm 26:3 31:15          27:25 37:3
   53:4 61:12,23         43:15 47:5,6,11       37:13 41:7,10,17    important 26:15
 frame 12:19 14:8        48:21 50:21 53:20   hold 55:15            incorporated
   34:25                 54:3 55:15,21       holding 40:4,4,6        70:12
 free 69:14 70:20        56:2,2,8 61:22        47:21               incorrect 9:17
 front 11:11 16:7        65:14               holiday 4:9           incorrectly 44:4,7
   39:5,15             good 4:2 5:25         holly 49:24 50:1        44:8,9
 full 10:14,18 29:7      54:10 65:8          home 14:13 27:12      increase 53:6
   47:22               grandson 59:9           29:10 46:4 47:5,6   individual 20:22
 funds 37:12 38:25       60:13 61:3,8          47:7,9,11,11 51:7     60:22
 further 16:12         granted 14:21,24        51:8 59:20 60:1     influence 6:13
   66:13 67:9            15:4 17:17            60:11,11            information 9:8
           g           ground 6:4            honest 63:25 64:1       21:24 23:24 26:2
                       grouping 24:8         hoose 2:19,21 5:6       27:18,21,23 42:15
 g 4:1
                       groups 60:17            54:12,20 64:11        49:25
 gaining 60:10
                                 h           hopefully 6:3         initial 23:25
 general 12:18
                                             hospital 57:24        injuries 61:17
   60:16               h 3:6
                                               59:2,6,24 60:25     inn 4:9
 gentleman 18:10       habits 63:5,7
                                               61:7 62:10,14       inquiring 25:19
   18:17               half 23:1,17,18
                                             hospitalization       intended 4:18
 getting 24:19           51:16 59:13,20
                                               58:24               interactions 57:16
   57:19               hand 5:15
                                             hospitalized 50:17    interested 66:15
 give 17:7 22:5 31:2   handle 56:15,17
                                               50:19 51:15           67:12
   31:4 34:14 35:18    handles 49:21
                                             hour 46:7 61:4        intermediate
   43:6,23 44:17       handling 18:15
                                             hours 31:6 46:5         60:11
 given 33:14 39:17     happened 14:1
                                               53:10               interrogatory
 gmail.com 17:4          28:12 35:6
                                             house 12:7 19:17        3:23 42:10
 go 7:16 8:1,8         hard 29:4 53:10
                                               47:8,9 48:18        interrupt 15:25
   14:23 15:24 19:1    healed 62:23,24,24
                                               63:11,21,22         introduced 11:6
   20:1,16 21:1 23:9     63:1
                                             hsbc 13:1             involuntarily
   30:22 32:9,25       health 59:25 60:4
                                                       i             60:24
   39:9,12 41:4        hear 43:1
                                                                   involved 39:11
   42:24 43:23 45:5    hearing 5:13 29:4     idea 20:18
                                                                     40:10
   46:16 54:1 57:4       30:11 49:5          identification 8:6
                                                                   ipad 10:18
 going 6:2 7:11,21     held 46:18              10:9 15:13 16:22
                                                                   isolate 53:7
   8:10 10:6,17,24     help 22:18 40:12        20:19 22:4 26:14
                                                                   isps 58:19
   14:13 15:9 16:19      52:1 59:19            28:19 31:11 34:13
   21:9,14,17 24:5                             35:17 42:4 43:22
                                Veritext Legal Solutions
 www.veritext.com                                                         888-391-3376
 Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 28 of 199. PageID #: 487


[issue - marked]                                                                Page 7

 issue 34:4 46:12        31:12 33:7 39:9     leaking 51:3 61:13     looking 11:5 24:7
 issues 34:6 56:1        39:24 40:7 45:20       61:21 62:3            41:8 46:5
   62:25                 46:21 47:7,8,17     led 55:10 61:16        looks 11:10 17:8
           j             55:5 56:6,25 57:6   leg 51:2 61:13,21        17:17 34:10 36:20
                         58:18,20,22 59:4       62:3                  41:18
 january 1:14 4:8
                         63:21 64:14,15      legal 44:18,21         lose 14:13 47:11
   22:2,24 23:18,19
                       knowing 47:5,6,10        45:12,24 64:17,17     51:1
   24:7 25:3,23
                         56:25 57:1             68:1 71:1           losing 62:2,5
   26:19 28:2 29:24
                       knowledge 9:18        legs 51:1              lot 46:4,15 47:4
   29:25 30:7 47:17
                         10:1 44:10 48:16    letter 28:20,21          50:13 52:10 56:14
   48:13,16 49:1,2
                         66:10 67:6             29:13,15,19 68:18     56:16
   68:4
                       knows 64:14           level 53:11            lpa 2:19
 job 1:20 57:11,14
                       kroger 3:18 30:17     levels 53:8,13                  m
   57:18,19 58:17
                         31:14,21 34:7       license 20:20
 john 2:13 5:7                                                      madam 68:9
                         36:22 38:16,21      life 51:22 57:1,3,4
 jra 1:9                                                            madison 2:6
                         39:17,24            line 70:7 71:3
 july 39:4 46:24                                                    magistrate 16:5
                       krogers 30:15,22      listed 70:7,17
   55:11 63:16 64:7                                                   49:6
                         31:25 33:9 34:18    listing 70:7
 jump 7:11 58:23                                                    mail 21:21 26:1
                         35:1,13 37:24       little 7:12 18:4
 june 46:24 50:21                                                     27:14
                         38:19 39:9,12          34:24 56:11
   50:25 59:15 61:21                                                mailed 19:22 28:9
                         40:11,14 46:16,19   livable 52:12
           k                                                        main 32:7
                                 l           living 53:7
                                                                    making 12:11 15:5
 keep 19:16 21:2,7                           llp 2:14
                       l 1:5 2:2 4:7 68:6                             15:7 29:23 30:1
   24:6                                      loan 3:15 12:21
                         69:3 70:3                                    32:4 33:20 44:24
 keeping 26:1                                   18:21 19:8 32:10
                       labeled 8:2                                    48:5 55:15,19,23
 keeps 21:1                                     55:16,22 56:7
                       large 18:5,9                                   56:1
 kept 20:21,22                               local 32:1
                       late 15:22                                   man 20:9
   21:16 51:6                                located 19:5
                       law 2:5 10:4 18:23                           manner 4:21
 kicked 58:12                                location 1:16
                         39:10 40:10 48:8                           mansfield 1:18 4:9
 kind 13:12 20:19                               68:14
                         49:4 54:12                                   19:6 59:8,15
   20:21 21:23 30:16                         log 20:21,22,24
                       laws 4:20 64:15                              marc 2:3 5:12 68:5
   45:4 51:18 58:21                             21:2,2
                       lawyer 13:19,23                              march 36:9,10,20
   63:14                                     logs 21:3
                         14:5 16:9,17                                 37:1,5,6,12 38:6
 knee 62:24                                  long 49:13 50:1
                         17:15 18:15,18,20                            46:2 47:14,20
 knew 35:14 46:23                               54:14
                         29:9 44:18,21                                48:11,19 50:13
 know 6:20 10:4                              longer 24:18 49:17
                         45:11,14,17 55:14                            63:16
   12:9 14:3,9 19:14                            53:2
                         55:17,19                                   mark 22:7
   19:18,19,23 20:9                          look 15:14 16:25
                       lawyer's 18:11                               marked 8:5 10:8
   20:12,21 23:15                               17:7 22:5,21
                       lawyers 18:13                                  15:12 16:21 22:3
   24:22 25:10,10,15                            25:23 28:24 35:18
                         46:12,15 47:17                               26:13 28:18 31:10
   27:5,7,7,8 28:3                              42:2,6
                                                                      34:12 35:16,21
                                Veritext Legal Solutions
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 Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 29 of 199. PageID #: 488


[marked - offered]                                                              Page 8

  42:3 43:21           missing 44:16         mris 51:12            notarizing 20:24
 matter 4:7 45:13       46:17                mueller 2:20 3:4      notary 1:19 4:11
  50:10 52:6 68:11     mm 26:3 31:15           5:5,5 53:22 54:9      20:22 21:1,3
 matters 57:2           37:13 41:7,10,17       54:11 64:22           26:20 66:18 68:25
 mdann 2:8             mod 19:8              mute 53:21              69:10,18 70:15,23
 mean 12:7,14          modification 3:12               n             71:23
  15:25 23:16 24:10     3:15 13:20 14:5,6                          note 55:11
                                             n 2:1 3:1,8,23 4:1
  27:6 28:7 46:20       14:10,16,23,24                             notice 3:8
                                             name 4:2 5:25
  51:19 57:4 60:16      15:4,7,17 16:10,18                         notification 36:23
                                               19:3,4 29:12
  60:17,20 62:21,25     18:21 22:25 23:2                           notified 28:14
                                               30:25 54:10 68:6
  63:12,18,19,20,25     23:4,7,10 24:13,23                           29:25 34:17 35:3
                                               69:3,4,15 70:3,4
 meaning 52:20          24:25 25:5,8                                 36:22 38:19 48:12
                                               70:21
  53:14                 27:24 29:16 30:2                           notify 38:21 47:1
                                             name's 49:24
 means 4:22             30:6,22 32:8,10                            november 15:22
                                             near 60:12 61:3
 medicaid 57:7,9        37:3 47:16,19                                17:8 24:13 25:11
                                             necessarily 13:13
  57:10                 48:4,9,14,17 55:16                         number 21:12
                                               63:6
 medical 49:8 52:9      55:22 63:21 64:5                             23:23 31:2 33:20
                                             necessary 8:8
  52:11 56:2 58:13      64:8                                         34:1 43:9 68:7
                                             need 6:6 11:22
  59:10,14,16 60:1,6   molina 49:12,14                             numbers 70:7
                                               21:15 25:1,25
  60:10 62:25           49:15                                      nursing 60:11
                                               28:24 33:15 36:6
 medication 52:23      moment 34:14                                nutrients 51:15
                                               37:7,12 42:6
 medications 52:14     monetary 55:11                                        o
                                               45:15,20 61:8
  52:17 53:2           money 31:5 39:12
                                             needed 14:19,20       o 4:1
 mental 44:13           39:14,17,20 40:12
                                               21:9 30:23 37:2     oaths 4:12
  54:22 59:25 60:4      46:11,13,18 55:6
                                               56:17,18 59:11      object 7:21
  64:21                month 19:23 38:6
                                             neither 66:11 67:7    objected 11:22
 mentally 6:11         monthly 11:15,19
                                             never 14:5 21:16      objection 4:13
 mention 51:17          18:3 45:7 55:23
                                               24:1,20 29:9,19       5:14 11:17,20
 michael 1:19 4:3      months 33:19
                                               34:4 60:16            12:6 19:1 45:5
  66:2,17               46:19 50:2 53:3,4
                                             new 14:24 23:24       obligation 9:7
 midwest 71:1          morning 4:2 5:25
                                               24:22 25:13 27:8      42:14 56:16
 mine 17:6              36:1 54:10
                                               30:5 36:2 63:4      obligations 56:14
 minerals 62:8         mortgage 1:8,9
                                             newrez 28:20          obviously 23:16
 minute 10:16 17:1      2:10,11 3:10,17
                                             noise 63:11             44:22
  28:24 40:21 43:23     4:8 10:11 11:7,10
                                             nope 33:3             occur 19:18
 minutes 22:5 28:8      11:14,19,25 12:2,5
                                             northern 1:2          october 50:15,17
  35:18 42:6 53:23      30:24,25 33:16
                                             notarize 20:17          58:24 59:2,15
  54:2 61:4             55:11 56:7 68:6
                                               25:25                 60:25 61:11 62:10
 missed 12:10           69:3 70:3
                                             notarized 19:22       offer 23:11
  45:25 46:1           moving 42:2
                                               20:2,13 21:6 26:9   offered 23:7
                                               26:23 28:2
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 Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 30 of 199. PageID #: 489


[offers - pocket]                                                                 Page 9

 offers 18:12           open 29:6                30:10 32:3,6,11,13   percent 12:9 55:25
 office 18:10,11,13     opinion 63:25            32:15,17,21 55:7     permanent 3:11
   18:14,17 27:11       option 33:14           paragraph 43:24          15:17 16:9 25:4,8
   55:2,9 57:23         options 32:4             43:25                  30:6 51:21
   68:13                order 65:13            paragraphs 9:16        permitted 4:18
 officer 66:1,2         ordinances 10:2          44:2                 person 20:15
 official 69:15           64:15                park 1:17 4:9          personally 29:10
   70:21                original 11:10         part 26:16 32:11         69:11 70:15
 oh 1:18 2:7,16,23        23:6 27:3              49:20 57:19 58:16    pets 47:8
   11:2 36:2 64:20      osu 51:10,19 62:7        70:9                 phh 1:8,9 2:10,11
 ohio 1:2 4:10,12       outcome 24:5           parties 4:14 66:12       4:8 5:4,8 7:14
   57:8 66:19 68:2        66:16 67:12            66:14 67:8,11          17:21 18:12 21:19
 okay 7:2,11 8:1,23     outside 63:12          pay 30:23 31:3           23:14,15,19 27:13
   10:6,18,19,22 11:2   overnight 26:1           33:15                  28:4 30:3,14 32:3
   11:5,11,14 13:1,25     33:24                paying 34:6 45:9         33:16 34:15 35:8
   14:12,15 15:9,16     overnighted 27:16        47:23 48:10            37:23 38:9,15
   16:11,19 17:7,11     owe 41:22              payment 11:15            39:21 41:20 46:19
   17:14,23 18:18,25    owed 55:6                18:4,5,8,23 19:11      46:21 47:19 48:15
   19:7,12 21:7 22:1             p               30:9 31:8 32:17        48:17,25 49:4
   22:13,19 24:7,17                              33:2,14,19,20          52:7 53:5,17 55:3
                        p 2:1,1 4:1
   25:3,23 26:4,11,23                            34:10,15,20 35:8,9     55:9 68:6 69:3
                        p.m. 65:17
   27:13 28:16 29:6                              37:2,22,23,25 38:1     70:3
                        page 3:2,7 6:5
   29:8,12,18,21 30:9                            38:8,9,10,15,17      phh's 18:15 48:8
                          11:5,12 15:11
   30:13,16,20 31:9                              40:1 45:1,4 48:12    phone 29:24 46:10
                          32:12,14 36:21
   31:16 32:17,22,25                             48:20                  68:3
                          37:10 41:8 42:17
   33:10 34:6,9,20,22                          payments 11:18         physical 57:16,20
                          42:21,23 43:7
   35:5,10,15 36:3,4                             11:25 12:1,4,12        61:16
                          70:7 71:3
   36:6,8,9,15,20                                13:3,8 14:22 15:5    physically 6:9
                        paid 38:4 45:9
   37:17 38:16,21                                15:8 18:3 29:23        57:24 58:9
                          47:22 57:9
   39:23 40:17,20,22                             30:1,14,21,21,22     place 52:13 63:20
                        pain 62:13,17,20
   41:4 42:1,1,10                                31:20,23 32:1,2,5      63:24 64:2
                          62:21,22,23 63:2,3
   43:6,14,19 44:1,5                             32:7 34:3 37:6,21    plaintiff 1:6 2:2
                          63:4
   44:11 45:23 46:13                             38:4,20,22 39:6,16     5:12 64:25
                        paisley 2:21
   47:2 48:2,24 49:7                             39:25 40:5,15        plan 45:4
                        paper 32:20
   49:23 50:3,14,23                              41:19 43:10,17       please 5:1,15 6:5
                        papers 19:15
   51:7 52:3,14,20,25                            44:25 45:7 46:17       7:25 8:10 10:16
                          24:25
   57:11 58:23,25                                46:22,25 47:21         44:24 65:7 68:13
                        paperwork 14:17
   61:5,25 63:8                                  48:5,5 55:15,20,24   plus 61:24
                          14:25 16:12 23:17
 once 49:18 59:21                                56:1,6               pnc 2:15
                          23:25 24:12,15,18
   64:5,8                                      people 53:11 57:4      pocket 44:14
                          24:21 25:8,13,21
                                                 57:17,20 58:8,20       45:23 53:16
                          26:25 27:4 29:22
                                  Veritext Legal Solutions
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 Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 31 of 199. PageID #: 490


[point - rejected]                                                            Page 10

 point 18:19 38:18    procedural 4:19                 r           recognize 10:12
   51:4,11,14 58:12   procedure 69:5        r 1:19 2:1 4:1 66:2     11:8
   61:2                 70:5                  66:17               recommended
 policies 40:7        procedures 40:8       raise 5:15              32:20
 population 58:7      proceeding 1:16       raising 18:3 47:7     record 4:4,5,14
 portion 30:4           4:4,17 13:20        ran 33:17               5:2 7:13,19 8:4,8
 positive 14:18         65:18 67:4          reached 56:4            8:11,12,14 40:24
   28:14              proceedings 55:13     read 65:3,5 69:5,6      40:25 41:2 54:2,4
 possibility 58:18      66:3,5,6,9 67:6       69:12 70:5,6,17       54:5,7 65:15 66:9
 possible 13:4 27:3   process 14:7,10,16    reading 29:9            67:5 70:9
   58:5                 27:9 30:13,17         68:11,18            recorded 4:21
 possibly 18:2 23:3     55:16               realize 21:8,14,17      66:6
   26:24              processor 31:8          24:4,5 59:13        recording 4:16
 postal 21:20           33:11               really 33:23 47:14      66:8 67:4
 potentially 25:13    produced 4:16           56:24               reduced 66:7
   58:21              production 68:23      reason 6:16 70:8      reference 68:7
 pounds 51:5,11       professionals 49:8      71:3                  69:2 70:2
   59:17 61:14        protein 62:6          recall 12:11,15,17    referenced 68:10
 pre 52:20 53:14      ptsd 49:20,21 50:3      12:18,24 13:5,8       69:11 70:15
 prefer 68:15           50:4,6,11 51:21       14:8,11 15:16,18    referring 43:24
 prepare 6:24           52:4 53:7 60:14       16:2,6,6 18:1,7     refund 40:16
 prepared 42:11       public 1:19 66:18       19:20 23:21 26:24   refunded 37:24
   67:3                 69:10,18 70:15,23     27:2,5,15,17 32:6   refused 18:12
 present 9:7 42:14      71:23                 32:13,14 38:12        37:23
 pretty 14:18 28:14   pull 10:17 22:13        39:14,16 57:22      regarding 14:22
   31:1 52:11 60:18   pulled 31:1 33:17     receipt 3:18 31:4       16:9,17 24:13
 prevent 6:16         pulling 10:13           31:14 38:2,14         25:7 46:12 56:4
 previously 43:14     purchased 68:16         68:18                 63:19
 primary 49:19        purpose 12:13         receipts 37:20        regular 21:21
 printer 27:10        put 56:9                38:4 41:16 47:22      27:14 48:5
 printers 27:11                 q             48:11               reimburse 38:24
 prior 23:17,19                             receive 24:25           40:14
                      qualified 66:7
   56:22 66:5                                 27:23 28:5          rein 55:2
                      question 6:21
 priority 27:16                             received 15:20,22     reiterate 6:4
                        12:13 37:22 38:9
 probably 28:7                                16:1,11 19:8        rejected 17:25
                        40:6
   46:3,5 58:11                               24:20 29:10,19        34:16 35:8,9
                      questions 7:12,20
   61:12                                      34:19 37:7,12         37:25 38:9,15,17
                        7:22 53:20,24
 probated 59:7                                38:11,13 41:19        38:20,22 39:7,24
                        54:13,15 55:4
 problems 10:23                               55:7,8                40:2 46:21 47:21
                        64:23,24 65:2
   55:23                                    receiving 15:18         48:12,20
                      quick 43:11,16

                               Veritext Legal Solutions
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 Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 32 of 199. PageID #: 491


[rejecting - signed]                                                             Page 11

 rejecting 23:6         responses 3:21,23                s              24:1 25:6 27:4,7
   46:25                  6:7 42:5,11,25       s 2:1 3:6 4:1 70:8,8     27:24 28:3,15
 rejection 23:8           43:4                   71:3                   29:21 30:10 35:25
 related 44:16 46:8     rest 49:21 51:22       safe 48:18 63:22         37:20 38:1,13
   64:21 66:11 67:7     result 52:7            sarah 2:12 5:4 6:1       41:6,15 43:4 51:7
 relative 66:13         return 17:20             22:10 29:3 35:24       51:8,10
   67:10                  34:20                  45:18                serious 59:11 60:6
 relayed 64:13          returned 34:11         sarah.wilson 2:17      seriously 59:14,16
 relief 56:21             68:17                saying 11:6 29:19        60:2
 rely 9:22              review 6:24 7:5          51:6 61:25           service 21:20
 remember 15:20           9:1,4 10:16 66:21    says 17:24 18:11         23:23
   20:4 28:8              68:13 69:1 70:1        22:24 24:8 25:24     servicing 1:9 2:11
 reminder 6:19          reviewed 17:24           37:11 43:9           set 9:10,22 24:25
   11:21                  36:15                screen 8:7,16            26:9 30:4
 remote 1:16            reviewing 9:19           15:10 22:24 31:2     severe 50:25 62:3
 remotely 5:1           ribs 51:13 61:14       scroll 10:23,25        share 8:7 15:10
 rennillo 1:19 4:3        62:23                  11:3 22:8,17         sharing 8:16
   66:2,17              richland 15:2,6          26:15 35:23          she'd 41:22
 repeat 28:1              16:5 20:3,25 48:7    scrolling 22:8 25:3    sheet 70:7,10,18
 report 3:19 34:19      right 5:15 7:11        seal 69:15 70:21         71:1
 reported 1:19            8:16 20:18 32:9      second 8:9 17:7        should've 51:25
 reporter 4:2,3           34:17,24 36:10         18:7 26:9 36:3       show 10:6 16:19
   5:11,13,22 8:10,13     41:18 43:7,8           43:6                   26:11 28:16 31:9
   40:23 41:1 53:25       44:11 53:19 63:2     section 26:20            34:9 36:24 38:4
   54:3,6 65:4,8,10     road 56:12             see 22:6 26:2            38:14 43:15 61:10
   65:13 69:7           rome 2:14                38:16 49:18,20       showed 36:24
 representing 49:4      room 51:9                59:9,19              showing 22:1
   54:12 55:9           roughly 46:2           seeing 16:24 49:15       37:21
 request 3:16 17:14       50:21 51:4,16,25       49:16,17 50:1        sick 50:20
   22:25 23:1,4,10        53:4                 seek 52:1 58:13        side 59:5,7 60:18
   43:9 45:15 70:9      ruckman 1:5,13         seen 8:23,23           sign 16:13 19:15
   70:11                  2:2 4:7,7 5:3,3,10   send 16:14 19:16         23:9 24:10 25:15
 requested 66:21          5:15,18,25 8:16        20:16,17 23:9          25:25 30:3 42:17
 requesting 45:12         22:15 41:4,14          25:12 26:1 27:13       48:15,18
 required 68:25           54:10 68:6,8 69:3      27:20 28:6 37:7      signature 11:11
 resent 38:1,10,14        69:4,9 70:3,4,13       37:17 38:7 41:24       26:16 65:16 66:16
 reserved 65:16           71:20                  45:18                  67:14 68:13
 resigning 25:20        rules 4:20 6:4,7       sending 23:3 24:9      signed 16:13 19:14
 resolutions 57:1         54:15 69:5 70:5        24:22 57:22            27:1 42:20,23
 respond 11:22          run 31:3               sent 16:13 19:22         69:13 70:18
                                                 21:18 22:24 23:17
                                  Veritext Legal Solutions
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 Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 33 of 199. PageID #: 492


[signing - things]                                                              Page 12

 signing 47:19         started 6:2 7:3       stressed 13:22                 t
   48:25 68:11,18        8:19 13:20 14:10      47:10               t 3:6
 sincerely 68:21         14:15,25 15:5       stressful 56:20,24    tailbone 61:15
 sir 68:9                47:14,15 48:1,22      57:14 58:15 60:25     62:24
 sit 63:23               48:23 50:12,21,25     61:2,5              take 4:4,11 6:19
 situation 52:9          51:4 55:13 61:20    stuff 18:22 56:2        6:22 10:12,15
   56:10 60:25 61:5      61:22                 63:1                  30:17 35:22 36:3
 situations 56:25      starting 32:18        subcontract 57:8        40:21 53:2,3
 six 59:5                51:1 63:16          submit 23:24            54:14 56:17 57:2
 skills 66:10 67:6     starts 36:12            44:22               taken 4:7 18:11
 sleep 63:9,10,13      state 10:2 25:4       submitted 23:25         49:19 52:17 59:3
 sleeping 62:11,16       45:8 47:22 57:8       24:3                  66:3,12 67:9
   62:19 63:5,7          64:15 66:19 69:10   subscribed 69:10        68:10
 slept 60:19             70:15                 70:14 71:21         talked 33:1 64:11
 solar 2:4 5:9,9       stated 30:5 43:15     subsidiary 31:24      talking 18:16
 solution 57:5         statement 69:13         33:5,7                24:11
 solutions 68:1          69:14 70:19,19      sudden 47:21,24       team 64:17
   71:1                states 1:1 21:20      suffered 64:19,19     tell 5:20 8:17
 somewhat 50:11          37:7                  64:20                 10:10 34:24 55:10
 soon 28:3,5,6 35:3    stating 25:21 55:5    suggestion 18:7       telling 61:23
   35:7,14               57:23               suggestions 18:6      tells 11:23
 sorry 15:10,24        stay 59:11,12 60:9    suite 68:2            temperature
   22:11 28:25 29:3    stayed 34:4 60:18     suites 4:9              63:11
   29:5 31:18 43:3,6   stems 54:23           summertime            ten 65:8
   47:12 52:20 53:21   stenographic 4:22       46:24 50:20         tend 53:7
 sort 21:11,11         stipulate 42:19,22    superior 68:1         terms 16:9,17 23:5
 sought 49:11          stipulation 4:23      support 44:19         testified 5:21
 speak 16:9,17         stop 55:19              45:15               testify 6:9,11
 speaking 6:6          stopped 12:11,13      supposed 14:23        testifying 6:17
 specific 55:25          62:8                  47:23 48:6,10         46:20 66:5
 specifically 43:24    stow 2:23               56:13               testimony 69:6,7
 spend 9:19            straight 28:8         supposedly 31:25        70:6,9,12
 spent 46:15           street 2:15           sure 6:5 7:13 9:21    tests 51:12
 spiraling 51:4        stress 13:12 44:13      10:4 27:17 40:23    thank 5:13,16,22
 spoke 6:1,23 23:21      47:4,13,13,15,25      53:25 54:3            65:4,10,13
 spoken 18:18,20         48:22 50:14,16      swear 5:14            therapist 49:17,21
 stable 52:11            51:18 52:7 53:6,8   sworn 4:14 5:19         49:23
 standby 8:10            53:11,13 54:22,22     66:5 69:10,13       thing 16:19 29:7
 start 14:6 55:16        56:22 63:14,18,23     70:14,18 71:21        32:7 53:25 54:3
   56:8 62:2             64:2,4,4,9          symptoms 53:5         things 13:24 20:15
                                                                     24:6 56:3,8,25
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 Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 34 of 199. PageID #: 493


[things - went]                                                                 Page 13

   57:4 63:6,12           32:2 34:2,18 35:7    twenty 31:5           verify 9:10 43:8
   64:16                  35:11,13 36:21       twice 51:7,13         veritext 4:4 68:1,7
 think 9:17 14:11         37:1 47:17 48:7      two 7:20 12:16          71:1
   14:21 19:3 24:11       48:13 49:1,2           17:5 27:16 28:21    videoconference
   24:17 25:17 40:15      55:14 56:5 62:7        31:7 32:1 43:23       1:12 2:4,12,13,20
   44:9 46:23 47:10     tolerable 52:12          50:2 51:2 53:3      vitamins 62:8
   51:24 53:4 58:11     top 17:1,23 21:3         59:12,20 61:13,21   voluntarily 59:1,3
   59:5 60:21 61:8      track 46:10,13           62:3                vs 4:7
   63:16                tracked 40:12          type 58:20                     w
 thinking 32:19         tracking 21:12,23      typewriting 66:7
                                                                     wait 30:5
   39:3,16 47:16          26:2 27:18,21                  u           waiting 25:4 30:3
 thirty 68:17           training 58:16
                                               unclear 7:19            47:18 48:15,17
 thought 13:23          transcribed 69:7
                                               understand 4:15       waived 68:12,19
   25:12 42:18 43:7     transcriber 67:1
                                                 6:7 9:6 42:13       walk 14:16 30:16
 three 7:20 14:22       transcript 4:16
                                                 54:17 58:7            35:6
   22:25 23:17,18         65:5,11 66:21
                                               understanding         walking 58:22
   27:11 39:16 40:5       67:3,5 68:10,15
                                                 48:24               walmart 31:25
   40:15,15 49:16         69:5,12 70:5,11,17
                                               understood 17:20      want 6:4 7:13
   51:16 53:3,4         transcriptionist
                                                 18:22                 10:12,15 24:15
   58:13                  66:8
                                               underwood 19:4,4        25:25 29:6 34:14
 time 1:15 4:25         trauma 49:17,21
                                               union 31:6,23,24        35:22 43:8 45:19
   6:23 7:3 8:19 9:19     49:23
                                                 32:15,24 33:2,6,8     58:23
   12:18,20,25 13:9     treated 49:7,13,14
                                                 33:12,24 40:18      wanted 19:16 41:4
   14:8,13,14 15:22     treatment 49:11
                                                 43:10,16              42:1 54:12 59:25
   16:1 18:24 20:6        58:13
                                               united 1:1 21:20        60:12,19 61:3
   20:14,14 21:8,13     trial 30:21 32:13
                                               update 45:21          water 51:3
   24:4 27:2,21 29:4      32:14,20 48:5
                                               updated 24:9,15       way 10:22,23
   33:13 34:3,25        tried 21:4
                                                 25:1 36:1             27:20 32:2 57:1,2
   35:22 44:10,22       true 66:9 67:5
                                               use 31:7,22 33:11       58:1 59:19
   45:3,11,25 46:1,9    trusted 55:17
                                                 33:11 43:16         we've 21:4
   46:15 51:18 55:14    truth 5:20,20,21
                                               uses 4:18             weak 61:14 62:1
   55:17,21,24,25         64:1
                                               usually 25:16         week 20:4 49:18
   56:15 62:14 63:14    truthful 9:7,11
                                                         v           weeks 6:1 23:1,17
 timely 12:11 13:3        42:14
                                                                       23:19 51:16 59:13
 times 12:16 40:11      try 18:3 25:25         v 1:7 68:6 69:3
                                                                       59:20
   58:13                trying 18:8 19:3         70:3
                                                                     weight 51:2,3
 today 6:3,9,11,16        46:16 56:15          valid 24:18
                                                                       59:21,23 60:10
   7:9 36:22 63:19      tube 20:17             verbal 6:6
                                                                       61:22 62:2,5
   63:23 64:2,12        tuesday 1:14           verification 42:17
                                                                     went 16:15 19:15
 told 17:9 23:3,8,12    turned 14:18             42:21,23
                                                                       19:21 20:25 29:24
   30:23 31:1,22          37:25 40:3
                                                                       30:2 33:19 37:24
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 Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 35 of 199. PageID #: 494


[went - yep]                                                              Page 14

  43:3 48:14 51:7      working 58:10
  53:10 63:21 64:5     worse 50:13 52:10
  64:8                 worth 46:6
 west 1:17 4:9         would've 19:24
 western 31:6,23         20:7,11 21:6
  31:24 32:15,23         23:16,18,19,20,22
  33:1,5,8,12,24         38:19 39:24 48:19
  40:18 43:10,16       wounds 51:2
 wilson 2:12 3:3         61:13,21 62:3
  5:4,4,24 6:1 7:18    written 4:23
  8:1,7,15 10:15,19    wrong 15:10 61:24
  10:21 11:2,4,21      wrote 46:4 64:1
  12:3 22:7,12,15,19            x
  22:20 26:7 29:2,5
                       x 3:1,6 66:21
  29:11 31:19 35:25
  36:5,8,12,14 37:16            y
  40:21 41:3,13        yeah 10:17 11:2
  42:20,24 43:1          11:13 28:11 32:19
  45:20,22 53:19         36:11,13 52:22
  54:1,16 65:1,5,7,9   year 13:2 48:2
 wirthlin 2:13 5:7,8     63:24 64:2
 witness 4:14,15       years 12:8,18 18:9
  5:2,14,19 12:1         49:16 50:9 51:25
  26:6 29:8 31:18        52:2,2
  36:4,7,11,13 37:15   yep 30:12 37:9
  41:12 66:4 68:8
  69:1,4,11 70:1,4
  70:15
 woman 20:10,11
  20:12
 worded 25:10 44:4
  44:6,9
 wording 18:22
  58:1
 work 44:16,22
  45:25 46:1,6,8
  53:9,10 56:3,8
  57:9,17,20 58:8
  64:21
 worked 57:7,11


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Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 36 of 199. PageID #: 495



                    Federal Rules of Civil Procedure

                                     Rule 30



      (e) Review By the Witness; Changes.

      (1) Review; Statement of Changes. On request by the

      deponent or a party before the deposition is

      completed, the deponent must be allowed 30 days

      after being notified by the officer that the

      transcript or recording is available in which:

      (A) to review the transcript or recording; and

      (B) if there are changes in form or substance, to

      sign a statement listing the changes and the

      reasons for making them.

      (2) Changes Indicated in the Officer's Certificate.

      The officer must note in the certificate prescribed

      by Rule 30(f)(1) whether a review was requested

      and, if so, must attach any changes the deponent

      makes during the 30-day period.




      DISCLAIMER:       THE FOREGOING FEDERAL PROCEDURE RULES

      ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

      THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

      2019.     PLEASE REFER TO THE APPLICABLE FEDERAL RULES

      OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 37 of 199. PageID #: 496

                 VERITEXT LEGAL SOLUTIONS
       COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

 Veritext Legal Solutions represents that the
 foregoing transcript is a true, correct and complete
 transcript of the colloquies, questions and answers
 as submitted by the court reporter. Veritext Legal
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 exhibits, if any, are true, correct and complete
 documents as submitted by the court reporter and/or
 attorneys in relation to this deposition and that
 the documents were processed in accordance with
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Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 38 of 199. PageID #: 497



        Case: 5:21-cv-00923-JRA Doc #: 30 Filed: 12/03/21 1 of 3. PageID #: 335




                        UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION

   ANGELA L. RUCKMAN,                                  :     Case No.: 5:21-cv-00923-JRA
                                                       :
                          Plaintiff,                   :     Judge John R. Adams
                                                       :
   v.                                                  :
                                                       :
   PHH MORTGAGE CORPORATION d/b/a                      :     NOTICE OF DEPOSITION OF
   PHH MORTGAGE SERVICING, et al.,                     :     ANGELA L. RUCKMAN
                                                       :
                         Defendants.



         PLEASE TAKE NOTICE that Defendant PHH Mortgage Corporation (“PHH”), will take

  the deposition of Plaintiff Angela L. Ruckman, on Thursday, December 16, 2021 at 10:00 a.m.

  The deposition will take placer remotely via Zoom.

         The deposition will be taken before a notary public or other officer authorized to administer

  oaths, and shall proceed in accordance with R. Civ. P. 28.

         Angela L. Ruckman is to bring all documents related to this case, or to be relied upon for

  her testimony and in support of her claims in this action.

                                                           Respectfully Submitted,

  Dated: December 3, 2021                                  /s/ Sarah Alford Wilson
                                                           Sarah A. Wilson
                                                           John R. Wirthlin
                                                           BLANK ROME, LLP
                                                           1700 PNC Center
                                                           201 East Fifth Street
                                                           Cincinnati, Ohio 45202
                                                           Tel: (513) 362-8748
                                                           Fax: (513) 362-8777
                                                           Email: sarah.wilson@blankrome.com
                                                                   john.wirthlin@blankrome.com
                                                           Counsel for Defendant PHH




                                                                                                         EXHIBIT
                                                                                                            1
   Case:
    Case:5:21-cv-00923-BMB
           5:21-cv-00923-JRADoc
                             Doc#:#:4130Filed:
                                         Filed:02/25/22
                                                12/03/21392 of
                                                            of 199.
                                                               3. PageID
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                                                                         #: #:
                                                                            336498




                               CERTIFICATE OF SERVICE

        I certify that an exact copy of the foregoing document was sent via electronic mail on

December 3, 2021 to all counsel for record.


                                                  /s/ Sarah A. Wilson
                                                  Sarah A. Wilson
   Case:
    Case:5:21-cv-00923-BMB
           5:21-cv-00923-JRADoc
                             Doc#:#:4130Filed:
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                                                12/03/21403 of
                                                            of 199.
                                                               3. PageID
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                                                                            337499




       SNSC is the Principal Insured under a certain policy of insurance with Underwriters at

Llyod's of London. It is unclear at this time whether this action is covered under the policy, as the

insurer has not accepted coverage. To extent required under Rule 26(e), SNSC will supplement its

initial disclosures if and when there is a coverage determination.



                                                      Respectfully Submitted,


Dated: August 27, 2021                                /s/ Sarah Alford Wilson
                                                      Sarah Alford Wilson
                                                      Edward W. Chang (admitted PHV)
                                                      BLANK ROME, LLP
                                                      1700 PNC Center
                                                      201 East Fifth Street
                                                      Cincinnati, Ohio 45202
                                                      Tel: (513) 362-8748
                                                      Fax: (513) 362-8769
                                                      Email: SWilson@blankrome.com
                                                              EChang@blankrome.com
                                                      Counsel for Defendant SNSC
Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 41 of 199. PageID #: 500




AO 440 (Rev, 06/12) Summons in        Civil Action


                                          UNITED STATES DISTRICT COURT
                                                                     for the
                                                           Northern District of Ohio

                   ANGELA        L.   RUCKMAN



                           Ìlainiis)
                                  v.                                           Civil Action No.   5:21 -CV -923
          PHH MORTGAGE CORPORATION



                          Dcfendanl(.$)


                                                     SUMMONS IN A CIVIL ACTION
                                           CLUNK, HOOSE CO., L.P.A.
To: (Defendant'S   name and address)
                                           clo KF Statutory Service Corp.
                                           1111Superior Ave. East, Suite 2500
                                           Cleveland, OH 44114




         A lawsuit    has been        filed against you.

         Within 2l days after service of this summons on you (not counting the day you received it)               -
                                                                                                        or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or    (3)-
                      you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose naine and address are:      arc E Dann
                                Dann Law
                                           P.O. Box 6031040
                                           Cleveland, OH 44103




       ]f you fail to respond, judgment by default will be entered against you or the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                  SANDY OPACICN, CLERK OF COURT


Date:              05/04/2021                                                                          s1M. Lebron
                                                                                             Signature of Clerk or Ucpuly Clot




                                                                                                                                 EXHIBIT
                                                                                                                                    2
        Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 42 of 199. PageID #: 501




AO 440 (Rev. 06/12) Sammons in   a   Civil Action (Page 2)

 Civil Action No. 5:21 -CV-923


                                                                  PROOF OF SERVICE
                     (This sect!on should not            be filed with the court unless required by Fed. R. Civ. P. 4 (I))

             This summons for        (name   ofhid   vidua( and tide   if any)
 was received by me on (date)

             O I personally served the summons on the individual at (place)

                                                                                     on (date)                             ,   or
             O I left the summons at the ndividual re 'dunce or usual place of abode with (name)
                                                          , a person of suitable age and discretion who
                                                                                                        resides there,
             on (date)                      and mait ed a copy to the Individual s last known address; or

         O I sewed the su tmnons on (name of Ind v,dual)     '   i'                                                                 ,   who is
             d C31 gnated by law to accept sere1 ce of process on bel 1 allof (non,C of o
                                                                                          rganuation)
                                                                                     on roe
                                                                                         d t)                              ,   or
         3     I returned the summons unexceuted because
                                                                                                                                           or
         O Other (specify).




         My fees are S                                fo r travel and S                  for services, for a o tal o f $
                                                                                                                 t




         I   declare under penalty o pequry that this information is true



Date
                                                                                                 Server's signature



                                                                                            Printed name and     title




                                                                                                 Server s address

Additional information regarding attempted service, etc.
       Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 43 of 199. PageID #: 502
          C ase:   5:   2 1 -cv- 00923 -JRA Doc    #:   1 Filed: 05/04/21 1 of 22.     PagelD   #:   1




                             IN THE UNITED STATES DISTRICT COURT
                                      NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION AT CLEVELAND

ANGELA L. RUCKMAN                                         Civil Case No.
837 South Main Street
Mansfield, 011 44907

                            Plaintiff,

          v.                                              COMPLAINT FOR DAMAGES

PHH MORTGAGE CORPORATION                                  JURY DEMAND ENDORSED HEREON
d /b /a PHH MORTGAGE SERVICING,
c oCorporation Service Company
50 W. Broad St., Ste. 1330
Columbus, OH 43215

and


CLUNK, HOOSE CO., L.P.A.
   KF Statutory Service Corp.
c /o
1111SuperiorAve. East, Suite 2500
Cleveland, OH 44114

                             Defendants.

          Plaintiff Angela L. Ruckman, through counsel,           states as follows for her Complaint for

Damages (the "Complaint ") against Defendants PHI -I Mortgage Corporation d/b/a P1-lU

Mortgage Servicing and Clunk, Hoose Co., L.P.A.:

                                               INTRODUCTION

          1.       Plaintiff reached     an agreement with the servicer and owner     of her mortgage loan

to modify the terms        of the   same and cure the default thereunder.   Plaintiff fully performed on her

obligations thereunder, but the owner of her mortgage loan refused to honor the agreement and

moved forward with foreclosure proceedings through the loan's servicer and their foreclosure

and collections counsel.            Plaintiff consequently had to hire counsel to defend against the

                                                              Ruckman a PHH Mortgage Corp. etc. et al.
                                                                        Complaint for Damages: Page        1
  Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 44 of 199. PageID #: 503
         Case: 5:21 -cv- 00923 -JRA Doc # 1 Filed              05/04/21 2 of 22          P agelD # 2




forec osure procee d'rags w h'is-h should have been resolved through the agreement and fears that
     1




she will unjustly lose her home which has cause d h er t remen dous stress and anxiety

                            PARTIES, .1 U RISDICTION
                                                   i , AND VE NUE


         2      Plaintiff Angela   L   Ruckman    (`   Plaintiff or `Ruck man ") is the owner of the real

property and improtunents located thereupon located at and common y known as 837 South
                                                                                     1




Main Street, Mansfield OH 44907 (the 44 Home            ).


         3      Ruckm a n currently occupies and maintains the Home as her primary, principal

residence and has maintained the Home as such for all times relevant to the causes of action

pleaded in this Complaint.

         4      On August 24 2005 Ruckman executed a promissory note in th e amount of

$83 400 (the "Note') and a mortgage on the Home purportedly secunng the Note (the

"Mortgage") (collectively, t he ` Loan') See a copy of the Loan, attached as Exhibit I

         5      Defendant    PHI -I    Mortgage        Corporation   d/b /a     PIIII    Mortgage   Servicing

( "Defendant"   or I PHH') is a foreign corporation registered to do business in the State of Ohio,
                  `




with its corporate headquarters located at 4000 Chemical Road, Suite 200, Plymouth Meeting

PA 19462

         6.     PHH is the current servicer of the Loan and has serviced the Loan at all times

relevant to the causes of action pleaded in this Complaint

         7.     PHH services the Loan on behalf of the purported assignee of the Loan non -Party

HSBC Bank USA, National Association as Trustee for Ownit Mortgage Loan Trust, Mortgage

Loan Asset-Backed Certificates, Series 2005 -5 ( "HSBC ") and has acted with its authority or

otherwise on its behalf in relation to the Loan at all times relevant to the causes of action pleaded

in this Complaint.



                                                             RucAromn   v.   P HH Mortgage Corp. etc e t a 1.
                                                                             C omplaint for Damages. Page 2
      Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 45 of 199. PageID #: 504
         Case: 5:21 -cv- 00923 -J RA Doc #: 1 Fi e t 05/04/21 3 of 22. Page i D #: 3
                                                         'I     .




          8.      Defendant Clunk, 1 -Ioose Co., L.P.A. ( "Defendant" or "Clunk") is a law firm

located in Stow, OH, which was retained by HSBC to initiate foreclosure proceedings against

Ruckman to attempt to collect       a   debt allegedly owed on the Loan in the Court of Common Pleas

for Richland County, Ohio, Case No. 2020 CV 0169 (the "Foreclosure ").

          9.      PI-II-I is not a party to the Foreclosure.

          10.     Jurisdiction is conferred by 28 U.S.C.            §   1331 as this action   primarily arises under

the Dodd-Frank Wall Street Reform and Consumer Protection Act (DFA), the Real Estate

Settlement Procedures Act, 12 U.S.C. §§ 2601, et seq. (RESPA) and the Fair Debt Collection

Practices Act (FDCPA), 15 U.S.C. §§ 1692k(d), et seq.

          11.     This Court has supplemental jurisdiction to hear any state law statutory and

common law claims pleaded, infra, or that otherwise may arise pursuant to 28 U.S.C. '§ 1367.

          12.     Venue is appropriate within this District pursuant to 28 U.S.C.               §   139I(b) as: (I) A

substantial part of the events or omissions giving rise to the claims asserted herein occurred

within this District; and, (2) the Home. the property that is the subject of the action, is located

within this District.

                                SUMMARY OF CAUSES OF ACTION

          13.     Ruckman files this action in substantial part to enforce regulations promulgated

by the Consumer Financial Protechon Bureau (CFPB) and implemented pursuant to 12 U.S.C.                               §


2605(f) that became effective on January 10, 2014, specifically,                     12   C.F.R.    §   1024.1, et seq.

(`   Regulation X ").

          14.     In January 2013, the CFPB issued final rules               concerning mortgage markets in the

United States, pursuant to the DFA, Public Law No.             111 -203, 124      Stat. 1376 (2010).




                                                               Ruckman u PHH Mortgage Corp. etc. et al.
                                                                         Complaint for Damages: Page 3
    Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 46 of 199. PageID #: 505
          Case 5 21 cv 00923 JRA Doc #.                    1 Fi led    05/04/21 4 of 22         PagelD # 4




          15       Specifically, on January 17, 2013, the CFPB issued the Real Estate Settlement

Procedures Act Mortgage Servicing Final Rules, 78 F R. 10695 (Regulation X) (February 14,

2013) which became effLetn a on January 10, 2014.

          16.      Mortga e servicers are prohibited from failing `to comply with any other

obligation found by the [CFPB], by regulation, to be appropnate to carry out the consumer

protection purposes of [RESPA] "             12   U.S.C.   §   2605(k)(l)(E).

          17.      Mortgage servicers are prohibited from failing "to take timely action to respond to

a   borrower's requests to correct errors relating to allocation of payments final balances for

purposes of paying off the loan or avoiding foreclosure, or other standard servicer                    s   duties   " 12

U   S.0   §   2605(k)(1)(C).

          18       The Loan is a ' federally related mortgage loan' as said term is defined by 12

              1024.2(b)

          19       P1-11-I   is subject to the aforesaid regulations and does not qualify for the exemption

for "small servicers ", as defined in 12 C.F R.            §   1026 41(e)(4).

          20       PHH is not a "qualified lender", as defined in 12 C F R               §   617 700

          21       Ruckman asserts       a   claim for relief against PHH for violations of the specific nil s

under RESPA and Regulation X, as set forth, infra.                                                                   L



i "The Bureau believes that standard servicer duties are those typically undertaken by servicers
in the ordinary course     of business Such duties include not only the obligations that are
specifically identified in section 6(k)(1)(C) of RESPA but also those dunes that are defined as
"servicing" by RESPA as implemented by this nil , as well as duties customarily undertaken by
                                                                  u




servicers to investors and consumers in connection with the servicing of a mortgage loan. These
standard sen icer duties are not hunted to duties that constitute "servicing," as defined in this
rule, and include, for example, duties to comply with investor agreements and servicing program
guides, to advance payments to investors to process and pursue mortgage insurance claims to
monitor coverage for insurance (e.g., hazard insurance), to monitor tax delinquencies to respond
to borrowers regarding mortgage loan problems to report data on loan performance to investors
and guarantors and to wo+k with investors and borrowers on options to mitigate losses of
defaulted mortgage loans" 78 Fed. Reg 10696 10739 (emphasis added).

                                                                      Ruckman   v   PHH Moi ¡gage Corp etc. et al.
                                                                                    Complaint for Damages: Page 4
   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 47 of 199. PageID #: 506
        Case: 5:21 -cv- 00923 -JRA Doc        #: 1   Filed:   05/04/21 5 of 22. PagelD #: 5




        22.    Ruckman has a private right of action under RESPA p ursuant to                     12   U.S.C.   §


2605(Q, for the violations claimed, infra, and such actions provid e for remedies including actual

damages, statutory damages, and attorneys' fees and costs.

        23.    Ruckman is a "consumer", as that term is defined by            15   U.S.C.   §   1692a(3), and a

person affected by a violation of the FDCPA, and other violations, with standing to bring this

claim under 15 U.S.C.   §   1692.

        24.    Clunk is a "debt collector" as defined by        15   U.S.C.   §    1692a(6) as Clunk began

collecting on the Loan when the Loan was in default. Clunk regularly collects or attempts to

collect, directly or indirectly, debts owed or due or asserted to be owed or due another, such as

HSBC.

        25.    The Loan is a "debt" as that term is defined by the FDCPA as the underlying debt

sought to be collected by Clunk was a residential mortgage the primary purpose of which was for

personal, family, or household use.

        26.    Ruckman asserts a claim for relief against Clunk for violations of the specific

rules under the FDCPA, as set forth, infra.

        27.    Ruckman further asserts a state law statutory claim for violations of the

Residential Mortgage Lending Act, R.C. 1322.01, el seq. (RMLA).

        28.    Ruckman is a "buyer" as defined by R.C.1322.01(H), as she is an individual

whose loan is serviced by a mortgage servicer, PHH.

        29.    PHH is a mortgage servicer under the RMLA as It "holds the servicing rights,

records mortgage payments on its books, or performs other functions to carry out the mortgage

holder's obligations or rights under the mortgage agreement." R.C. 1322.0l(AA).




                                                         Ruckman u PHH Mortgage Corp. etc. et al.
                                                                   Complaint for Damages: Page 5
  Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 48 of 199. PageID #: 507
       Case. 5 21-cv -00923 JRA Doc #: 1 F le d : 05/04/21 6 of 22                      Page D
                                                                                             I   #:s


       30.         PHH   is su b.Jed to the requiremen t s o f   th e   RMLA    and does not qualify     for the


exemptions tsted in R C.
               1               3 22.04.


                                          STATEMENT OF FACTS

       31          Ruc k man, su ffering from a financial setback               became delinquent on h er

obligations under the Loan.

       32          HSBC, represented by Clunk, filed the complaint to initiate the Foreclosure on

March 5, 2020.

       33          In July 2020, Ruckman submitted a loss mitigation application to PHH through

Clunk (the "Application "). See a copy of an Afdavrt of Angela Ruckman filed in the

Foreclosure along with the pertinent exhibits cited infra, attached as Exhibit 2 at ¶ 4.

       34.         Prior to the Application Ruckman had not previously submitted a complete loss

mitigation application to PHH. See Exhibit 2

       35          PI-I[ -I sent correspondence dated August 4, 2020 acknowledging that the

Application was complete as of July 31 2020 See Exhibit 2 at ¶ 5.

        36.        Upon a re v iew of the Application, PHH offc red a trial loan modification to

Ruckman requiring her to timely remit three (3) trial plan payments of S469.15 in and for the

months of September, October, and November /020 (the `Trial Plan"). See Exhibit 2 at                9 6-7.
        3 7.       Ruckman timel y remitted all payments due under the Trial Plan See,           W. at   ¶7

        38.        PHH sent correspondence dated November 6, 2020 approving Ruckman for and

containing a permanent modification agreement for the Loan (the "Modification") See , Exhibit 2

at ¶¶ 7 8, Exhibit 2 at Ex. A.




                                                            Ruckman       t   PHH Mort gage Corp etc e t a         .


                                                                              Complaint for Damages. Page 6
   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 49 of 199. PageID #: 508
          Case: 5:21-cv- 00923 -JRA Doc                   #:   1    Fil e d   :   0 5 /04/21 7 of 22. PagelD       #:   7




          39.        The Modification provided, inter alia, that the Loan would be modified effective

as of November I, 2020 and that Ruckman was to remit monthly payments thereunder in the

amount of $469.12.        See,   Exhibit 2 at ¶   8   Exhibit 2 at Ex. A

          40.        Ruckman requested and received an extension of time to execute and return the

Modification due to a delay in the delivery of the same and PIIII advised that if Ruckman timely

remitted the payment due December              1,   2020, she could return the executed Modification at any

point prior to January      1,   2021. See, Exhibit 2 at ¶¶ 9 -11.

          41.        On November 30, 2020, Ruckman timely remitted                              a   payment in the amount of

$470.00 in satisfaction of the payment due under the Modification for December                                     1,   2020 via

money order in compliance with PHI-I's express written instructions for the same.                                See    Exhibit   2

at 111112-13- Exhibit 2 at Ex. B and C.

          42.        Ruckman properly executed the Modification and timely mailed the same to P1-11-I

in December 2020. See Exhibit 2 at ¶¶ 12 -14.

         43.         Ruckman continued to remit timely payments to PHH in satisfaction of her

obligations under the Modification and in accordance with PHH's express written instructions for

the same, specifically:

                a.   A payment in the amount of $470.00 on January 4, 2021 in satisfaction of the

                     payment due on and for January                1,   2020;

                b.   A payment in the amount          of $470.00 on February                  11, 2021 in   satisfaction of the

                     payment due on and for February                1,   2020; and,

                c.   A payment in the amount          of $470.00 on February 22,                    2021 in satisfaction    of the
                     payment due on and for March              1,   2020.

See,   Exhibit 2 at ¶¶   15 -16, 19 -20;   Exhibit    2   at Ex. D, E,            F.




                                                                           Ruckromn     v.   PHH Mortgage Corp. etc. e a          .

                                                                                             Complaint for Damages: Page 7
  Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 50 of 199. PageID #: 509
           Case* 5.21 cv -00923 JRA Doc # 1 Filed                05/04/21 8 of 22. Page D # 8




           44.    On January 29, 2021          at a hearing with Magistrate Andrea Clark in the

Foreclosure, !BBC and Clunk acknowledged receipt of the executed Modification and the

payments for the months of December 2020 and January 2021 See Exhibit 2 at 1117.

           45     PHH refused to accept or otherwise rejected Ruckman's February II                         2021

payment and Ruckman eccived notice dated February 25, 2021 informing her of the same. See
i



Exhi   i   2 at ¶ 22

           46     On March     3   20   1   Clunk, through Diane Bennett ('Bennett"), Clunk s Loss

Mitigation Department Coordin tor emailed Ruckman to indicate that the last payment PHH

received was for the January paymen and that Ruckman needed to make the February 2021 and

March 2021 payments im ned ately. See Fxhtbtt
                                                                   1
                                                       7,   at ¶ 21,        '   at Ex G

           47.    On March 3 2021 Clunk, through Bennett, emailed the client to confirm that

PHH would "res erse the denial" of the Modification and accept the past due amounts if

Ruckman remitted the same. See,                 2 at 1124. Exhibit 2 at Ex. G.

           48.    At no point in time did Ruckman receive a written denial from PHH concerning

the Application or the Modification. See,                   at ¶ 18.

           49.    Ruckman sent receipts of her February 11, 2021 and February 21, 2021 payments

in response to Bennett. See, Exhibit 2 at ¶ 25 Exhibit 2 at Ex. G

           50.    Despite having already acknowledged receipt of the December 2020 and January

2021 payments as of January 29, 2021, Bennett emailed Ruckman to state that the $470.00

payment remitted February 22, 2021 was applied to the payment due for January                    1,    2021    in

direct conflict to prior acknowledgments in the Foreclosure -and that she "didn't see any extra

receipts in your file indicating that a Jan pmt was made other that the receipts above that you

purchased on     2 22   almost one month behind ". See,     E    ibit 2 at ¶ 26- Exhibit 2 at Ex. G.



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   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 51 of 199. PageID #: 510
      C ase: 5:21 -cv- 00923 -J RA Doc #: 1 Filed: 05/04/21 9 of 22. PagelD #: 9




        51.     Ruckman emailed Bennett on March 10, 2021 to see if there has been any update

as to the tracking of the payments remitted to PI-1H and Bennett responded that the "receipts were

received and sent to PHI -I for review". See, Exhibit 2 at ¶¶ 28 -29; Exhibit 2 at Ex. K.

        52.     On March 19, 2021, Bennett emailed Ruckman claiming that PHH "cannot

confirm receipt of payments" and that the `receipts you provided do not show that payment was

sent to and received by   PI-H-1"   from Ruckman for February 2021 and March 2021 despite the

receipts showing proof of remittance in accordance with PHI-I's express written instructions for

the same and despite such payments being remitted in the same manner as the payments

Ruckman remitted on November 30, 2020 and January 4, 2021. See Exhibit 2 at 11130-31, 34;

J'xhihit 2 at Ex. K.

       53.      On or about March 21, 2021, Ruckman resubmitted the previously rejected

payment from February 11, 2021, and emailed Bennett on March 22, 2021 to advise of the same.

See, Exhibit 2 at ¶ 34; Exhibit 2 at Ex. M.

       54.      Through the March 22, 2021 email, Ruckman also advised that there had been no

notice issued that any other payments, including the February 22, 2021 payment, had been

refused, rejected, or otherwise declined. See, Exhibit 2 at ¶ 34. Exhibit 2 at Ex. M.

       55.      Bennett replied with an email stating she would forward Ruckman's receipt of the

resubmission of the February I, 2021 payment to PHH, but she also stated that she expected the
                                1




Modification to be denied because "[a]fter all, signed documents and payments were all due in

November 2020 "-an inaccurate statement. See, Exhibit       2, at   1135; Exhibit 2 at Ex. L.

       56.      Ruckman responded in turn to address Bennett's misrepresentations regarding her

payments under the Modification, stating:

                Per krogers, phh needs to use the reference numbers on the receipts
                to track payments received. Maybe it was posted to another


                                                        Rudman        y   PHH Mortgage Corp. etc. et al.
                                                                          Complaint for Damages: Page 9
  Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 52 of 199. PageID #: 511
      Case 5:21 -cv- 00923-JRA Doc #                       1 Filed: 05/04/21 10 of 22.       PagelD # 10




                account9 You claim   2 payments were missing, but the onl y
               denied payment has the February payment paid on 2/11. That
               was resubmitted yes t erday No other payments have been
                                                           .



               returned which means all other payments w e re received and
               accepted by PHH I have made eery payment. All paperwork
               was signed. Krogers can not track a pa ment that was sent
               after it was received. The other alleged m ssing payment has
               not been applied to my or was applied to another account I
               have my receipts showing I paid. I dont know what more I can
                do.

See . Exhibit 2 at `I 36 (emphas      s   added)'   E'   xhibi   at Ex    (emphasis added)

        57.    Ruckman, in fur herance of her satisfaction of her obligations under the

Modification, submitted      a   payment on March 20 2021 in the amount of $470 00 in satisfaction

of the payment du Apnl           1   2091 and in accordance with PHH's express wntten instructions fo

the same See , Exhibit   Z   at ¶ 39, F.xh'h't
                                          i i            at Ex. O.

        58      Ruckman remitted all payments due under the Modification from December 2020

through Apnl 2021 in a time y m a nner and each in accordance w th PHH's express written
                                      1




instructions for the same. See, Exhibit 2 at               40

        59      PHH has not sent and Ruckman has not received any notice from PHH, Clunk or

I-ISBC to cease making month y payments to PI-II-I as previo us ly instructed or otherwise
                                          1




changing such payment instructions See Exhibit 2 at ¶ 41.

        60.     PI-IH has not sent and Ruckman has not received any written notice that the

Application or Modification was denied or stating the reason for any such denial or stating

Ruckman's right to appeal any such denial. See Exhibit 2 at 1 44

        61.     On March 30,              021, Plaintiff filed a motion for summary judgmen agatns

Ruckman in the Foreclosure.

        62      Ruckman, in turn, reasonably determined that she had no other option than to hire

counsel to represent her in defense of the Foreclosure


                                                                     Ruc A roi a n v PHH Mortgage Corp etc et al
                                                                                   Complaint for Damages: Page 10
   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 53 of 199. PageID #: 512
      C ase:   5:21-cv- 00923 -JRA       Doc    #: 1   Filed:   05/04/21 11 of 22. PagelD          #:   11




       63.      Ruckman retained and incurred costs and fees to retain DannLaw to represent her

in the Foreclosure and which filed motions to enlarge the time to respond to             HSBC's motion for

summary judgment and to seek enforcement of the Modification.

                                      IMPACT AND DAMAGES

       64.      I -lad   PI -II-I and Clunk (collectively, "Defendants") acted appropriately, the Loan

would have been modified as agreed per the Modification thereby curing the alleged default on

the Loan and leading to a dismissal of the Foreclosure which would have precluded any need for

Ruckman to hire counsel to represent her in defense of the Foreclosure.

       65.      Due to Defendants' actions, Ruckman has unnecessarily been deprived of the

agreed upon Modification that would save her Home from foreclosure judgment and sale.

       66.      Defendants' improper actions have further caused Ruckman to suffer from other

damages including:

                a.   The loss of funds, the loss of use funds, and the time loss of funds in the

                     amount of $3,757.45 -three (3) payments of $469.15 due under the TPP and

                     five (5) payments of $470.00 remitted in excess of Ruckman's monthly

                     obligation of $469.12 under the Modification-without receiving the benefit

                     of the Modification which would have been implemented and boarded but for

                     Defendants' improper actions;

                b.   Loss of time and money for continued defense of the Foreclosure which

                     would not still be pending but for Defendants' actions in mishandling the loss

                     mitigation processes concerning the Loan in violation of RESPA and

                     Regulation      X    and     mortgage       servicing   guidelines      and    otherwise




                                                                Ruckman v PHH Mortgage Corp.            etc.   e a   .




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                                                                                 '    for   Damages: Page        I   I
 Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 54 of 199. PageID #: 513
   Case 5:21 -cv -00923 JRA Doc # 1 Filed: 05/04/21 12 of 22 PagelD                       it   12




               misrepresenting the status of the Loan and the amounts due thereunder in

               violation of the FDCPA,

          c.   Legal fees, costs, and expenses incurred in defense of the Foreclosure since

               Defendants' wrongful conduct including the preparation of and filing of

               motions in defense of the motion for summary judgment and in attempts to

               have the Court enforce the Modification

          d.   Improper fees and charges imposed on the Loan due to the unnecessarily

               continued Foreclosure for which Ruckman will likely become personally

               obligated should she eventually obtain a loan modification or which otherwise

               negatively impact any equity in the Home to which she is entitled,

          e.   Continued harm to Ruckman s credit and a delay in the rehabilitation of her

               credit and as the implementation of the Modification would have afforded her

               the opportunity to begin the process of rehabilitating her credit standing; and,

          f Severe emotional distress dri en by Defendants' actions and by the tangible

               tear that Defendants refusal to properly handle the loss mitigation process

               related to th Loan will result in the imminent loss of her Home to foreclosure
                           u




               sale, which has resulted in frustration, loss of sleep anxiety, depression,

               embarrassment and other significant emotional distress above and beyond the

               emotional distress caused by the Foreclosure from which she was suffering

               prior to the conduct alleged in this complaint.

PATTERN AND PRACTICE OH PHH'S VIOLATIONS OF RESPA AND REGULATION
                                             X




                                                   Ruchnan u PHH Moi ¡gage
                                                                                                        wwwill




                                                                                       Corp. etc et a            .




                                                                 Co m p lamt   for   Damages. Page 12
   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 55 of 199. PageID #: 514
      Case: 5:21 -cv- 00923 -JRA Doc         #:   1 Filed: 05/04/21 13 of 22. PagelD #: 13




         67.      PHFI's   actions are part of a pattern an d practice of behavior in violation of

PI ampif' s    rig his and in abdication and contravention of PHH's o bligations under the mortgage

servicing regulations set forth in Regulation X of RESPA.

         68.      As of the filing of this Complaint, consumers, nationally, have lodged:

                  a.   Seven Hundred Seventy-Six (776) consumer complaints against PI HI

                       specifically concerning the issue identified on the CFPB's consumer

                       complaint database as "loan modification, collection, foreclosure" related to

                       mortgages;

                  b.   Seven    Iundred Forty-Four (744) consumer complaints against PIII-I
                               I-


                       specifically concerning the issue identified on the CFPB's consumer

                       complaint database as "loan servicing, payments, escrow account" related to

                       mortgages; and,

                  c.   Three Hundred Four (304) consumer complaints against PI -Hi specifically

                       concerning the issue identified on the CFPB's consumer complaint database as

                       "trouble during payment process" related to mortgages.

Each such complaint is filed and cataloged in the CFPB's publicly accessible online database

(accessible at http: //www.consumertinance.gov/ data- research/consumcr-complaints/).

         69.      Plaintiff has reviewed the CFPB's consumer complaint database and has

identified other similar RESPA violations by PHH as alleged by other consumers. Plaintiff has

reviewed fifteen (15) consumer complaints attached hereto and identified as Composite Exhibit

3. The date, details, and a narrative disclosed by the consumer is set forth in each complaint. The

complaints evidence conduct showing that Rushmore has engaged in a pattern or practice of

violating RESPA with respect to other borrowers.



                                                         Ruckman    PHH Mortgage Corp. elc e t
                                                                   v.                         .   a1 .
                                                                   Complaint for Damages: Page    13
     Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 56 of 199. PageID #: 515
       Case: 521 -cv -00923 JRA Doc # 1 Filed: 05/04/21 14 of 22. PagelD # 14




                              COUNT ONE AGAINST PHH
                  VIOLATIONS OF 12 C F.R § 1024 41(g) AND 12 U.S.C. § 2605(k)

         70.            Ruckman restates and incorporates all of her statements and allegations contained

in paragraphs       1    through 69 in their entirety as if fully rewritten herein.

                                                4.41(a) explicitly provides that

                                            N
         71             12    C.F.R.   §   10                                      '   [a] borrower may enforce the

provisions of this section pursuant to section 6(0 of RESPA (12 U S C 2605(0)."

         72             If a borrower submits a complete loss mitigation application more than

thirty seven (37) days pnor to a foreclosure sale, then a servicer is prohibited from mo ring for




                                                                                                             V.
judgment unless.

                        (1)    The servicer has sent written notice pursuant to paragraph
                               (c)(1)(1), stating that the borrower is not eligibl for any loss




                                                                                        u
                               mitigation options and the borrower has not requested an
                               appeal, or the borrower's appeal has been denied,

                        (2)    The borrower rejects all loss mitigation options offered by
                               the servicer or,

                        (3)    The borrower fails to perform under an agreement on a loss
                               mitigation option.

12   C.F R.   §   1024 41(g).

         73             Comment        I   of the Official CFPB Interpretations to          12 C F R   §   1024.41(g)

provides:

                        The prohibition on a servicer moving for Judgment or order of sale
                        includes making a dispositive motion for foreclosure judgment,
                        such as a motion for default judgment, judgment on the pleadings
                        or summary judgment which may directly result in a judgment of
                        foreclosure or order of sale A servicer that has made any such
                        motion before receiving a complete loss mitigation application has
                        not moved for a foreclosure judgment or order of sale if the
                        scrviccr takes reasonable steps to avoid a ruling on such motion or
                        issuance of such order prior to completing the procedures required
                        by § 1024.41, notwithstanding whether any such action
                        successfully avoids a ruling on a dispositive motion or issuance of
                        an order of sale


                                                                     Ruckrnan v PHH Mortgage Corp etc et al
                                                                              Complaint for Damages Pagc 14
   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 57 of 199. PageID #: 516
      Case: 5:21 -cv- 00923 -JRA Doc              #: 1        Filed:     05/04/21 1 5 of 22. PagelD         #:   15




                                            rH:   "r                        '' Jÿ
Supplement Ito Part 1024.

        74.         Ruckman submitted the Application in July 2020 and PHH acknowledged it was

complete as of July 31, 2020. See Exhibit              2   at 11114-5.

        75.         Upon a review of the Application, PHH offered the Trial Plan to Ruckman and

Ruckman remitted all payment due thereunder. See, Exhibit') at                          16-7.
        76.         PHH sent correspondence dated November 6, 2020 approving Ruckman for and

containing the Modification. See, Exhibit 7 at TO 7 -8 Exhibit 2 at Ex. A.

       77.          PHH has not sent and Ruckman has not received any written notice that the

Application or Modification was denied or stating the reason for any such denial or stating

Ruckman's right to appeal any such denial. See, Exhibit 2 at 1 44.                  I




       78.          Ruckman has not rejected the Modification.

       79.          Ruckman dutifully performed and fully satisfied her obligations under the

Modification. See, Exhibit 2 at 11119-17, 40; Exhibit 2 at Ex. D, E, F, M, and O.

       80.          Despite Ruckman's performance and PHH failure to send a written denial in

accordance with the requirements of           12 C.F.R. §          1024.41(c)(l)(ii), Plaintiff filed a motion for

summary judgment against Ruckman in the Foreclosure on March 30, 2021.

       81.          PH1I actions in moving for summary judgment on March 30, 2021 were in

violation of   12   C.F.R.   §   1024.41(g) and 12 U.S.C.         §   2605(k)(1)(E) and, as     a   result, Ruckman has

suffered actual damages as detailed, supra, including but not limited to fees incurred in defense

of the motion for summary judgment and                        in moving to enforce the Modification in the

Foreclosure.

       82.          PHH's actions are part of a pattern and practice of behavior in conscious disregard

for Ruckman's rights.


                                                                       Ruckman u PHH Mortgage Corp. etc. et al.
                                                                               Complaint for Damages: Page 15
  Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 58 of 199. PageID #: 517
    Case: 5 21 -cv-00923 JRA Doc #. 1 Filed: 05/ 04/21 16 o f 22 Page D #: 16
                    :                                                                                                    I




       8 3.         PHH 's con d uct as pled, supra, shows a conscious d isregard for Plaintiff's nghts.

       84.          As a result of PHH's actions, PHH is liable to Ruckm an for statutory damages and

actual damages as further described, supra. 12 U S C                           §   2605(f)(1).

       85           Additionally, Ruckman requests r e asonable attorneys fees and costs incurred in

connection with this action 12 U S C                         §   2605(0(3).

                                 COUNT TWO AGAINST CLUNK
                         VIOLATIONS OF THE FDCPA, 15 U S C §§ 1692, et sew

       86.          Ruckman restates and Incorporates all of her statements and allegations c ontained

in paragraphs   I       throug 69 in their entirety. as if fully rewritten herein.
                                 1   1




       87           Ruckman is a "consumer" as she is a natural person and resident of Richland

County, Ohio, obligated or allegedly obligated to pay the Loan.                            15 U S C §      1692a(3)

       88.          The Loan is a "debt because it is an obligation or alleged obligation of Ruckman

to pay money arising out of a transaction primarily for personal, family, or household purposes

as Ruckman purchased the Home for her primary, pnncipal residence and the Loan provided

financing for the same                   15   USC   §   1692a(5).

       89           Clunk is             a    debt collector" because it regularly collects or attempts to collect on

the Loan and other mortga°e loans.                      15   U.S.C.   §   1692a(6)

       90.          Clunk's actions in moving for summary judgment in the Foreclosure despite

having actual knowledge that such actions constitute violations of                               12   C.F.R.   §       1024.41(g) and 'n
                                                                                                                                      i


making misstatements regarding the status of Ruckman , s payment s under the Modification,

constitute the use of false representations or deceptive means to collect or attempt to col ect on                               1




the Loan. 15 U.S.C.          §       169 z e(10)

       91           Clunk s actions in filing the motion for summary judgment 'n the Foreclosure                   1




despite having actual knowledge that such actions constitute violations of 12 C.F.R.                                                   §



                                                                              Ruchnan u PHH Mot ¡gage Corp. etc. et al
                                                                                      Complaint for Damages Page 16
      Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 59 of 199. PageID #: 518
        Case: 5:21-cv-00923-JRA D oc # 1 Filed: 05/04/21 17 of 22. PagelD #: 17
                                                           :




    1024.41(g), constitute the use of unfair or unconscionable means to collect or attempt to collect

on the Loan. 15 U.S.C.          §   1692f.

           92.       Clunk's actions in moving for summary judgment in the Foreclosure despite

having actual knowledge that such actions constitute violations of 12 C.F.R.                         §   I024.41(g) and in

making misstatements and misrepresentations regarding the status of Ruckman's payments under

the Modification, constitute the use of conduct, the natural consequence of which is to harass,

oppress, or abuse any person in connection with the collection of a debt of unfair or

unconscionable means to collect or attempt to collect on the Loan.                     15   U.S.C.   §   I692d.

           93.       Due to Clunk's actions, Ruckman has suffered actual damages as detailed, supra,

including but not limited to fees incurred in defense of the motion for summary judgment and in

moving to enforce the Modification in the Foreclosure.

          94.        As a result of Clunk's actions, Clunk is liable to Ruckman for actual damages and

statutory damages.        15   U.S.C.      §   1692k(a)(I).

          95.        Additionally, Ruckman requests reasonable attorneys' fees and costs incurred in

connection with this action. 15 U.S.C.               §   I692k(a)(3)

                                COUNT THREE: AGAINST PHH
                          VIOLATIONS OF THE RMLA, R.C. 1322.01, et seq.

          96.        Ruckman restates and incorporates all of her statements and allegations contained

in paragraphs    1    through 69 in their entirety, as if fully rewritten herein.

          97.        "No person      ...   shall act as a ... mortgage servicer ... without first having obtained

a    certificate of registration from the superintendent of financial institutions for the principal

office and every branch office to be maintained by the person for the transaction of business as a

... mortgage servicer       ... in this     state." R.C. 1322.07(A).




                                                                       Rucbromn    PHH Morsgage Corp. etc. e t a I
                                                                                  v.                                    .




                                                                                  Complaint for Damages: P age 17
  Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 60 of 199. PageID #: 519
      Case 5:21     cv- 00923 -JRA     Doc #   1 Filed:       05/04/21 18 of 22. PagelD                #.   18




       98.      PHH, as a mortgage servie er, is require
                                                     ' d to be registered with the Ohio


D epartment   of Commerce ,   Di v sion o f Financial Institutions under R.C. 1322.
                                 1




       99       PHH is a registrant under R C .      13   2   ,   as the Ohio Department            of Commerce,

                                                    i ica t e s o f registration,
Division of Financial Institutions has issued it cerCf                            License Nos.

RM.804016.000,          RM.804016.016 BR            RM .804016.018 BR                   RM.804016 0/ -BR,         1




RM 804016.024 -BR, and RM.804 Ol 6.025 -BR. R.C. 1322.01 (GG)

       100.     Ruckman is a buyer as defined by the RMLA, as             t he   Loan   is s   ervicC d by PI'II-I , a

mortgage servicer. R.0 1322.01(H).

       101.     A registrant licensee or person required to be registered or licensed under R C.

1322, et seq. cannot:

                (B) Make false or misleading statements of a matenal fact
                    omissions of statements required by state or federal law, or
                    false promises regarding a material fact, through advertising or
                    other means, or engage in a continued course of
                    misrepresentations; [or]
                (C) Engage in conduct that constitutes improper, fraudulent, or
                    dishonest dealings[ ]

R C. 1322.40.

       102      PHH, in omitting or misrepresenting facts throughout the loss mitigation process,

failing to accept and apply Ruckman's payments in furtherance of the Modification, in

misrepresenting the payment status under the Modification, and in moving for foreclosure

judgment despite Ruckman's performance under the Modification engaged in                       a   continued course

of misrepresentations by making false or misleading statements of a matenal fact. R C

1322.40(B).

       103      PHH's conduct in improperly handling the loss mitigation process for the Loan

and for omitting or misrepresenting facts throughout the same failing to provide proper



                                                          RucA7U alI t    P HH Moi tgage Corp               elc       e a   .


                                                                         Co mplaint for Damages Page 18
   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 61 of 199. PageID #: 520
         Case: 5:21 -cv- 00923 -JRA Doc           #:   1 Filed: 05/04/21 19 of 22. PagelD #: 19




responses to the NOE, and failing to timely correct the errors asserted through the NOE

constitutes violations of R.C. 1322.40(C).

          104.   PHII's conduct caused Ruekman to suffer actual damages, as further described,

supra.

          105.   As a result of   P1- 1I-1's   conduct, PI-Il-I is liable to Ruckman for actual damages, as

further described, supra, as well as reasonable attorneys' fees and costs incurred in connection

with this action and punitive damages. R.C. 1322.52.

         106.    A registrant, licensee, or person required to be registered or licensed under R.C.

1322, et seq., is required to comply with all duties imposed by other statutes or common law and:

                 (3) Act with reasonable skill, care, and diligence; [and]
                 (4) Act in good faith and with fair dealing in any transaction,
                     practice, or course of business in connection with the brokering
                     or originating of any residential mortgage loan[. I

R.C. 1322.45(A).

         107.    A registrant, licensee, or person required to be registered or licensed under R.C.

1322 cannot waive or modify its duties under R.C. 1322.45(A). R.C. 1322.45(C).

         108.    PHI -I's conduct in omitting or misrepresenting facts throughout the loss mitigation

process, failing to accept and apply Ruckman's payments in furtherance of the Modification, in

misrepresenting the payment status under the Modification, and in moving for foreclosure

judgment despite Ruckman's performance under the Modification, constitutes violations of R.C.

1322.45(A)(3)-(4).

         109.    As a result of PHH's conduct, PHH is liable to Ruckman for actual damages, as

further described, supra, as well as reasonable attorneys' fees and costs incurred in connection

with this action and punitive damages. R.C. 1322.45(D).

                                         PRAYER FOR RELIEF


                                                              Ruckman r. PHH Mortgage Corp. etc. et al.
                                                                       Complaint for Damages: Page 19
  Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 62 of 199. PageID #: 521
    C ase* 521 cv 00923 JRA Doc it 1 Filed* 05/04/21 20 of 22. PagelD # 20



       WHEREFORE        PI arntr
                            '    ff A nge I a L R uc kman prays that this   Court grant judgment

against Defendant PHH Mortga g e Corporation d/b/a PHH Mortgage Servicing and award her the

following.

       A      Actual damages from Defendant PHH Mortgage Corporation d/b/a PHH

              Mortgage Servicing in an amount to be determined at tnal for the allegations

              contained in Counts One and Three

       B      An award of statutory damages of Two Thousand Dollars ($2,000.00) from

              Defendant PHH Mortgage Corporation d/b /a PHH Mortgage Servicing for each

              violation of RESPA contained rn Count One.

       C.     For punitive damages against Defendant PHH Mortgage Corporation d/b/a PHH

              Mortgage Servicing as to Count Two;

       D      For attorney's fees and costs as to Counts One and Three,

       E      For such other relief which this Court may deem appropriate.

       WHEREFORE, Plaintiff Angela L. Ruckman prays that this Court grant judgment

against Defendant Clunk, Hoose Co., L.P.A. and award her the following:

       A.     Actual damages from Defendant Clunk, Hoose Co , L.PA g in an amount to be

              determined at trial for the allegations contained in Count Two

       B.     An award of statutory damages of One Thousand Dollars ($2 000 00) from

              Defendant Clunk, Hoose Co., L.P.A. for each violation of the FDCPA contained

              in Count Two;

       C.     For attorney's fees and costs as to Count Two;

       D      For such other relief which this Court may deem appropriate

                                                    Respectfully submitted



                                                     Ruckrnan   tP HH Ililot tgage Corp. etc. e a
                                                                                             t   1.


                                                                Complaint for Damages. Page 20
Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 63 of 199. PageID #: 522
  C ase: 5:21 -cv- 00923 -JRA Doc #: 1 Filed: 05/04/21 21 of 22. PagelD #: 21




                                        Is/ Marc E. Dann. Esq.
                                        Marc E. Dann (0039425)
                                        Daniel M. Solar (0085632)
                                        Michael A. Smith Jr. (0097147)
                                        Dann Law
                                        P.O. Box 6031040
                                        Cleveland, OH 44103
                                        Telephone: (216) 373 -0539
                                        Facsimile: (216) 373 -0536
                                        notices @dannlaw.com
                                        Counsel for PlainliJTAngela L. Ruclanan




                                         Ruckinan    PHH Mortgage Corp. etc. et al.
                                                    v.

                                                    Complaint for Damages: Page 21
  Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 64 of 199. PageID #: 523
      ase: 5 21 -cv -00923 JRA D oc # 1 Filed: 05/04/21 22 of 22. Page D # 22




                                      JURY DEMAND

      PI amtiffAngela
          '           L   Ruckman hereby requests a trial by jury on   a II   issues,
                                                                              '         WI'th   th e

maximum number of Jurors permitted by law

                                                  /s/Marc E Dann, Es q.
                                                  Marc E Dann (0039425)
                                                  Daniel M Solar (0085632)
                                                  Michael A Smi h Jr. (009714 7 )
                                                  Dann Law
                                                   Counsel for   Plaintiff Angela       L Ruckman




                                                    Ruckman v     PHH Mortgage Corp etc et al
                                                                 Complaint for Damages Page 22
Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 65 of 199. PageID #: 524




                                                                                                                    EXHIBITS_
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          Aller Recording Return To:
          OWNIT MORTGAGE SOLUTIONS,                         INC.
          27349 AGOURA ROAD, SUITE                         100
          AGOURA HILLS, CALIFORNIA                         91301




                                                     ¡Space above This   we va n.¡uere    Date]


                                                              MORTGAGE
           MIN:-
           DEFINITIONS

           Words used in multiple sections of Ns document are defined below and other words are defined N Sections 3, 11.
           13. 18, 20 and 21. Certain odes regarding the usage of words used in 0ns document arc also provided In Section 16.

           (A)    "Security Inabummt" means this document. which b dated                AUGUST 24      ,    2005           ,   together
           MI
            m
                  all Riders to this document.
                                        =        T      V170VMTN           a   CTN(lT.V Wl1MLN




           Borrower is the mortgagor under dus Security Instrument.
           (C) 'MERS' Is Mortgage Electronic Registration Systems. lac. MERS is s separate corporation that Is acting
           solely as a nomin e for Lender and Lenders successors and assigns. MERS Is the mortgages under this Security
           Instrument. MERS Is organized and existing under the laws of Delaware, and has an address and telephone number
           of P.O. Box 2026, Flint, MI 18501 -2026, tel. (888) 679 -MERS.
           (D) "Lender' is OWNIT MORTGAGE SOLUTIONS, INC.

           Lender isa     CALIFORNIA CORPORATION                                                                          organized
           and existing under the laws of CALIFORNIA
                        27349 AGOURA ROAD,
           Lenders address
                     Is                                                  SUITE 100, AGOURA HILLS,
           CALIFORNIA 91301
           (E)  "Nate^ mew the promissory note signed by Borrower and dated AUGUST 24, 2005
           The Note states that Borrower owes Lender EIGHTY -THREE THOUSAND FOUR HUNDRED AND
           00 /100                                             Dollars (U.S.$ 83, 900. 00                  ) plus Interest.
           Borrower has promised to pay this debt In regular Periodic Payments and to pay the debt in full ow later than
           SEPTEMBER 1, 2035
           (F) ^ Proper ty" means the orooerty that is described below under the headin a "Trasfer of Riehts In the Property."
           (0)    "   Lan" means Me debtevideoced by the Note, plus interest. any prepayment charges and rate charges due under
           Ibe Note, end all sums due under this Security Instrument. plus interest.




           OHIO-Single Family-Fannie   Ms6rMde Mec         UMFORM INSTRUMENT       -   MERS                mPM.gic®mPmM ePa...,eea
              3036OVOl
           Farm                                                                                                    www.docmeglacom
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Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 66 of 199. PageID #: 525




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        (H) "Ridas" means all Riders to this Security instrument that are executed by Borrower. The following Riders are
        to be executed by Borrower [check box as applicable]:

  ca           ®   Adjustable Raie Rider                   Condominium Rider                    Second Home Rider
                   Balloon Rider                           Planned Unit Development Rider       Other(s) [specify)
                   1   -4   Family Rider                   Biweekly Payment Rider

         (1)  "Applicable Law" means all controlling applicable federal, stale and local statutes, regulations, ordinances and
        administrative rules and orders (that have the effect of law) as well as all applicable final, non-appealable judicial
        opinions.
        (J) "Community Association Dues, Fees, and Assessments" means all dues, fees, assessments and other charges
        'hat are imposed on Borrower or the Property by a condominium assodallon. homeowners association or similar
        organization.
        (K) "Electronic Funds Transfer" means any transfer of funds, other than a transaction originated by check, draft.
        or similar paper instrument, which Ls initiated through an electronic terminal, telephonic instrument, computer, or
        magnetic tape so as to order. Instruct, or authorize a financial Institution to debit or credit an account. Such term
        includes, but is not limited to. point-of-sale transfers, automated teller machine transactions, transfers initiated by
        telephone, wire transfers, and automated clearinghouse transfers.
        (L) "Escrow Items" means those items that are described in Section 3.
        (M) "Miscellaneous Proceeds" means any compensation, settlement, award of damages. or proceeds paid
                                                                                                                         by any
        third party (other than insurance proceeds paid under the coverages described in Section 5) for: (i) damage to, or
        destruction of, the Property; (ii) condemnation or other taking of all or any part of the Property; (ill) conveyance in
        lieu of condemnation; or (iv) misrepresentations of, or omissions as to, the value and/or condition of the Property.
        (N) "Mortgage Insurance" means insurance protecting Lender against the nonpayment of. or default on, the Loan.
        (0) "Periodic Payment" means the regularly scheduled amount due for (1) princioal and interest under the Note_
        plus (ii) any amounts under Section 3 of this Security Instrument.
        (P) "RESPA" means the Real Estate Settlement Procedures Act (12 U.S.C. §2601 et seq.) and Its implementing
        regulation. Regulation X (24 C.P.R. Part 3500), as they might be amended from time to time, or any additional or
        successor legislation or regulation that governs the same subject matter. As used in this Security Instrument,
        "RESPA" refers to all requirements and restrictions that are imposed In regard to a "federally related mortgage
                                                                                                                           loan"
        even if the Loan does not qualify as a "federally related mortgage loan" under RP-SPA.
        (Q) "Successor in Interest of Borrower" means any party that bas taken title to the Property, whether or not
                                                                                                                             that
        party has assumed Borrower's obligations under the Note and/or this Security Instrument.

        TRANSFER OF RIGHTS IN THE PROPERTY

        This Security instrument secures to Lander: (t) the repayment of the Loan, and all
                                                                                           renewals, extensions and modifications
        of the Note; and (II) the performance of Borrower's covenants and agreements under this
                                                                                                Security Instrument and the Note.
        For this purpose, Borrower does hereby mortgage. grant and convey to MERS (solely as nominee for
                                                                                                             Lender and Lender's
        successors and assigns) and to the successors and assigns of MERS the following described
                                                                                                     property located in the
                               COUNTY                                   of                  RICHLAND
                            (Typt et        lurisdicdont                               (Nam
        SEE LEGAL            D
        A.P.N. #: 028-9G-056-15-000
                                       .I    ATTACHED          MET° AND MADE A          ART HEREOF TAS EXHIBIT "A"


        Situated in the City of Mansfield, County of Richland and State of
        Ohi0:  And brine Lnt N   Pr Ni vial-a.... atwuaauu c.i9UL
                                                           IS
        ( #19803) of the consecutively numbered                   nunarea Tnree
                                                lots in said City(formerly
        known as Lot #4 in Brentwood kllotment.)




        OHIO-Single Familya-Fannie Mee/Freddle Mec
        Form 303801/01                             UNIFORM INSTRUMENT. MERS                      DocbNpfçeDEmmoe aQQd4a4ta2
        With Authorlaed Changea                                                                            www,Qocmaglc.com
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        Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 67 of 199. PageID #: 526
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         .gy     which currently has the address of       837 SOUTH MAIN STREET
                                                                                                       [Street)
          oC
         cd         MANSFIELD                                                            44907
                                                                                                    Ohio                        ("Properly Address "):
                                                  IcuYI                                                           'ZIP Cade]

                       TOGETHER WITH all the improvements now or hereafter erected on the property, and all easements,
                 appurtenances, and rbxctures now or hereafter a part of the property. All replacements and additions shall also be
                 covered by this Security Instrument. All of the foregoing is referred to in this Security Instrument as the "Property."
                 Borrower understands and agrees that MERS holds only legal title to the Interests granted by Borrower in this Security
                 Instrument, but, if necessary to comply with law or custom, MERS (as nominee for Lender and Lender's successors
                 and assigns) has the right: to exercise any or all of those interests. including, but not limited to, the right to
                                                                                                                                    foreclose
                 and sell the Property; and to take any action required of Lender including, but not limited to, releasing and
                                                                                                                                    canceling
                 this Security Instrument.
                       BORROWER COVENANTS that Borrower is Iawfully seised of the estate berebv conveyed and has the Kehl
                 to mortgage. grant and convey the Property and that the Property is unencumbered. except for encumbrances
                                                                                                                                            of
                 record. Borrower warren's and will defend generally the title to the Properly against all claims and demands,
                                                                                                                                       subject
                 to any encumbrances of record.
                       THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform
                                                                                                                              covenants with
                 Limited variations by jurisdiction to constitute a uniform security instrument covering real
                                                                                                                  property.
                      UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:
                      1. Payment ofPrincipal. Interest, Escrow Items, Prepayment Charges.
                                                                                                  and Late Charges. Borrower shall
                pay when due the principal of. and interest on. the debt evidenced by the Note and any
                                                                                                         prepayment charges and late
                charges  due under the Note. Borrower shall also pay funds for Escrow Items pursuant to Section 3.
                                  --
                under the Note and Ihit      -._..., ...,...,..0
                                        .... Sar,,rGv
                                             ...........v           . p6 uuo ,,, u.o. Lurcvaey. .. however, u any check  .
                                                                                                                          Payments due
                                                                                                                              -      -
                                                                                                                                or other
                instrument received by Lender as payment under the Note or this Security Insstrument is returned
                                                                                                                     to Lender unpaid,
                Lender may require that any or all subsequent payments due under the Note and this
                                                                                                      Security Instrument be made in
                one or more of the following forms, as selected by Lender: (a) cash; (b)
                                                                                         money order; (c) certified check. bank check,
                treasurer's check or cashier's check, provided any such check is drawn upon an institution
                                                                                                           whose deposits are insured
                by a federal agency, instrumentality, or entity; or (d) Electronic Funds Transfer.
                      Payments are deemed received by Leader when received at the location designated Is the Note
                                                                                                                        or at such other
                location as may be designated by Lender is accordance with the notice provisions in
                                                                                                      Section 15. Lender may return
                any payment or  partial payment if the payment or partial payments are insufficient to bring the
                                                                                                                 Loan current. Lender
                may accept any payment or partial payment insufficient to bring the Loan
                                                                                                current, without waiver of any rights
                hereunder or prejudice to its rights to refuse such payment or partial payments in
                                                                                                         the future, but Lender is not
                uuugareu to apply such payments at the time such payments are accepted, If each
                                                                                                     Periodic Payment is applied as of
                Its scheduled due date, then Lender need not pay interest on unapplied funds.
                                                                                                Lender may hold such unapplied funds
                until Borrower makes payment to bring the Loan current. If
                                                                              Borrower does not do so within a reasonable period of
                time, Lender shall either apply such funds or return them to Borrower.
                                                                                            if not applied earlier, such funds will be
                applied to the outstanding principal balance under the Note
                                                                              immediately prior to foreclosure. No offset or claim
                which Borrower might have now ar in the future against Lender shall
                                                                                        relieve Borrower from making payments due
                under the Note and this Security Instrument or performing the
                                                                                 covenants and agreements secured by this Security
                Instrument.
                      2. Application of Payments or Proceeds. Except as otherwise
                                                                                         described in this Section 2, all payments
                accepted and applied by Lender shall be applied in the
                                                                       following order of priority: (a) Interest due under the Note;
                (b) principal due under the Note; (c) amounts due under Section 3 Curh A,vn.oec oRn ..
                Payment in the order in which it became due. Any
                                                                                            ......w                            _t -
                                                                                                          tic app++eu co _ed_ U renomc
                                                                    remaining amounts shall be applied first to Iate
                                                                                                                   charges, second
                to any other amounts due under this Security
                                                             Instrument. and then to reduce the principal balance of the
                                                                                                                         Note.




                OHIO-Single Family --Fannie Mae/Freddie Mac UNIFORM
                Fort 3036 01101                                      INSTRUMENT - MERS                                 rRrcAarpg ilfticsaai 8004404362
                With Authorized Changes                                                                                           www.docma0lc.00m
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Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 68 of 199. PageID #: 527


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             If Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a sufficient
 ed    amount to pay any late charge due. the payment may be applied to the delinquent payment and the late charge. If
 °     more than one Periodic Payment is outstanding. Lender may apply any payment received from Borrower to the
       repayment of the Periodic Payments if, and to the extent that, each payment can be paid in full. To the extent that
       any eXCeus exiara liner we payPienl lS eppjiea lO UM 1114 pelyiileni ai One OF OVUM !CM/UK raymCOLS, Sucn CX{:sSS May
       be applied to any late charges due. Voluntary prepayments shalt be applied first to any prepayment charges and then
       as described in the Note.
             Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due under the Note
       shall not extend or postpone the due date, or change the amount, of the Periodic Payments.
             3. Funda for Escrow Items. Borrower shall pay to Lender on the day Periodic Payments are due under the
       Note, until the Note is paid in full, a sum (the "Funds ") to provide for payment of amounts due for: (a) taxes and
       assessments and other items which can attain priority over this Security instrument as a lien or encumbrance on the
       Property; (b) leasehold payments or ground rents on the Property, if any; (c) premiums for any and all insurance
       required by Lender under Section 5; and (d) Mortgage Insurance premiums, any. or any sums payable by Borrower
       to Lender In lieu of the payment of Mortgage insurance premiums in accordance with the provisions of Section 10.
       These items are called "Escrow Items." At origination or at any time during the term of the Loan. Lender may require
                                                                      if
       that Community Association Dues, Fees, and Assessments, any. be escrowed by Borrower, and such dues, fees and
       assessments shall be an Escrow Item. Borrower shall promptly furnish to Lender all notices of amounts to be paid
       under this Section. Borrower shall pay Lender the Funds for Escrow Items unless Lender waives Borrower's
       obligation to pay the Funds for any or all Escrow Items. Lender may waive Borrower's obligation to pay to Lender
        Funds for any or all Escrow Items at any time. Any such waiver may only be in writing. In die event of such waiver,
       Borrower shall pay directly, when and where payable, the amounts due for any Escrow Items for which payment of
       Funds has been waived by Lender and. If Lender requires, shall furnish to Lender receipts evidencing such payment
       within such time period as Lender may require. Borrower's obligation to make such payments and to provide receipts
       shall for all purposes be deemed to be a covenant and agreement contained in this Security Instrument. as the phrase
         .,.                                               .
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       a waiver, and Borrower fails to pay the amount due for an Escrow Item, Lender may exercise its rights under Section
       9 and pay such amount and Borrower shall then be obligated under Section 9 to repay to Lender any such amount.
       Lender may revoke the waiver as to any or all Escrow Items at any time by a notice given in accordance with Section
       15 and, upon such revocation. Borrower shall pay to Lender ail Funds, and in such amounts, that are then required
       under this Section 3.
             Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to apply the Funds
       at the time specified under RESPA, and (b) not to exceed the maximum amount a lender can require under RESPA.
       Lender shall estimate the amount of Funds due on the basis of current data and reasonable estimates of expenditures
       of future Escrow Items or otherwise in accordance with Applicable Law.
             The Funds shall be held to an institution whose deposits are insured by a federal agency, instrumentality, or
       entity (including Lender, it Lender is an Institution whose deposits are so insured) or in any Federal Home Loan
       Bank, Lender shall apply the Funds to pay the Escrow Items no later than the lime specified under RESPA. Lender
       shall not charge Borrower for bolding and applying the Funds, annually analyzing the escrow account, or verifying
       the Escrow items, unless Lender pays Borrower interest on the Funds and Applicable Law permits Lender to make
       such a charge. Unless an agreement is made In writing or Applicable Law requires interest to be paid on the Funds,
       Lender shall not be required to pay Borrower any interest or earnings on the Funds. Borrower and Lender can agree
       in writing, however, that interest shall be paid on the Funds. Lender shall give to Borrower. without charge, an
       annual accounting of the Funds as required by RESPA.
             If there is a surplus of Funds held in escrow, as defined under RESPA, Lender shall account to Borrower for
       the excess funds In accordance with RESPA. If there Is a shortage of Funds held in escrow, as defined under RESPA,
       Lender shall notify Borrower as required by RESPA. and Borrower shall nay to Lender chi! Armond noeatearu to mains
       up the shortage to accordance will; RESPA. but In no more than 12 monthly payments. If there is a deficiency of
       Funds held in escrow, as defined under RESPA. Lender shall notify Borrower as required by RESPA. and Borrower




       OHIO-Singly Family--Faml, Mae /Freddie Mac UNIFORM INSTRUMENT - MERS                        OOLMeIIoIdens7d10a 800449-1JS2
       Form 3036 01/01
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       With Authorized Changes                           Page 4 or 13




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Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 69 of 199. PageID #: 528



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             shall pay to Lender the amount necessary to make up the deficiency in accordance with RESPA. but in no more than
             12 monthly payments.
 434                Upon payment in full of all sums secured by this Security Instrument. Lender shall promptly refund to Borrower
             any Funds held by Lender.
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             the Property which can attain priority over this Security Instrument, leasehold payments or ground rents on the
             Property, If any, and Community Association Dues, Fees, and Assessments. if any. To the extent that these Hems
             are Escrow Items, Borrower shall pay them In the manner provided In Section 3.
                    Borrower shall promptly discharge any lien which has priority over this Security Instrument unless Borrower:
             (a) agrees in writing to the payment of the obligation secured by the lien in a manner acceptable to Lender, but only
             so long as Borrower is performing such agreement; (b) contests the lien in good faith by, or defends against
             enforcement of the lien In, legal proceedings which in Lender's opinion operate to prevent the enforcement of the lien
             while those proceedings are pending, but only until such proceedings are concluded; or (c) secures from the holder
             of the lien an agreement satisfactory to Lender subordinating the lien to this Security Instrument. If Lender
             determines that any part of the Property is subject to a lien which can attain priority over this Security Instrument.
             Lender may give borrower a notice identifying the lien. Within 10 days of the date on which that notice is given,
             Borrower shall satisfy the lien or take one or more of the actions set forth above in this Section 4.
                    Leader may require Borrower to pay a one -lime charge for a real estate tax verification and/or reporting service
             used by Leader in connection with this Loan.
                    5. Property Insurance. Borrower shall keep the improvements now existing or hereafter erected on the
             Property insured against loss by {ire, hazards included within the term "extended coverage," and any other hazards
             including, but not limited to, earthquakes and floods, for which Leader requires insurance, This insurance shall be
             maintained in the amounts (Including deductible levels) and for the periods that Lender requires. What Lender
             requires pursuant to the preceding sentences can change during the term of the Loan. The insurance carrier providing
             the insurance shall bechosenby Borrower subject to Lender's right to disapprove Borrower's choice, which right shalt
             not be exercised unreasonably. Lender may require Borrower to uay. In connection with Mk I nail arthar rat a nna_
             time charge for flood zone determination, certification and trackingservices; or (b) a one -time charge for flood zone
             determination and certification services and subsequent charges each time remapplegs or similar changes occur which
             reasonably might affect such determination or certification. Borrower shall also be responsible for the
                                                                                                                                  payment of
             any fees imposed by the Federal Emergency Management Agency In connection with the review of any flood
                                                                                                                                           zone
             determination resulting from an objection by Borrower.
                    If Borrower fails to maintain any of the coverages described above, Lender may obtain insurance coverage. at
             Lender's option and Borrower's expense. Lender is under no obligation to purchase any particular type or amount
            of coverage. Therefore, such coverage shall cover Lender, but might or might not protect Borrower, Borrower's
            equity in the Property, or the contents of the Property, against any risk, hazard or
                                                                                                          liability and might provide greater
            or lesser coverage than was previously in effect. Borrower acknowledges that
                                                                                                       the cost of the Insurance coverage so
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                        ....b,.....r...m.,.,.i cmacu um i.6131 1.11 u nurance mat borrower coma nave obtained.
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                                                                                                                        Any amounts disbursed
            by Lender under this Section 5 shall become additional debt of Borrower secured
                                                                                                         by this Security Instrument. These
            amounts shall bear interest at the Note rate from the date of disbursement and
                                                                                                       shall be payable. with such interest.
            upon notice from Lender to Borrower requesting payment.
                   AU insurance policies required by Lender and renewals of such policies shall be
                                                                                                                  subject to Lender's right to
            disapprove such policies, shall include a standard mortgage clause, and shall
                                                                                                     name Leader as mortgagee and/or as an
            additional loss payee. Lender shall have the right to hold the policies and renewal
                                                                                                            certificates. If Lender requires,
            Borrower shall promptly give to Lender all receipts of paid premiums and
                                                                                                  renewal notices. IfBorrower obtains any
            form of Insurance coverage, not otherwise required by Lender, for
                                                                                           damage to, or destruction of, the Property, such
            policy shall include a standard mortgage clause and shall name Lender as
                                                                                                 mortgagee and/or as an additional loss
            Payee,
                  an   me event or toss, Borrower shall give prompt notice to the
                                                                                  insurance carrier and
                                                                                                  Lender. Lender may make
            proof of loss if not made promptly by Borrower. Unless
                                                                        Lender and Borrower otherwise agree in writing, any
            insurance proceeds. whether or not the underlying insurance
                                                                        was required by Lender, shall be applied to restoration




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Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 70 of 199. PageID #: 529



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       or repair of the Property, If the restoration or repair Is economically feasible and Lender's security is not lessened.
       During such repair and restoration period, Lender shall have the right to hold such insurance proceeds until Leader
t=i    has had an opportunity to Inspect such Properly to ensure the work has been completed to Lender's satisfaction,
       provided that such Inspection shall be undertaken promptly. Lender may disburse proceeds for the repairs and
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       is made in writing or Applicable Law requires interest to be paid on such insurance proceeds. Lender shall not be
       required to pay Borrower any interest or earnings on such proceeds. Fees for public adjusters, or other third parties,
       retained by Borrower shall not be paid out of the insurance proceeds and shall be the sole obligation of Borrower.
       If the restoration or repair is not economically feasible or Lender's security would be lessened. the insurance proceeds
       shall be applied to the sums secured by this Security Instrument, whether or not then due, with the excess, if any, paid
        to Borrower. Such insurance proceeds shall be applied in the order provided for in Section 2.
              If Borrower abandons the Property, Lender may file, negotiate and settle any available insurance claim and
       related matters. If Borrower does not respond within 30 days to a notice from Lender that the insurance carrier has
        offered to settle a claim, then Lender may negotiate and settle the claim. The 30.day period will begin when the
        notice is given. In either event, or If Lender acquires the Property under Section 22 or otherwise. Borrower hereby
        assigns to Lender (a) Borrower's rights to any insurance proceeds in an amount not to exceed the amounts unpaid
       under the Note or this Security Instrument. and (h) any other of Borrower's rights (other than the right to any refund
        of unearned premiums paid by Borrower) under all insurance policies covering die Property, insofar as such rights
        are applicable to the coverage of the Property. Lender may use the insurance proceeds either to repair or restore the
        Property or to pay amounts unpaid under the Note or this Security Instrument, whether or not then due.
              6. Occupancy. Borrower shall occupy, establish, and use the Property as Borrower's principal residence
       within 60 days after the execution of this Security Instrument and shall continue to occupy the Property as Borrower's
        principal residence for at least one year after the date of occupancy, unless Lender otherwise agrees in writing, which
        cousent shall not be unreasonably withheld, or unless extenuating circumstances exist which are beyond Borrower's
        control.
              7. Preservation. Maintenance and Protection of the Pronerty: Inanectinns. Rnrrnwnr shall lint dxtmv
        damage or impair the Property, allow the Properly to deteriorate or commit waste on the Property. Whether or not
        Borrower is residing in the Property. Borrower shall maintain the Property in order to prevent the Property from
       deteriorating or decreasing in value due to its condition. Unless it h determined pursuant to Section 5 that repair or
       restoration is not economically feasible, Borrower shall promptly repair the Property If damaged to avoid further
       deterioration or damage. if insurance or condemnation proceeds are paid in connection with damage to. or the taking
       of, the Property, Borrower shall be responsible for repairing or restoring the Property only if Lender has released
       proceeds for such purposes. Lender may disburse proceeds for the repairs and restoration in a single payment or in
       a series of progress payments as the work is completed. If the insurance or condemnation proceeds are not sufficient
        to repair or restore the Property. Borrower is not relieved of Borrower's obligation for the completion of such repair
       or restoration.
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       Lender may inspect the interior of the improvements on the Property. Lender shall give Borrower notice at the time
        of or prior to such an interior inspection specifying such reasonable cause.
              8. Borrower's Loan Application. Borrower shall be in default if, during the Loan application
                                                                                                                                    process,
       Borrower or any persons or entities acting at the direction of Borrower or with Borrower's knowledge or consent gave
        maieriaily false, misleading, or inaccurate information or statements to Lender (or failed to provide Lender with
       material information) in connection with the Loan. Material representations include, but are not limited to,
       representations concerning Borrower's occupancy of the Property as Borrower's principal residence.
              9. Protection of Lender's Interest in the Property and Rights Under this
                                                                                                              Security instrumeat. if (a)
       Borrower fails to perform the covenants and agreements contained in this Security instrument, (b) there is a
                                                                                                                                       legal
       proceeding that might significantly affect Lender's interest in the Property andfor rights under this
                                                                                                                        Security instrument
        tsuca as a proceeding in bankruptcy, probate, for condemnation or forfeiture, for
                                                                                                          enforcement of a lien which may
       attain priority over this Security Instrument or to enforce laws or regulations), or Ft) Borrower has
                                                                                                                            abandoned the
       Property, then Lender may do and pay for whatever is reasonable or appropriate                       protect Lender's interest in the




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       With Authorized Changes                                    Page 6   of   13




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Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 71 of 199. PageID #: 530




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       Property and rights under this Security Instrument, including protecting and/or assessing the value of the Property,
       and securing and /or repairing the Property. Lender's actions can include, but are not limited to: (a) paying any sums
       secured by a lien which has priority over this Security Instrument: (b) appearing in court; and (c) paying reasonable
       attorneys' fees to protect its interest in the Property and/or rights under this Security Instrument, including its secured
       nndu,nn inn hanern,nfru nmroodina Son.rino the Prnnerty includes. but IS not limited to. entering the Property to
       make repairs, change locks, replace or board up doors and windows. drain water from pipes, eiiminaie building or
       other code violations or dangerous conditions, and have utilities turned on or off. Although Lender may take action
       under this Section 9, Lender does not have to do so and b not under any duty or obligation to do so. It is agreed that
       Lender incurs no liability for not taking any or all actions authorized under this Section 9.
            Any amounts disbursed by Lender under this Section 9 shallbecome additional debt of Borrower secured by this
       Security Instrument. These amounts shall bear Interest at the Note rate from the date of disbursement and shall be
       payable, with such interest, upon notice from Lender to Borrower requesting payment.
            If this Security Instrument is on a leasehold, Borrower shall comply with all the provisions of the lease. If
       Borrower acquires fee title to the Property. the leasehold and the fee title shall not merge unless Lender agrees to the
       merger in writing.
             10, Mortgage Insurance. u Lender required Mortgage insurance as a conwuon or manmg uie Loan, aorrower
       shall pay the premiums required to maintain the Mortgage Insurance ni effect. If, for any reason, the Mortgage
       insurance coverage required by Lender ceases to be available from die mortgage insurer that previously provided such
       insurance and Borrower was required to make separately designated payments toward the premiums for Mortgage
       Insurance. Borrower shall pay the premiums required to obtain coverage substantially equivalent to the Mortgage
       Insurance previously in effect, at a cost substantially equivalent to the cost to Borrower of the Mortgage Insurance
       previously in effect, from an alternate mortgage insurer selected by Lender. If substantially equivalent Mortgage
       Insurance coverage is not available. Borrower shall continue to pay to Lender the amount of the separately designated
       payments that were due when the insurance coverage ceased to be in effect. Lender will accept, use and retain these
       payments as a non-refundable loss reserve In lieu of Mortgage Insurance. Such loss reserve shall be non -refundable.
       notwithstanding the fact dial the Loan is ultimately paid in full, and Lender shall not be required to pay Borrower any
       Interest or earnings on such loss reserve. Lender can no longer require loss reserve payments if Mortgage Insurance
       coverage (in the amount and for the period that Lender requires) provided by an insurer selected by Lender again
       becomes available, is obtained, and Lender requires separately designated payments toward the premiums for
       Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making the Loan and Borrower was
       required to make separately designated payments toward the premiums for Mortgage Insurance, Borrower shall pay
       the premiums required to maintain Mortgage Insurance in effect, or to provide a non-refundable loss reserve, until
       Lender's requirement for Mortgage Insurance ends in accordance with any written agreement between Borrower and
       Lender providing for such termination or until termination is required by Applicable Law. Nothing in this Section
        10 affects Borrower's obligation to pay interest at the rate provided in the Note.
              Mortgage Insurance reimburses Lender (or any entity that purchases the Note) for certain losses it may incur
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             Mortgage insurers evaluate their total risk on all such insurance in force from time to time, and may enter into
       agreements with other parties that share or modify their risk, or reduce losses. These agreements are on terms and
       conditions that are satisfactory to the mortgage insurer and the other party (or parties) to time agreements. These
       agreements may require the mortgage insurer to make payments using any source of funds that the mortgage Insurer
       may have available (which may include funds obtained from Mortgage Insurance premiums).
             As a result of these agreements, Lender, any purchaser of the Note, another insurer, any reinsurer, any other
       entity, or any affiliate of any of the foregoing, may receive (directly or indirectly) amounts that derive from (or might
       be characterized as) a portion of Borrowers payments for Mortgage Insurance, in exchange for sharing or modifying
       the mortgage insurer's risk, or reducing losses. If such agreement provides that an affiliate of Lender lakes a share
       of the insurer's risk in exchange for a share of the premiums paid to the insurer, the arrangement is often termed
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       With Authorized Changes                            Page 7 of 13




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Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 72 of 199. PageID #: 531



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112.1          (a) Any such agreements will not affect die amounts that Borrower has agreed to pay for Mortgage
        Insurance, or any other terms of the Loan. Such agreements will not increase the amount Borrower will owe
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        for Mortgage Insurance, and they will not entitle Borrower to any refund.
               (h) Any such agreements will not affect the rights Borrower has - if any - with respect to the Mortgage
        i.........na nnA.r th. tt..nwnnvewra Pr/Ind-inn Act of 1991 nr env other law. These rishta may include the right
        to receive attain disclosures, to request and obtain cancellation of the Mortgage Insurance, to have the
        Mortgage insurance terminated automatically, and/or to receive a refund of any Mortgage Inter moos premiums
        that were unearned at the time of such cancellation or termination.
                11. Assignment of Miscellaneous Proceeds; Forfeiture. All Miscellaneous Proceeds are hereby assigned to
        and shall be paid to Lender.
              If the Property is damaged. such Miscellaneous Proceeds shall be applied to restoration or repair of the Property,
        if the restoration or repair is economically feasible and Lender's security is not lessened. During such repair and
        restoration period, Lender shall have the right to hold such Miscellaneous Proceeds mail Leader has had an
        opportunity to inspect such Property to ensure the work has been completed to Lender's satisfaction, provided that
        such Inspection shall be undertaken promptly. Lender may pay for the repairs and restoration In a single disbursement
        or in a series of progress payments as me warn Ls complessa. unless an agreement is mace in wruulg or nppucaoie
        Law requires Interest to be paid on such Miscellaneous Proceeds, Lender shall not be required to pay Borrower any
        interest or earnings on such Miscellaneous Proceeds. if the restoration or repair is not economically feasible or
        Lender's security would be lessened, the Miscellaneous Proceeds shall be applied to the sums secured by this Security
        Instrument, whether or not then due, with the excess. If any, paid to Borrower. Such Miscellaneous Proceeds shall
        be applied In the order provided for in Section 2.
              In the event of a total taking, destruction. or loss in value of the Property, the Miscellaneous Proceeds shall be
        applied to the sums secured by this Security Instrument, whether or not then due, with the excess. if any. paid to
        Borrower.
              In the event of a partial taking, destruction, or loss in value of the Property in which the fair market value of
        the Property immediately before the partial taking, destruction, or loss in value is equal to or greater than the amount
        of the sums secured by this Security Instrument immediately before the partial taking, destruction, or loss in value,
        unless Borrower and Lender otherwise agree in writing, the suns secured by this Security Instrument shall be reduced
        by the amount of the Miscellaneous Proceeds multiplied by the following fraction: (a} the total amount of the sums
        secured immediately before the partial taking, destruction, or loss in value divided by (b) the fair market value of the
        Property Immediately before the partial taking. destruction, or loss in value. Any balance shall be paid to Borrower.
              In the event of a partial raking, destruction. or loss in value of the Property in which the fair market value of
        the Property immediately before the partial taking, destruction, or loss in value is less than the amount of the sums
        secured immediately before the partial taking, destruction, or loss in value, unless Borrower and Lender otherwise
        agree in wilting, the Miscellaneous Proceeds shall be applied to the sums secured by this Security Instrument whether
        or not the sums are then due.
              If the Property is abandoned by Borrower. or if. after nntire by 1 predar to Rnrrnwer that t6. tÇnnncina Pariv tae
        defined in the next sentence) offers to make an award to settle a claim for damages, Borrower fails to respond to
        Lender within 30 days after the date the notice Is given, Lender is authorized to collect and apply the Miscellaneous
        Proceeds either to restoration or repair of the Property or to the sums secured by this Security instrument, whether
        or not then due. "Opposing Party" means the third party that owes Borrower Miscellaneous Proceeds or the party
        against whom Borrower has a right of action in regard to Miscellaneous Proceeds,
              Borrower shall be in default if any action or proceeding, whether civil or criminal, is begun that, in Lender's
        judgment. could result ht forfeiture of the Property or other material impairment of Lender's interest in the Property
        or rights under this Security Instrument. Borrower can cure such a default and, If acceleration has occurred, reinstate
        as provided In Section 19, by causing the action or proceeding Co be dismissed with a ruling that, in Lender's
        judgment, precludes forfeiture of the Property or other material impairment of Lender's interest in the Property or
          %, a wwc, uua aecunty uusuwnem. ine proceeds or any awara or claim for damages that are attributable to the
        impairment of Lender's Interest In the Property are hereby assigned and shall be paid to Lender.




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Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 73 of 199. PageID #: 532




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 dci          All Miscellaneous Proceeds that are not applied io restoration or repair of the Property shall be applied in the
        order provided for in Section 2.
              12. Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the time for payment or
        modification of amortization of the sums secured by this Security Instrument granted by Lender to Borrower or any
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                                                                                                      nr am/ Cnrracenrc     ..».,.
        of Borrower. Lender shall not be required to commence proceedings against any Successor in Interest of Borrower
        or to refuse to extend time for payment or otherwise modify amortization of the sums secured by this Security
        Instrument by reason of any demand made by the original Borrower or any Successors in Interest of Borrower. Any
        forbearance by Lender in exercising any right or remedy including, without limitation. Lender's acceptance of
        payments from third persons, entities or Successors In Interest of Borrower or In amounts less than the amount then
        due, shall not be a waiver of or preclude the exercise of any right or remedy.
              13. Joint and Several Liability; Co-signers; Successors and Assigns Bound. Borrower covenants and agrees
        that Borrower's obligations and liability shall be joint and several. However, any Borrower who co -signs this Security
        Instrument but does not execute the Note (a "co -signer "): (a) is co- signing this Security Instrument only to mortgage.
        grant and convey the co-signer's interest in the Property under the terms of this Security Instrument; (b) is not
        personally obligated to pay the sums secured by this Security Instrument; sod c) agrees that Lender and any other
        Borrower can agree to extend, modify, forbear or make any accommodations with regard to the terms of this Security
        Instrument or the Note without the co- signer's consent.
              Subject to the provisions of Section 18, any Successor in Interest of Borrower who assumes Borrower's
        obligations under this Security Instrument in writing, and is approved by Lender, shall obtain all of Borrower's rights
        and benefits under this Security Instrument. Borrower shall not be released from Borrower's obligations and liability
        under this Security Instrument unless Leader agrees to such release in writing. The covenants end agreements of this
        Security Instrument shall bind (except as provided In Sectton20) and benefit the successors and assigns of Lender.
              I4. Loan Charges. Lender may charge Borrower fees for services performed in connection with Borrower's
        default, for the purpose of protecting Lender's interest in the Property and rights under this Security Instrument,
         induding, but not limited to, attorneys' fees, property inspection and valuation fees. In regard to any other fees, the
        absence of express authority In this Security Instrument to charge a specific fee to Borrower shall not be construed
        as a prohibition on the charging of such fee. Lender may not charge fees that are expressly prohibited by this Security
        Instrument or by Applicable Law.
                if the Loan is subject to a law which sets maximum loan charges, and that law is finally interpreted so that the
        interest or other loan charges collected or to be collected in connection with the Loan exceed the permitted limits,
        then: (a) any such loan charge shall be reduced by the amount necessary to reduce the charge to the permitted limit;
        and (b) any sums already collected from Borrower which exceeded permitted limits will be refunded to Borrower.




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        Lender may choose to make this refund by reducing the principal owed under the Note or by making a direct payment
        to Borrower. If a refund reduces principal, the reduction will be treated as a partial prepayment without any
        prepayment charge (whether or not a prepayment charge is provided for under the Note). Borrower's acceptance of
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        bave arising out of such overcharge.
                115. Notices. All notices given by Borrower or Lender in connection with this Security Instrument must be in
        writing. Any notice to Borrower in connection with this Security Instrurneot shall be deemed to bave been given to
        Borrower when mailed by first class mail or when actually delivered to Borrower's notice address if sent by other
        means, Notice to any one Borrower shall constitute notice to all Borrowers unless Applicable Law expressly requires
        otherwise, The notice address shall be the Property Address unless Borrower has designated a substitute notice
        address by notice to Lender. Borrower shall promptly notify Lender of Borrower's change of address. if Lender
        specifies a procedure for reporting Borrower's change of address, then Borrower shall only report a change of address
        through that specified procedure. There may be only one designated notice address under this Security Instrument
        at any one time, Any notice to Lender shall be given by delivering it or by mailing it by first class mail to Lender's
        aoaress siacea nerem unless Lender nas designated another address by notice to Borrower. Any notice in connection
        with this Security Instrument shall not be deemed to have been given to Lender unit actually received by Lender.




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Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 74 of 199. PageID #: 533


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                                                                                                                      Applicable Law
      if any   notice required by this Security Instrument is also required under Applicable Law, the
      requirement will satisfy the corresponding requirement under this Security Instrument.
             16. Governing Law; Severabiiity; Rules of Construction. This Security Instrument
                                                                                                                 shall be governed by
                                 of the Jurisdiction in which  the  Property   is located.     All rights and obligations  contained in
      federal law and die law
                                 am nuhtert in am, r nnirvmnatt and limitations of Anollcable Law. Applicable Law might
                                                                                                                            shall not be
      explicitly or implidtiy allow the parties to agree by contract or it might be silent, but such silence
      construed as a prohibition    against agreement   by  contract.  In the   event   that  any  provision or clause  of this Security
      Instrument or the Note conflicts with Applicable Law, such conflict shall not affect other provisions
                                                                                                                        of this Security
      Instrument or the Note which can be given effect without the conflicting provision.
             As used in this Security Instrument: (a) words of the masculine gender shall mean and include corresponding
                                                                                                                                and vice
      neuter words or words of the feminine gender; (b) words in the singular shall mean and include the plural
      versa; and (c) the word "may" gives sole discretion without any obligation to lake any action.
             17. Borrower's Copy. Borrower shall be given one copy of the Note and of this Security Instrument.
             Id. Transfer of tbe Property or s Beneficial Interest in Borrower. As used in this Section 18. "Interest in
      the Property" means any legal or beneficial interest in the Property. including, but not limited to. those beneficial
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       Interests transferred in a pond for need, comracr rot' oven, rnsiaumenr Sales          conwu ur cas uw-. _.._.....___.
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       of which is the transfer of title by  Borrower   at a future date to a   purchaser.
             Hail or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower is not a
       natural person and a beneficial interest in Borrower Is sold or transferred) without Lender's prior written consent.
       Lender may require immediate payment In full of all suns secured by this Security Instrument. However, this option
       shall not be exercised by Lender if such exercise is prohibited by Applicable Law.
             IS Lender exercises this option. Lender shall give Borrower notice of acceleration. The notice shall provide a
       period of not less than 30 days from the dale the notice is given in accordance with Section 15 within which Borrower
       must pay all sums secured by this Security Instrument. If Borrower fails to pay these sums prior to the expiration of
       this period. Lender may Invoke any remedies permitted by this Security Instrument without further notice or demand
       on Borrower.
              19. Borrower's Right to Reinstate After Acceleration. If Borrower meets certain conditions, Borrower shall
       have the right to have enforcement of this Security instrument discontinued at any time prior to the earliest of: (a) five
       days before sale  of the Property pursuant to any power of sale contained in this Security Instrument; (b) such other
      period as Applicable Law might specify for the termination of Borrower's right to reinstate: or (c) entry of a Judgment
      enforcing this Security Instrument. Those conditions are that Borrower: (a) pays Lender all sums which then would
      be due under this Security Instrument and the Note as if no acceleration had occurred; (b) cures any default of any
      other covenants or agreements; (c) pays all expenses incurred in enforcing this Security Instrument, Including, but
      not limited to, reasonable attorneys' fees, property inspection and valuation fees, and other fees incurred for the
      purpose of protecting Lender's interest in the Property and rights under this Security Instrument; and (d) takes such
      action as Lender may reasonably require to assure that Lender's interest in the Property and rights under this Security
      instrument and Rnrrnwer'c nhlivatinn to nay the sums secured by this Security Instrument_ shall continua enchanond.
      Lender may require that Borrower pay such reinstatement sums and expenses in one or more of the following forms,
      as selected by Lender: (a) cash; (b) money order; (c) certified check. bank check. treasurer's check or cashier's check.
      provided any such check is drawn upon an institution whose deposits are insured by a federal agency, instrumentality
      or entity; or (d) Electronic Funds Transfer. Upon reinstatement by Borrower, this Security Instrument and obligations
      secured hereby shall remain fully effective as if no acceleration had occurred. However, this right to reinstate shall
      not apply in the case of acceleration wider Section 18.
            20. Sale of Note; Change of Loan Service; Notice of Grievance. The Note or a partial interest in the Nate
       (together with this Security lnsirument) can be sold one or more times without prior notice to Borrower. A sale might
      result in a change in the entity (known as the "Loan Servicer ") that collects Periodic Payments due under the Note
      and this Security Instrument and performs other mortgage loan servicing obligations under the Note, this Security
       uuUUaian, aau'WPnwuie z.aw. 1 nere anti 11111911 UV WM or mire cttuuges W eae Loan lervtcer unretaien to a sale
                      if
      of the Note. there is a change of the Loan Servicer. Borrower will be given written notice of the change which will
      state the name and address of the new Loan Services, the address to which payments should be made and any other




       OHIO-Single Family --Fannie Mae/Freddia Mac UNIFORM INSTRUMENT - MERS                              DoCMagic      NIGUOe 800449 -1352
       Fons 3036 01/01                                                                                                www.docmaglc.com
       With Authorized Changes                            Page 10 of 13




                                                                                                                  RUCKMAN 000022
Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 75 of 199. PageID #: 534



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  in         information RESPA requires in connection with a notice of transfer of servicing. If the

  tó         the Loan is serviced by a Loan Servicer other than the purchaser of the Note, the
             to Borrower will remain with the Loan Servicer or be transferred to
             by the Note purchaser unless otherwise provided by the Note purchaser.
                                                                                                                 Note is sold and thereafter
                                                                                                       taortgage loan servicing obligations
                                                                                         a successor Loan Servicer and are not assumed

                                                                                                                 _ - .
                    Neither Borrower nor Lender may rnmmanrw inin nr       ,.. h. i..i....i ........ pu Ant __tt_
                                                                                               soy i..at_l..i            ...
                                                                                                              avuOn iLS esuter an tnoiviouai
             litigant or the member of a class) that arises from the other party's
                                                                                    actions pursuant to this Security Instrument or that
             alleges that the other party has breached any provision of. or
                                                                               any duty owed by reason of, this Security Instrument,
             until such Borrower or sender has notified the other party (with such notice
                                                                                                gives in compliance with the requirements
             of Section 15) of such alleged breach and afforded the other party hereto a
                                                                                                 reasonable period ader the giving of such
            notice to take corrective action. If Applicable Law provides a time period
                                                                                                  which must elapse before certain action
            can be taken, that lime period will be deemed to be
                                                                        reasonable for purposes of this paragraph. The
            acceleration and opportunity to cure given to Borrower pursuant                                                        notice of
                                                                                   to Section 22 and the notice of acceleration given
            to Borrower pursuant to Section 18 shall be deemed to
                                                                        satisfy the notice and opportunity to take corrective action
            provisions ofthis Section 20.
                 21, Hazardous Substances. As used in this Section 21:
                                                                            (a) "Hazardous Substances" are those substances
                   w WILZU i ,mrasuuus suesrances, postulants, or wastes by        Environmental Law and the following substances:
             gasoline, kerosene, other flammable or toxic petroleum products, toxic
                                                                                          pesticides and herbicides, volatile solvents,
             materials containing asbestos or formaldehyde, and radioactive
                                                                                 materials; (b) "Environmental Law" means federal
             laws and laws of the jurisdiction where the Properly is located that
                                                                                  relate to health, safety or environmental protection;
             (c) "Environmental CIeanup" includes any response
                                                                       action, remedial action, or removal action, as defined in
             Enviratuneutal Law: and (d) an "Environmental Condition" means a
                                                                                          condition that can cause, contribute to, or
            otherwise trigger an Environmental Cleanup.
                  Borrower shall not cause or permit the presence. use, disposal, storage, or
                                                                                                  release of any Hazardous Substances,
            or threaten to release any Hazardous Substances, on or in the
                                                                             Property. Borrower shall not do, nor allow anyone else
            to da, anything affecting the Property (a) that is in
                                                                      violation of any Environmental Law, (b) which creates an
            Environmental Condition, or (c) which, due to tite presence, use, or release of a
                                                                                                       Haar&..
            condition that adversely affects the value of the Property. The
                                                                                    preceding two sentences shall not apply to the
            presence, use, or storage on the Property of small quantities of
                                                                                Hazardous Substances that are generally recognized
            to be appropriate to normal residential uses and to
                                                                     maintenance of the Property (including, but not limited to.
            hazardous substances in consumer products).
                  Borrower shall promptly give Lender written notice of (a) any
                                                                                      investigation, claim, demand, lawsuit or other
           action by any governmental or regulatory agency or private party
                                                                                involving the Propectyand any Hazardous Substance
           or Environmental Law of which Borrower has actual knowledge.
                                                                                (b) any Environmental Condition, including but not
           limited to. any spilling, leaking, discharge, release or threat of
                                                                                  release of any Hazardous Substance, and (c) any
           condition caused by the presence, use or release of a
                                                                     Hazardous Substance which adversely affects the value of the
           Property. If Borrower learns, or is notified by any governmental
                                                                                  or regulatory authority, or any private party. that
           any removal or other remedlation of any ltaaardn..c
                                                        -                                             _.
                                                                                uc..ung Uue rrupeny_   .

                                                                                                          is necessary, borrower shall
           promptly take all necessary remedlal actions in
                                                            accordance with Environmental Law. Nothing herein shall
           obligation on Lender for an Environmental Cleanup.                                                                create any


                NON-UNIFORM COVENANTS. Borrower and Lender
                                                                              further covenant and agree as follows:
                22. Acceleration; Remedies. Lender
                                                          sball give notice to Borrower prior to
          Borrower's breach of any covenant or agreement inthisScour                                  acceleration following
          Section 18 unless Applicable Law provides
                                                                          ityInstrument (but not prior to acceleration under
                                                        otherwise). The notice shall specify: (a) the default; (b)
          required to cure the default; (c) a date, not less than                                                  the action
                                                                  30 days from the date the notice is given
          which the default must be cured; and (d)                                                           to Borrower, by
                                                      that failure to cure the default on or before the date
          notice may remit in acceleration of the sums                                                        specified in the
                                                             secured by this Security Instrument,
          orntaaatiaa ewd ..t ..t d.
                                  vim vs---._
                                      rruperry. ..Inc notice eau
                                                               - -- -                                foreclosure by judicial
                                                                    further inform Borrower of the right to reinstate
          acceleration and the right to assert in the foreclosure                                                        after
          defense ofBorrower to acceleration and foreclosure. proceeding the non -existence of a default or any other
                                                                   lithe default la not cured on or before the date specified


          OHIO-SS      Family--Fannle MaeIFreddle Mec UNIFORM
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Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 76 of 199. PageID #: 535



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      iu the notice, Lender at its option may require immediate payment in fall of all sums secured by this Security
      Instrument without further demand and may foreclose this Security Instrument byjudicial proceeding. Leader
      shill be entitled to collect all expenses incurred in pursuing the remedies provided in this Section 22, including,
      but not limbed to, costs of title evidence.
            23. Release. Linen  ___ oavment
                                     _   ____ - _
                                              of all ____
                                                     sums snn,red _J Alt
                                                              ___ by ..     ...J
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      Security Instrument. Borrower shall pay any recordation costs. Lender may charge Borrower a fee for releasing this
      Security Instrument, but only If the fee is paid to a third party for services rendered and the charging of the fee is
      permitted under Applicable Law.
            24. Certain Other Advances. In addition to any other surd secured hereby, this Security instrument shall also
      secure the unpaid principal balance of, plus accrued interest on, any amount of money loaned, advanced or paid by
      Lender to or for the account and benefit of Borrower, after this Security Instrument is delivered to and filed with the
      Recorder's Office. RICHLAND                                      County, Ohio, for recording. Lender may make such
      advances in order to pay any real estate taxes and assessments, insurance premiums plus all other costs and expenses
      incurred in connection with the operation, protection or preservation of the Property. including to cure Borrower's
      defaults by making any such payments which Borrower should have paid as provided in this Security Instrument. it
      mu% mows', uy uu5 aecuon c4 ro acr nowJeuge, arnrm ano comply win we provision or g 534./1.Z33 of the Kevtsed
      Code of Ohio.

            BY SIGNING BELOW. Borrower accepts and agrees to die terms and covenants contained in this Security
      instrument and in any Rider executed by Borrower and recorded with It.

      Executed this   24th      day of AUGUST,        2005


                 n      t    o                                                                                           (Seal)
      ANGE114.1 L.      RUCKMAN                     -Borrower                                                       -Borrower




                                                        (Seal)                                                           (Seal)
                                                    -Borrower                                                       - Borrower




                                                        (Seal)                                                           (Seal)
                                                    -Borrower                                                       -Borrower




                        -
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    Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 77 of 199. PageID #: 536
*




          (Execution in accordance with Chapter 5301 of the Revised Code.)

          Stale of Ohio                                     )
                                                                SS.
          County of         Richland
                 The foregoing instrument was acknowledged before me this AUGUST 24            ,     2005
          by     ANGELA L . RWICKMAN




                                                                               ./                     1.r


                                                                          Title



                                                                          Soria) hinmhor   if am
                                              '   STATE Of OHIO
                                                  My Commission
                                                     Eras
                                              P    AprY tZ 2010
                                                                          My   commission expires:



          This   Instr   uöent Prepared By:
          OWNIT MORTGAGE SOLUTIONS, INC.
          10300 ALLIANCE DR., SUITE 125
          CINCINNATI, OH 45242




         OHIO-Single Family-Fonde Mae/Fraddle Mac UNIFORM INSTRUMENT
         Form 3036 01/01                                               - MERS                      DoseRqladatrowoa 004148-1982
         With Authorized Changes                         Page 13 of 13
                                                                                                            www.dorregit.cam




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Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 78 of 199. PageID #: 537




    in          MTN:                                                               Loan Number:
    wi                                     ADJUSTABLE RATE RIDER
    cia               (LIBOR Six -Month Index (As Published                     The Wall Street Journal}

                  THIS ADJUSTABLE RATE RIDER Is made this 24th day of AUGUST, 2005                                     ,
           and is Incorporated Into and shall be deemed to amend and supplement the Mortgage, Deed of
                                                                                                              Trust, or
           Security Deed (the "Security Instrument ") of the same data given by the undersigned ("Borrower ") to secure
           Borrower's Adjustable Rate Note (die "Note ") to OWNIT MORTGAGE SOLUTIONS,
           A CALIFORNIA CORPORATION
                                                                                                             INC. ,
           ( "Lender") of the same date and covering the property described in
                                                                               the Security Instrument and located at:
                        837 SOUTH MAIN STREET, MANSFIELD, OH/0 449117
                                                           [Properly Address]

                 THE NOTE CONTAINS PROVISIONS ALLOWING FOR CHANGES IN THE
                 INTEREST RATE AND THE MONTHLY PAYMENT. THE NOTE LIMITS THE
                 AMOUNT BORROWER'S INTEREST RATE CAN CHANGE AT ANY ONE TIME AND
                 THE MAXIMUM RATE BORROWER MUST PAY.

                  ADDITIONAL COVENANTS. In addition to the covenants and agreements made in the Security
           Instrument, Borrower and Lender firrther covenant and agree as follows:
           A
           m,    .. 1rr-a.-.....
                   Iry rr
                       1               t        "
                               t rvi i / N U MUNI! IiLY PAYMENT CHANGES
                  The Note provides for an initial Interest rate of   8.12 5 %. The Note provides for changes
           in the interest rate and the monthly payments, as follows:

           4.    INTEREST RATE AND MONTHLY PAYMENT CHANGES
                 (A) Change Dates
                 The interest rate I wilt pay may change on the      let
                                                                day of SEPTEMBER,                         2001
          and on that day every    6th     month thereafter. Each date on which my interest rate could change
                                                                                                              is called
          a "Change Date."
                 (8)       The Index
                 Beginning with the first Change Date, my interest raie will be based on an tndpv The. "rao" 1 An
          average of interbank offered rates for six month U.S. dollar
                                                                        -denominated deposits in the London market
          ("LIBOR"). as published in The $36ll Street Journal. The most recent Index
                                                                                         figure available as of the first
          business day of the month immediately preceding the
                                                                month in which the Change Date occurs is called the
          "Current Index."
                 ifthe Index is no longer available, the Note
                                                                Holder will choose a new index that is based upon
          comparable information. The Note Holder will give me
                                                                   notice of this choice.




          MULTISTATE ADJUSTABLE RATE RIDER -LIBOR
                                                  SIX-MONTH INDEX                        DOOAM¡kEORILocppm
              PUBLISHED          STREET                                                                     00084949o2
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          Form 3138/01
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Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 79 of 199. PageID #: 538
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                (C) Calculation of Changes
                Before each Change Date. the Note Holder will calculate my
                                                                                        new interest rate by adding
          SEVEN AND 125/1000                                  percentage points (
         max. like Note Holder will then round the result of this addition to the
                                                                                          7.125 951 to thn C:orr.nl
                                                                                           nearest one- eighth of one
         percentage point (0.125%). Subject to the limits stated In Section 4(D)
                                                                                 below, this rounded amount will be
         my new interest rate until the neat Change Date,
               The Note Holder will then determine the amount of the monthly
                                                                                  payment that would be sufficient to
         repay the unpaid principal that I am expected to owe at the Change
                                                                             Date in full on the Maturity Date at my
         new Interest rate In substantially equal payments. The result
                                                                       of this calculation will be the new amount of
         my monthly payment.
                (D) Limits on Interest Rate Changes
                The interest rate I am required to pay at the first
                                                                       Change Date will not be
               11.12 5 % or less than           8.12 5 9b. Thereafter, my interest rate will nevergreater    than
         or decreased on any Maxie Change Date
                                          _ ____ by
                                                 _  mnr.
                                                      .._....^..       .a...,
                                                           than nfR ATM n     n n  /
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                                                                                                      be increased

         I have been paying for the preceding
                                                  percentage points (      1.000 %) from the rate of interest
                                                    6         months. My interest rate will never be greater than
                19.125 %. My interest rate will never be less than                  8.125 %.
              (E) Effective Date of Changes
              My new interest rate will become effective on each Change Date.
                                                                                 I will pay the amount of my new
         monthly payment beginning on the first monthly payment date
                                                                     after the Change Date until the       amount of my
        monthly payment changes again.
               (F) Notice of Changes
              The Note Holder will deliver or mall to me a
                       ,..........
        ofmvmnnrhlv n2.nn.ne h.s,..ec n...
                                      RAM c«ci.u.c uale or any
                                                                  ..
                                           .rc ...,... .1_._ _. notice of any changes in my interest rate and the amount
                                                                            --
                                                                   change. une notice will include information required
        by law to be given to me and also the tide and
                                                           telephone number of a person who will answer any
        I may have regarding the notice.                                                                         question

        B.    TRANSFER OF THE PROPERTY OR A BENEFICIAL
                                                                           INTEREST IN BORROWER
              Uniform Covenant 18 of the Security Instrument is amended
                                                                        to read as follows:
                     Transfer of the Property or a Beneficial interest in Borrower.
                                                                                          As used in this Section
              18, 'interest in the Property" means any legal or beneficial
                                                                            interest in the Property, indudhng,
              but not limited to, those beneficial interests transferred in
                                                                             a bond for deed, contract for deed,
              Installment sales contract or escrow agreement, the Intent
                                                                              of which is the fmncter nr tiller i...
              oorrower at a future dale to a purchaser.
                     If all or any part of the Property or any Interest
              if Borrower is not a natural person and a beneficial in the Property is sold or transferred (or
                                                                     Interest In Borrower is sold or transferred)
             without Lender's prior written consent, Lender may require
             sums secured by this Security Instrument.                          immediate payment In full of all
                                                              However, this option shall not be exercised by
             Lender if such exercise is prohibited by Applicable
                                                                      Law. Lender also shad not exercise this
             option if (a) Borrower causes to be submitted to
                                                                    Lender information required by Lender to
             evaluate the Intended transferee as if a new loan were
                                                                         being made to the transferee; and (b)
             Lender reasonably determines that Lender's
                                                                 security will not be impaired by the loan




       MULTISTATE ADJUSTABLE RATE RIDER
       (AS PUBUSHED IN THE WALL. STILT --UBOR SIX -MONTH INDEX                           17oeMiglce326mucps soo44sas82
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                                         INSTRUMENT                                                 www.doCAmplC.Qpn
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Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 80 of 199. PageID #: 539




               assumption and that the risk of a breach of any covenant or agreement in this Security
               Instrument is acceptable to Lender.
                       To the extent permitted by Applicable Law, Lender may charge a reasonable fee as a
               cow:noon LO Leaner s consent to the Loan assumption. Lender also may require the transferee
 oe?           to sign an assumption agreement that is acceptable to Lender and that obligates the transferee
 .i            to keep all the promises and agreements made In the Note and in this Security
                                                                                                  Instrument.
               Borrower will continue to be obligated under the Note and this Security Instrument unless
               Lender releases Borrower in writing.
                      If Lender exercises the option to require immediate payment in full, Lender shall give
               Borrower notice of acceleration. The notice shall provide a period of not less than 30 days
               from the date the notice is given in accordance with Section 15 within which Borrower
                                                                                                        must
               pay all sums secured by this Security Instrument. If Borrower fails to pay these sums prior
                                                                                                           to
               the expiration of this period, Lender may invoke any remedies permitted by this
                                                                                                     Security
               Instrument without further notice or demand on Borrower.

               BY SIGNING BELOW, Borrower accepts and agrees to the terms and
                                                                              covenants contained In this
         Adjustable Rate Rider.




                                                    Seal}                                                       (Seal)
        AN       A L   .   RUCKMAN            -Borrower                                                 - Borrower




                                                   (Seal)
                                                                                                            (Seal)
                                              -Borrower                                                 -Borrower




                                                   (Seal)
                                                                                                            (Seal)
                                              -borrower
                                                                                                        -Borrower




        MULTISTATE ADJUSTABLE RATE RIDER -1JBOR
        (AS PUBLISHED IN THE WALL STREET JOURNAL)SIX -MONTH INDEX                   DaragrOAefD4'9moa e0040-13e7
                              MODIFIED INSTRUMENT                                             WWW. dOQ/IegJC-CDfR
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         Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 81 of 199. PageID #: 540


                                              REPRESENTATION OF PRINTED DOCUMENT


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                                                                                         Respond to this offer no later than:
11/06/2020                                                                                   11/24/2020

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                                                                                                                                 5 r1\T;WFS2y%Z
                                                                                                                                 }- mm -=]-M -]-
    ANGELA RUCKMAN
    837 S MAIN ST
    MANSFIELD, OH 44907
                                                                                         Account Information
                                                                                      Account Number:
             APPROVAL FOR PERMANENT MODIFICATION
                         PLEASE READ CAREFULLY                                        Property Address:
                                                                                       837 S MAIN ST
                                                                                       MANSFIELD, OH 44907
Dear ANGELA RUCKMAN:
Congratulations! The above referenced account is approved for a modification.         We are here to help!
This letter will explain the next steps necessary to accept the modification offer.
                                                                                      The Account Relationship
Below is important information about our decision regarding mortgage
                                                                                      Manager:
assistance, with additional details on the following pages. However, do not
                                                                                      Vanessa George
forget time is of the essence to accept this modification as this offer will expire
                                                                                      RMA@mortgagefamily.com
if we do not receive a response by 11/24/2020 .
                                                                                      Online:
                                                                                      www.mortgagequestions.com




                                                                                                                                          9-814-BIZ58-0000094-001-02-000-001-000-000
What needs to be done:
  1. To accept the modification, the following must be done:
          a. The Modification Agreement must be signed and
          b. All pages of the signed copies should be returned to us in the enclosed, prepaid envelope by 11/24/2020

What will we do:
  1. The account is approved for a Mortgage Modification with monthly payments in the amount of $469.12. The offer
      details are enclosed. All materials should be carefully read.
  2. If the Modification Agreement has notary provisions at the end, the enclosed Modification should only be signed in
      the presence of a notary public and other witnesses (if applicable). All documents must be executed and the
      signatures must be exactly as the names are typed. Please retain one copy and return the other original
      Modification Agreement.

    The following additional documents are enclosed:

         Summary of the Modification                                   Legal Disclosures
         Additional Assistance Available                               Instructions for Making the Payment
                                                                        Modification Agreement

Vanessa George has been assigned as the Relationship Manager and will be the designated representative for resolution,
inquiries and submission of documents.


                                                                                                            OCWN_PLS_FNL
 This communication is from a debt collector attempting to collect a debt; any information obtained will be used for that
 purpose. However, if the debt is in active bankruptcy or has been discharged through bankruptcy, this communication is
 purely provided to you for informational purposes only with regard to our secured lien on the above referenced property. It
 is not intended as an attempt to collect a debt from you personally. As may be required by state law, you are hereby notified
 that a negative credit report reflecting on an accountholder’s credit record may be submitted to a credit reporting agency if
 credit obligation terms are not fulfilled.
                                                       Page 1                                                    NMLS # 2726
                                                         INTERNET REPRINT                                        CONFIDENTIAL

                                                                                                                                 EXHIBIT
                                                                                                                                                                                       4
                                            REPRESENTATION OF PRINTED DOCUMENT
                 Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 82 of 199. PageID #: 541
                                                                                                           PHH000189




For any questions, we can be reached Monday through Friday 8:00am to 9:00pm ET at 800-750-2518, to speak with the
assigned Relationship Manager, Vanessa George. If Vanessa George is not available, another dedicated member of our
Home Retention Department will be available to answer any questions.

Our Customer Care Center is also available, toll free at 800-449-8767, Monday through Friday 8:00 am to 9:00 pm, Saturday
                                                                                                                                 \gCQ!e5J%vKT/
8:00 am to 5:00 pm ET to answer any inquiries.                                                                                   5 r.Fm9VG`u# iZ
                                                                                                                                 } } -mM-M]m m=-




Sincerely,

Loan Servicing




                                                                                                                                          9-814-BIZ58-0000094-001-03-000-001-000-000




                                                                                                            OCWN_PLS_FNL
 This communication is from a debt collector attempting to collect a debt; any information obtained will be used for that
 purpose. However, if the debt is in active bankruptcy or has been discharged through bankruptcy, this communication is
 purely provided to you for informational purposes only with regard to our secured lien on the above referenced property. It
 is not intended as an attempt to collect a debt from you personally. As may be required by state law, you are hereby notified
 that a negative credit report reflecting on an accountholder’s credit record may be submitted to a credit reporting agency if
 credit obligation terms are not fulfilled.
                                                         INTERNET
                                                       Page  2     REPRINT                                    CONFIDENTIAL
                                                                                                                 NMLS # 2726
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               Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 83 of 199. PageID #: 542
                                                                                                           PHH000190




                         SUMMARY OF THE MORTGAGE MODIFICATION OFFER

      FIRST MODIFIED PAYMENT DUE DATE: The first modified monthly payment will begin on 12/01/2020.                             \gCQ!e5R5vIT/
                                                                                                                                 5 s4xDKV9qZ
      The modified interest rate is 2.875% and will be fixed for the remaining term of the mortgage account.                    }-] -- m-}-M ]-m-

      NEW MODIFIED PAYMENT: The modified monthly mortgage payment amount is as follows:

                       Modified Monthly Payment
                       Principal and Interest                 $301.17
                       Escrow*                                $167.95
                       Total Modified Monthly Payment         $469.12

*The escrow payment may be adjusted periodically in accordance with applicable law due to changes in property taxes,
insurance amounts, or other escrow expenses. Therefore, the total monthly payment may change accordingly. We will send
a notification if there are any adjustments made to the total monthly payment.

      NEW PRINCIPAL BALANCE: Any past due amounts as of the modification effective date, including unpaid interest,
       real estate taxes, insurance premiums, and certain assessments paid to a third party on behalf of the above
       referenced account, will be added to the mortgage account balance.

      ESCROW ACCOUNT: The terms of the Modification Agreement require the servicer to set aside a portion of the
       new monthly payment in an escrow account for payment of the property taxes, insurance premiums and other




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       required fees. Any prior waiver of escrows by the lender of this account is no longer in effect. PHH Mortgage
       Services will draw on this account to pay real estate taxes and insurance premiums as they come due. Please note
       the escrow payment amount will adjust if the taxes, insurance premiums and/or assessment amounts change, so
       the amount of the monthly payment PHH Mortgage Services must place in escrow will also adjust as permitted by
       law. This means the monthly payment may change. The initial monthly escrow payment will be included in the loan
       payment noted in the enclosed Agreement; there is no need to remit this amount separately.

      NO FEES: There are no fees under the Modification Program.

      AGREEMENT: The account holder(s) must sign and return the Modification Agreement to us in the enclosed,
       pre-paid envelope by the due date which is 11/24/2020 : If the Modification Agreement has notary provisions at the
       end, the enclosed Loan Modification Agreement should not be signed unless in the presence of a notary and other
       witnesses (if applicable). All of the documents must be executed and the signatures must be exactly as the names
       are typed. One copy should be retained for personal records and all other original Modification Agreements should
       be returned.




                                                                                                            OCWN_PLS_FNL
 This communication is from a debt collector attempting to collect a debt; any information obtained will be used for that
 purpose. However, if the debt is in active bankruptcy or has been discharged through bankruptcy, this communication is
 purely provided to you for informational purposes only with regard to our secured lien on the above referenced property. It
 is not intended as an attempt to collect a debt from you personally. As may be required by state law, you are hereby notified
 that a negative credit report reflecting on an accountholder’s credit record may be submitted to a credit reporting agency if
 credit obligation terms are not fulfilled.
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                                                       Page  1     REPRINT                                    CONFIDENTIAL
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                                             REPRESENTATION OF PRINTED DOCUMENT
               Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 84 of 199. PageID #: 543
                                                                                                              PHH000191




                                      ADDITIONAL ASSISTANCE IS AVAILABLE
If financial hardship is being experienced, housing counseling may be a way to help manage finances. We recommend
contacting a HUD-approved agency for assistance in keeping the home. This assistance is available at no charge.
                                                                                                                                 \gCQ!e=Z%vIT/
  HUD Approved Housing Counseling                       (800) 569-4287        www.HUD.gov                                        5 q(MH0TI`IZ
                                                                                                                                 }-m --M}mm-MM]m--
  Homeowner's HOPE Hotline Number                       (888) 995-4673        https://995hope.org/
  Fannie Mae Assistance Program                         (800) 232-6643        www.knowyouroptions.com
  Consumer Financial Protection Bureau (CFPB)           (855) 411-2372        www.consumerfinance.gov/mortgagehelp/
  Freddie Mac Assistance Program                                              http://myhome.freddiemac.com/



To submit a qualified written request, a notice of error or a request for information, the following address must be used:

                                                  PHH Mortgage Services
                                                      PO Box 66002
                                                  Lawrenceville, NJ 08648




                                                                                                                                          9-814-BIZ58-0000094-001-05-000-001-000-000




                                                                                                            OCWN_PLS_FNL
 This communication is from a debt collector attempting to collect a debt; any information obtained will be used for that
 purpose. However, if the debt is in active bankruptcy or has been discharged through bankruptcy, this communication is
 purely provided to you for informational purposes only with regard to our secured lien on the above referenced property. It
 is not intended as an attempt to collect a debt from you personally. As may be required by state law, you are hereby notified
 that a negative credit report reflecting on an accountholder’s credit record may be submitted to a credit reporting agency if
 credit obligation terms are not fulfilled.
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                Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 85 of 199. PageID #: 544
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                                        ADDITIONAL LEGAL DISCLOSURES                                                                  \gCQ!e=b5vKT/
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Notice Regarding Bankruptcy: Please be advised that if you are part of an active Bankruptcy case or if you have received
an Order of Discharge from a Bankruptcy Court, this letter is in no way an attempt to collect either a pre-petition, post-
petition or discharged debt. If your bankruptcy case is still active, no action will be taken in willful violation of the Automatic
Stay. If you have received an Order of Discharge in a Chapter 7 case, any action taken by us is for the sole purpose of
protecting our lien interest in the underlying mortgaged property and is not an attempt to recover any amounts from you
personally. Finally, if you are in an active Chapter 11, 12 or 13 bankruptcy case and an Order for Relief from the Automatic
Stay has not been issued, you should continue to make payments in accordance with your plan.

Notice Regarding Tax Consequences of Mortgage Assistance Options: The acceptance of a Modification, Short Sale,
or Deed-in-Lieu of Foreclosure may result in federal, state, or local tax consequences and/or affect one’s eligibility for any
public assistance benefits. We cannot provide advice on these impacts and encourage a tax professional be contacted to
discuss any questions.




To submit a qualified written request, a notice of error or a request for information, use the following address:




                                                                                                                                               9-814-BIZ58-0000094-001-06-000-001-000-000
                                                   PHH Mortgage Services
                                                       PO Box 66002
                                                   Lawrenceville, NJ 08648-




                                                                                                            OCWN_PLS_FNL
 This communication is from a debt collector attempting to collect a debt; any information obtained will be used for that
 purpose. However, if the debt is in active bankruptcy or has been discharged through bankruptcy, this communication is
 purely provided to you for informational purposes only with regard to our secured lien on the above referenced property. It
 is not intended as an attempt to collect a debt from you personally. As may be required by state law, you are hereby notified
 that a negative credit report reflecting on an accountholder’s credit record may be submitted to a credit reporting agency if
 credit obligation terms are not fulfilled.
                                                       Page 1                                                    NMLS # 2726
                                                         INTERNET REPRINT                                     CONFIDENTIAL
                                             REPRESENTATION OF PRINTED DOCUMENT
               Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 86 of 199. PageID #: 545
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                                      PAYMENT REMITTANCE INFORMATION
PLEASE DON'T FORGET:
   1. All checks should be payable to PHH Mortgage Services.
   2. Always include the account number with the payment.
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                      Overnight Mail                                                Regular Mail
  Money Order, Personal Check, or Certified Check                Money Order, Personal Check, or Certified Check

  Send To: PHH Mortgage Services                                 Send To: PHH Mortgage Services
            1 Mortgage Way SV22                                            1 Mortgage Way SV22
            Mt Laurel, NJ 08054                                            Mt Laurel, NJ 08054

  Reference: PHH Mortgage Account #                              Reference: PHH Mortgage Account #




                       Money Gram                                                  Western Union
  Receiver Code: 7440                                            By WUQC: Western Union Quick Collect
  Payable to: PHH Mortgage                                       Code City: PHHUS
  City: Mt Laurel                                                State: NJ




                                                                                                                                          9-814-BIZ58-0000094-001-07-000-001-000-000
  State: New Jersey                                              Reference: PHH Mortgage Account #
  Reference: PHH Mortgage Account #
  Agent Locator: (800) 926-9400




                                                                                                            OCWN_PLS_FNL
 This communication is from a debt collector attempting to collect a debt; any information obtained will be used for that
 purpose. However, if the debt is in active bankruptcy or has been discharged through bankruptcy, this communication is
 purely provided to you for informational purposes only with regard to our secured lien on the above referenced property. It
 is not intended as an attempt to collect a debt from you personally. As may be required by state law, you are hereby notified
 that a negative credit report reflecting on an accountholder’s credit record may be submitted to a credit reporting agency if
 credit obligation terms are not fulfilled.
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                                                        INTERNET REPRINT                                     CONFIDENTIAL
                                           REPRESENTATION OF PRINTED DOCUMENT
               Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 87 of 199. PageID #: 546
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Loan Number:
Investor Loan Number:


This document was prepared by PHH Mortgage Corporation
After Recording Return To:
PHH Mortgage Corporation
Attention: Modification Processing
PO Box 24737
West Palm Beach, FL 33416-9838
          ____________________________ [Space Above This Line For Recording Data] ____________________________




                                                                                                                                9-814-BIZ58-0000094-001-08-000-001-000-000
                                     LOAN MODIFICATION AGREEMENT
Borrower (s): ANGELA RUCKMAN

THIS IS A BALLOON MORTGAGE AND THE FINAL PRINCIPAL PAYMENT OR THE PRINCIPAL BALANCE DUE UPON MATURITY IS
$22,644.26, TOGETHER WITH ACCRUED INTEREST, IF ANY, AND ALL ADVANCEMENTS MADE BY THE MORTGAGEE UNDER THE
TERMS OF THIS MORTGAGE.

BALLOON PAYMENT DISCLOSURE
THIS MODIFICATION AGREEMENT INCLUDES A BALLOON PAYMENT, WHICH MEANS THAT EVEN IF YOU MAKE ALL THE
SCHEDULED PAYMENTS WHEN DUE, THE LOAN WILL NOT BE PAID IN FULL AT THE END OF ITS TERM. AS A RESULT, ON
THE MATURITY DATE OUTLINED WITHIN THIS AGREEMENT, YOU WILL BE REQUIRED TO REPAY, IN A SINGLE
PAYMENT, THE ENTIRE REMAINING PRINCIPAL BALANCE PLUS ALL ACCRUED BUT UNPAID INTEREST AND ALL OTHER
AMOUNTS OWING ON THAT DATE (INCLUDING BUT NOT LIMITED TO ALL ADVANCES MADE BY LOAN SERVICER
UNDER THE TERMS OF THE SECURITY INSTRUMENT).

CAUTION TO BORROWER: NO OBLIGATION TO REFINANCE – LOAN SERVICER HAS NO OBLIGATION TO REFINANCE THIS
LOAN OR MAKE YOU A NEW LOAN ON THE MATURITY DATE. If YOU DO NOT HAVE THE FUNDS TO PAY THE BALLOON
PAYMENT WHEN IT COMES DUE, YOU MAY HAVE TO OBTAIN A NEW LOAN AGAINST THE PROPERTY TO MAKE THE
BALLOON PAYMENT. ASSUMING ANOTHER LENDER MAKES YOU A NEW LOAN ON THE MATURITY DATE, YOU WILL
PROBABLY BE CHARGED INTEREST AT THE MARKET RATE PREVAILING AT THAT TIME. SUCH INTEREST RATE MAY BE
HIGHER THAN THE INTEREST RATE PAID ON THIS LOAN. YOU MAY AGAIN HAVE TO PAY COMMISSIONS, FEES AND
EXPENSES FOR THE ARRANGING OF THE NEW LOAN. IN ADDITION, IF YOU ARE UNABLE TO MAKE THE MONTHLY
PAYMENTS OR THE BALLOON PAYMENT, YOU MAY LOSE THE PROPERTY AND ALL OF THE EQUITY THROUGH
FORECLOSURE. KEEP THIS IN MIND IN DECIDING WHETHER TO AGREE TO THE TERMS OF THIS LOAN MODIFICATION.


                                                          Page 1
                                                         INTERNET REPRINT                               CONFIDENTIAL
                                                 REPRESENTATION OF PRINTED DOCUMENT
                 Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 88 of 199. PageID #: 547
                                                                                                                        PHH000195
The debtor, ANGELA RUCKMAN, and HSBC Bank USA, National Association, as Trustee for Ownit Mortgage Loan Trust, Mortgage
Loan Asset-Backed Certificates, Series 2005-5 through the servicer of the underlying mortgage loan agreement, PHH Mortgage
Corporation, have agreed to modify the terms of said underlying mortgage loan agreement. HSBC Bank USA, National Association,
as Trustee for Ownit Mortgage Loan Trust, Mortgage Loan Asset-Backed Certificates, Series 2005-5 is the owner of the loan and
retains all rights to collect payments as per the underlying mortgage loan agreement. PHH Mortgage Corporation, remains servicer
for said underlying mortgage loan agreement.


This Loan Modification Agreement (“Agreement”), made this 6th day of November, 2020 (“Modification Agreement Date”), between
ANGELA RUCKMAN (“Borrower”) and PHH Mortgage Corporation, Lender/Servicer or Agent for Lender/Servicer (“Lender”), amends
and supplements (1) the Mortgage, Deed of Trust, or Security Deed (“Security Instrument”) dated 08/24/2005 and recorded in the              \gCQ!e-z5vKT/
                                                                                                                                            5 r'pR?bO2/)Z
Records of Richland County, OH and (2) the Note, bearing the same date as, and secured by, the Security Instrument (collectively,           }=M-M-- -m = -

“Loan Documents”), which covers the real and personal property described in the Security Instrument and defined therein as the
“Property”, located at

                                                         837 S MAIN ST
                                                      MANSFIELD, OH 44907

The real property described being set forth as follows:

                                    (Legal Description Attached, if applicable, for Recording Only)

In consideration of the mutual promises and agreements exchanged, the parties hereto agree as follows (notwithstanding anything
to the contrary contained in the Note or Security Instrument):

Representations:

    1.   Borrower is experiencing a financial hardship and as a result, 1) is or will be in default under the Loan Documents and 2)
         does not have sufficient income or access to sufficient liquid assets to make the monthly mortgage payments due under the
         Loan Documents.




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    2.   Under penalty of perjury, if required by the Lender, borrower provided Lender with full and complete information that,
         when provided, accurately stated borrower’s income, expenses, and assets. To the extent requested by Lender, borrower
         provided documents that supported that information.
    3.   Borrower has made any and all required trial period plan payments or down payments.
    4.   Borrower currently has sufficient income to support the financial obligations under the Loan Documents, as modified by
         this Agreement.
    5.   Borrower understands that property title may be reviewed as a precondition to the modification.

Acknowledgements and Preconditions to the Modification:

    1.   Lender has no obligation to make any modification of the Loan Documents if any of the requirements under this Agreement
         are not met.
    2.   Prior to the Modification Effective Date (defined as 11/01/2020), if Lender determines that any of the representations
         above are no longer true and correct, 1) the Loan Documents will not be modified, 2) this Agreement will not be valid, and
         3) Lender will have all of the rights and remedies provided by the Loan Documents.
    3.   The Loan Documents will not be modified unless and until 1) Lender approves this Agreement and 2) the Modification
         Effective Date has occurred.

Modified Loan Terms:

    1.   If all of Borrower’s representations above continue to be true and correct and all preconditions to the modification set forth
         above have been met, the Loan Documents will automatically become modified on 11/01/2020. If Borrower has failed to
         make any payments that are a precondition to this modification or receipt of clear title is not received, this modification will
         not take effect.

         The new Maturity Date will be 10/01/2035.

         Borrower understands that in order to reach an affordable payment under this modification, the loan may have been re-

                                                                Page 2
                                                              INTERNET REPRINT                                          CONFIDENTIAL
                                             REPRESENTATION OF PRINTED DOCUMENT
            Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 89 of 199. PageID #: 548
                                                                                                                  PHH000196
     amortized beyond the maturity date. This means that if all payments are made in accordance with the loan terms, when
     Borrower reaches the maturity date, there will be an outstanding amount still due.


     This amount includes an interest-bearing balloon payment in the amount of $22,644.26 (“Balloon Payment”) which is due
     when the loan reaches maturity, sold, refinanced or otherwise accepted by the Lender as paid in full. Borrower specifically
     acknowledges that this is a balloon modification and therefore Borrower will have a balloon payment due at maturity in the
     approximate amount of $22,644.26.


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     BALLOON PAYMENT: THIS MORTGAGE LOAN CONTAINS A BALLOON PAYMENT PROVISION. A BALLOON PAYMENT IS A                                 }m- mM M}]m = -

     SCHEDULED LUMP SUM USUALLY DUE AT THE END OF THE MORTGAGE LOAN TERM THAT IS SIGNIFICANTLY LARGER
     THAN THE OTHER REGULARLY SCHEDULED PERIODIC PAYMENTS. IF YOU CANNOT PAY THE BALLOON PAYMENT WHEN
     DUE, YOU MAY HAVE TO OBTAIN A NEW LOAN TO MAKE THE BALLOON PAYMENT OR YOU MAY LOSE YOUR PROPERTY
     THROUGH FORECLOSURE. BEFORE DECIDING TO TAKE THIS LOAN, CONSIDER YOUR ABILITY TO PAY THE BALLOON
     PAYMENT WHEN IT COMES DUE. THE BALLOON PAYMENT ON THE MORTGAGE LOAN YOU HAVE APPLIED FOR IS DUE
     179 MONTHS FROM THE DATE YOUR MORTGAGE LOAN BEGINS.

     CAUTION TO BORROWER: IF YOU DO NOT HAVE THE FUNDS TO PAY THE BALLOON PAYMENT WHEN DUE, IT MAY BE
     NECESSARY FOR YOU TO OBTAIN A NEW LOAN AGAINST YOUR PROPERTY FOR THIS PURPOSE AND YOU MAY BE
     REQUIRED TO AGAIN PAY COMMISSION AND EXPENSES FOR ARRANGING THE LOAN. KEEP THIS IN MIND IN DECIDING
     UPON THE AMOUNT AND TERMS OF THE LOAN THAT YOU OBTAIN AT THIS TIME.

2.   The current Unpaid Principal Balance is $51,720.69. The New Principal Balance of the Note will be $58,552.36 (the “New
     Principal Balance”). This includes amounts and arrearages that are past due as of the Modification Effective Date (including,
     but not limited to, unpaid and any previously deferred principal and interest, fees, escrow advances and other costs,
     collectively, “Unpaid Amounts”) excluding any fees, costs and/or corporate advances not added to the account as of the
     Modification Agreement Date and amounts not added to the New Principal Balance due to investor and/or mortgage
     insurer restrictions less any amounts paid to the Lender but not previously credited to the Loan. Any amounts not added to




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     the New Principal Balance will remain on the account until paid and will become due when the interest-bearing balance is
     paid in full or upon maturity as applicable pursuant to State or Federal law.

3.    The New Principal Balance may represent the sum of the “Deferred Principal Balance” (if applicable), the “Principal
     Forgiveness” (if applicable) and the “Interest Bearing Principal Balance.” The Interest Bearing Principal Balance is
     $58,552.36. Borrower understands that by agreeing to add the Unpaid Amounts to the Unpaid Principal Balance, the added
     Unpaid Amounts accrue interest based on the interest rate in effect under this Agreement. Borrower also understands that
     this means interest will now accrue on the unpaid interest that is added to the New Principal Balance, which would not
     happen without this Agreement.

4.   Borrower promises to pay the New Principal Balance, plus interest, and any future fees/costs to the order of the Lender.
     Interest will be charged on the Interest Bearing Principal Balance at the yearly rate of 2.875%, beginning 11/01/2020.
     Borrower promises to make monthly payments of principal and interest of U.S. $301.17, beginning on 12/01/2020 and
     continuing thereafter on the same day of each succeeding month until principal and interest are paid in full. Borrower
     promises to also pay any applicable monthly escrow payments as outlined in this Agreement. The initial monthly escrow
     amount is $167.95. The yearly rate of 2.875% will remain in effect until principal and interest are paid in full. If on
     10/01/2035 (the “Maturity Date”), Borrower still owes amounts under the Note and the Security Instrument, as amended
     by this Agreement, Borrower will pay these amounts in full on the Maturity Date. Borrower agrees to pay in full all amounts
     still owed under the Note and the Security Instrument by the earliest of: (i) The date Borrower sells or transfers an interest
     in the Property, (ii) The date Borrower pays the entire Interest Bearing Principal Balance, or (iii) the Maturity Date.



     The initial monthly escrow amount is $167.95. The escrow payments may be adjusted periodically in accordance with
     applicable law due to changes in property taxes, insurance amounts or other escrow expenses and therefore the total


                                                           Page 3
                                                         INTERNET REPRINT                                         CONFIDENTIAL
                                                  REPRESENTATION OF PRINTED DOCUMENT
                 Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 90 of 199. PageID #: 549
                                                                                                                        PHH000197
        monthly payment may change accordingly. The escrow payment amount shown is based on current data and represents a
        reasonable estimate of expenditures for future escrow obligations; however, escrow payments may be adjusted
        periodically in accordance with applicable law.

        Borrower’s payment schedule for the modified Loan is as follows:

                 Years            Interest   Interest      Monthly     Estimated       Total           Payment        Number
                                  Rate       Rate          Principal   Monthly         Monthly         Begins On      of
                                  (%)        Change        and         Escrow          Payment*                       Monthly
                                             Date          Interest    Payment         (adjusts                       Payments
                                                                                                                                             \gCQ!e/J5vIT/
                                                           Payment     Amount*         periodically)                                         5 q4X\7QLVW9Z

                                                           Amount      (adjusts                                                              }-- -M-}-}=-MM]-]-


                                                                       periodically)
                 1 - 14.92        2.875      11/01/2020    $301.17     $167.95         $469.12         12/01/2020     179

        *The escrow payments may be adjusted periodically in accordance with applicable law due to changes in property taxes,
        insurance amounts or other escrow expenses and therefore the total monthly payment may change accordingly. The
        escrow payment amount shown is based on current data and represents a reasonable estimate of expenditures for future
        escrow obligations; however, escrow payments may be adjusted periodically in accordance with applicable law.

Additional Agreements:

   1.   Transfer of Property. If all or any part of the Property or any interest in the Property is sold or transferred (or if Borrower is
        not a natural person and a beneficial interest in Borrower is sold or transferred) without Lender’s prior written consent,
        Lender may require immediate payment in full of all sums secured by the Security Instrument.

   2.   Original Loan Document Conditions. Borrower also will comply with all other covenants, agreements, and requirements of
        the Security Instrument and Note, including without limitation, Borrower’s covenants and agreements to make all
        payments of taxes, insurance premiums, assessments, escrow items, impounds, and all other payments that Borrower is




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        obligated to make under the Security Instrument and Note; however, if applicable, the following terms and provisions are
        forever canceled, null and void, as of 11/01/2020:

            a.     all terms and provisions of the Note and Security Instrument (if any) providing for, implementing, or relating to,
                   any change or adjustment in the rate of interest payable under the Note; and

            b.     all terms and provisions of any adjustable rate rider, or other instrument or document that is affixed to, wholly or
                   partially incorporated into, or is part of, the Note or Security Instrument and that contains any such terms and
                   provisions as those referred to in (a) above.

   3.   Borrower understands and agrees that:
            a. Default Under the Modification. All the rights and remedies, stipulations, and conditions contained in the Security
               Instrument relating to default in the making of payments under the Security Instrument shall also apply to default
               in the making of the modified payments hereunder.

            b.     Original Loan Document Conditions. All covenants, agreements, stipulations, and conditions in the Note and
                   Security Instrument shall be and remain in full force and effect, except as herein modified, and none of the
                   Borrower’s obligations or liabilities under the Note and Security Instrument shall be diminished or released by any
                   provisions hereof, nor shall this Agreement in any way impair, diminish, or affect any of Lender’s rights under or
                   remedies on the Note and Security Instrument, whether such rights or remedies arise thereunder or by operation
                   of law. Also, all rights of recourse to which Lender is presently entitled against any property or any other persons
                   in any way obligated for, or liable on, the Note and Security Instrument are expressly reserved by Lender.
                   Borrower agrees that the Loan Documents are composed of duly valid, binding agreements, enforceable in
                   accordance with their terms and are hereby reaffirmed.


                                                                Page 4
                                                             INTERNET REPRINT                                            CONFIDENTIAL
                                             REPRESENTATION OF PRINTED DOCUMENT
              Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 91 of 199. PageID #: 550
                                                                                                                 PHH000198

         c.   Modification Does Not Constitute Release. Nothing in this Agreement shall be understood or construed to be a
              satisfaction or release in whole or in part of the Note and Security Instrument.

         d.   Costs and Expenses. All costs and expenses incurred by Lender in connection with this Agreement, including
              recording fees, title examination, and attorney’s fees, shall be paid by the Borrower and shall be secured by the
              Security Instrument, unless stipulated otherwise by Lender or not permitted per State or federal law.

         e.   Agreement to Provide Any Additional Modification Documents. Borrower agrees to make and execute such other
                                                                                                                                     \gCQ!e/b%vLT/
              documents or papers as may be necessary or required to effectuate the terms and conditions of this Agreement           5 r)rE5[]# QZ
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              which, if approved and accepted by Lender, shall bind and inure to the heirs, executors, administrators, and
              assigns of the Borrower. Borrower will execute such other documents as may be reasonably necessary to correct
              the terms and conditions of this Agreement if an error is detected after execution of this Agreement. Borrower
              understands that either a corrected Agreement or a letter agreement containing the correction will be provided to
              Borrower for Borrower’s signature. At Lender’s option, this Agreement will be void and of no legal effect upon
              notice of such error. If Borrower elects not to sign any such corrective documentation, the terms of the original
              Loan Documents shall continue in full force and effect, such terms will not be modified by this Agreement.
               Borrower agrees to deliver any such corrective documents within ten (10) days after Borrower receives the
              Lender’s written request for such replacement.

         f.   Agreement of Use of Non-Public Information. Borrower authorizes Lender, and Lender’s successors and assigns,
              to share Borrower information including, but not limited to (i) name, address, and telephone number, (ii) Social
              Security Number, (iii) credit score, (iv) income, (v) payment history, (vi) account balances and activity, including
              information about any modification or foreclosure relief programs, with Third Parties that can assist Lender and
              Borrower in obtaining a foreclosure prevention alternative, or otherwise provide support services related to
              Borrower’s loan. For purposes of this section, Third Parties include a counseling agency, state or local Housing




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              Finance Agency or similar entity, any insurer, guarantor, or servicer that insures, guarantees, or services
              Borrower’s loan or any other mortgage loan secured by the Property on which Borrower is obligated, or to any
              companies that perform support services to them in connection with Borrower’s loan.

         g.   Consent to Contact. Borrower consents to being contacted by Lender or Third Parties concerning mortgage
              assistance relating to Borrower’s loan including the trial period plan to modify Borrower’s loan, at any telephone
              number, including mobile telephone number, or email address Borrower has provided to Lender or Third Parties.

4.   Escrow Account. By this section, Lender is notifying Borrower that any prior waiver by Lender of Borrower’s obligation to
     pay to Lender Funds for any or all Escrow Items is hereby revoked and Borrower has been advised of the amount needed to
     fully fund the Escrow Account.

     Borrower will pay to Lender on the day payments are due under the Loan Documents as amended by this Agreement, until
     the Loan is paid in full, a sum (the “Funds”) to provide for payment of amounts due for: (a) taxes and assessments and other
     items which can attain priority over the Mortgage as a lien or encumbrance on the Property; (b) leasehold payments or
     ground rents on the Property, if any; (c) premiums for any and all insurance required by Lender under the Loan Documents;
     (d) mortgage insurance premiums, if any, or any sums payable to Lender in lieu of the payment of mortgage insurance
     premiums in accordance with the Loan Documents; and (e) any community association dues, fees, and assessments that
     Lender requires to be escrowed. These items are called “Escrow Items.” Borrower shall promptly furnish to Lender all
     notices of amounts to be paid under this paragraph. Borrower shall pay Lender the Funds for Escrow Items unless Lender
     waives Borrower’s obligation to pay the Funds for any or all Escrow Items. Lender may waive Borrower’s obligation to pay
     to Lender Funds for any or all Escrow Items at any time. Any such waiver may only be in writing. In the event of such
     waiver, Borrower shall pay directly, when and where payable, the amounts due for any Escrow Items for which payment of
     Funds has been waived by Lender and, if Lender requires, shall furnish to Lender receipts evidencing such payment within
     such time period as Lender may require. Borrower’s obligation to make such payments and to provide receipts shall for all

                                                           Page 5
                                                        INTERNET REPRINT                                          CONFIDENTIAL
                                            REPRESENTATION OF PRINTED DOCUMENT
            Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 92 of 199. PageID #: 551
                                                                                                                PHH000199
     purposes be deemed to be a covenant and agreement contained in the Loan Documents, as the phrase “covenant and
     agreement” is used in the Loan Documents. If Borrower is obligated to pay Escrow Items directly, pursuant to a waiver, and
     Borrower fails to pay the amount due for an Escrow Item, Lender may exercise its rights under the Loan Documents and this
     Agreement and pay such amount and Borrower shall then be obligated to repay to Lender any such amount. Lender may
     revoke the waiver as to any or all Escrow Items at any time by a notice given in accordance with the Loan Documents, and,
     upon such revocation, Borrower shall pay to Lender all Funds, and in such amounts, that are then required under this
     paragraph.

     Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to apply the Funds at the time
                                                                                                                                    \gCQ!e7J%vLT/
     specified under the Real Estate Settlement Procedures Act (“RESPA”), and (b) not to exceed the maximum amount a lender         5 r$&l7Z`]vC)Z
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     can require under RESPA. Lender shall estimate the amount of Funds due on the basis of current data and reasonable
     estimates of expenditures of future Escrow Items or otherwise in accordance with applicable law.

     The Funds shall be held in an institution whose deposits are insured by a federal agency, instrumentality, or entity
     (including Lender, if Lender is an institution whose deposits are so insured) or in any Federal Home Loan Bank. Lender shall
     apply the Funds to pay the Escrow Items no later than the time specified under RESPA. Lender shall not charge Borrower
     for holding and applying the Funds, annually analyzing the escrow account, or verifying the Escrow Items, unless Lender
     pays Borrower interest on the Funds and applicable law permits Lender to make such a charge. Unless an agreement is
     made in writing or applicable law requires interest to be paid on the Funds, Lender shall not be required to pay Borrower
     any interest or earnings on the Funds. Lender and Borrower can agree in writing, however, that interest shall be paid on
     the Funds. Lender shall provide Borrower, without charge, an annual accounting of the Funds as required by RESPA.

     If there is a surplus of Funds held in escrow, as defined under RESPA, Lender shall account to Borrower for the excess funds
     in accordance with RESPA. If there is a shortage of Funds held in escrow, as defined under RESPA, Lender shall notify
     Borrower as required by RESPA, and Borrower shall pay to Lender the amount necessary to make up the shortage in
     accordance with RESPA, but in no more than 12 monthly payments. If there is a deficiency of Funds held in escrow, as




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     defined under RESPA, Lender shall notify Borrower as required by RESPA, and Borrower shall pay to Lender the amount
     necessary to make up the deficiency in accordance with RESPA, but in no more than 12 monthly payments.

     Upon payment in full of all sums secured by the Loan Documents, Lender shall promptly refund to Borrower any Funds held
     by Lender.

5.   Severability. Whenever possible, each provision of this Agreement shall be interpreted in such a manner as to be effective
     and valid under applicable law, but if any provision of this Agreement shall be or become prohibited or invalid under
     applicable law, such provision shall be ineffective to the extent of such prohibition or invalidity without invalidating the
     remainder of such provision or the remaining provisions of this Agreement.

6.   Inclusion of Exhibits. Borrower authorizes Lender to attach an Exhibit A to this Agreement, which may include a Legal
     Description, recording information of the original security instrument, and any other relevant information required by a
     County Clerk (or other recordation office) to allow for recording if and when Lender seeks recordation.

7.   Errors and Omissions. That if any documents related to the loan documents and/or this Agreement is lost, misplaced,
     misstated, inaccurately reflects the true and correct terms and conditions of the Loan as modified, or is otherwise missing,
     Borrower will comply with the Lender’s request to execute, acknowledge, initial and deliver to the Lender any
     documentation the Lender deems necessary. All documents the Lender requests of Borrower under this section shall be
     referred to as "Documents." Borrower agrees to deliver the Documents within ten (10) days after Borrower receives the
     Lender’s written request for such replacement. At Lender’s option, this Agreement will be void and of no legal effect and
     the loan terms will revert to the terms prior to the approved modification.

8.   Final Agreement. This Agreement may not be supplemented, changed, modified or omitted except by written document
     executed by both the Lender and the Borrower. This Modification constitutes the entire agreement between the Lender

                                                          Page 6
                                                        INTERNET REPRINT                                         CONFIDENTIAL
                                             REPRESENTATION OF PRINTED DOCUMENT
             Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 93 of 199. PageID #: 552
                                                                                                                  PHH000200
     and Borrower and supersedes all previous negotiations and discussions between the Borrower and the Lender and neither
     prior evidence nor any prior or other agreement shall be permitted to contradict or vary its terms. There are no promises,
     terms, conditions, or obligations other than those contained in this Agreement.

9.   Additional Events of Default. Without limiting the other events of default set forth in the Loan Documents, Borrower will
     be in default under this Agreement and under the Loan Documents upon the occurrence of any one or more of these
     events:
     a. Any material representation or warranty made by you in the Loan Documents, this Agreement, or any initial agreement
         proves to be false or misleading in any respect.
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     b.   Borrower fails to make the New Monthly Payments as required by this Agreement.                                              }}M -M ]MM-MM= --




     c.   Borrower sells or conveys any interest in the Property without Lender’s prior written consent.

     d.   Breach of any of the terms or provisions of this Agreement.

10. Consequences of Default. If Borrower defaults under this Agreement or the Loan Documents after the Modification
    Effective Date (your “Default”), Lender may, in addition to the remedies provided by the Loan Documents, subject only to
    applicable law, institute any foreclosure or collection proceedings without prejudice for having accepted any payments,
    including but not limited to the New Monthly Payments, under this Agreement and exercise any of its rights and remedies
    against Borrower under the Loan Documents and/or this Agreement.

11. Mortgage Insurance. Borrower understands that the mortgage insurance premiums on the Loan, if applicable, may increase
    as a result of the capitalization which may result in a higher total monthly payment. Furthermore, the date on which
    Borrower may request cancellation of mortgage insurance may change as a result of the New Principal Balance.

12. Credit Reporting. Lender is required to report factual information to the credit reporting agencies. Lender may report




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    information about the account to credit bureaus. Late payments, missed payments, or other defaults on the account may
    be reflected in the credit report.

13. No Novation. Borrower expressly agrees that this Agreement is not a new loan from Lender but simply the modification of
    the existing obligations under the Loan Documents. Neither Borrower nor Lender has any intention to extinguish or
    discharge the indebtedness or the liens evidenced by the Loan Documents.

14. Discharged Bankruptcy. Notwithstanding anything to the contrary contained in this Agreement, Borrower and Lender
    acknowledge the effect of a discharge in bankruptcy that has been granted to Borrower prior to the execution of this
    Agreement and that Lender may not pursue Borrower for personal liability. However, Borrower acknowledges that Lender
    retains certain rights, including but not limited to the right to foreclose its lien evidenced by the Security Instrument under
    appropriate circumstances. The parties agree that the consideration for this Agreement is Lender’s forbearance from
    presently exercising its rights and pursuing its remedies under the Security Instrument as a result of Borrower’s default
    thereunder. Nothing in this Agreement shall be construed to be an attempt to collect against Borrower personally or an
    attempt to revive personal liability.




                                                           Page 7
                                                         INTERNET REPRINT                                         CONFIDENTIAL
                                             REPRESENTATION OF PRINTED DOCUMENT
               Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 94 of 199. PageID #: 553
                                                                                                          PHH000201




                                       BORROWER ACKNOWLEDGEMENT
IMPORTANT – Do NOT sign this Agreement unless you are in the presence of a notary. If extenuating
circumstances prevent one notary signature, separately signed and notarized agreements will be accepted;
however, the agreements must be returned in the same package to PHH Mortgage Corporation.
Each of the Borrower(s) and the Lender acknowledge that no representations, agreements or promises were made by the         \gCQ!e?Z%vJT/
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other party or any of its representatives other than those representations, agreements or promises specifically contained   }}} -MMM ]-M =Mm-
herein. This Agreement, and the Note and Security Instrument (as amended hereby) set forth the entire understanding
between the parties. There are no unwritten agreements between the parties.
All individuals on the mortgage, note and the property title must sign this Agreement.


                        ______________________            ____________________________________
                         Date                              ANGELA RUCKMAN




                                                                                                                                     9-814-BIZ58-0000094-001-15-000-001-000-000




                                                        INTERNET REPRINT                                  CONFIDENTIAL
                                            REPRESENTATION OF PRINTED DOCUMENT
               Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 95 of 199. PageID #: 554
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State of ________________________

County of __________________________                                                                                        \gCQ!e?b5vLT/
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On this __ day of _________ , ______ , before me, the undersigned, a Notary Public in and for said county and
state, personally appeared ___________________________________________________________________personally
known to me or identified to my satisfaction to be the person(s) who executed the within instrument, and they duly
acknowledged that said instrument is their act and deed, and that they, being authorized to do so, executed and delivered
said instrument for the purposes therein contained.


Witness my hand and official seal.

                                                ___________________________________________
                                                Notary Public

                                                My Commission Expires: _______________________




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                                                      INTERNET REPRINT                                    CONFIDENTIAL
                                            REPRESENTATION OF PRINTED DOCUMENT
               Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 96 of 199. PageID #: 555
                                                                                                           PHH000203




                                         LENDER ACKNOWLEDGEMENT

                                             (For Lender's Signature Only)

Lender acknowledges that no representations, agreements or promises were made or any of its representations other            \gCQ!e'j5vJT/
than those representations, agreements or promises specifically contained herein. This Agreement, and the Note and           5 q#%]n(LZ3v IZ
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Security Instrument (as amended hereby) set forth the entire understanding between the parties. There are no unwritten
agreements between the parties.

PHH Mortgage Corporation

__________________________________________

Authorized Signer




__________________________________________
Date



State of ____________________________

County of __________________________




                                                                                                                                      9-814-BIZ58-0000094-001-17-000-001-000-000
On this __ day of _________, ____, before me, the undersigned, a Notary Public in and for said county and state,
personally appeared ____________________________, personally known to me or identified to my satisfaction to be the
person who executed the within instrument as _________________________ of PHH Mortgage Corporation., said
instrument is their act and deed, and that they, being authorized to do so, executed and delivered said instrument for the
purposes therein contained.

Witness my hand and official seal.



                                                 _______________________________________________
                                                 Notary Public

                                                 My Commission Expires: ___________________________




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                                           REPRESENTATION OF PRINTED DOCUMENT
               Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 97 of 199. PageID #: 556
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Loan Number:
Investor Loan Number:


This document was prepared by PHH Mortgage Corporation
After Recording Return To:
PHH Mortgage Corporation
Attention: Modification Processing
PO Box 24737
West Palm Beach, FL 33416-9838
          ____________________________ [Space Above This Line For Recording Data] ____________________________




                                                                                                                                9-814-BIZ58-0000094-001-18-000-001-000-000
                                     LOAN MODIFICATION AGREEMENT
Borrower (s): ANGELA RUCKMAN

THIS IS A BALLOON MORTGAGE AND THE FINAL PRINCIPAL PAYMENT OR THE PRINCIPAL BALANCE DUE UPON MATURITY IS
$22,644.26, TOGETHER WITH ACCRUED INTEREST, IF ANY, AND ALL ADVANCEMENTS MADE BY THE MORTGAGEE UNDER THE
TERMS OF THIS MORTGAGE.

BALLOON PAYMENT DISCLOSURE
THIS MODIFICATION AGREEMENT INCLUDES A BALLOON PAYMENT, WHICH MEANS THAT EVEN IF YOU MAKE ALL THE
SCHEDULED PAYMENTS WHEN DUE, THE LOAN WILL NOT BE PAID IN FULL AT THE END OF ITS TERM. AS A RESULT, ON
THE MATURITY DATE OUTLINED WITHIN THIS AGREEMENT, YOU WILL BE REQUIRED TO REPAY, IN A SINGLE
PAYMENT, THE ENTIRE REMAINING PRINCIPAL BALANCE PLUS ALL ACCRUED BUT UNPAID INTEREST AND ALL OTHER
AMOUNTS OWING ON THAT DATE (INCLUDING BUT NOT LIMITED TO ALL ADVANCES MADE BY LOAN SERVICER
UNDER THE TERMS OF THE SECURITY INSTRUMENT).

CAUTION TO BORROWER: NO OBLIGATION TO REFINANCE – LOAN SERVICER HAS NO OBLIGATION TO REFINANCE THIS
LOAN OR MAKE YOU A NEW LOAN ON THE MATURITY DATE. If YOU DO NOT HAVE THE FUNDS TO PAY THE BALLOON
PAYMENT WHEN IT COMES DUE, YOU MAY HAVE TO OBTAIN A NEW LOAN AGAINST THE PROPERTY TO MAKE THE
BALLOON PAYMENT. ASSUMING ANOTHER LENDER MAKES YOU A NEW LOAN ON THE MATURITY DATE, YOU WILL
PROBABLY BE CHARGED INTEREST AT THE MARKET RATE PREVAILING AT THAT TIME. SUCH INTEREST RATE MAY BE
HIGHER THAN THE INTEREST RATE PAID ON THIS LOAN. YOU MAY AGAIN HAVE TO PAY COMMISSIONS, FEES AND
EXPENSES FOR THE ARRANGING OF THE NEW LOAN. IN ADDITION, IF YOU ARE UNABLE TO MAKE THE MONTHLY
PAYMENTS OR THE BALLOON PAYMENT, YOU MAY LOSE THE PROPERTY AND ALL OF THE EQUITY THROUGH
FORECLOSURE. KEEP THIS IN MIND IN DECIDING WHETHER TO AGREE TO THE TERMS OF THIS LOAN MODIFICATION.


                                                          Page 1
                                                         INTERNET REPRINT                               CONFIDENTIAL
                                                 REPRESENTATION OF PRINTED DOCUMENT
                 Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 98 of 199. PageID #: 557
                                                                                                                        PHH000205
The debtor, ANGELA RUCKMAN, and HSBC Bank USA, National Association, as Trustee for Ownit Mortgage Loan Trust, Mortgage
Loan Asset-Backed Certificates, Series 2005-5 through the servicer of the underlying mortgage loan agreement, PHH Mortgage
Corporation, have agreed to modify the terms of said underlying mortgage loan agreement. HSBC Bank USA, National Association,
as Trustee for Ownit Mortgage Loan Trust, Mortgage Loan Asset-Backed Certificates, Series 2005-5 is the owner of the loan and
retains all rights to collect payments as per the underlying mortgage loan agreement. PHH Mortgage Corporation, remains servicer
for said underlying mortgage loan agreement.


This Loan Modification Agreement (“Agreement”), made this 6th day of November, 2020 (“Modification Agreement Date”), between
ANGELA RUCKMAN (“Borrower”) and PHH Mortgage Corporation, Lender/Servicer or Agent for Lender/Servicer (“Lender”), amends
and supplements (1) the Mortgage, Deed of Trust, or Security Deed (“Security Instrument”) dated 08/24/2005 and recorded in the              \gCQ!e/z5vLT/
                                                                                                                                            5 r/VGA^XE fiZ
Records of Richland County, OH and (2) the Note, bearing the same date as, and secured by, the Security Instrument (collectively,           }M-M---mm M]-M-

“Loan Documents”), which covers the real and personal property described in the Security Instrument and defined therein as the
“Property”, located at

                                                         837 S MAIN ST
                                                      MANSFIELD, OH 44907

The real property described being set forth as follows:

                                    (Legal Description Attached, if applicable, for Recording Only)

In consideration of the mutual promises and agreements exchanged, the parties hereto agree as follows (notwithstanding anything
to the contrary contained in the Note or Security Instrument):

Representations:

    1.   Borrower is experiencing a financial hardship and as a result, 1) is or will be in default under the Loan Documents and 2)
         does not have sufficient income or access to sufficient liquid assets to make the monthly mortgage payments due under the
         Loan Documents.




                                                                                                                                                     9-814-BIZ58-0000094-001-19-000-001-000-000
    2.   Under penalty of perjury, if required by the Lender, borrower provided Lender with full and complete information that,
         when provided, accurately stated borrower’s income, expenses, and assets. To the extent requested by Lender, borrower
         provided documents that supported that information.
    3.   Borrower has made any and all required trial period plan payments or down payments.
    4.   Borrower currently has sufficient income to support the financial obligations under the Loan Documents, as modified by
         this Agreement.
    5.   Borrower understands that property title may be reviewed as a precondition to the modification.

Acknowledgements and Preconditions to the Modification:

    1.   Lender has no obligation to make any modification of the Loan Documents if any of the requirements under this Agreement
         are not met.
    2.   Prior to the Modification Effective Date (defined as 11/01/2020), if Lender determines that any of the representations
         above are no longer true and correct, 1) the Loan Documents will not be modified, 2) this Agreement will not be valid, and
         3) Lender will have all of the rights and remedies provided by the Loan Documents.
    3.   The Loan Documents will not be modified unless and until 1) Lender approves this Agreement and 2) the Modification
         Effective Date has occurred.

Modified Loan Terms:

    1.   If all of Borrower’s representations above continue to be true and correct and all preconditions to the modification set forth
         above have been met, the Loan Documents will automatically become modified on 11/01/2020. If Borrower has failed to
         make any payments that are a precondition to this modification or receipt of clear title is not received, this modification will
         not take effect.

         The new Maturity Date will be 10/01/2035.

         Borrower understands that in order to reach an affordable payment under this modification, the loan may have been re-

                                                                Page 2
                                                              INTERNET REPRINT                                          CONFIDENTIAL
                                             REPRESENTATION OF PRINTED DOCUMENT
            Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 99 of 199. PageID #: 558
                                                                                                                  PHH000206
     amortized beyond the maturity date. This means that if all payments are made in accordance with the loan terms, when
     Borrower reaches the maturity date, there will be an outstanding amount still due.


     This amount includes an interest-bearing balloon payment in the amount of $22,644.26 (“Balloon Payment”) which is due
     when the loan reaches maturity, sold, refinanced or otherwise accepted by the Lender as paid in full. Borrower specifically
     acknowledges that this is a balloon modification and therefore Borrower will have a balloon payment due at maturity in the
     approximate amount of $22,644.26.


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     BALLOON PAYMENT: THIS MORTGAGE LOAN CONTAINS A BALLOON PAYMENT PROVISION. A BALLOON PAYMENT IS A                                 }-M -- ]mMm M}M--

     SCHEDULED LUMP SUM USUALLY DUE AT THE END OF THE MORTGAGE LOAN TERM THAT IS SIGNIFICANTLY LARGER
     THAN THE OTHER REGULARLY SCHEDULED PERIODIC PAYMENTS. IF YOU CANNOT PAY THE BALLOON PAYMENT WHEN
     DUE, YOU MAY HAVE TO OBTAIN A NEW LOAN TO MAKE THE BALLOON PAYMENT OR YOU MAY LOSE YOUR PROPERTY
     THROUGH FORECLOSURE. BEFORE DECIDING TO TAKE THIS LOAN, CONSIDER YOUR ABILITY TO PAY THE BALLOON
     PAYMENT WHEN IT COMES DUE. THE BALLOON PAYMENT ON THE MORTGAGE LOAN YOU HAVE APPLIED FOR IS DUE
     179 MONTHS FROM THE DATE YOUR MORTGAGE LOAN BEGINS.

     CAUTION TO BORROWER: IF YOU DO NOT HAVE THE FUNDS TO PAY THE BALLOON PAYMENT WHEN DUE, IT MAY BE
     NECESSARY FOR YOU TO OBTAIN A NEW LOAN AGAINST YOUR PROPERTY FOR THIS PURPOSE AND YOU MAY BE
     REQUIRED TO AGAIN PAY COMMISSION AND EXPENSES FOR ARRANGING THE LOAN. KEEP THIS IN MIND IN DECIDING
     UPON THE AMOUNT AND TERMS OF THE LOAN THAT YOU OBTAIN AT THIS TIME.

2.   The current Unpaid Principal Balance is $51,720.69. The New Principal Balance of the Note will be $58,552.36 (the “New
     Principal Balance”). This includes amounts and arrearages that are past due as of the Modification Effective Date (including,
     but not limited to, unpaid and any previously deferred principal and interest, fees, escrow advances and other costs,
     collectively, “Unpaid Amounts”) excluding any fees, costs and/or corporate advances not added to the account as of the
     Modification Agreement Date and amounts not added to the New Principal Balance due to investor and/or mortgage
     insurer restrictions less any amounts paid to the Lender but not previously credited to the Loan. Any amounts not added to




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     the New Principal Balance will remain on the account until paid and will become due when the interest-bearing balance is
     paid in full or upon maturity as applicable pursuant to State or Federal law.

3.    The New Principal Balance may represent the sum of the “Deferred Principal Balance” (if applicable), the “Principal
     Forgiveness” (if applicable) and the “Interest Bearing Principal Balance.” The Interest Bearing Principal Balance is
     $58,552.36. Borrower understands that by agreeing to add the Unpaid Amounts to the Unpaid Principal Balance, the added
     Unpaid Amounts accrue interest based on the interest rate in effect under this Agreement. Borrower also understands that
     this means interest will now accrue on the unpaid interest that is added to the New Principal Balance, which would not
     happen without this Agreement.

4.   Borrower promises to pay the New Principal Balance, plus interest, and any future fees/costs to the order of the Lender.
     Interest will be charged on the Interest Bearing Principal Balance at the yearly rate of 2.875%, beginning 11/01/2020.
     Borrower promises to make monthly payments of principal and interest of U.S. $301.17, beginning on 12/01/2020 and
     continuing thereafter on the same day of each succeeding month until principal and interest are paid in full. Borrower
     promises to also pay any applicable monthly escrow payments as outlined in this Agreement. The initial monthly escrow
     amount is $167.95. The yearly rate of 2.875% will remain in effect until principal and interest are paid in full. If on
     10/01/2035 (the “Maturity Date”), Borrower still owes amounts under the Note and the Security Instrument, as amended
     by this Agreement, Borrower will pay these amounts in full on the Maturity Date. Borrower agrees to pay in full all amounts
     still owed under the Note and the Security Instrument by the earliest of: (i) The date Borrower sells or transfers an interest
     in the Property, (ii) The date Borrower pays the entire Interest Bearing Principal Balance, or (iii) the Maturity Date.



     The initial monthly escrow amount is $167.95. The escrow payments may be adjusted periodically in accordance with
     applicable law due to changes in property taxes, insurance amounts or other escrow expenses and therefore the total


                                                           Page 3
                                                         INTERNET REPRINT                                         CONFIDENTIAL
                                                  REPRESENTATION OF PRINTED DOCUMENT
                 Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 100 of 199. PageID #: 559
                                                                                                                        PHH000207
        monthly payment may change accordingly. The escrow payment amount shown is based on current data and represents a
        reasonable estimate of expenditures for future escrow obligations; however, escrow payments may be adjusted
        periodically in accordance with applicable law.

        Borrower’s payment schedule for the modified Loan is as follows:

                 Years            Interest   Interest      Monthly     Estimated       Total           Payment        Number
                                  Rate       Rate          Principal   Monthly         Monthly         Begins On      of
                                  (%)        Change        and         Escrow          Payment*                       Monthly
                                             Date          Interest    Payment         (adjusts                       Payments
                                                                                                                                             \gCQ!g-J5vJT/
                                                           Payment     Amount*         periodically)                                         5 q2=Vc u-yZ

                                                           Amount      (adjusts                                                              }mM m--=}m--M m}-


                                                                       periodically)
                 1 - 14.92        2.875      11/01/2020    $301.17     $167.95         $469.12         12/01/2020     179

        *The escrow payments may be adjusted periodically in accordance with applicable law due to changes in property taxes,
        insurance amounts or other escrow expenses and therefore the total monthly payment may change accordingly. The
        escrow payment amount shown is based on current data and represents a reasonable estimate of expenditures for future
        escrow obligations; however, escrow payments may be adjusted periodically in accordance with applicable law.

Additional Agreements:

   1.   Transfer of Property. If all or any part of the Property or any interest in the Property is sold or transferred (or if Borrower is
        not a natural person and a beneficial interest in Borrower is sold or transferred) without Lender’s prior written consent,
        Lender may require immediate payment in full of all sums secured by the Security Instrument.

   2.   Original Loan Document Conditions. Borrower also will comply with all other covenants, agreements, and requirements of
        the Security Instrument and Note, including without limitation, Borrower’s covenants and agreements to make all
        payments of taxes, insurance premiums, assessments, escrow items, impounds, and all other payments that Borrower is




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        obligated to make under the Security Instrument and Note; however, if applicable, the following terms and provisions are
        forever canceled, null and void, as of 11/01/2020:

            a.     all terms and provisions of the Note and Security Instrument (if any) providing for, implementing, or relating to,
                   any change or adjustment in the rate of interest payable under the Note; and

            b.     all terms and provisions of any adjustable rate rider, or other instrument or document that is affixed to, wholly or
                   partially incorporated into, or is part of, the Note or Security Instrument and that contains any such terms and
                   provisions as those referred to in (a) above.

   3.   Borrower understands and agrees that:
            a. Default Under the Modification. All the rights and remedies, stipulations, and conditions contained in the Security
               Instrument relating to default in the making of payments under the Security Instrument shall also apply to default
               in the making of the modified payments hereunder.

            b.     Original Loan Document Conditions. All covenants, agreements, stipulations, and conditions in the Note and
                   Security Instrument shall be and remain in full force and effect, except as herein modified, and none of the
                   Borrower’s obligations or liabilities under the Note and Security Instrument shall be diminished or released by any
                   provisions hereof, nor shall this Agreement in any way impair, diminish, or affect any of Lender’s rights under or
                   remedies on the Note and Security Instrument, whether such rights or remedies arise thereunder or by operation
                   of law. Also, all rights of recourse to which Lender is presently entitled against any property or any other persons
                   in any way obligated for, or liable on, the Note and Security Instrument are expressly reserved by Lender.
                   Borrower agrees that the Loan Documents are composed of duly valid, binding agreements, enforceable in
                   accordance with their terms and are hereby reaffirmed.


                                                                Page 4
                                                             INTERNET REPRINT                                            CONFIDENTIAL
                                              REPRESENTATION OF PRINTED DOCUMENT
              Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 101 of 199. PageID #: 560
                                                                                                                  PHH000208

         c.    Modification Does Not Constitute Release. Nothing in this Agreement shall be understood or construed to be a
               satisfaction or release in whole or in part of the Note and Security Instrument.

         d.    Costs and Expenses. All costs and expenses incurred by Lender in connection with this Agreement, including
               recording fees, title examination, and attorney’s fees, shall be paid by the Borrower and shall be secured by the
               Security Instrument, unless stipulated otherwise by Lender or not permitted per State or federal law.

         e.    Agreement to Provide Any Additional Modification Documents. Borrower agrees to make and execute such other
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               documents or papers as may be necessary or required to effectuate the terms and conditions of this Agreement           5 r+Io?PFY fZ
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               which, if approved and accepted by Lender, shall bind and inure to the heirs, executors, administrators, and
               assigns of the Borrower. Borrower will execute such other documents as may be reasonably necessary to correct
               the terms and conditions of this Agreement if an error is detected after execution of this Agreement. Borrower
               understands that either a corrected Agreement or a letter agreement containing the correction will be provided to
               Borrower for Borrower’s signature. At Lender’s option, this Agreement will be void and of no legal effect upon
               notice of such error. If Borrower elects not to sign any such corrective documentation, the terms of the original
               Loan Documents shall continue in full force and effect, such terms will not be modified by this Agreement.
                Borrower agrees to deliver any such corrective documents within ten (10) days after Borrower receives the
               Lender’s written request for such replacement.

         f.    Agreement of Use of Non-Public Information. Borrower authorizes Lender, and Lender’s successors and assigns,
               to share Borrower information including, but not limited to (i) name, address, and telephone number, (ii) Social
               Security Number, (iii) credit score, (iv) income, (v) payment history, (vi) account balances and activity, including
               information about any modification or foreclosure relief programs, with Third Parties that can assist Lender and
               Borrower in obtaining a foreclosure prevention alternative, or otherwise provide support services related to
               Borrower’s loan. For purposes of this section, Third Parties include a counseling agency, state or local Housing




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               Finance Agency or similar entity, any insurer, guarantor, or servicer that insures, guarantees, or services
               Borrower’s loan or any other mortgage loan secured by the Property on which Borrower is obligated, or to any
               companies that perform support services to them in connection with Borrower’s loan.

         g.    Consent to Contact. Borrower consents to being contacted by Lender or Third Parties concerning mortgage
               assistance relating to Borrower’s loan including the trial period plan to modify Borrower’s loan, at any telephone
               number, including mobile telephone number, or email address Borrower has provided to Lender or Third Parties.

4.   Escrow Account. By this section, Lender is notifying Borrower that any prior waiver by Lender of Borrower’s obligation to
     pay to Lender Funds for any or all Escrow Items is hereby revoked and Borrower has been advised of the amount needed to
     fully fund the Escrow Account.

     Borrower will pay to Lender on the day payments are due under the Loan Documents as amended by this Agreement, until
     the Loan is paid in full, a sum (the “Funds”) to provide for payment of amounts due for: (a) taxes and assessments and other
     items which can attain priority over the Mortgage as a lien or encumbrance on the Property; (b) leasehold payments or
     ground rents on the Property, if any; (c) premiums for any and all insurance required by Lender under the Loan Documents;
     (d) mortgage insurance premiums, if any, or any sums payable to Lender in lieu of the payment of mortgage insurance
     premiums in accordance with the Loan Documents; and (e) any community association dues, fees, and assessments that
     Lender requires to be escrowed. These items are called “Escrow Items.” Borrower shall promptly furnish to Lender all
     notices of amounts to be paid under this paragraph. Borrower shall pay Lender the Funds for Escrow Items unless Lender
     waives Borrower’s obligation to pay the Funds for any or all Escrow Items. Lender may waive Borrower’s obligation to pay
     to Lender Funds for any or all Escrow Items at any time. Any such waiver may only be in writing. In the event of such
     waiver, Borrower shall pay directly, when and where payable, the amounts due for any Escrow Items for which payment of
     Funds has been waived by Lender and, if Lender requires, shall furnish to Lender receipts evidencing such payment within
     such time period as Lender may require. Borrower’s obligation to make such payments and to provide receipts shall for all

                                                            Page 5
                                                         INTERNET REPRINT                                          CONFIDENTIAL
                                            REPRESENTATION OF PRINTED DOCUMENT
           Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 102 of 199. PageID #: 561
                                                                                                                PHH000209
     purposes be deemed to be a covenant and agreement contained in the Loan Documents, as the phrase “covenant and
     agreement” is used in the Loan Documents. If Borrower is obligated to pay Escrow Items directly, pursuant to a waiver, and
     Borrower fails to pay the amount due for an Escrow Item, Lender may exercise its rights under the Loan Documents and this
     Agreement and pay such amount and Borrower shall then be obligated to repay to Lender any such amount. Lender may
     revoke the waiver as to any or all Escrow Items at any time by a notice given in accordance with the Loan Documents, and,
     upon such revocation, Borrower shall pay to Lender all Funds, and in such amounts, that are then required under this
     paragraph.

     Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to apply the Funds at the time
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     specified under the Real Estate Settlement Procedures Act (“RESPA”), and (b) not to exceed the maximum amount a lender         5 r#(WR=MGF]IiZ
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     can require under RESPA. Lender shall estimate the amount of Funds due on the basis of current data and reasonable
     estimates of expenditures of future Escrow Items or otherwise in accordance with applicable law.

     The Funds shall be held in an institution whose deposits are insured by a federal agency, instrumentality, or entity
     (including Lender, if Lender is an institution whose deposits are so insured) or in any Federal Home Loan Bank. Lender shall
     apply the Funds to pay the Escrow Items no later than the time specified under RESPA. Lender shall not charge Borrower
     for holding and applying the Funds, annually analyzing the escrow account, or verifying the Escrow Items, unless Lender
     pays Borrower interest on the Funds and applicable law permits Lender to make such a charge. Unless an agreement is
     made in writing or applicable law requires interest to be paid on the Funds, Lender shall not be required to pay Borrower
     any interest or earnings on the Funds. Lender and Borrower can agree in writing, however, that interest shall be paid on
     the Funds. Lender shall provide Borrower, without charge, an annual accounting of the Funds as required by RESPA.

     If there is a surplus of Funds held in escrow, as defined under RESPA, Lender shall account to Borrower for the excess funds
     in accordance with RESPA. If there is a shortage of Funds held in escrow, as defined under RESPA, Lender shall notify
     Borrower as required by RESPA, and Borrower shall pay to Lender the amount necessary to make up the shortage in
     accordance with RESPA, but in no more than 12 monthly payments. If there is a deficiency of Funds held in escrow, as




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     defined under RESPA, Lender shall notify Borrower as required by RESPA, and Borrower shall pay to Lender the amount
     necessary to make up the deficiency in accordance with RESPA, but in no more than 12 monthly payments.

     Upon payment in full of all sums secured by the Loan Documents, Lender shall promptly refund to Borrower any Funds held
     by Lender.

5.   Severability. Whenever possible, each provision of this Agreement shall be interpreted in such a manner as to be effective
     and valid under applicable law, but if any provision of this Agreement shall be or become prohibited or invalid under
     applicable law, such provision shall be ineffective to the extent of such prohibition or invalidity without invalidating the
     remainder of such provision or the remaining provisions of this Agreement.

6.   Inclusion of Exhibits. Borrower authorizes Lender to attach an Exhibit A to this Agreement, which may include a Legal
     Description, recording information of the original security instrument, and any other relevant information required by a
     County Clerk (or other recordation office) to allow for recording if and when Lender seeks recordation.

7.   Errors and Omissions. That if any documents related to the loan documents and/or this Agreement is lost, misplaced,
     misstated, inaccurately reflects the true and correct terms and conditions of the Loan as modified, or is otherwise missing,
     Borrower will comply with the Lender’s request to execute, acknowledge, initial and deliver to the Lender any
     documentation the Lender deems necessary. All documents the Lender requests of Borrower under this section shall be
     referred to as "Documents." Borrower agrees to deliver the Documents within ten (10) days after Borrower receives the
     Lender’s written request for such replacement. At Lender’s option, this Agreement will be void and of no legal effect and
     the loan terms will revert to the terms prior to the approved modification.

8.   Final Agreement. This Agreement may not be supplemented, changed, modified or omitted except by written document
     executed by both the Lender and the Borrower. This Modification constitutes the entire agreement between the Lender

                                                          Page 6
                                                        INTERNET REPRINT                                         CONFIDENTIAL
                                             REPRESENTATION OF PRINTED DOCUMENT
            Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 103 of 199. PageID #: 562
                                                                                                                  PHH000210
     and Borrower and supersedes all previous negotiations and discussions between the Borrower and the Lender and neither
     prior evidence nor any prior or other agreement shall be permitted to contradict or vary its terms. There are no promises,
     terms, conditions, or obligations other than those contained in this Agreement.

9.   Additional Events of Default. Without limiting the other events of default set forth in the Loan Documents, Borrower will
     be in default under this Agreement and under the Loan Documents upon the occurrence of any one or more of these
     events:
     a. Any material representation or warranty made by you in the Loan Documents, this Agreement, or any initial agreement
         proves to be false or misleading in any respect.
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     b.   Borrower fails to make the New Monthly Payments as required by this Agreement.                                              }=- m- ] ]]-M }M -




     c.   Borrower sells or conveys any interest in the Property without Lender’s prior written consent.

     d.   Breach of any of the terms or provisions of this Agreement.

10. Consequences of Default. If Borrower defaults under this Agreement or the Loan Documents after the Modification
    Effective Date (your “Default”), Lender may, in addition to the remedies provided by the Loan Documents, subject only to
    applicable law, institute any foreclosure or collection proceedings without prejudice for having accepted any payments,
    including but not limited to the New Monthly Payments, under this Agreement and exercise any of its rights and remedies
    against Borrower under the Loan Documents and/or this Agreement.

11. Mortgage Insurance. Borrower understands that the mortgage insurance premiums on the Loan, if applicable, may increase
    as a result of the capitalization which may result in a higher total monthly payment. Furthermore, the date on which
    Borrower may request cancellation of mortgage insurance may change as a result of the New Principal Balance.

12. Credit Reporting. Lender is required to report factual information to the credit reporting agencies. Lender may report




                                                                                                                                               9-814-BIZ58-0000094-001-24-000-001-000-000
    information about the account to credit bureaus. Late payments, missed payments, or other defaults on the account may
    be reflected in the credit report.

13. No Novation. Borrower expressly agrees that this Agreement is not a new loan from Lender but simply the modification of
    the existing obligations under the Loan Documents. Neither Borrower nor Lender has any intention to extinguish or
    discharge the indebtedness or the liens evidenced by the Loan Documents.

14. Discharged Bankruptcy. Notwithstanding anything to the contrary contained in this Agreement, Borrower and Lender
    acknowledge the effect of a discharge in bankruptcy that has been granted to Borrower prior to the execution of this
    Agreement and that Lender may not pursue Borrower for personal liability. However, Borrower acknowledges that Lender
    retains certain rights, including but not limited to the right to foreclose its lien evidenced by the Security Instrument under
    appropriate circumstances. The parties agree that the consideration for this Agreement is Lender’s forbearance from
    presently exercising its rights and pursuing its remedies under the Security Instrument as a result of Borrower’s default
    thereunder. Nothing in this Agreement shall be construed to be an attempt to collect against Borrower personally or an
    attempt to revive personal liability.




                                                           Page 7
                                                         INTERNET REPRINT                                         CONFIDENTIAL
                                             REPRESENTATION OF PRINTED DOCUMENT
              Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 104 of 199. PageID #: 563
                                                                                                          PHH000211




                                       BORROWER ACKNOWLEDGEMENT
IMPORTANT – Do NOT sign this Agreement unless you are in the presence of a notary. If extenuating
circumstances prevent one notary signature, separately signed and notarized agreements will be accepted;
however, the agreements must be returned in the same package to PHH Mortgage Corporation.
Each of the Borrower(s) and the Lender acknowledge that no representations, agreements or promises were made by the         \gCQ!g=Z%vIT/
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other party or any of its representatives other than those representations, agreements or promises specifically contained   }= m-M]M-MM} M-
herein. This Agreement, and the Note and Security Instrument (as amended hereby) set forth the entire understanding
between the parties. There are no unwritten agreements between the parties.
All individuals on the mortgage, note and the property title must sign this Agreement.


                        ______________________            ____________________________________
                         Date                              ANGELA RUCKMAN




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                                                        INTERNET REPRINT                                  CONFIDENTIAL
                                            REPRESENTATION OF PRINTED DOCUMENT
              Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 105 of 199. PageID #: 564
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State of ________________________

County of __________________________                                                                                        \gCQ!g=b5vKT/
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On this __ day of _________ , ______ , before me, the undersigned, a Notary Public in and for said county and
state, personally appeared ___________________________________________________________________personally
known to me or identified to my satisfaction to be the person(s) who executed the within instrument, and they duly
acknowledged that said instrument is their act and deed, and that they, being authorized to do so, executed and delivered
said instrument for the purposes therein contained.


Witness my hand and official seal.

                                                ___________________________________________
                                                Notary Public

                                                My Commission Expires: _______________________




                                                                                                                                     9-814-BIZ58-0000094-001-26-000-001-000-000




                                                      INTERNET REPRINT                                    CONFIDENTIAL
                                            REPRESENTATION OF PRINTED DOCUMENT
              Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 106 of 199. PageID #: 565
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                                         LENDER ACKNOWLEDGEMENT

                                             (For Lender's Signature Only)

Lender acknowledges that no representations, agreements or promises were made or any of its representations other            \gCQ!g%j=vKT/
than those representations, agreements or promises specifically contained herein. This Agreement, and the Note and           5 t,_E4[b%%5IZ
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Security Instrument (as amended hereby) set forth the entire understanding between the parties. There are no unwritten
agreements between the parties.

PHH Mortgage Corporation

__________________________________________

Authorized Signer




__________________________________________
Date



State of ____________________________

County of __________________________




                                                                                                                                      9-814-BIZ58-0000094-001-27-000-001-000-000
On this __ day of _________, ____, before me, the undersigned, a Notary Public in and for said county and state,
personally appeared ____________________________, personally known to me or identified to my satisfaction to be the
person who executed the within instrument as _________________________ of PHH Mortgage Corporation., said
instrument is their act and deed, and that they, being authorized to do so, executed and delivered said instrument for the
purposes therein contained.

Witness my hand and official seal.



                                                 _______________________________________________
                                                 Notary Public

                                                 My Commission Expires: ___________________________




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   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 107 of 199. PageID #: 566




From: Diane S. Bennett
Sent: Monday, December 7, 2020 11:53       AM
To: 'aruckman419 @gmail.com'
Subject:   RE: 2020 CV 0169 CH   file 20 -00349 Modification

Good Morning:

Our client has reviewed your counter offer and it has been rejected, terms of the offer cannot be changed.
The investor does not allow maturity date extensions, and in order for our client to provide a monthly payment you can
afford, the balloon payment is necessary on the final modification.
You do have the option of refinancing the balloon payment with another lender before it becomes due.
If you reapply, there is no guarantee there will be a better offer, typically, the first offer is the best, but you are welcome
to reapply if you choose.



From: Diane S. Bennett
Sent: Tuesday, December 01, 2020 3:26      PM
To: 'aruckman419@gmail.com'
Subject:   RE: 2020 CV 0169 CH   file 20 -00349 Modification

Hello Angela:
The investor has granted an extension until 12/31/20 for PHH to receive the signed permanent mod docs from you.


From: Diane S. Bennett
Sent: Monday, November 30, 2020 3:38 PM
To: 'aruckman419 @gmail.com'
Subject: RE: 2020 CV 0169 CH file 20-00349 Modification

Hello:

Just a reminder that the permanent mod docs need to be returned to our client by 12/1/20. At the very least, you need
to get your payment sent in so they know you plan to accept.
Have you met with an attorney?


From: Diane S. Bennett
Sent: Monday, November 23, 2020 2:08 PM
To: 'aruckman419 @gmail.com'
Subject: FW: 2020 CV 0169 CH file 20 -00349 Modification

Hello Angela:

Our client has put a request in for an extension on returning the signed modification documents; however, the first
 a ment still needs to be received b v 12 //
Av                                         1 20.




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                                                                                                                                     5
                 Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 108 of 199. PageID #: 567

The monthly payment of $301.17 is for the principal and interest, but only a portion of the $301.17 will be applied to the
unpaid principal balance; once the loan matures after 179 payments whatever amount of the unpaid principal that is
remaining is in the balloon payment.

It's   a   way of getting your payments low enough that you can afford them and be able to keep your house.
        Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 109 of 199. PageID #: 568




From:                            Diane S. Bennett
Sent:                           Tuesday, January 12, 2021 2:26 PM
To:                             'aruckman419 @neo.rr.com'
Subject:                         RE: 2020 CV 0169 CH file 20 -00349 Modification


I am waiting on a response from our client if that is still available to you.
If you want to try to accept it, you need to sign, notarize(if required) and return the original signed documents to them
                                           -
as soon as possible via overnight mail keep the tracking information or send it to me. Documents are rarely re-
drafted. Nov first would be the correct effective date.

This is the overnight mailing address:
PHH Mortgage Services
Attn: Modifications
5720 Premier Park Drive
West Palm Beach, FL 33407


From: aruckman419 @neo.rr.com [mailto:aruckman419@neo.rr.com]
Sent: Tuesday, January 12, 2021 2:22 PM
To: Diane S. Bennett
Subject: Re: 2020 CV 0169 CH file 20 -00349 Modification

Yes permanent modification. I ve made the December and January payment. The paperwork refers to 11/1/2020 as the effective date.

        Original message
From: Diane S. Bennett
Date: Mon, Jan 11, 2021 2:28 PM
To: aruckman419@ neo.rr.com;
Cc:
Subject:RE: 2020 CV 0169 CH file 20 -00349 Modification




What updated documents are you referring to that you need to sign?

If you are referring to the permanent modification that was previously offered, don't know if that is even still available
                                                                                            I



to you. Your first modified payment was due on 12/1/20, and the second payment was due on 1/1/21. The monthly
payment amount is $469.12. The balloon pmt of $22,644.26 is due on 10/1/2035 in one lump sum. In addition, the
modification states that if your financial situation has changed the offer can be invalidated.




    I checked our client's imaging system and our file, neither of us are showing any new application documents received
    from you. Do you have proof of a fax, proof of an email, tracking information if sent by the US postal service? If so,
    please advise when the documents were delivered and who signed for them.




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                                                                                                                                      6
                 Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 110 of 199. PageID #: 569

From: aruckman419 o neo.rr.com [mailto:aruckman419 o neo.rr.com]
Sent: Monday, January 11, 2021 12:28 PM
To: Diane   S.   Bennett
Subject:    Re: 2020 CV 0169 CH         file 20 -00349 Modification




I nolonger receive $194 in EBT benefits. Still waiting on my PUA Unemployment benefits to be paid. I filed in May. I received an
email in december stating they have received my application for benefits and its being processed. Im still working self employed, but
not with all my clients due to covid. Which entitles me to PUA benefits.




The balloon payment was what i was trying to get reduced. In reality my house payment is $578 still, when you calculate what needs
to be added in for the balloon payment each month, for 15 years.




If PHH doesn't have my paperwork and your office doesn't have it, where could it have gone this time? This is what took place
before. Everyone claimed no paperwork was received and could not explain to myself or the credit counselor what happened.




At this point and with court fast approaching, I'm kinda stuck. Payment is still $578 which currently is high with current
circumstances, but this house is the only thing I have connecting me to my deceased daughter.




       Original message

From: Diane      S.   Bennett

Date: Thu, Jan 7, 2021 2:06 PM

To: 'aruckman419         neo n- nom'.
                  Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 111 of 199. PageID #: 570

They might offer you another trial plan, but the end result will likely be similar because our client has to stay within the
investor guidelines on this loan. The balloon payment is the only way to get you into an affordable payment.




Our office has not received any financials from you and didn't see anything in PHH's imaging system that was received.
                                                                  I


Last thing see is the perm mod offer
              I




    P     Y        @




From: aruckman419 neo.rr.com [mailto:aruckman419 neo.rr.com]
Sent: Thursday, January 07, 2021 1:07 PM
To: Diane S. Bennett
Subject: 2020 CV 0169 CH file 20 -00349 Modification



I sent   another request for a modification approximately

 3 1 /2weeks ago to PHH. With the holidays im not sure if that put things behind? I have not received any responce. Will it come from
your office or directly from PHH? The next court date is not that far away.




Angela Ruckman

The JDC Family of Companies®:
Clunk, Hoose Co., LPA
Omega Title Agency, LLC

                                                            Confidentiality Notice:

Federal and State Law requires that we inform you that this firm is a debt collector attempting to collect a debt and any information we
obtain may be used for that purpose. The information contained in this email is intended only for the personal and confidential use of
the recipient(s) named above. If the reader of this message is not the intended recipient or an agent responsible for delivering it to the
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Omega Title Agency, LLC

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intended recipient, you are hereby notified that you have received this document in error and that any review, dissemination,


                                                                       3
       Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 112 of 199. PageID #: 571

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     Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 113 of 199. PageID #: 572




                 Case: 5:21-cv-00923-JRA Doc #: 12-1 Filed: 06/23/21 1 of 10. PageID #: 194




Loan Number:
Investor Loan   Number:
This document was prepared by PHH Mortgage Corporation

After Recording Return To:
PHH Mortgage    Corporation
Attention: Modification Processing
PO Box 24737

West Palm Beach,   FL   33416 -9838
                                        [Space Above This Line For Recording Data]



                                      LOAN MODIFICATION AGREEMENT

Borrower (s): ANGELA RUCKMAN


THIS IS A BALLOON MORTGAGE AND THE FINAL PRINCIPAL PAYMENT OR THE PRINCIPAL BALANCE DUE UPON MATURITY IS
$22,644.26, TOGETHER WITH ACCRUED INTEREST,    IF ANY,   AND ALL ADVANCEMENTS MADE BY THE MORTGAGEE UNDER THE
TERMS OF THIS MORTGAGE.


BALLOON PAYMENT DISCLOSURE
THIS MODIFICATION AGREEMENT INCLUDES A BALLOON PAYMENT, WHICH MEANS THAT EVEN IF YOU MAKE ALL THE
SCHEDULED PAYMENTS WHEN DUE, THE LOAN WILL NOT BE PAID IN FULL AT THE END OF ITS TERM. AS A RESULT, ON
THE MATURITY DATE OUTLINED WITHIN THIS AGREEMENT, YOU WILL BE REQUIRED TO REPAY, IN A SINGLE
PAYMENT, THE ENTIRE REMAINING PRINCIPAL BALANCE PLUS ALL ACCRUED BUT UNPAID INTEREST AND ALL OTHER
AMOUNTS OWING ON THAT DATE (INCLUDING BUT NOT LIMITED TO ALL ADVANCES MADE BY LOAN SERVICER
UNDER THE TERMS OF THE SECURITY INSTRUMENT).


CAUTION TO BORROWER: NO OBLIGATION TO REFINANCE               - LOAN SERVICER HAS NO OBLIGATION TO REFINANCE THIS
LOAN OR MAKE YOU A NEW LOAN ON THE MATURITY DATE. If YOU DO NOT HAVE THE FUNDS TO PAY THE BALLOON
PAYMENT WHEN IT COMES DUE, YOU MAY HAVE TO OBTAIN A NEW LOAN AGAINST THE PROPERTY TO MAKE THE
BALLOON PAYMENT. ASSUMING ANOTHER LENDER MAKES YOU A NEW LOAN ON THE MATURITY DATE, YOU WILL
PROBABLY BE CHARGED INTEREST AT THE MARKET RATE PREVAILING AT THAT TIME. SUCH INTEREST RATE MAY BE
HIGHER THAN THE INTEREST RATE PAID ON THIS LOAN. YOU MAY AGAIN HAVE TO PAY COMMISSIONS, FEES AND
EXPENSES FOR THE ARRANGING OF THE NEW LOAN. IN ADDITION, IF YOU ARE UNABLE TO MAKE THE MONTHLY

PAYMENTS OR THE BALLOON PAYMENT, YOU MAY LOSE THE PROPERTY AND ALL OF THE EQUITY THROUGH
FORECLOSURE. KEEP THIS IN MIND IN DECIDING WHETHER TO AGREE TO THE TERMS OF THIS LOAN MODIFICATION.




                                                            Page   1




                                                                                                                    EXHIBIT
                                                                                                                       7
                  Case:
                   Case:5:21-cv-00923-BMB
                         5:21-cv-00923-JRA Doc
                                           Doc#:
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                                                           02/25/22
                                                              06/23/21
                                                                     114
                                                                       2 of 199.
                                                                            10. PageID
                                                                                 PageID#:#:195
                                                                                            573

The debtor, ANGELA RUCKMAN, and HSBC Bank USA, National Association, as Trustee for Ownit Mortgage Loan Trust, Mortgage
Loan Asset -Backed Certificates, Series 2005 -5 through the servicer of the underlying mortgage loan agreement, PHH Mortgage
Corporation, have agreed to modify the terms of said underlying mortgage loan agreement. HSBC Bank USA, National Association,
as Trustee   for Ownit Mortgage Loan Trust, Mortgage Loan Asset -Backed Certificates, Series 2005 -5                   is   the owner of the loan and
retains all rights to collect payments as per the underlying mortgage loan agreement. PHH Mortgage Corporation, remains servicer
for said underlying mortgage loan agreement.



This Loan Modification Agreement ( "Agreement"), made this 6th day of November, 2020 ( "Modification Agreement Date "), between
ANGELA RUCKMAN ( "Borrower") and PHH Mortgage Corporation, Lender /Servicer or Agent for Lender/Servicer ( "Lender "), amends
and supplements (1) the Mortgage, Deed of Trust, or Security Deed ( "Security Instrument ") dated 08/24/2005 and recorded in the
Records of Richland County, OH and (2) the Note, bearing the same date as, and secured by, the Security Instrument (collectively,
"Loan Documents"), which covers the real and personal property described in the Security Instrument and defined therein as the
"Property", located at


                                                                 837 S MAIN ST
                                                              MANSFIELD, OH 44907


The real property described being set forth as follows:


                                       (Legal Description Attached,         if applicable, for Recording Only)


In   consideration of the mutual promises and agreements exchanged, the parties hereto agree as follows (notwithstanding anything
to the contrary contained in the Note or Security Instrument):


Representations:


      1.    Borrower is experiencing   a   financial hardship and as   a   result, 1)   is   or will be in default under the Loan Documents and 2)
            does not have sufficient income or access to sufficient liquid assets to make the monthly mortgage payments due under the
            Loan Documents.
      2.    Under penalty of perjury, if required by the Lender, borrower provided Lender with full and complete information that,
            when provided, accurately stated borrower's income, expenses, and assets. To the extent requested by Lender, borrower
            provided documents that supported that information.
      3.    Borrower has made any and all required trial period plan payments or down payments.
      4.    Borrower currently has sufficient income to support the financial obligations under the Loan Documents,                     as   modified by
            this Agreement.
      5.    Borrower understands that property title may be reviewed             as a   precondition to the modification.


Acknowledgements and Preconditions to the Modification:


      1.    Lender has no obligation to make any modification of the Loan Documents if any of the requirements under this Agreement
            are not met.
      2.    Prior to the Modification Effective Date (defined as 11/01/2020), if Lender determines that any of the representations
            above are no longer true and correct, 1) the Loan Documents will not be modified, 2) this Agreement will not be valid, and
            3) Lender   will have all of the rights and remedies provided by the Loan Documents.
      3.    The Loan Documents will not be modified unless and until 1) Lender approves this Agreement and 2) the Modification
            Effective Date has occurred.


Modified Loan Terms:


       1.   If all of Borrower's representations above continue to be true and correct and all preconditions to the modification set forth

            above have been met, the Loan Documents will automatically become modified on 11/01/2020. If Borrower has failed to
            make any payments that are       a   precondition to this modification or receipt of clear title      is   not received, this modification will

            not take effect.


            The new Maturity Date will be 10/01/2035.


            Borrower understands that in order to reach an affordable payment under this modification, the loan may have been re-


                                                                           Page 2
           Case:
            Case:5:21-cv-00923-BMB
                  5:21-cv-00923-JRA Doc
                                    Doc#:
                                        #:41
                                          12-1
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                                                Filed:
                                                    02/25/22
                                                       06/23/21
                                                              115
                                                                3 of 199.
                                                                     10. PageID
                                                                          PageID#:#:196
                                                                                     574

     amortized beyond the maturity date. This means that if all payments are made in accordance with the loan terms, when
     Borrower reaches the maturity date, there will be an outstanding amount still due.



     This amount includes an interest -bearing balloon payment in the amount of $22,644.26 ( "Balloon Payment ") which is due
     when the loan reaches maturity, sold, refinanced or otherwise accepted by the Lender as paid in full. Borrower specifically
     acknowledges that this   is a   balloon modification and therefore Borrower will have a balloon payment due at maturity in the
     approximate amount of $22,644.26.




     BALLOON PAYMENT: THIS MORTGAGE LOAN CONTAINS A BALLOON PAYMENT PROVISION. A BALLOON PAYMENT IS A
     SCHEDULED LUMP SUM USUALLY DUE AT THE END OF THE MORTGAGE LOAN TERM THAT IS SIGNIFICANTLY LARGER
     THAN THE OTHER REGULARLY SCHEDULED PERIODIC PAYMENTS.                 IF   YOU CANNOT PAY THE BALLOON PAYMENT WHEN
     DUE, YOU MAY HAVE TO OBTAIN A NEW LOAN TO MAKE THE BALLOON PAYMENT OR YOU MAY LOSE YOUR PROPERTY
     THROUGH FORECLOSURE. BEFORE DECIDING TO TAKE THIS LOAN, CONSIDER YOUR ABILITY TO PAY THE BALLOON
     PAYMENT WHEN IT COMES DUE. THE BALLOON PAYMENT ON THE MORTGAGE LOAN YOU HAVE APPLIED FOR                               IS DUE

     179 MONTHS FROM THE DATE YOUR MORTGAGE LOAN BEGINS.


     CAUTION TO BORROWER:            IF   YOU DO NOT HAVE THE FUNDS TO PAY THE BALLOON PAYMENT WHEN DUE, IT MAY BE
     NECESSARY FOR YOU TO OBTAIN A NEW LOAN AGAINST YOUR PROPERTY FOR THIS PURPOSE AND YOU MAY BE

     REQUIRED TO AGAIN PAY COMMISSION AND EXPENSES FOR ARRANGING THE LOAN. KEEP THIS IN MIND IN DECIDING
     UPON THE AMOUNT AND TERMS OF THE LOAN THAT YOU OBTAIN AT THIS TIME.


2.   The current Unpaid Principal Balance is $51,720.69. The New Principal Balance of the Note will be $58,552.36 (the "New

     Principal Balance "). This includes amounts and arrearages that are past due as of the Modification Effective Date (including,

     but not limited to, unpaid and any previously deferred principal and interest, fees, escrow advances and other costs,
     collectively, "Unpaid Amounts ") excluding any fees, costs and /or corporate advances not added to the account as of the
     Modification Agreement Date and amounts not added to the New Principal Balance due to investor and /or mortgage
     insurer restrictions less any amounts paid to the Lender but not previously credited to the Loan. Any amounts not added to
     the New Principal Balance will remain on the account until paid and will become due when the interest -bearing balance             is

     paid in full or upon maturity as applicable pursuant to State or Federal law.



3.   The New Principal Balance may represent the sum of the "Deferred Principal Balance" (if applicable), the "Principal

     Forgiveness" (if applicable) and the "Interest Bearing Principal Balance." The Interest Bearing Principal Balance is

     $58,552.36. Borrower understands that by agreeing to add the Unpaid Amounts to the Unpaid Principal Balance, the added

     Unpaid Amounts accrue interest based on the interest rate in effect under this Agreement. Borrower also understands that

     this means interest will now accrue on the unpaid interest that       is   added to the New Principal Balance, which would not

     happen without this Agreement.



4.   Borrower promises to pay the New Principal Balance, plus interest, and any future fees/costs to the order of the Lender.
     Interest will be charged on the Interest Bearing Principal Balance at the yearly rate of 2.875 %, beginning 11/01/2020.
     Borrower promises to make monthly payments of principal and interest of U.S. $301.17, beginning on 12/01/2020 and
     continuing thereafter on the same day of each succeeding month until principal and interest are paid in full. Borrower
     promises to also pay any applicable monthly escrow payments as outlined in this Agreement. The initial monthly escrow

     amount   is   $167.95. The yearly rate of 2.875% will remain in effect until principal and interest are paid in full.           If on

     10/01/2035 (the "Maturity Date"), Borrower still owes amounts under the Note and the Security Instrument,             as amended

     by this Agreement, Borrower will pay these amounts in full on the Maturity Date. Borrower agrees to pay in full all amounts

     still owed under the Note and the Security Instrument by the earliest of: (i) The date Borrower sells or transfers an interest
     in the Property, (ii) The date Borrower pays the entire Interest Bearing Principal Balance, or (iii) the   Maturity Date.




     The initial monthly escrow amount is $167.95. The escrow payments may be adjusted periodically in accordance with

     applicable law due to changes in property taxes, insurance amounts or other escrow expenses and therefore the total



                                                               Page 3
                   Case:
                    Case:5:21-cv-00923-BMB
                          5:21-cv-00923-JRA Doc
                                            Doc#:
                                                #:41
                                                  12-1
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                                                        Filed:
                                                            02/25/22
                                                               06/23/21
                                                                      116
                                                                        4 of 199.
                                                                             10. PageID
                                                                                  PageID#:#:197
                                                                                             575

        monthly payment may change accordingly. The escrow payment amount shown                                    is based   on current data and represents   a

        reasonable estimate of expenditures for future escrow obligations; however, escrow payments may be adjusted
        periodically in accordance with applicable law.


        Borrower's payment schedule for the modified Loan                     is as   follows:


                   Years               Interest        Interest         Monthly          Estimated        Total               Payment      Number
                                       Rate            Rate             Principal        Monthly             Monthly          Begins On    of
                                       ( %)            Change           and              Escrow              Payment*                      Monthly
                                                       Date             Interest         Payment          (adjusts                         Payments
                                                                        Payment          Amount*             periodically)
                                                                        Amount           (adjusts
                                                                                         periodically)
                   1 -   14.92         2.875           11/01/2020       $301.17          $167.95             $469.12          12/01/2020   179


        *The escrow payments may be adjusted periodically in accordance with applicable law due to changes in property taxes,
        insurance amounts or other escrow expenses and therefore the total monthly payment may change accordingly. The
        escrow payment amount shown                is   based on current data and represents             a   reasonable estimate of expenditures for future
        escrow obligations; however, escrow payments may be adjusted periodically in accordance with applicable law.


Additional Agreements:


   1.   Transfer of Property. If all or any part of the Property or any interest in the Property is sold or transferred (or if Borrower                        is

        not   a    natural person and     a   beneficial interest in Borrower            is   sold or transferred) without Lender's prior written consent,

        Lender may require immediate payment in full of all sums secured by the Security Instrument.



   2.   Original Loan Document Conditions. Borrower also will comply with all other covenants, agreements, and requirements of
        the Security Instrument and Note, including without limitation, Borrower's covenants and agreements to make all
        payments of taxes, insurance premiums, assessments, escrow items, impounds, and all other payments that Borrower                                       is

        obligated to make under the Security Instrument and Note; however, if applicable, the following terms and provisions are
        forever canceled, null and void,          as   of 11/01/2020:


              a.     all terms and provisions of the Note and Security Instrument (if any) providing for, implementing, or relating to,

                     any change or adjustment in the rate of interest payable under the Note; and



              b.     all terms and provisions of any adjustable rate rider, or other instrument or document that is affixed to, wholly or

                     partially incorporated into, or          is   part of, the Note or Security Instrument and that contains any such terms and
                     provisions as those referred to in (a) above.



   3.   Borrower understands and agrees that:
              a.     Default Under the Modification. All the rights and remedies, stipulations, and conditions contained in the Security
                     Instrument relating to default in the making of payments under the Security Instrument shall also apply to default
                     in the making of the modified payments hereunder.



              b.     Original Loan Document Conditions. All covenants, agreements, stipulations, and conditions in the Note and
                     Security Instrument shall be and remain in full force and effect, except as herein modified, and none of the

                         Borrower's obligations or liabilities under the Note and Security Instrument shall be diminished or released by any
                         provisions hereof, nor shall this Agreement in any way impair, diminish, or affect any of Lender's rights under or
                         remedies on the Note and Security Instrument, whether such rights or remedies arise thereunder or by operation

                         of law. Also, all rights of recourse to which Lender             is   presently entitled against any property or any other persons

                         in any way obligated for, or liable on, the Note and Security Instrument are expressly reserved by Lender.

                         Borrower agrees that the Loan Documents are composed of duly valid, binding agreements, enforceable in
                         accordance with their terms and are hereby reaffirmed.



                                                                                Page 4
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               Case:5:21-cv-00923-BMB
                     5:21-cv-00923-JRA Doc
                                       Doc#:
                                           #:41
                                             12-1
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                                                       02/25/22
                                                          06/23/21
                                                                 117
                                                                   5 of 199.
                                                                        10. PageID
                                                                             PageID#:#:198
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         c.     Modification Does Not Constitute Release. Nothing in this Agreement shall be understood or construed to be                        a

               satisfaction or release in whole or in part of the Note and Security Instrument.


         d.    Costs and Expenses. All costs and expenses incurred by Lender in connection with this Agreement, including

                recording fees, title examination, and attorney's fees, shall be paid by the Borrower and shall be secured by the
               Security Instrument, unless stipulated otherwise by Lender or not permitted per State or federal law.



         e.    Agreement to Provide Any Additional Modification Documents. Borrower agrees to make and execute such other
               documents or papers as may be necessary or required to effectuate the terms and conditions of this Agreement
               which, if approved and accepted by Lender, shall bind and inure to the heirs, executors, administrators, and

               assigns of the Borrower. Borrower will execute such other documents as may be reasonably necessary to correct
               the terms and conditions of this Agreement if an error               is   detected after execution of this Agreement. Borrower
                understands that either a corrected Agreement or            a   letter agreement containing the correction will be provided to
                Borrower for Borrower's signature. At Lender's option, this Agreement will be void and of no legal effect upon
                notice of such error. If Borrower elects not to sign any such corrective documentation, the terms of the original
                Loan Documents shall continue in full force and effect, such terms will not be modified by this Agreement.

                Borrower agrees to deliver any such corrective documents within ten (10) days after Borrower receives the
                Lender's written request for such replacement.



         f.    Agreement of Use of Non -Public Information. Borrower authorizes Lender, and Lender's successors and assigns,
               to share Borrower information including, but not limited to (i) name, address, and telephone number, (ii) Social
               Security Number, (iii) credit score, (iv) income, (v) payment history, (vi) account balances and activity, including

                information about any modification or foreclosure relief programs, with Third Parties that can assist Lender and
                Borrower in obtaining           a   foreclosure prevention alternative, or otherwise provide support services related to
                Borrower's loan. For purposes of this section, Third Parties include               a   counseling agency, state or local Housing
                Finance Agency or similar entity, any insurer, guarantor, or servicer that insures, guarantees, or services

                Borrower's loan or any other mortgage loan secured by the Property on which Borrower                       is   obligated, or to any

                companies that perform support services to them in connection with Borrower's loan.



         g.     Consent to Contact. Borrower consents to being contacted by Lender or Third Parties concerning mortgage

                assistance relating to Borrower's loan including the trial period plan to modify Borrower's loan, at any telephone

                number, including mobile telephone number, or email address Borrower has provided to Lender or Third Parties.


4.   Escrow Account. By this section, Lender is notifying Borrower that any prior waiver by Lender of Borrower's obligation to

     pay to Lender Funds for any or all Escrow Items is hereby revoked and Borrower has been advised of the amount needed to

     fully fund the Escrow Account.


     Borrower will pay to Lender on the day payments are due under the Loan Documents                       as   amended by this Agreement, until

     the Loan   is paid in   full,   a   sum (the "Funds ") to provide for payment of amounts due for: (a) taxes and assessments and other

     items which can attain priority over the Mortgage as              a   lien or encumbrance on the Property; (b) leasehold payments or

     ground rents on the Property, if any; (c) premiums for any and all insurance required by Lender under the Loan Documents;
     (d) mortgage insurance premiums, if any, or any sums payable to Lender in lieu of the payment of mortgage insurance

     premiums in accordance with the Loan Documents; and (e) any community association dues, fees, and assessments that
     Lender requires to be escrowed. These items are called "Escrow Items."                      Borrower shall promptly furnish to Lender all

     notices of amounts to be paid under this paragraph. Borrower shall pay Lender the Funds for Escrow Items unless Lender
     waives Borrower's obligation to pay the Funds for any or all Escrow Items. Lender may waive Borrower's obligation to pay

     to Lender Funds for any or all Escrow Items at any time. Any such waiver may only be in writing. In the event of such
     waiver, Borrower shall pay directly, when and where payable, the amounts due for any Escrow Items for which payment of

     Funds has been waived by Lender and, if Lender requires, shall furnish to Lender receipts evidencing such payment within

     such time period as Lender may require. Borrower's obligation to make such payments and to provide receipts shall for all



                                                                      Page      5
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             Case:5:21-cv-00923-BMB
                   5:21-cv-00923-JRA Doc
                                     Doc#:
                                         #:41
                                           12-1
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                                                     02/25/22
                                                        06/23/21
                                                               118
                                                                 6 of 199.
                                                                      10. PageID
                                                                           PageID#:#:199
                                                                                      577

     purposes be deemed to be             a   covenant and agreement contained in the Loan Documents, as the phrase "covenant and
     agreement"         is used in   the Loan Documents. If Borrower      is   obligated to pay Escrow Items directly, pursuant to             a   waiver, and

     Borrower fails to pay the amount due for an Escrow Item, Lender may exercise its rights under the Loan Documents and this
     Agreement and pay such amount and Borrower shall then be obligated to repay to Lender any such amount. Lender may
     revoke the waiver as to any or all Escrow Items at any time by                a   notice given in accordance with the Loan Documents, and,
     upon such revocation, Borrower shall pay to Lender all Funds, and in such amounts, that are then required under this

     paragraph.


     Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to apply the Funds at the time

     specified under the Real Estate Settlement Procedures Act ( "RESPA "), and (b) not to exceed the maximum amount                                  a   lender

     can require under RESPA.             Lender shall estimate the amount of Funds due on the basis of current data and reasonable

     estimates of expenditures of future Escrow Items or otherwise in accordance with applicable law.


     The Funds shall be held in an institution whose deposits are insured by                       a   federal agency, instrumentality, or entity
     (including Lender, if Lender         is an   institution whose deposits are so insured) or in any Federal Home Loan Bank. Lender shall
     apply the Funds to pay the Escrow Items no later than the time specified under RESPA. Lender shall not charge Borrower
     for holding and applying the Funds, annually analyzing the escrow account, or verifying the Escrow Items, unless Lender
     pays Borrower interest on the Funds and applicable law permits Lender to make such                           a   charge. Unless an agreement is

     made in writing or applicable law requires interest to be paid on the Funds, Lender shall not be required to pay Borrower

     any interest or earnings on the Funds. Lender and Borrower can agree in writing, however, that interest shall be paid on

     the Funds. Lender shall provide Borrower, without charge, an annual accounting of the Funds                        as   required by      RESPA.




     If there is   a   surplus of Funds held in escrow, as defined under RESPA, Lender shall account to Borrower for the excess funds

     in accordance with RESPA.             If there is   a   shortage of Funds held in escrow, as defined under RESPA, Lender shall notify
     Borrower      as    required by RESPA, and Borrower shall pay to Lender the amount necessary to make up the shortage in
     accordance with RESPA, but in no more than 12 monthly payments. If there                          is a   deficiency of Funds held in escrow, as

     defined under RESPA, Lender shall notify Borrower as required by RESPA, and Borrower shall pay to Lender the amount
     necessary to make up the deficiency in accordance with RESPA, but in no more than 12 monthly payments.



     Upon payment in full of all sums secured by the Loan Documents, Lender shall promptly refund to Borrower any Funds held

     by Lender.



5.   Severability. Whenever possible, each provision of this Agreement shall be interpreted in such                          a   manner as to be effective

     and valid under applicable law, but if any provision of this Agreement shall be or become prohibited or invalid under

     applicable law, such provision shall be ineffective to the extent of such prohibition or invalidity without invalidating the
     remainder of such provision or the remaining provisions of this Agreement.


6.   Inclusion of Exhibits. Borrower authorizes Lender to attach an Exhibit A to this Agreement, which may include                                        a   Legal

     Description, recording information of the original security instrument, and any other relevant information required by                                       a


     County Clerk (or other recordation office) to allow for recording if and when Lender seeks recordation.



7.   Errors and Omissions. That if any documents related to the loan documents and /or this Agreement is lost, misplaced,

     misstated, inaccurately reflects the true and correct terms and conditions of the Loan as modified, or                           is   otherwise missing,

     Borrower will comply with the Lender's request to execute, acknowledge, initial and deliver to the Lender any
     documentation the Lender deems necessary. All documents the Lender requests of Borrower under this section shall be
     referred to as "Documents." Borrower agrees to deliver the Documents within ten (10) days after Borrower receives the
     Lender's written request for such replacement. At Lender's option, this Agreement will be void and of no legal effect and

     the loan terms will revert to the terms prior to the approved modification.


8.   Final Agreement. This Agreement may not be supplemented, changed, modified or omitted except by written document

     executed by both the Lender and the Borrower. This Modification constitutes the entire agreement between the Lender



                                                                        Page 6
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               Case:5:21-cv-00923-BMB
                     5:21-cv-00923-JRA Doc
                                       Doc#:
                                           #:41
                                             12-1
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                                                       02/25/22
                                                          06/23/21
                                                                 119
                                                                   7 of 199.
                                                                        10. PageID
                                                                             PageID#:#:200
                                                                                        578

     and Borrower and supersedes all previous negotiations and discussions between the Borrower and the Lender and neither

     prior evidence nor any prior or other agreement shall be permitted to contradict or vary its terms. There are no promises,
     terms, conditions, or obligations other than those contained in this Agreement.



9.   Additional Events of Default. Without limiting the other events of default set forth                   in   the Loan Documents, Borrower will
     be in default under this Agreement and under the Loan Documents upon the occurrence of any one or more of these

     events:

     a.     Any material representation or warranty made by you in the Loan Documents, this Agreement, or any initial agreement
            proves to be false or misleading in any respect.


     b.     Borrower fails to make the New Monthly Payments         as   required by this Agreement.


     c.     Borrower sells or conveys any interest in the Property without Lender's prior written consent.


     d.     Breach of any of the terms or provisions of this Agreement.


10. Consequences       of Default.   If Borrower defaults under this Agreement or the Loan Documents after the Modification

     Effective Date (your "Default"), Lender may, in addition to the remedies provided by the Loan Documents, subject only to

     applicable law, institute any foreclosure or collection proceedings without prejudice for having accepted any payments,
     including but not limited to the New Monthly Payments, under this Agreement and exercise any of its rights and remedies

     against Borrower under the Loan Documents and /or this Agreement.



11. Mortgage Insurance. Borrower understands          that the mortgage insurance premiums on the Loan, if applicable, may increase
     as a   result of the capitalization which may result in    a   higher total monthly payment. Furthermore, the date on which
     Borrower may request cancellation of mortgage insurance may change                    as a   result of the New Principal Balance.


12. Credit Reporting. Lender is required         to report factual information to the credit reporting agencies. Lender may report
     information about the account to credit bureaus. Late payments, missed payments, or other defaults on the account may
     be reflected in the credit report.


13. No Novation. Borrower expressly agrees          that this Agreement     is   not   a   new loan from Lender but simply the modification of
     the existing obligations under the Loan Documents.             Neither Borrower nor Lender has any intention to extinguish or
     discharge the indebtedness or the liens evidenced by the Loan Documents.


14. Discharged Bankruptcy. Notwithstanding anything            to the contrary contained in this Agreement, Borrower and Lender
     acknowledge the effect of       a   discharge in bankruptcy that has been granted to Borrower prior to the execution of this

     Agreement and that Lender may not pursue Borrower for personal liability. However, Borrower acknowledges that Lender
     retains certain rights, including but not limited to the right to foreclose its lien evidenced by the Security Instrument under

     appropriate circumstances.          The parties agree that the consideration for this Agreement is Lender's forbearance from

     presently exercising its rights and pursuing its remedies under the Security Instrument                       as a   result of Borrower's default

     thereunder. Nothing in this Agreement shall be construed to be an attempt to collect against Borrower personally or an
     attempt to revive personal liability.




                                                                Page 7
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               Case:5:21-cv-00923-BMB
                     5:21-cv-00923-JRA Doc
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                                                          06/23/21
                                                                 120
                                                                   8 of 199.
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                                        BORROWER ACKNOWLEDGEMENT

IMPORTANT     - Do NOT sign this Agreement unless you are in the presence of a notary. If extenuating
circumstances prevent one notary signature, separately signed and notarized agreements will be accepted;
however, the agreements must be returned in the same package to PHH Mortgage Corporation.

Each of the Borrower(s) and the Lender acknowledge that no representations, agreements or promises were made by the
other party or any of its representatives other than those representations, agreements or promises specifically contained
herein. This Agreement, and the Note and Security Instrument (as amended hereby) set forth the entire understanding
between the parties. There are no unwritten agreements between the parties.

All individuals on the mortgage, note and the property title must sign this Agreement.




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                                                       02/25/22
                                                          06/23/21
                                                                 121
                                                                   9 of 199.
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State of


County of
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On this \}- day of^_\8f utkeLl 242'         .
                                              before me, the undersigned, oNoba Public in and for said county and
state, personally appeared    K4nheik("x                                                                       personally
known to me or identified to my sabbfaction to be the person(s) who executed the within instrument, and they duly
acknowledged that said instrument is their act and deed, and that they, being authorized to do so, executed and delivered
said instrument for the purposes therein contained



Witness my hand and officia seal.



                       JILL MONTGOMERY           Notary Public
                         Notary Public
     a.
                         State of Ohio
                       My Comm. Expires
                                                 My Commission Expires:    lUc.
                  c    December 7, 2024
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                     5:21-cv-00923-JRA Doc #: 12-1
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                                          LENDER ACKNOWLEDGEMENT


                                              (For Lender's Signature Only)

Lender acknowledges that no representations, agreements or promises were made or any of its representations other
than those representations, agreements or promises specifically contained herein. This Agreement, and the Note and
Security Instrument (as amended hereby) set forth the entire understanding between the parties. There are no unwritten
agreements between the parties.

PHH Mortgage Corporation




Authorized Signer




Date




State of


County of


On this     day of            ,      before me, the undersigned, a Notary Public in and for said county and state,
                                     ,


personally appeared                                      , personally known to me or identified to my satisfaction to be the
person who executed the within instrument as                                    of PHH Mortgage Corporation., said
instrument is their act and deed, and that they, being authorized to do so, executed and delivered said instrument for the
purposes therein contained.


Witness my hand and official seal.




                                                  Notary Public


                                                  My Commission Expires:
          Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 123 of 199. PageID #: 582


                                                                  REPRESENTATION OF PRINTED DOCUMENT
                           Case: 5:21-cv-00923-JRA Doc #: 12-2 Filed: 06/23/21 1 of 12. PageID #: 204




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}M- - -]m=-MM} -   837 S MAIN ST                                                                      }M- - -]m=-MM} -

                     MANSFIELD OH 44907-2036




                                                                           INTERNET REPRINT


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                         5:21-cv-00923-JRA Doc
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                                                              06/23/21
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01/14/2021                                                                                   Account Number:




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    ANGELA RUCKMAN
    837 S MAIN ST
    MANSFIELD, OH 44907
                                                                                           Account Information
                                                                                        Account Number:

                                                                                        Property Address:
   DECISION ON THE REQUEST FOR MORTGAGE ASSISTANCE                                       837 S MAIN ST
                             PLEASE READ CAREFULLY                                       MANSFIELD, OH 44907

Dear Customer(s),                                                                       We are here to help!
Thanks for the request for mortgage assistance. Unfortunately, the account is
no longer eligible for the loan modification offer that was sent due to the reason      Account Relationship Manager:
listed below.                                                                           Steven Siegel
                                                                                        RMA@mortgagefamily.com
           You failed to return the final modification agreement within the required   Online:
            timeframe.                                                                  www.mortgagequestions.com




                                                                                                                                           8-814-BKO20-0000052-001-02-000-000-000-000
Below, please find important information about our decision regarding mortgage
assistance, with additional details on the following pages.

    The following additional documents are enclosed for information:

            Legal Disclosures                                             Understanding Net Present Value
            Additional Assistance Available

Although the account is no longer eligible for the loan modification offer, it may be eligible for a Short Sale or Deed in Lieu
of foreclosure, with both options satisfying the account. A Short Sale is the process of listing and selling the home to a
third party, even if more is owed than the property’s current market value. A Deed in Lieu is the process of transferring
ownership of the property to PHH Mortgage Services by executing a deed. These options allow transition out of the home
while avoiding foreclosure.

Benefits of a Short Sale or Deed in Lieu include:

           Foreclosure can be avoided by exiting the property, even if more is owed than the property is worth.
           The account may be eligible for relocation assistance.

NOTE: To be reviewed for a Short Sale or Deed in Lieu of foreclosure, additional information and/or documents may be
required.



                                                                                                OCWN_STND_ALNE_DENL
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 purpose. However, if the debt is in active bankruptcy or has been discharged through bankruptcy, this communication is
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 that a negative credit report reflecting on an accountholder’s credit record may be submitted to a credit reporting agency if
 credit obligation terms are not fulfilled.
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               Case:5:21-cv-00923-BMB
                     5:21-cv-00923-JRA Doc
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                                           #:41
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                                                       02/25/22
                                                          06/23/21
                                                                 125
                                                                   3 of 199.
                                                                        12. PageID
                                                                             PageID#:#:206
                                                                                        584




We are here to help! Steven Siegel has been assigned as the account relationship manager and will be the designated
representative for resolution, inquiries and submission of documents.

For any questions, we can be reached toll free Monday through Friday 8:00am to 9:00pm ET at 800-750-2518, to speak
                                                                                                                                 Ze?Ue5JvJT/
with the assigned Relationship Manager Steven Siegel. If Steven Siegel is not available, another dedicated member of our         9 Y=d_5OLs9OZ
                                                                                                                                 }=m -MM}m=mm M]m=-
Home Retention Department will be available to answer any questions.

Our Customer Care Center may also be contacted at 800-449-8767, Monday through Friday 8:00 am to 9:00 pm, Saturday
8:00 am to 5:00 pm ET.



Sincerely,

Loan Servicing




                                                                                                                                          8-814-BKO20-0000052-001-03-000-000-000-000




                                                                                                OCWN_STND_ALNE_DENL
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                     5:21-cv-00923-JRA Doc
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                                                       02/25/22
                                                          06/23/21
                                                                 126
                                                                   4 of 199.
                                                                        12. PageID
                                                                             PageID#:#:207
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                               UNDERSTANDING NET PRESENT VALUE ("NPV")
During the application process, we calculate the Net Present Value ("NPV") of a modification. The NPV calculation requires
us to input certain financial information about the accountholder’s income and mortgage account, including the factors listed
below. The estimated cashflow to the owner of the account is currently $0.00, whereas the estimated cashflow of the highest-
                                                                                                                                 Ze?Ue5RvLT/
value modification we could have offered is $0.00.                                                                               9 \B rN@bY>Z5_!Z
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The NPV input values we used in this NPV evaluation are listed in the NPV Data Input Fields and Values chart in this notice.




                                                                                                                                          8-814-BKO20-0000052-001-04-000-000-000-000




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                                                       02/25/22
                                                          06/23/21
                                                                 127
                                                                   5 of 199.
                                                                        12. PageID
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                                      NPV INPUT DATA FIELDS AND VALUES

This table includes the information we used in the NPV calculation.
Please Note:                                                                                                                     Ze?Ue=ZvLT/
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Fields that are blank may not apply to the account modification evaluation.                                                      }} - M}=]-M m--




                                                                                                            Value used
    Input Data Fields                                      Explanation                                        in NPV
                                                                                                            calculation
   I. Borrower Information
   1. Current                  This field identifies your credit score as provided by one or more of
      Borrower Credit          the three national credit reporting agencies.
      Score
   2. Current Co-              If a co-borrower is listed on the mortgage, this field identifies the co-
      Borrower Credit          borrower's credit score as provided by one or more of the three
                               national credit reporting agencies.
      Score
   3. Monthly Gross            This field identifies the monthly gross income of all borrowers on the
                               mortgage before any payroll deductions or taxes.                                 N/A
      Income
   II. Property Information
                               This field identifies the 2-letter state code of the property securing the




                                                                                                                                          8-814-BKO20-0000052-001-05-000-000-000-000
   4. Property State           mortgage for which a loan modification is being applied.                         OH

   5. Property Zip             This field identifies the ZIP code of the property securing the
                               mortgage for which a loan modification is being applied.                        44907
      Code
                               This field identifies the estimated fair market value of the property for
   6. Property Value           which a loan modification is being applied that was used for this            $106,000.00
                               analysis.
                               This field identifies the method by which the property for which a
                               loan modification is being applied was valued (as noted in Field 6,
                               Property Value)
   7. Property                     1. Automated Valuation Model (AVM)                                            1
      Valuation Type               2. Exterior Broker Price Opinion (BPO) /Appraisal (as-is value)
                                   3. Interior BPO/Appraisal (as-is value)

                               This field uses codes to identify the occupancy of the property for
                               which a modification is being applied.
   8. Occupancy                                                                                                  1
                               The servicer will use a code of 1, 3 or 4 for owner-occupied properties
                               and will use a code of 2 for non-owner-occupied properties.
   III. Mortgage Information
   9. Data Collection          This field identifies the date on which we collected the Unpaid
                               Principal Balance and other data used in the NPV analysis.                    11/04/2020
      Date

                                                                                                OCWN_STND_ALNE_DENL
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              Case:5:21-cv-00923-BMB
                    5:21-cv-00923-JRA Doc
                                      Doc#:
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                                                      02/25/22
                                                         06/23/21
                                                                128
                                                                  6 of 199.
                                                                       12. PageID
                                                                            PageID#:#:209
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                                                                                                          Value used
   Input Data Fields                                     Explanation                                        in NPV
                                                                                                          calculation
                             This field identifies the owner of the mortgage for which a loan
                                                                                                                                Ze?Ue=bvJT/
                             modification is being applied.                                                                     9 [@ig)HWs%WAZ
                                 1. Fannie Mae                                                                                  }=] -M }}}}m ]-}-

                                 2. Freddie Mac
  10. Investor Code              3. Owned by a private investor other than us, your servicer
                                                                                                               3
                                 4. Owned by us, your servicer, or an affiliated company
                                 5. Ginnie Mae

  11. Unpaid Principal       This field identifies the amount of the mortgage for which a
      Balance at             modification is being applied at the time it was originated (i.e., the        $83,400.00
                             amount borrowed).
      Origination
  12. First Payment          This field identifies the date the first payment on the mortgage for
      Date at                which a modification is being applied was due after it was originated.        10/01/2005
      Origination

                             This field uses codes to identify the type of mortgage held prior to
                             the most recent application for a modification:
  13. Product Before             1. Adjustable Rate Mortgage (ARM) and/or Interest Only                        2
      Modification
                                 2. Fixed Rate




                                                                                                                                         8-814-BKO20-0000052-001-06-000-000-000-000
                             This field applies only if the type of mortgage held prior to the most
                             recent application for a modification is an Adjustable Rate Mortgage
  14. Adjustable Rate        (ARM) loan.
      Mortgage (ARM)
      Reset Date             This field identifies the date on which the next ARM reset was due
                             to occur, as of the Data Collection Date (Field 9).

                             This field identifies the rate at which the mortgage was expected to
                             change based on when the next reset date (Field 14) is scheduled
                             to occur. Please review the mortgage documents for information on
                             how your mortgage's rate is recalculated at its reset date.
  15. Next Adjustable
      Rate Mortgage          If the reset date on the ARM loan is within 120 days of the Data
      (ARM) Reset            Collection Date, the value in this field is the expected interest rate
      Rate                   on the mortgage at the next reset date.

                             If the reset date on the ARM loan is more than 120 days from the
                             Data Collection Date, the value in this field is the current interest rate
                             at the time of NPV evaluation.




                                                                                               OCWN_STND_ALNE_DENL
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             Case:
              Case:5:21-cv-00923-BMB
                    5:21-cv-00923-JRA Doc
                                      Doc#:
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                                                         06/23/21
                                                                129
                                                                  7 of 199.
                                                                       12. PageID
                                                                            PageID#:#:210
                                                                                       588




                                                                                                         Value used
   Input Data Fields                                     Explanation                                       in NPV
                                                                                                         calculation
                             This field identifies the unpaid amount of principal (amount borrowed)
  16. Unpaid Principal                                                                                                          Ze?Ue%jvLT/
                             on the mortgage for which a loan modification is being applied as of
      Balance Before         the Data Collection Date. It does not include any unpaid interest or
                                                                                                          $51,720.69            9 Z>Y&]NwGxyZ
                                                                                                                                } =M---}=]--M = -
      Modification           other amounts that may be owed.
  17. Remaining Term         This field identifies the remaining number of months left to pay under
                             the term of the mortgage for which a modification is being applied as
      (# of Payment
                             of the Data Collection Date. Please review the mortgage documents               196
      Months                 (including any permanent modification documentation, if previously
      Remaining)             modified) for information about the term of the mortgage.
                             This field shows the amount of principal and interest scheduled to
                             be paid each month as of the Data Collection Date.
                                  a. If the loan had an adjustable rate scheduled to reset within
                                      120 days, this field will reflect the principal and interest
                                      payment associated with the new interest rate.
                                  b. If the loan had an adjustable rate scheduled to reset after
                                      120 days, this field will reflect the current scheduled monthly
                                      mortgage payment and the note interest rate in effect at the
  18. Principal and                   time of evaluation.
      Interest                    c. If the mortgage is an Interest Only loan and is still in the
                                                                                                           $419.48
      Payment Before                  interest-only period, the value in this field is the interest
      Modification                    payment that was due each month.




                                                                                                                                         8-814-BKO20-0000052-001-07-000-000-000-000
                                  d. If the mortgage is a negative-amortizing loan, the value in
                                      this field is the greater of:
                                      a) the principal and interest payment sent on the most
                                      recent payment date; or
                                      b) the minimum payment required on the loan.

                             If there was a prior modification trial period plan or permanent
                             modification, the value in this field is the modified payment.
  19. Monthly Real           This field identifies the monthly cost of the real estate taxes. If taxes
                             are paid annually, this amount will be 1/12th of the annual cost.             $96.36
      Estate Taxes
  20. Monthly Hazard         This field identifies the monthly cost of the hazard and flood insurance
      and Flood              coverage. If the premium is paid annually, this amount will be 1/12th         $58.67
                             of the annual cost.
      Insurance
                             This field identifies the monthly homeowner's or condominium
                             association fee payment. If your homeowner's or condominium
  21. Homeowners
                             association fees are paid annually, this will be 1/12th of the annual
      Association            cost.
                                                                                                            $0.00
      Dues/Fees
                             If the property has no association fee payments, this field is blank.
                             This field identifies the future monthly escrow shortages, if any.
  22. Escrow
                                                                                                           $775.07
      Shortage               If the property has no future monthly escrow shortages, this field is

                                                                                               OCWN_STND_ALNE_DENL
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              Case:5:21-cv-00923-BMB
                    5:21-cv-00923-JRA Doc
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                                                                  8 of 199.
                                                                       12. PageID
                                                                            PageID#:#:211
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                                                                                                       Value used
   Input Data Fields                                     Explanation                                     in NPV
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                             blank.
  23. Months Past            This field identifies the number of mortgage payments required to the
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      Due                    mortgage current, as of the Data Collection Date.                                                  }m-Mmm  }}-M -]-


  24. Mortgage
                             This field identifies the percentage of private mortgage insurance
      Insurance
                             coverage on the mortgage requested to be modified. If there is no
      Coverage               private mortgage insurance applicable, this field is blank.
      Percent
                              This field identifies the capitalized unpaid principal balance, including
  25. Capitalized UPB
                              all outstanding principal, accrued interest and escrow advances as of
      Amount                  the Data Collection Date.
  IV. Proposed Modification Information
  The fields below describe the proposed modification that was calculated by the servicer according to the program
  guidelines (subject to investor restrictions) that were used in the Net Present Value (NPV) evaluation.
                              This field identifies the initial date that the Net Present Value
   26. NPV Date               evaluation was conducted on the mortgage for which a modification          11/04/2020
                              is being applied.
                              This field identifies the total amount of costs and fees that would have
   27. Modification           been paid by the investor (owner) of the loan, if this account is
                                                                                                             $0
       Fees                   approved for a modification. It includes expenses such as notary fees,
                              property valuation, credit report and other required fees.
   28. Unpaid Principal This field identifies the beginning principal balance on which the




                                                                                                                                         8-814-BKO20-0000052-001-08-000-000-000-000
                              applicant would have been required to pay interest if a Streamline
       Balance under
                              modification had been received.
      proposed
      Streamline             It is likely to be different than the current principal balance because
      Modification           it includes amounts owed for missed mortgage payments and
      (Net of                unpaid expenses that are allowed to be added (capitalized) to the
      Forbearance &          principal balance. Additionally, it may be reduced by proposed
      Principal              principal forbearance (Field 32) or proposed principal forgiveness
                             (Field 33).
      Reduction)

  29. Interest Rate          This field identifies the starting interest rate of the proposed
      under proposed         Streamline modified mortgage. This rate is fixed for at least the first      2.875%
      Streamline             five years after modification.
      Modification
  30. Amortization
      Term under             This field identifies the number of months left to pay the proposed
      proposed               Streamline modified mortgage.                                                  179
      Streamline
      Modification
  31. Principal and
                             This field identifies the amount of the monthly principal and interest
      Interest               payment on the proposed Streamline modified mortgage.
                                                                                                          $301.17
      Payment under

                                                                                               OCWN_STND_ALNE_DENL
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              Case:5:21-cv-00923-BMB
                    5:21-cv-00923-JRA Doc
                                      Doc#:
                                          #:41
                                            12-2
                                               Filed:
                                                  Filed:
                                                      02/25/22
                                                         06/23/21
                                                                131
                                                                  9 of 199.
                                                                       12. PageID
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   Input Data Fields                                    Explanation                                      in NPV
                                                                                                       calculation
      proposed
                                                                                                                                Ze?Ue-zvJT/
      Streamline                                                                                                                9 YDzCKT*nYZ

      Modification                                                                                                              }--M-m-}m}m M} -


  32. Principal              This field identifies the amount of principal the loan’s investor was
      Forbearance            willing to forbear on the proposed Streamline modified mortgage.
      under proposed         You would still owe this amount, but would not be charged interest on         $0.00
      Streamline             it, and no payments would have been due on this amount until the
      Modification           loan was paid off.
  33. Principal
      Forgiveness
      Amount under           This field identifies the amount of principal the loan’s investor was
                             willing to forgive under the proposed Streamline modified mortgage.           $0.00
      proposed
      Streamline
      Modification




                                                                                                                                         8-814-BKO20-0000052-001-09-000-000-000-000




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              Case:5:21-cv-00923-BMB
                    5:21-cv-00923-JRA Doc #: 12-2
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What should be done if there is disagreement with the reason(s) for non-approval?

If there is disagreement with the reason(s) for non-approval, please contact us at:
                                                                                                                                 Ze?Ue'RvKT/
                                                PHH Mortgage Services                                                            9 Z= ^0X`oa!Z
                                                                                                                                 }]= mm } mm M} -
                                                Escalations Department
                                                     P.O. Box 5432
                                                Mount Laurel, NJ 08054
                                      Email: EscalatedCases@mortgagefamily.com




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                                                                       of199.
                                                                          12. PageID
                                                                              PageID#:
                                                                                     #:214
                                                                                       592




                                      ADDITIONAL ASSISTANCE IS AVAILABLE
If financial hardship is being experienced, housing counseling may be a way to help manage finances. We recommend
contacting a HUD-approved agency for assistance in keeping the home. This assistance is available at no charge.
                                                                                                                                 Ze?Ue/JvLT/
  HUD Approved Housing Counseling                       (800) 569-4287        www.HUD.gov                                        9 ZC Rj;\GiUIZ
                                                                                                                                 }= -m-m -M -]-
  Homeowner's HOPE Hotline Number                       (888) 995-4673        https://995hope.org/
  Fannie Mae Assistance Program                         (800) 232-6643        www.knowyouroptions.com
  Consumer Financial Protection Bureau (CFPB)           (855) 411-2372        www.consumerfinance.gov/mortgagehelp/
  Freddie Mac Assistance Program                                              http://myhome.freddiemac.com/



To submit a qualified written request, a notice of error or a request for information, the following address must be used:

                                                  PHH Mortgage Services
                                                      PO Box 66002
                                                  Lawrenceville, NJ 08648




                                                                                                                                          8-814-BKO20-0000052-001-11-000-000-000-000




                                                                                                OCWN_STND_ALNE_DENL
 This communication is from a debt collector attempting to collect a debt; any information obtained will be used for that
 purpose. However, if the debt is in active bankruptcy or has been discharged through bankruptcy, this communication is
 purely provided to you for informational purposes only with regard to our secured lien on the above referenced property. It
 is not intended as an attempt to collect a debt from you personally. As may be required by state law, you are hereby notified
 that a negative credit report reflecting on an accountholder’s credit record may be submitted to a credit reporting agency if
 credit obligation terms are not fulfilled.
                                                         INTERNET
                                                       Page  1     REPRINT                                       NMLS # 2726
                                                REPRESENTATION OF PRINTED DOCUMENT
               Case:
               Case:5:21-cv-00923-BMB
                     5:21-cv-00923-JRA Doc #: 12-2
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                                           ALTERNATIVES TO FORECLOSURE                                                                 Ze?Ue/b vKT/
                                                                                                                                       9 \;]v7FQ[TZ

         Account Refinance option: This an option to apply for a new mortgage and pay off the existing lien, if favorable             }Mm -m-]M =m m- -

          terms are obtained making the current payment more affordable.

         Account Modification option: An account modification may change one or more terms of the original mortgage
          agreement. This may include a change in interest rate, account balance or term, which may lower the mortgage
          payment and bring the account current. Contact us for more information on available modification programs, as
          this option may be limited based on the non-approval reason included in this notice.


         Sale of the property: If there is an inability to continue paying the mortgage payment, the best option may be to
          find more affordable housing. As an alternative to foreclosure, it may be possible to sell the property and use the
          proceeds to pay off the current lien.

         Short Sale: If the value of the property has declined, and the property cannot be sold for an amount sufficient to
          pay the current lien in full, it may be possible to sell it for less than the full payoff amount to satisfy the lien.

         Deed in Lieu of Foreclosure: If an attempt to sell the property has been unsuccessful, it may be possible to
          voluntarily return the deed to satisfy the lien and avoid foreclosure.




                                                                                                                                                8-814-BKO20-0000052-001-12-000-000-000-000
                                                     LEGAL DISCLOSURES




Notice regarding Credit Discrimination: The Federal Equal Credit Opportunity Act prohibits creditors from discriminating
against credit applicants on the basis of race, color, religion, national origin, sex, marital status, age (provided the applicant
has the capacity to enter into a binding contract), because all or part of the applicant's income derives from any public
assistance program, or because the applicant has in good faith exercised any right under the Consumer Credit Protection
Act. The federal agency that administers compliance with this law concerning this creditor is Federal Trade Commission,
Equal Credit Opportunity, Washington, D.C. 20580.

Notice Regarding Bankruptcy: Please be advised that if the account is part of an active Bankruptcy case or if the
account has received an Order of Discharge from a Bankruptcy Court, this letter is in no way an attempt to collect either a
pre-petition, post-petition or discharged debt. If the bankruptcy case is still active, no action will be taken in willful violation
of the Automatic Stay. If the account has received an Order of Discharge in a Chapter 7 case, any action taken by us is
for the sole purpose of protecting our lien interest in the underlying mortgaged property and is not an attempt to recover
any amounts from the accountholder(s) personally. Finally, if the account is in an active Chapter 11, 12 or 13 bankruptcy
case and an Order for Relief from the Automatic Stay has not been issued, the accountholder(s) should continue to make
payments in accordance with the plan.



                                                                                                OCWN_STND_ALNE_DENL
 This communication is from a debt collector attempting to collect a debt; any information obtained will be used for that
 purpose. However, if the debt is in active bankruptcy or has been discharged through bankruptcy, this communication is
 purely provided to you for informational purposes only with regard to our secured lien on the above referenced property. It
 is not intended as an attempt to collect a debt from you personally. As may be required by state law, you are hereby notified
 that a negative credit report reflecting on an accountholder’s credit record may be submitted to a credit reporting agency if
 credit obligation terms are not fulfilled.
                                                       Page 1                                                    NMLS # 2726
                                                           INTERNET REPRINT
Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 135 of 199. PageID #: 594




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                               Store 636
                                                                        1500 LEXINGTON
                           1500 Lexington Ave                           419- 756 -6049
                         Mansfield,   OHIO 44907                        'our cashier was         Irn'LOR
                                                                     GER PLUS CUSTOMER       *aat.taa5473
                                                               r't,      CFP PAYMENTS       NP  470.00
                         CheckFreePay                          MR        CEP FEE            NP     1.50
                                                               SC        HS .10 OFF PAY FEE        0.10 -
              Terminal ID:                         40000751
                                                                         TAX                       0.00
              Date:                              02/22/2021         aaaa BALANCE                4/1.40
              Tine:                            05 :59:55 PM    DEBIT Purchase
              Trace -Nr.:                            883533    4t++4aerl#t4926      --    SWIPED
              Ailler:
                                                               ERA: 000000               TOTAL:        471.40
                                              PITH Mortgage
                                                               PURCHASE; 471.40            CASHBACI(:       0.00
              Amoúnt::                               470,00            DEBIT                                        471.40
              Tender Type:                              CASH           CHANGE                                         0.00
              Fee:                                     1,50    TOTAL.NUMBER OF ITEMS SOLD                   =         0
              Total:                                471.50     KROGER SAVINGS                                   $     0.10
                                                               TOTALCOUPONS                                     $     0.10
                                                               TOTAL SAVINGS (0 á)                      $           0.10
              ACTH:                                            02/22/21 06:00pm 036         31        73 471
              Reference Number:            0H0496;6154:22      *   a4nva!!a* * * **kithittitttr +.+,,.
              CFP Terminal ID:                     0H0496



             Payment will be delivered no later        than
             02/23/2.1,



             Keep your bill stub and receipt l.nt'il
             the payment has been completed as
             instructed. The bill stub and receipt
             must he presented for any inquiry or
             change to the payment,

             Payment Receipt Number: 0534300221




             Protecting your privacy is very
              important to us. That is .why we want
              to he clear and transparent about why
             we collect information, the information
             we collect and how we use that
              information,    By completing this
              transaction, you agree that this
             transaction and all data associated
             with it, including personal information
             collected as part of the transaction,
             but excluding Information about, the
             recipient of the money transfer, is
             subject to Kroger Policy at
             hl:tps: / /www,krager.com /i /privacy- policy
             /financial- products.




                                                                                                                             EXHIBIT
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Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 136 of 199. PageID #: 595



       Case: 5:21-cv-00923-JRA Doc #: 1-2 Filed: 05/04/21 41 of 63. PageID #: 87




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    Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 137 of 199. PageID #: 596




         Y

From:                      Diane S. Bennett
Sent:                      Monday, March 8, 2021 9:42 AM
To:                        'aruckman419 @gmail.com'
Subject:                   RE: 2020 CV 0169 Modification /Mediation      Ch file 20 -00349


Good Morning:

I received the below email from you this morning. Our client has advised that you are due for the February and March
payments, for a total of $873.93. If you want the modification to go through, that payment needs to be made
immediately. Our client's modification team has confirmed they will accept that amount and then reverse the denial.

Also, I read down through all my notes, I have emails from you that you sent the December and January pmts, there is
nothing mentioning that the February payment was sent (that was at the end of January).

If you have proof that you made the February payment and that it was accepted, please provide the proof and I will
forward to our client.
Please let me know if you will be sending the payment today.

Thanks,
Diane S. Bennett
Loss Mitigation Department Coordinator
dbennett clunkhoose.com
Clunk, Noose Co., LPA
Attorneys At Law
495 Wolf Ledges Parkway
Akron, OH 44311
PH: (330) 436 -0300 FAX: 330 -436-0301 or 855 -770 -4022


1ELUNK
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From: Angela Ruckman [mailto:aruckman419 @g mail.com]
Sent: Saturday, March 06, 2021 10:23 PM
To: Diane S. Bennett
Subject: Re: 2020 CV 0169 Modification/Mediation Ch file 20 -00349

Ive made all payments. Jan. Feb. March. However i was notified by krogers   today That PHH refused the payment dated
Feb 11th which would have been    for the month of March payment.    Can you explainwhat the issue is and what to do?



From: Diane S. Bennett
Sent: Wednesday, March 03, 2021 9:31 AM
To: 'aruckman419 @gmail.com'
Subject: 2020 CV 0169 Modification /Mediation Ch file 20 -00349

Hello Angela:

The reversal has not yet been approved by management, our client is working to get it reversed; however, the last
payment our client received from you was for the January payment, you will need to make the February and March
payments immediately.




                                                                                                                        EXHIBIT
                                                                                                                          11
             Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 138 of 199. PageID #: 597

Do you still want the modification? Has            your financial situation changed and you no longer want the mod?

If the reversal is not approved, you will need to reapply, have attached I                    a   copy of the financial packet in case we don't
get the approval.




Thanks,
Diane S. Bennett
Loss Mitigation Department Coordinator
dbennett @ clunkhoose.com
Clunk, Hoose Co., LPA
Attorneys At Law
495 Wolf Ledges Parkway
Akron, OH 44311
PH: (330) 436 -0300 FAX: 330 -436 -0301 or 855 -770 -4022


ICLUNK
   HOOSE6
        We cannot give you legal advice. We represent your Lender and our Client's interest may be opposed to your own interests. If you have
        questions regarding legal matters, we urge you to obtain your own attorney.

        PLEASE BE ADVISED THAT THIS FIRM IS A DEBT COLLECTOR ATTEMPTING TO COLLECT A DEBT AND ANY AND ALL
        INFORMATION PROVIDED BY YOU WILL BE USED FOR THAT PURPOSE.

        Important Notice to Mortgagors Involved in a Bankruptcy proceeding: If you are a debtor involved in a bankruptcy proceeding, this e-
        mail or letter has been sent to you merely for informational purposes and may be disregarded as an attempt to collect the debt (unless
        your mortgage is subject to an in rem order). If the automatic stay is in effect, we will not act to collect the debt owed until the stay has
        been lifted or the case has been discharged, please be assured that we are not attempting, and will not attempt, to collect this debt as a
        personal obligation, except in those circumstances when we may have the right to do so under applicable bankruptcy law. Otherwise, we
        will seek recovery of the debt from the property securing this debt.
             Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 139 of 199. PageID #: 598


       Y

From:                         Diane S. Bennett
Sent:                         Tuesday, March 23, 2021 3:51 PM
To:                           'Angela Ruckman'
Subject:                      Breakdown of pmts 20 -00349




09/02/20 $470 received - $469.15 September's pmt             =   .85

10/26/20 $1,000 received +.85     =   $1,000.85   -   $469.15 for October's pmt   =   $531.70

$531.70 - $469.15 for November's pmt       =   $62.55

12/03/20 $470 received     + $62.55     $532.55       $469.12 (perm mod pmt for Dec)        $63.43

01/05/21 $470 received + $63.43 = $533.43 - $469.12 (perm mod pmt for Jan)                 $64.31

Loan is due for the Feb an March pmts as of 3/23/21

The payment that was being sent today, 3/23/21 has not yet shown as received or applied to your account and will likely
be rejected because it is not the full amount of the Feb & Mar pmts combined.
$469.12 Feb   +   $469.12 Mar = $938.24 - $64.31 = $ 873.93.

Please send in one lump sum $873.93 to cover the Feb and March payments.




           This communication is provided pursuant to Ohio Evid. R. 408 and shall not be construed
                           as an offer or acceptance of settlement or compromise.


Thanks,
Diane S. Bennett
Loss Mitigation Department Coordinator
dbennett clunkhoose.com
Clunk, Noose Co., LPA
Attorneys At Law
495 Wolf Ledges Parkway
Akron, OH 44311
PH: (330) 436 -0300 FAX: 330 -436 -0301 or 855 -770 -4022


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 4/13/2021                                                                                   Gmail   -   2020 CV 0189 ch file 20-00349




    Noi        GP71all                                                                                                                         Angela Ruckman <aruckman419 @gmail.com>


   2020 CV 0169 ch file 20 -00349
   4 messages

   Diane S. Bennett <dbennett@clunkhoose.com>
   To: Angela Ruckman <aruckman419@gmail.com>
                                                                                                                                                                      Fri, Mar 19, 2021 at 11:24 AM



      Our client cannot confirm receipt of payments from you. The following amount                         is   due before the end of March or the modification       is   denied.
     We have still not received $673.93. Mod team has given time to receive funds till
                                                                                       end of march, if funds not received, mod will be denied again and then
     be able to reverse mod denial.                                                                                                                           we will not



     End of March means we should receive funds at least by 2511 so that mod learn
                                                                                   can modify loan before month end otherwise they                                 will also ask for the
     payment of App.



     The receipts    that you provided do not show that payment was sent to and received by                         PHH.



     It   appears you may need to go back to Kroger to obtain your funds.




     From: Diane S. Bennett
     Sent: Wednesday, March          10, 2021 11:00 AM
     To: 'Angela Ruckman'
     Subject:    RE: Progress




     Your receipts were received and sent to PHH for review-             .




htlps mall. google. com /mell/u /071k =eecl cec320&vlew =pl& search = all& permlhld= lhreed- f %3A1694674427188272399
                                                                                                                      &simpl= msg -f %3A e94674427 168272399 &simpl = msg-a %3Ar69010714610116781...
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Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 141 of 199. PageID #: 600




                           UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

   ANGELA L. RUCKMAN,                                  :   Case No.: 5:21-cv-00923-JRA
                                                       :
                               Plaintiff,              :   Judge John R. Adams
                                                       :
   v.                                                  :   PLAINTIFF ANGELA RUCKMAN’S
                                                       :   RESPONSES TO DISCOVERY
   PHH MORTGAGE CORPORATION d/b/a                          DIRECTED TO PLAINTIFF
                                                       :
   PHH MORTGAGE SERVICING, et al.,                         ANGELA RUCKMAN
                                                       :
                           Defendants.                 :



           Plaintiff Angela L. Ruckman (“Plaintiff”), through counsel, pursuant to Fed. R. Civ. P.

   26, 33, 34, and 36, hereby responds to the Discovery Requests (the “Requests”) propounded by

   Defendant PHH Mortgage Corporation, d/b/a PHH Mortgage Servicing (“PHH”).

                                            GENERAL OBJECTIONS

           1.       Plaintiff objects to the Requests, including any and all definitions and

   instructions, to the extent they seek to impose obligations in addition to, or inconsistent with, the

   Federal Rules of Civil Procedure. Plaintiff will respond to the requests in accordance with the

   obligations imposed by the applicable rules and law.

           2.       Plaintiff objects to the Requests to the extent they seek information protected

   from disclosure by the attorney client privilege, the work-product doctrine, or any other

   applicable privileges, protections, or immunities from discovery. If, and to the extent Plaintiff

   inadvertently discloses in the litigation protected information, such inadvertent disclosure is not

   intended and does not waive any privilege, protection, or immunity.




   140383.06796/127004385v.6




                                                                                                           EXHIBIT
                                                                                                             12
   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 142 of 199. PageID #: 601




        3.       Plaintiff objects to the Requests to the extent they are overly broad, vague, unduly

burdensome, or seek a narrative response relating to a given subject. Plaintiff objects to

providing responses of such breadth on the grounds of undue burden.

        4.       Plaintiff objects to the interrogatories to the extent they seek information that is

not relevant, not reasonably calculated to lead to relevant information, will not lead to the

discovery of admissible evidence, or not proportional to the needs of the case.

        5.       Plaintiff objects to the interrogatories to the extent they seek legal conclusions or

would require Plaintiff to reach a legal conclusion in order to prepare a response.

        6.       Pursuant to Fed. R. Civ. P. 26, the Requests are deemed to be continuous in nature

until the date of the trial. Plaintiff’s investigation of this matter is ongoing, and Plaintiff reserves

the right to amend, supplement, or alter the response to any interrogatory at any time as allowed

by applicable law.




140383.06796/127004385v.6
   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 143 of 199. PageID #: 602




                             INSTRUCTIONS FOR ANSWERING

    1. You should provide all information which is in your possession or control or within the

possession and control of your attorneys, investigators, agents, employees or other

representatives of you or your attorney.

    2. Where an Interrogatory calls for an answer in more than one part, each part should be

separated in the answer so that the answer is clearly understood.

    3. You are reminded that all answers must be made separately and fully and that an

incomplete or evasive answer is a failure to answer.

    4. You are under a continuing duty to seasonably supplement your responses with respect to

any question, pursuant to Federal Rule of Civil Procedure 26(E), if you learn that in some

material respect the disclosure or response is incomplete or incorrect, and if the additional or

corrective information has not otherwise been made known to the other parties during the

discovery process or in writing.

                                           DEFINITIONS

        1.       The word “Plaintiff” “you,” and/or “your” shall mean Angela Ruckman.

        2.       The word “person(s)” shall mean all individuals and entities, including, without

limiting the generality of the foregoing, all individuals, sole partnerships, associations,

companies, partnerships, joint ventures, corporations, trusts and estates.

        3.       “Identify” with respect to a person shall mean to provide the name, last known

address, and last known telephone number for such person.

        4.       “Real Property” means the real property and improvements located at 837 South

Main Street, Mansfield, OH 44907.




140383.06796/127004385v.6
   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 144 of 199. PageID #: 603




                            FIRST SET OF INTERROGATORIES

                                   INTERROGATORY NO. 1

        Identify the person(s) answering these Interrogatories and include the relationship, if any,

to Plaintiff.

ANSWER:

Angela L. Ruckman, who can be contacted through counsel Dann Law, 15000 Madison Avenue,
Lakewood, OH 44107. Ms. Ruckman is the Plaintiff in this matter and is a party to whom these
interrogatories are directed. Her counsel at Dann Law assisted Ms. Ruckman in the preparation
of her responses.


                                   INTERROGATORY NO. 2

        Identify all communications (whether written or oral, and including but not limited to the

phone calls, faxes and emails referenced in your Complaint) concerning any topic that is relevant

to the subject matter of this case and/or the claims and defenses raised herein, which you have

had with representatives of or persons affiliated with or employed by Defendant, and for each

such communication, provide the name (or other identifying information if name unknown) for

the person with whom the communication was had, the date and type of communication, and the

substance of the communication, including but not limited to the communications referenced in

your Complaint, including the claim for emotional distress.

ANSWER:

Plaintiff objects to this request because it seeks information that is not reasonably calculated to
lead to the discovery of admissible evidence, is overly broad, unduly burdensome, oppressive,
and not proportional to the needs of the case.

Plaintiff objects to this request because it seeks information and/or documents that are obtainable
from some other source that is more convenient, less burdensome, or expensive, since PHH



140383.06796/127004385v.6
   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 145 of 199. PageID #: 604




already has possession, custody, control, and/or access to the requested information and/or
documents.

                                                      Signing as to objection:

                                                      /s/ Daniel M. Solar

                                                      Daniel M. Solar (0085632)

Without waiving such objections, see Plaintiff’s document production.


                                   INTERROGATORY NO. 3

        State any and all facts that support your allegations that you have suffered emotional

distress, as a result of the conduct alleged in the Complaint.

ANSWER:

Plaintiff objects to this request because it seeks a narrative better suited for Plaintiff’s testimony
at deposition.

                                                      Signing as to objection:

                                                      /s/ Daniel M. Solar

                                                      Daniel M. Solar (0085632)

Without waiving such objection, see Plaintiff’s document production. Further, Plaintiff provides
the following narrative:

        181 steps or 452 feet is what separated my daughter and I for a period of time
        from September of 2012 to February 2013. Not by choice. 181 steps from my
        back door to the inside of her building to her apartment door. At one point
        seemed so close.

         She was diagnosed 7/2/2012 unexpectedly, out of nowhere when she was 18 with
        one of the rarest forms of Leukemia. While in the hospital for a mandatory stay to
        begin induction treatment for a clinical trial, I had to find her a safe and sterile
        place to live, as it's "her" body producing the cancer. Together we had rescue
        birds. She could not return to our home, due to their dust and bathroom habits. I
        began for the first time having panic attacks. Untreated, officially undiagnosed,
        but I knew, and had to be strong for her and had to keep it hidden the best I could
        from her. Crying and screaming in parking garages were common for cancer


140383.06796/127004385v.6
   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 146 of 199. PageID #: 605




        mom's. Security guards carried lots of Kleenex for us, and would give gestures to
        clean your face when needed before going back in. Knowing she would be
        released in a few weeks, I was scrambling, one morning while standing at my
        kitchen window it dawned on me, cause I was staring at the apartments behind my
        house. I called the owner and she said she would have an apartment in a week or
        2. I rushed to the hospital, the doctors approved the idea, my daughter was thrilled
        to be close to home. I rushed home and called the landlord back, made
        arrangements and then signed the lease. I had to watch my daughter quit her job
        because of Leukemia. Then had to watch her call her college and put her classes
        on hold because of Leukemia. Basically watched her put her life on hold. Now I
        have to watch her shop for her first apartment from a hospital bed on a cancer
        floor with a prepaid visa card. Everything from spoons to a couch and everything
        in between. Nothing like I ever pictured for her. I always pictured great things for
        her, as she was a rainbow baby as they call it these days. She was a high risk
        pregnancy. A pregnancy that they didn't think that I would ever conceive. Yet here
        she was.

        Prior to her getting sick she had been staying with my mom briefly as she was a
        typical teenager with the I know everything about life and learned she didn't when
        things didn't go well with the boyfriend. So instead of coming home to I told you
        so, she was at my mom's. When she got sick though, it was me she needed.
        Wanted. Asked for. It was I that was there. She fought hard. I watched her endure
        poisons after poisons. I watched her hair fall out. Come in. Change colors. Then
        repeat. I watched her gain weight. Lose weight and repeat. Be admitted. Blood
        transfusions. Platelet transfusions. Bone marrow testing. Spinal chemo
        procedures. PICC line placement every 4-6 weeks as her body rejected a port
        placement 2x. I watched her go through hell. Inside I'm going through hell. Panic
        attacks along with her, but I'm mom so I have to be stronger. Eventually she got
        discharged and got to come home. 181 steps from me. She came in, cried, loved
        her apartment. Was there 45min, then I had to rush her back to Columbus as her
        PICC line started leaking when I flushed it. Something I would have to do
        everyday for her. She had to be admitted to have it changed and cultured to ensure
        no infection. A few days later she returned home, 181 steps away. Every day I
        could stand at my kitchen window and see her living room window. At night if I
        was up, I could see if she was up, because I could see her living room or bedroom
        light on. I used to text or call and tell her to go to bed. In the evenings, it was
        nothing to just have my backdoor swing open and she would come bouncing in
        with her bald head or wearing one of her silly hats, a face mask on, a disposable
        gown, sometimes a Kroger bag and raid my fridge or cabinets. Sometimes just to
        see the birds for her daily limit of 15 mins if her ANC levels were high enough. If
        her levels were low, the birds would Skype with her and dance. She massively
        decorated for all holidays. That Christmas of 2012 she had snuck over while I was
        at work and took some of the Christmas decorations for her apartment to go with
        her first Christmas tree. As sick as she was she tried to put a few lights up here at
        the house even though I protested. I now wish I took pictures, or helped her put


140383.06796/127004385v.6
   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 147 of 199. PageID #: 606




        them all up, even though this was her thing for years. Her rule was do not touch
        the decorations! But I didn't know this was the last Christmas. The doctors
        seemed confident rarest but easiest to treat. When it snowed, I made sure to
        snowblow and keep those 181steps clear for her to walk. She had ups and downs
        with treatment. Never knew what to expect. One day at a time. Then 2/6/2013 she
        was finally 3 months negative for Leukemia. The fight isn't over, but a huge battle
        won, faced another 2 1/2 yes of treatment. Knew Leukemia could return any day
        as it's her body that produces it. Her life can go back to some normal. She can go
        back to college part time. She will begin the next phase of chemo in a week.
        Planned a celebration party for the weekend. The next day when she didn't answer
        her phone most of the day, I went to her apartment and I found her deceased.
        Treatment killed her.

        We may have had a few issues thanks to a boyfriend that quickly turned ex, and
        teenage growing pains. But the last 8 months of her life, we were closer than ever,
        inseparable, that was my best friend. I was eventually diagnosed with PTSD,
        Depression and Anxiety.
        My house was our home. 181 steps briefly separated us. But she knew where
        home always was from 2005 on when we moved back from Michigan. This is
        where she recovered from her first surgery. This is where she had her first
        boyfriend. Parked her first car. Dressed up for every homecoming and prom.
        Planted every flowerbed. Buried every pet. Had yearly Halloween bashes. Fought
        with me every day on cleaning her room. Drove me crazy on insisting there
        needed to be 6 different kinds of shampoo and body washes in the shower at all
        times. Learned how to drive and almost hit the garage and house on several
        occasions. This is where she decorated the house for every holiday and one year
        got into a Christmas light war with a new neighbor and it resulted in her dragging
        out the Halloween lights to add more. The neighbor admitted defeat when she did
        that. So many more memories. This house is all I have left. It's all I have left of
        her, it contains our memories. When she passed, her belongings were moved and
        stored here.

        During the process of the unknowing outcome with the modification. Being Jan
        29th 2021 it was said everything was being finalized to magistrate Clark. Then
        come March a payment was rejected, then having to hire an attorney. Everyday I
        had to pass her flower gardens I have maintained, worried will this spring be the
        last time I see them bloom. Worried who will take the birds who have behaviors
        from being abused. Nobody wanted them. That's why we started taking them to
        begin with. Her little rhubarb patch planted so I would bake her pies. Where do I
        put her stuff I haven't touched since she passed. Plus my stuff. My grandsons
        stuff. This is where his room is now when he comes. How do I explain this to
        him? How will this affect work? How do I afford to move? I've been making my
        payments so I have money to spare. How do we go from it's a done deal to now
        foreclosure status? Part of PTSD, Depression and Anxiety is you isolate and stay
        to yourself. So you keep symptoms low. I don't have anyone to help. All alone. I


140383.06796/127004385v.6
   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 148 of 199. PageID #: 607




        have severe health issues going on. No extra money. Now might lose my house
        that was said in court in January that I've done everything I need to do, but now
        the mortgage company is changing their mind. Mixed with my diagnosis,
        combined with the last connection to my deceased daughter, I was extremely
        mentally, and emotionally overwhelmed from learning the first payment was
        rejected in March until August when my lawyer got the judgment dismissed. If it
        wasn't for the strong connect of the house to my daughter I may have just given
        up the house. But that's why I fought so hard to keep it. There is still an after
        effect of damage. It's not like an instant sigh of relief it's over. With my diagnosis
        it's something that stays and is a process that has to be worked through in my
        brain. As we process safety, relief, comfort and things of this stressful nature
        differently. It takes time, faith and patience. Someday we come to realize the
        damage is done and is now over, we are safe and we can finally heal. I hope my
        time is near.

        Physically, mentally and emotionally overall, I became more isolated. My
        depression became worse. I stopped going to church. Lost my faith in God and
        humanity. I became less attentive with upkeep around my home. Repairs and
        upgrades I no longer had interest in. I didn't attend to the flower beds as normal
        due to the increased depression. My stress level and anxiety was and still is worse.
        The pets/rescues who already had behaviors picked up on it, which caused their
        behaviors to be worse. I no longer was the fake it til you make it provider for my
        clients. Had more of the " hurry up and get my hours in with each client and due
        the bare minimum". We're as before I went out of my way and would eat hours
        and mileage to make sure needs were met. I didn't spend much time with my
        grandson anymore for fear of breaking down in front of him and having to explain
        I was losing my home. My anxiety was now worse. I only would go to places on
        my own where I knew certain staff would be working. I no longer was working as
        much as I could because of my anxiety and depression. My ulcer became worse at
        times when my anxiety and stress levels were high. Then I didn't want to eat. I
        have low blood sugar, so I have to eat, so there were days it hurt to eat. Sleeping
        became almost impossible. I was only sleeping 2-3 hours a night. I started having
        severe headaches from stress and anxiety. I cried a lot. Got angry a lot. Which
        neither is good for anxiety and depression. My medications were changed several
        times with no success. Eventually it has now led to my overall health declining. It
        is true, stress can make you sick. Long term damage this has hurt me financially.
        Has damaged my credit. Which in turn affects my mental and emotional well
        being.


                                   INTERROGATORY NO. 4

        State the name and address of each and every person you will or may call as an expert




140383.06796/127004385v.6
   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 149 of 199. PageID #: 608




witness at the trial of this case and for each such person, state:

        (A)      Their area of purported expertise.

        (B)      All information or facts provided to each such expert, including

                 identification of each photograph, video tape, drawing, specification,

                 catalog, brochure, report, diagram or any other document used or expected

                 to be used by each such expert witness to support their respective

                 opinions, findings and/or conclusions.

        (C)      All findings, opinions and/or conclusions reached by each such expert

                 witness.

ANSWER:

Plaintiff has not identified any such expert to date. Plaintiff reserves the right to supplement this
response.


                                        INTERROGATORY NO. 5

        Identify each and every person known by you or your attorney who you believe does or

may possess any discoverable information or knowledge whatsoever that is or may be relevant to

the subject matter of this lawsuit and/or the claims and defenses raised herein, and for each such

person, state their knowledge and/or discoverable information.

ANSWER:

Angela L. Ruckman, who can be contacted through counsel Dann Law, 15000 Madison Avenue,
Lakewood, OH 44107. Ms. Ruckman is the Plaintiff in this matter and is a party to whom these
interrogatories are directed. Ms. Ruckman has personal knowledge as to the facts of this matter
including damages she has suffered.

Representative(s) of PHH, to be identified through discovery, who directly worked on the Loan
in any capacity related to the allegations contained in the Complaint, or representative(s) who
have adequate knowledge of such representatives’ actions. The foregoing includes, but is not
limited to individuals who performed work, or have knowledge as to such work, in regard to the


140383.06796/127004385v.6
   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 150 of 199. PageID #: 609




Loan, related to:
   1. The servicing file and payment history on the Loan;
   2. The receipt, drafting, application, crediting, or handling otherwise, of payments issued to
       PHH by Plaintiff;
   3. The application or handling otherwise, of fees and charges made to the Loan;
   4. PHH’s standards, policies, and procedures relative to evaluating and responding to loss
       mitigation applications and appeals thereof from borrowers, including Plaintiff, pursuant
       to investor requirements and guidelines, including those for Plaintiff’s loan or the
       evaluation of Plaintiff’s loan for loss mitigation options;
   5. PHH’s communications with Plaintiff concerning the evaluation of Plaintiff’s loan for
       loss mitigation options or the evaluation of Plaintiff’s loan for loss mitigation options
   6. PHH’s communications with any third parties concerning the evaluation of Plaintiff’s
       loan for loss mitigation options including, but not limited to non-party HSBC Bank USA,
       National Association, as Trustee for Ownit Mortgage Loan Trust, Mortgage Loan
       Asset-Backed Certificates, Series 2005-5 (“HSBC”); and,
   7. PHH’s computer system, database, and software used in conjunction with the receipt,
       review, drafting, and mailing of responses to Plaintiff’s loss mitigation submissions or the
       evaluation of Plaintiff’s loan for loss mitigation options otherwise;
   8. PHH’s communications with any third parties concerning the fees and charges made to
       the Loan;
   9. PHH’s communications with Plaintiff concerning the fees and charges made to the Loan;
   10. Making and/or approving decisions related to the initiation and prosecution of any
       foreclosure action related to the mortgage loan at issue; and,
   11. PHH’s communications with any third parties concerning the fees and charges made to
       the Loan including but not limited to any outside counsel or HSBC.

Representative(s) of Clunk, Hoose Co., LPA (“Clunk”), to be identified through discovery, who
directly worked on Plaintiff’s mortgage loan account in any capacity related to the allegations
contained in the Complaint, or representatives who have adequate knowledge of such
representatives’ actions. The foregoing includes, but is not limited to individuals who performed
work, or have knowledge as to such work, in regard to the Loan related to:
    1. Any communications between PHH and HSBC or any other third-party concerning loss
        mitigation efforts for the Plaintiff’s loan at issue in the Complaint;
    2. The servicing file and payment history on the Loan;
    3. Clunk’s communications with Plaintiff or any third party concerning the receipt, drafting,
        application, crediting, or handling otherwise, of payments issued to PHH by Plaintiff;
    4. Clunk’s communications with any third parties concerning fees and charges made to the
        Loan;
    5. Clunk’s communications with Plaintiff concerning the fees and charges made to the
        Loan;
    6. Clunk’s communications with Plaintiff concerning the evaluation of Plaintiff’s loan for
        loss mitigation options or the evaluation of Plaintiff’s loan for loss mitigation options
    7. Clunk’s communications with any third parties concerning the evaluation of Plaintiff’s
        loan for loss mitigation options including, but not limited to PHH and HSBC; and,



140383.06796/127004385v.6
   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 151 of 199. PageID #: 610




    8. Clunk’s policies and procedures to ensure and maintain compliance with the Fair Debt
       Collections Practices Act, 15 U.S.C. § 1692, et seq. (FDCPA).

Taryn Allied, a personal friend of Ms. Ruckman with whom Ms. Ruckman has discussed the
facts and damages of this matter on occasion.

Unknown employee of Park National Bank, formerly Richland Bank, who notarized permanent
modification in December 2020.

Magistrate Andrea Clark of the Richland County Court of Common Pleas, who has knowledge
of the foreclosure filings and representations at issue in this case.


                                      INTERROGATORY NO. 6

        Identify each and every way you have been damaged by Defendant’s alleged wrongful

actions set forth in your Complaint, and state the amount of damages you are seeking for each

and every item of alleged damages and causes of action, and the underlying bases for the

damages amounts.

ANSWER:

Plaintiff objects to this request because it seeks information and/or documents that are obtainable
from some other source that is more convenient, less burdensome, or expensive, since PHH
already has possession, custody, control, and/or access to the requested information and/or
documents.

                                                     Signing as to objection:

                                                     /s/ Daniel M. Solar

                                                     Daniel M. Solar (0085632)

Without waiving such objection, see Plaintiff’s document production. See also, Plaintiff’s
response to Interrogatory No. 3. Furthermore, Plaintiff seeks statutory damages for each and
every alleged statutory violation, as well as actual damages resulting from such, and attorneys’
fees and costs in an amount yet to be specifically determined. Plaintiff is still in the process of
itemizing actual damages and will supplement pursuant to Court Order. Damages to date include,
but are not limited to:
    1. Statutory damages from PHH for each violation of the applicable provisions of
        Regulation X of the Real Estate Settlement Procedures Act (RESPA), as claimed in the
        Complaint, in the amount of Two Thousand Dollars ($2,000.00) per alleged violation.


140383.06796/127004385v.6
   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 152 of 199. PageID #: 611




       Plaintiff has alleged by and through the Complaint that PHH committed at least one (1)
       violation of Regulation X of RESPA, specifically, of 12 C.F.R. § 1024.41(g) and 12
       U.S.C. §§ 2605(k) as alleged by and through Count One of the Complaint;
    2. Punitive damages from PHH pursuant to R.C. 1322.52 for violations of the Residential
       Mortgage Lending Act, R.C. 1322.01, et seq. (RMLA) as alleged by and through Count
       Three of the Complaint.
    3. Actual damages in an amount yet to be specifically determined, including, but not limited
       to:
           a. Due to the delay in the implementation of the modification at issue (the
               “Modification”), Plaintiff was caused to incur improper fees and charges imposed
               on the loan at issue (the “Loan”) including late fees as well as other similar such
               fees including other default servicing related fees for which Plaintiff is personally
               obligated or which otherwise negatively impacts any equity in her home to which
               she is entitled;
           b. Loss of time and money for continued defense of the related foreclosure which
               would have been dismissed much sooner but for PHH’s actions in mishandling the
               loss mitigation processes concerning the Loan in violation of RESPA and
               Regulation X and mortgage servicing guidelines and otherwise misrepresenting
               the status of the Loan and the amounts due thereunder;
           c. Legal fees, costs, and expenses incurred in defense of the foreclosure action field
               in the Richland County Court of Common Pleas, Case No. 2020 CV 0169 (the
               “Foreclosure”) since PHH’s wrongful conduct including the preparation of and
               filing of motions in defense of the motion for summary judgment and in attempts
               to have the Court enforce the Modification—such fees total $21,872.50 and
               expenses total $179.42; and,
           d. Severe emotional distress driven by PHH’s actions and by the tangible fear that
               PHH’s refusal to properly handle the loss mitigation process related to the Loan
               will result in the imminent loss of her home to foreclosure sale, which has
               resulted in frustration, loss of sleep, anxiety, depression, embarrassment, and
               other significant emotional distress above and beyond the emotional distress
               caused by the Foreclosure from which she was suffering prior to the conduct
               alleged in this complaint.


                                      INTERROGATORY NO. 7

        Identify all medical providers or providers of psychological/mental health services who

you have seen or consulted with from 2015 to present and identify any of such providers from

whom you received treatment for any of your claims for damage, including emotional distress.

ANSWER:

Plaintiff has sought such treatment from the following providers:


140383.06796/127004385v.6
   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 153 of 199. PageID #: 612




    1. Providers affiliated with OhioHealth:
          a. Dr. N. Mangat
          b. Dr. C. Molina Arriola
          c. Dr. U. Pagedar

As of November 3, 2021, Plaintiff has also sought counseling from Holly Hutyera, LCSW, in
Mansfield, Ohio.

Further, see Plaintiff’s document production. Any medical records not provided therein have
been requested and Plaintiff will supplement such production as applicable.


                                   INTERROGATORY NO. 8

        Provide an itemized summary of all damages alleged in your Complaint.

ANSWER:

Plaintiff objects to this request as it is duplicative in nature and thereby unnecessary, unduly
burdensome, and oppressive.

                                                      Signing as to objection:

                                                      /s/ Daniel M. Solar

                                                      Daniel M. Solar (0085632)

Without waiving such objection, see Plaintiff’s document production. See also, Plaintiff’s
responses to Interrogatory Nos. 3 and 6.


                                   INTERROGATORY NO. 9

        When did you send your loan modification application to PHH as referenced in

Paragraph 33 of the Complaint?

ANSWER:

Plaintiff objects to this interrogatory as it seeks information and/or documents that are obtainable
from some other source that is more convenient, less burdensome, or expensive, since PHH
already has possession, custody, control, and/or access to the requested information and/or
documents.



140383.06796/127004385v.6
   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 154 of 199. PageID #: 613




                                                        Signing as to objection:

                                                        /s/ Daniel M. Solar

                                                        Daniel M. Solar (0085632)

Without waiving such objection, to the best of Plaintiff’s recollection, Plaintiff states that she
sent such loss mitigation application in July 2020 and knows that the application was complete
on or about August 4, 2020.


                                    INTERROGATORY NO. 10

        How many times have you applied for a loan modification with PHH and when did you

submit complete applications?

ANSWER:

Plaintiff objects to this interrogatory as it seeks information and/or documents that are obtainable
from some other source that is more convenient, less burdensome, or expensive, since PHH
already has possession, custody, control, and/or access to the requested information and/or
documents.

                                                        Signing as to objection:

                                                        /s/ Daniel M. Solar

                                                        Daniel M. Solar (0085632)

Without waiving such objection, to the best of Plaintiff’s recollection, Plaintiff sent one
application—referenced in Interrogatory No. 9—in or around July 2020 and, to the best of
Plaintiff’s recollection, one other partial application, consisting of a request for mortgage
assistance form in December 2020 after having submitted a signed and notarized copy of a
permanent modification agreement to PHH.

                                INTERROGATORY NO. 11

        Please state all facts that serve as the basis for Count One of your Complaint in which

you allege that PHH violated RESPA.

ANSWER:

Plaintiff objects to this interrogatory as it calls for a legal conclusion.


140383.06796/127004385v.6
   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 155 of 199. PageID #: 614




Plaintiff objects to this interrogatory as it seeks information and/or documents that are obtainable
from some other source that is more convenient, less burdensome, or expensive, since PHH
already has possession, custody, control, and/or access to the requested information and/or
documents.

                                                        Signing as to objection:

                                                        /s/ Daniel M. Solar

                                                        Daniel M. Solar (0085632)

Without waiving such objections, see Plaintiff’s Complaint.


                                INTERROGATORY NO. 12

        Please state all facts that serve as the basis for Count Three of your Complaint in which

you allege that PHH violated the RMLA.

ANSWER:

Plaintiff objects to this interrogatory as it calls for a legal conclusion.

Plaintiff objects to this interrogatory as it seeks information and/or documents that are obtainable
from some other source that is more convenient, less burdensome, or expensive, since PHH
already has possession, custody, control, and/or access to the requested information and/or
documents.

                                                        Signing as to objection:

                                                        /s/ Daniel M. Solar

                                                        Daniel M. Solar (0085632)

Without waiving such objections, see Plaintiff’s Complaint.


                                INTERROGATORY NO. 13

        Please provide the name(s) of the notary, contact information for the notary and location

where the modification agreement was notarized for both the alleged December 2020



140383.06796/127004385v.6
   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 156 of 199. PageID #: 615




modification agreement (referenced in paragraph 14 of Ex. 2 to the Complaint) that you claim

you sent to PHH and the modification agreement that you executed, had notarized on January 11,

2021 and then sent to PHH (the “Modification”).

ANSWER:

Plaintiff objects to this interrogatory as it seeks information and/or documents that are obtainable
from some other source that is more convenient, less burdensome, or expensive, since PHH
already has possession, custody, control, and/or access to the requested information and/or
documents.

Plaintiff objects to this interrogatory as Plaintiff did not have any modification agreement
notarized on January 11, 2021.

Without waiving such objections, the notary that notarized the modification agreement on
January 12, 2021 was Jill Montgomery. At the time of such notarization, Ms. Montgomery was
working for Park National Bank, previously Richland Bank, and to the best of Plaintiff’s
recollection, performed her notarial acts at the branch located at either 460 West Cook Road,
Mansfield, OH 44907 or 50 Marion Avenue, Mansfield, OH 44903.

As to the modification notarized in December 2020, Plaintiff had her signature notarized atPark
National Bank, previously Richland Bank, branch located at either 460 West Cook Road,
Mansfield, OH 44907 or 50 Marion Avenue, Mansfield, OH 44903. Due to COVID-19 protocols,
Plaintiff was not able to enter the interior of the bank branch to meet with the notary face-to-face
and had the agreement notarized through the drive-thru. Plaintiff is unable to identify the notary
who notarized the modification. Plaintiff did not maintain a copy of the executed modification
for her records and sent her only copy to PHH in December 2020 immediately upon having her
signature notarized. Plaintiff made attempts to obtain the identity of the specific notary, but was
informed that each notary working at the bank branches maintains their own individual notary
journals and the bank has been experiencing higher than usual turnover.

                                  INTERROGATORY NO. 14

        Please state the date that you sent the Modification that you executed on January 11, 2021

referenced in Interrogatory #13 above to PHH.

ANSWER:

Plaintiff objects to this interrogatory as it seeks information and/or documents that are obtainable
from some other source that is more convenient, less burdensome, or expensive, since PHH
already has possession, custody, control, and/or access to the requested information and/or
documents.


140383.06796/127004385v.6
   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 157 of 199. PageID #: 616




Plaintiff objects to this interrogatory as Plaintiff did not have any modification agreement
notarized on January 12, 2021, but rather January 11, 2021.

                                                      Signing as to objection:

                                                      /s/ Daniel M. Solar

                                                      Daniel M. Solar (0085632)

Without waiving such objections, after executing the Modification on or about January 12, 2021,
to the best of Plaintiff’s recollection, Plaintiff sent the Modification to PHH that same day via
priority or overnight mail through the United States Postal Service.


                               INTERROGATORY NO. 14

        In your January 7, 2021, email to Diana Bennett attached as Exhibit A to the Affidavit of

Diane Bennett filed June 4, 2021 in the foreclosure action in (Richland County, Ohio Court of

Common Pleas Case Number 2020CV0169), you claim that you sent in "another request for a

modification approximately 3 ½ weeks ago". What documents did you submit, when did you

submit them, and to whom did you submit the documents. Please provide copies of all such

documents.

ANSWER:

Plaintiff objects to this interrogatory as it seeks information and/or documents that are obtainable
from some other source that is more convenient, less burdensome, or expensive, since PHH
already has possession, custody, control, and/or access to the requested information and/or
documents.

Plaintiff objects to this interrogatory as there is no such email to “Diana Bennett”.

                                                      Signing as to objection:

                                                      /s/ Daniel M. Solar

                                                      Daniel M. Solar (0085632)

Without waiving such objection, see Plaintiff’s response to Interrogatory No. 10. To the best of


140383.06796/127004385v.6
   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 158 of 199. PageID #: 617




Plaintiff's recollection, Plaintiff states that after having sent a signed and notarized copy of a
permanent modification agreement to PHH in December 2020, at the suggestion of Ms. Diane
Bennett of Defendant Clunk, Hoose Co., L.P.A., Plaintiff submitted a new “Request for
Mortgage Assistance” (RMA). Plaintiff sent in the RMA form, but not any of the supporting
documentation necessary to constitute a complete loss mitigation application. Plaintiff does not
have a copy of this document as she sent the only copy directly to PHH.


                            FIRST SET OF REQUESTS FOR ADMISSION

        1.       Admit that you did not make payments in 2021 to PHH using Western Union

Quick Collect.

        Admit.


        2.       Admit that your payments from January 2021-April 2021 were made using

MyCheckFree through Kroger.

        Admit.


        3.       Admit that the payment referenced in paragraph 16 of your Affidavit (Ex. 2 to

Complaint) was not made via Western Union Quick Collect.

        Admit.

        4.       Admit that you did not sign the Modification and have it notarized until January

11, 2021.

        Deny. See Plaintiff’s response to Interrogatory Nos. 10, 13, and 14.

        5.       Admit that you sent the executed and notarized Modification referenced in #4

above to PHH on or after January 11, 2021.

        Admit to the extent that a copy of such Modification was sent to PHH on or about
        January 12, 2021, pursuant to the “Errors and Omissions” section of the agreement, upon
        written request from PHH’s counsel. Plaintiff denies any allegation or implication that
        January 12, 2021 was the first time Plaintiff executed and sent in an executed copy of the
        Modification to PHH as she previously sent a copy of the same in December 2020. See


140383.06796/127004385v.6
   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 159 of 199. PageID #: 618




        Plaintiff’s response to Interrogatory Nos. 10, 13, and 14. See Plaintiff’s response to
        Request for Admission No. 4.

        6.       Admit that the Modification referenced in #4 above was denied by PHH in a letter

to you dated January 14, 2021.

        Plaintiff objects to this request as it seeks information and/or documents that are
        obtainable from some other source that is more convenient, less burdensome, or
        expensive, since PHH already has possession, custody, control, and/or access to the
        requested information and/or documents.

        Plaintiff objects to this request as it seeks or otherwise calls for a legal conclusion.

                                                        Signing as to objection:

                                                        /s/ Daniel M. Solar

                                                        Daniel M. Solar (0085632)

        Without waiving such objections, denied. Plaintiff does not dispute that such a letter
        exists, but denies ever having received a copy of this letter until a copy was produced in
        litigation in the Foreclosure and/or the instant matter. Moreover, to the extent that a
        “denial” letter was ever sent, it was subsequently repudiated in writing.

        7.       Admit that the Modification referenced in #4 above was to be returned to PHH by

December 31, 2020.

        Plaintiff objects to this request as it seeks information and/or documents that are
        obtainable from some other source that is more convenient, less burdensome, or
        expensive, since PHH already has possession, custody, control, and/or access to the
        requested information and/or documents.

        Plaintiff objects to this request as it seeks or otherwise calls for a legal conclusion.

                                                        Signing as to objection:

                                                        /s/ Daniel M. Solar

                                                        Daniel M. Solar (0085632)

        Without waiving such objections, Plaintiff admits that the Modification was to be
        returned to PHH by December 31, 2020, but denies any allegation or implication that
        Plaintiff did not comply with such deadline or that PHH did not agree to modify this term


140383.06796/127004385v.6
   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 160 of 199. PageID #: 619




        through subsequent agreements and actions. See Plaintiff’s response to Interrogatory
        Nos. 10, 13, and 14. See Plaintiff’s response to Request for Admission Nos. 4 and 5.

        8.       Admit there is no permanent modification agreement executed by you and

notarized prior to January 11, 2021.

        Denied. See Plaintiff’s response to Interrogatory Nos. 10, 13, and 14. See Plaintiff’s
        response to Request for Admission Nos. 4 and 5.

        9.       Admit that Kroger and not PHH was holding the payments you made in February

and March 2021.

        Plaintiff objects to this request as it seeks or otherwise calls for a legal conclusion.

        Plaintiff objects to this request as it is unduly vague as to the meaning of “holding”.

                                                        Signing as to objection:

                                                        /s/ Daniel M. Solar

                                                        Daniel M. Solar (0085632)

        Without waiving such objections, Plaintiff admits that PHH received the funds and failed
        to properly apply the funds towards Plaintiff’s mortgage loan per the terms of the loan
        Modification. Defendant also failed to take reasonable steps to return the funds to
        Plaintiff. After receiving the funds, Defendant PHH chose to deliver the funds to Kroger,
        who did not immediately return them to Plaintiff.

    10. Admit that you received a refund in July 2021 from Kroger for payments that had been

        rejected and returned from PHH.

        Plaintiff objects to this request as it seeks or otherwise calls for a legal conclusion.

        Plaintiff objects to this request as it is unduly vague as to the meaning of “rejected and
        returned”.

                                                        Signing as to objection:

                                                        /s/ Daniel M. Solar

                                                        Daniel M. Solar (0085632)



140383.06796/127004385v.6
   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 161 of 199. PageID #: 620




        Without waiving such objections, Plaintiff admits that in July 2021, upon request of
        Plaintiff’s counsel, PHH for the first time took steps to trace and identify the funds it had
        received, but refused to apply the same to Plaintiff’s mortgage loan per the terms of the
        Modification. PHH had delivered the funds to Kroger, but did not take steps to ensure
        that the funds were refunded to Plaintiff. In July 2021, PHH finally provided Plaintiff the
        tracking information necessary for Plaintiff to obtain access to the funds.

    11. Admit your January 7, 2021 email to Diane Bennett attached as Exhibit C to the Affidavit

        of Diane Bennett filed in the foreclosure complaint regarding this matter, Richland

        County, Ohio Court of Common Pleas Case Number 2020CV0169, referred to your

        request for a new modification without a balloon payment and did not reference the

        November 2020 modification originally sent to you by PHH.

        Objection. No such Affidavit of Diane Bennet was filed with or was otherwise attached to
        the foreclosure complaint in such foreclosure action.

                                                      Signing as to objection:

                                                      /s/ Daniel M. Solar

                                                      Daniel M. Solar (0085632)

        Without waiving such objection, denied.


                      REQUESTS FOR PRODUCTION OF DOCUMENTS

        Request is hereby made for the production by Plaintiffs of the following documents, all

electronically stored documents or electronic data, or other materials presently in the custody,

possession, or control of Plaintiff, her agents, attorneys and/or other representatives:

        1.       Produce each and every document, all electronically stored documents or

electronic data, photographs, videotape, materials, emails or other real or demonstrative

evidence, including summaries and data compilations that you intend to introduce as an exhibit,

or rely upon in any way, at the Trial of this matter or in any deposition or motion, for this case.



140383.06796/127004385v.6
   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 162 of 199. PageID #: 621




        The request for all documents upon with Plaintiff intend to “rely upon in any way” is
        overbroad.

                                                     Signing as to objection:

                                                     /s/ Daniel M. Solar

                                                     Daniel M. Solar (0085632)

        Without waiving such objection, documents to be used at trial have not yet been selected
        as discovery is still ongoing. Further, see Plaintiff’s document production. Plaintiff
        reserves the right to supplement this response.


        2.       Produce each and every report, memorandum, correspondence, or other document

that sets forth, in any way, the findings, opinions and/or conclusions of each expert identified in

response to Interrogatory #4.

        See Plaintiff’s response to Interrogatory No. 4. No such experts have been identified.
        Plaintiff reserves the right to supplement this response.


        3.       Produce any and all files, documents, all electronically stored documents or

electronic data, or other materials utilized by or generated by each expert identified in response

to Interrogatory #4.

        See Plaintiff’s response to Interrogatory No. 4. No such experts have been identified.
        Plaintiff reserves the right to supplement this response.


        4.       Produce each and every document, all electronically stored documents or

electronic data, or other materials to support or evidence your claims for alleged damages

identified in response to the Interrogatories.

        See Plaintiff’s document production.


        5.       Produce each and every discoverable document, all electronically stored




140383.06796/127004385v.6
   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 163 of 199. PageID #: 622




documents or electronic data, or other materials which support any of your claims and/or the

defenses in this case and/or which in any way relate to the subject matter of this litigation,

including but not limited to any evidence of payments made in connection with the Mortgage

which is the subject of your Complaint.

        Plaintiff objects to this request because it seeks information and/or documents that are
        obtainable from some other source that is more convenient, less burdensome, or
        expensive, since PHH already has possession, custody, control, and/or access to the
        requested information and/or documents.

                                                     Signing as to objection:

                                                     /s/ Daniel M. Solar

                                                     Daniel M. Solar (0085632)

        Without waiving such objection, see Plaintiff’s document production.


        6.       Produce each and every discoverable document, notes, all electronically stored

documents or electronic data and emails, or other materials which support, relate to, or evidence

your responses to the foregoing Interrogatories, or which were utilized to prepare your responses

thereto.

        The request for all documents upon which “relate to” Plaintiff’s preparation of her
        Interrogatory responses is unduly vague and overbroad.

                                                     Signing as to objection:

                                                     /s/ Daniel M. Solar

                                                     Daniel M. Solar (0085632)

        Without waiving such objection, see Plaintiff’s document production.


        7.         Produce each and every discoverable document, notes, all electronically stored




140383.06796/127004385v.6
   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 164 of 199. PageID #: 623




documents or electronic data and emails, or other materials which support, relate to, or evidence

that you suffered emotional distress or duress due to the alleged actions of the Defendants,

including but not limited to copies of any medical records pertaining to medical or psychological

treatment received for emotional distress.

        See Plaintiff’s document production. Any medical records not provided therein have been
        requested and Plaintiff will supplement such production as applicable. See Plaintiff’s
        response to Interrogatory No. 3.


        8.       Provide a copy of all payments or proof of payment you made PHH in 2020.

        Plaintiff objects to this request because it seeks information and/or documents that are
        obtainable from some other source that is more convenient, less burdensome, or
        expensive, since PHH already has possession, custody, control, and/or access to the
        requested information and/or documents.

                                                    Signing as to objection:

                                                    /s/ Daniel M. Solar

                                                    Daniel M. Solar (0085632)

        Without waiving such objection, see Plaintiff’s document production.


        9.       Produce all audio recordings you have of any conversations between you and

PHH in 2020.

        Plaintiff objects to this request because it seeks information and/or documents that are
        obtainable from some other source that is more convenient, less burdensome, or
        expensive, since PHH already has possession, custody, control, and/or access to the
        requested information and/or documents.

                                                    Signing as to objection:

                                                    /s/ Daniel M. Solar

                                                    Daniel M. Solar (0085632)

        Without waiving such objection, Plaintiff is not in possession of any such audio


140383.06796/127004385v.6
   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 165 of 199. PageID #: 624




        recordings.


                                           Respectfully submitted,


                                           /s/ Daniel M. Solar

                                           Daniel M. Solar (0085632)
                                           Marc E. Dann (0039425)
                                           Michael A. Smith Jr. (0097147)
                                           Dann Law
                                           15000 Madison Avenue
                                           Lakewood, Ohio 44107
                                           Telephone: (216) 373-0539
                                           Facsimile: (216) 373-0536
                                           notices@dannlaw.com
                                           Counsel for Plaintiff Angela L. Ruckman




140383.06796/127004385v.6
   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 166 of 199. PageID #: 625




                                CERTIFICATE OF SERVICE

         I certify that an exact copy of the foregoing document was sent via electronic mail on

November 22, 2021:

        Sarah A. Wilson
        Blank Rome, LLP
        1700 PNC Center
        201 East Fifth Street
        Cincinnati, OH 45202
        SWilson@blankrome.com
        Counsel for Defendant PHH Mortgage Corporation, d/b/a PHH Mortgage Servicing

        Ashley E. Mueller
        Laura C. Infante
        Attorneys for Defendant
        Clunk, Hoose Co., L.P.A
        495 Wolf Ledges Pkwy
        Akron, OH 44311
        amueller@clunkhoose.com
        linfante@clunkhoose.com
        Counsel for Defendant Clunk, Hoose Co. LPA


                                                   /s/ Daniel M. Solar

                                                   Daniel M. Solar (0085632)




140383.06796/127004385v.6
Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 167 of 199. PageID #: 626



        Case: 5:21-cv-00923-JRA Doc #: 1-2 Filed: 05/04/21 1 of 63. PageID #: 47




                                    IN THE COURT OF COMMON PLEAS
                                           RICHLAND COUNTY, OHIO


    HSBC BANK USA N.A. AS                                        Case No. 2020 CV 0169
    TRUSTEE FOR OWNIT MORTGAGE
                                                                 Judge Brent N. Robinson
                              Plaintiff,

            v.

    ANGELA L. RUCKMAN, eta!,
                                                                 Affidavit of Angela Ruckman
                              Defendant.



            I,   Angela Ruckman, being first duly sworn as if upon oath, do swear and affirm as
    follows:

            1.       I   am not a minor,    I   have personal knowledge of the facts in this affidavit,
    and am competent to testify to these facts.
        I




            2.       I   am a Defendant and homeowner in this foreclosure case.
            3.       I   participated in the court's mediation program and reached a settlement
    settlement agreement with the Plaintiff.
            4.       In July    I   submitted a complete loan modification application to PHH
    through their counsel.           This was my first loan modification application to this loan
    servicer.
            5.       On August 13, 2020,         I   received a notice dated August 5, 2020 stating that
    my loan modification application was complete as of July 31, 2020, and under review.
            6.       After reviewing my loan modification, PHH offered me a trial loan
    modification.
            7.       Per the agreement, after            I   made three trial modification payments in
    September, October, and November, Plaintiff, through its servicer PHH Mortgage
    Services Inc., offered me a permanent loan modification.
            8.       The loan modification agreement provided that the loan would be modified
    effective November         1,   2020, and that my new modified monthly payment would be



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                                                                                                           EXHIBIT
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    Case:
      Case:
          5:21-cv-00923-BMB
            5:21-cv-00923-JRADoc
                              Doc#:#:
                                    411-2
                                        Filed:
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                                               02/25/22
                                                  05/04/21
                                                         168
                                                           2 of 199.
                                                                63. PageID
                                                                     PageID#:#:48
                                                                                627




$469.12. A true and correct copy of the loan modification agreement is attached hereto
as Exhibit A.
         9.      I   did not receive the written permanent modification agreement from PHH
until late November, 2020.
         10.     I   requested, and received, an extension of time to accept the loan
modification agreement.
         11.     I   was informed that if I made the first payment by December          1,   2020, then
I   could have until the end of December to return the paperwork.
         12.     The loan modification agreement included specific payment remittance
instructions for payments via electronic money order.                    The instructions included a
unique receiver code for PHH with Western Union Quick Collect Payments, and
instructions to include my account reference number on each payment.                         A true and

correct copy of the payment instructions is attached hereto as Exhibit B.
         13.     On November 30, 2020,          I   made a payment of $470 to Plaintiffs servicer
PHH via        money order according to the servicer's payment instructions. A true and
correct copy of the November 30, 2020 money order receipt is attached hereto as
Exhibit C.
         14.     I   notarized and mailed the loan agreement paperwork to Plaintiffs loan
servicer to the address designated by Plaintiffs loan servicer in December 2020.
         15.     I   continued to make monthly payments according to the agreement.
         16.     On January 4, 2021,        I   made my January monthly payment of $470 to
Plaintiffs servicer PHH via       a   Western Union Quick Collect Payment money order at my
local Kroger, according to the servicer's payment instructions. A true and correct copy
of the January 4, 2020 money order receipt is attached hereto as Exhibit D.
         17.     On January 29, 2021, at a hearing with Magistrate Andrea Clark, Plaintiff
acknowledged that it had received the loan modification documents and also my
December and January payments.
         18.     By February 2021, I. had not yet received the signed loan modification
from PHH, but        I   also had not received any notice that the loan modification had been
denied.
         19.     On February 11, 2021, although           I   had not yet received any assurance that



                                                      2
 Case:
   Case:
       5:21-cv-00923-BMB
         5:21-cv-00923-JRADoc
                           Doc#:#:
                                 411-2
                                     Filed:
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                                            02/25/22
                                               05/04/21
                                                      169
                                                        3 of 199.
                                                             63. PageID
                                                                  PageID#:#:49
                                                                             628




PHH had implemented the loan modification agreement,                     I   made my February monthly
payment of $470 to Plaintiffs servicer PHH via money order according to the servicer's
payment instructions. A true and correct copy of the February 11, 2021 money order
receipt is attached hereto as Exhibit E.
       20.           On February 22, 2021,        I   made my March monthly payment of $470 to
Plaintiffs servicer PHH via money order according to the servicer's payment
instructions. A true and correct copy of the February 22, 2021 money order receipt is
attached hereto as Exhibit F.
       21,           On March 3, 2021,        I   received an email from Diane Bennett, Loss
Mitigation Department Coordinator for Plaintiffs attorney, Clunk Noose Co. LPA, stating
as follows:
               The reversal has not yet been approved by management, our client is working
               to get it reversed; however, the last payment our client received from you was
               for the January payment, you will need to make the February and March
               payments Immediately.

A true and correct copy of my email correspondence is attached hereto as Exhibit G.

       22.           On March 4, 2021,   I   received a notice dated February 25, 2021 that PHH
had rejected my February 11, 2021 payment. A true and correct copy of the notice is
attached hereto as Exhibit H.
       23.           On March 6, 2021,   I   sent an email in response to Ms. Bennett informing
her that   I   had made all the payments, but that          I   had just learned PHH had rejected at
least one payment:

               Ive made all payments. Jan. Feb. March. However was notified by krogers
                                                                               i



               today. That PHH refused the dated Feb 11th which would have been for the
               month of March payment. Can you explain what the issue is and what to do?

See Exhibit G.

      24.            On March 8, 2021, Ms. Bennett responded to my email and confirmed that
the loan modification was approved; however she also claimed that her client had not
received the two payments for February and March that had made the previous month:
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               I   received the below email from you this morning. Our client has advised that



                                                        3
 Case:
   Case:
       5:21-cv-00923-BMB
         5:21-cv-00923-JRADoc
                           Doc#:#:
                                 411-2
                                     Filed:
                                        Filed:
                                            02/25/22
                                               05/04/21
                                                      170
                                                        4 of 199.
                                                             63. PageID
                                                                  PageID#:#:50
                                                                             629




                you are due for the February and March payments, for a total of $873.93. If
                you want the modification to go through, that payment needs to be made
                immediately. Our client's modification team has confirmed they will
                accept that amount and then reverse the denial.

            Also, read down through all my notes, I have emails from you that you sent
                        I


            the December and January pmts, there is nothing mentioning that the
            February payment was sent (that was at the end of January).

                If you have proof that you made the February payment and that it was
                accepted, please provide the proof and I will forward to our client.

                Please let me know if you will be sending the payment today.

Id. (emphasis added).


      25.           I   responded to Ms. Bennett's email the same day with receipts showing
my February and March payments had already been made:
              made both payments for February and march. Payment made on February
                I

            11th was refused and was notified by krogers. See attached for receipts and
                                        I


            pic of email krogers gave me.

Id.


      26.           Even though Ms. Bennett had previously acknowledged that her client had
already received the January 2021 payment, she responded to my email by asserting
that the February payment had been applied towards the January payment rather than
February:

            Based on the receipts you sent, looks like you are due for Feb and March to
            me.

                                                              -
            You have a receipt purchase for $470 on 2/11 which would be your January
            pmt (can you produce a separate receipt for Jan ?)

            You have a notification on 2/25 that the 2/11 pmt can't be processed

            You have a receipt for $471.50 purchased on 2/22         - this would   make the
                               -
            January pmt making you due for Feb and March.

            Ididn't see any extra receipts in your file indicating that a Jan pmt was made
            other than the receipt above that you purchased on 2/22 almost one month
            behind.




                                                 4
 Case:
   Case:
       5:21-cv-00923-BMB
         5:21-cv-00923-JRADoc
                           Doc#:#:
                                 411-2
                                     Filed:
                                        Filed:
                                            02/25/22
                                               05/04/21
                                                      171
                                                        5 of 199.
                                                             63. PageID
                                                                  PageID#:#:51
                                                                             630




Id.


          27.         The same day, on March 8, 2021           I   responded to Ms. Bennett with an
email and receipts documenting my payments to PHH on January 4, 2021, February 11,
2021, February 22, 2021, and the notice that PHH had refused my February 11, 2021
payment.            A true and correct copy of my March 8, 2021 email is attached hereto as
Exhibit   I.

      28.             On March 10, 2021,       I   emailed Ms. Bennett to request an update on my
loan payments:

                Has there been any further updates and any tracking as to where my
                payments where deposited? Did you receive the January receipt?

A true and correct copy of my March 10, 2021 email is attached hereto as Exhibit J.

                         29. Ms. Bennett responded the same day with an email stating: "Your
                receipts were received and sent to PHH for review." Id.
      30.             Nine days later, on March 19, 2021, Ms. Bennett sent me an email
claiming that PHH did not receive my February payments:
                Our client cannot confirm receipt of payments from you. The following amount
                is due before the end of March or the modification is denied.

                We have still not received $873.93. Mod team has given time to receive funds
                till end of march, if funds not received, mod will be denied again and then we
                will not be able to reverse mod denial.

                End of March means we should receive funds at least by 25th, so that mod
                team can modify loan before month end, otherwise they will also ask for the
                payment of April. The receipts that you provided do not show that payment
                was sent to and received by PHH.

                It appears you may need to go back to Kroger to obtain your funds.

A true and correct copy of my March 19, 202.1 email is attached hereto as Exhibit K.

      31.             On March 19, 2021,   I   responded to Ms. Bennett via email:

                I would like to know where my money ist have receipts. paid per their
                                                                     I               I


                instructions western union. No clue how long it will take to file an investigation
                with western union to track my money to show it was paid. Where do i come



                                                        5
    Case:
      Case:
          5:21-cv-00923-BMB
            5:21-cv-00923-JRADoc
                              Doc#:#:
                                    411-2
                                        Filed:
                                           Filed:
                                               02/25/22
                                                  05/04/21
                                                         172
                                                           6 of 199.
                                                                63. PageID
                                                                     PageID#:#:52
                                                                                631




                   up with extra money in the mean time?

/d.


         32.          Later in the day on March 19, 2021, sent a second email to Ms. Bennett:
                                                                  I




"What was the last payment received from western union ?" /d.
         33.          On March 20, 2021,       I   sent a third email to Ms. Bennett:      "The receipts
show the biller as PHH Mortgage. The account # is on each receipt. The amount due,
how was the calculated ?" id.
         34.          On March 22, 2021,   I   sent   a   fourth email to Ms. Bennett, informing her that
I   had resubmitted the February 11, 2021 payment that PHH had rejected, and that my
account was therefore current:

               I went to Krogers yesterday. Spoke with Jackie who has been the contact
               person since the denial of the 2/11/21 payment. She is the one who contacted
               me and gave me the copy of the email. That payment was resubmitted
               yesterday. Per her Instructions, the recipient needs to use the reference
               number to track payment and deposits. If a payment is not accepted an email
               will be sent instructing Krogers to contact the sender. Then the money Is
               refunded. Or the money can be resubmitted to the recipient again. Krogers Is
               notified within 7 -11 business days if there is an issue.

               I have used the same payment for all payments since the modification
               process started. There has only been 1 issue, and that was 2111/21
               payment which would have been Februarys payment. Why It was denied
               or refused? I do not have an answer, PHH would have to answer that
               question. Being no other payments have been refused or declined,
               including the 2/22/21 payment which was the payment for March. There
               should be only 1 payment issue and thats the 2/11/21 payment declined
               by PHH. That payment was resubmitted yesterday. Receipt is attached.
               This would make my account current. All receipts show the biller as
               PHH. Contains the account number and a reference number.

A true and correct copy of my March 22, 2021 email is attached hereto as Exhibit L
(emphasis added).            A true and correct copy of my payment resubmission receipt is
attached hereto as Exhibit M.

         35.          Ms. Bennett replied with an email stating that she would forward my

receipt of my resubmission of the February 11, 2021 payment to PHH, but she also
stated erroneously that she expected the modification to be denied because "signed



                                                           6
 Case:
   Case:
       5:21-cv-00923-BMB
         5:21-cv-00923-JRADoc
                           Doc#:#:
                                 411-2
                                     Filed:
                                        Filed:
                                            02/25/22
                                               05/04/21
                                                      173
                                                        7 of 199.
                                                             63. PageID
                                                                  PageID#:#:53
                                                                             632




documents and payments were all due in November 2020."

             I will send the receipt to PHH, but if PHH doesn't have the funds in hand by
             3/25/21, I expect the modification to be denied. After all, signed documents
             and payments were all due in November 2020.

Exhibit L.

       36.       I   responded to Ms. Bennett's email by addressing her false statements
about my payments:

       Per krogers, phh needs to use the reference numbers on the receipts to track
       payments received. Maybe it was posted to another account? You claim 2
       payments were missing, but the only denied payment was the February
       payment paid on 2111. That was resubmitted yesterday. No other payments
       have been returned which means all other payments were received and
       accepted by PHH. I have made every payment. All paperwork was signed.
       ILrogers can not track a payment that was sent after it was received. The
       other alleged missing payment has not been applied to my or was applied
       to another account. I have my receipts showing I paid. I dont know what
       more I can do.

Id. (emphasis added).


       37.       Ms. Bennett responded by telling me to request a payment history directly
from her client:
       Please call PHH and request a payment history if you believe all payments have
       been made, that way you can see what payments came in and how they were
       applied.

Id.


       38.       On March 23, 2021, Ms. Bennett sent me an email that she claimed was a
payment breakdown for my trial payments, but it did not account for my February and
March 2021 payments:

       Angela, below is the breakdown of your payments received.

       Trial plan pmts were $469.15

       09/02/20 $470 received      -   $469.15 September's pmt = .85

       10/26/20 $1,000 received +.85 = $1,000.85           -   $469.15 for October's pmt   =



                                                 7
 Case:
   Case:
       5:21-cv-00923-BMB
         5:21-cv-00923-JRADoc
                           Doc#:#:
                                 411-2
                                     Filed:
                                        Filed:
                                            02/25/22
                                               05/04/21
                                                      174
                                                        8 of 199.
                                                             63. PageID
                                                                  PageID#:#:54
                                                                             633




          $531.70

          $531.70 - $469.15 for November's pmt = $62.55

          12/03/20 $470 received + $62.55 = $532.55 - $469.12 (perm mod pmt for Dec) =
          $63.43

          01/05/21 $470 received        +   $63.43 = $533.43 - $469.12 (perm mod pmt for Jan) =
          $64.31

          Loan is due for the Feb an March pmts as of 3/23/21

          The payment that was being sent today, 3/23/21 has not yet shown as received
          or applied to your account and will likely be rejected because it is not the full
          amount of the Feb & Mar pmts combined.

          $469.12 Feb + $469.12 Mar = $938.24 - $64.31                 =   $873.93.

A true and correct copy of the March 23, 2021 email Is attached hereto as Exhibit N.

          39,       On March 30, 2021,      I   made my April monthly payment of $470 to Plaintiffs
servicer PHH via money order according to the servicer's payment instructions. A true
and correct copy of the March 30 2021 payment receipt is attached hereto as Exhibit O.
          40.   I       made each and every payment to Plaintiff via money order per the
written remittance instructions provided by its servicer, PHH.
          41.       I   have never received any notice from Plaintiff not to use the payment
instructions that were previously provided, or changing those payment instructions.
          42.   I       made each and every payment as instructed via wire transfer.
          43.   I       only received notice that      a   single payment, the February 11, 2021
payment, was rejected by the recipient, PHH.                  I   resubmitted the February 11, 2021
payment on March 22, and have not received any notification that the resubmitted
payment was rejected.
          44.   Neither Plaintiff, its counsel, nor its loan servicer have ever provided me
written notice that the permanent loan modification was denied, or the reason for the
denial.
          45.   I       have fully performed under the loan modification agreement.           I   have
submitted the signed modification agreement and                   I   have made all monthly payments
under the agreement in full, and on time.



                                                       8
 Case:
   Case:
       5:21-cv-00923-BMB
         5:21-cv-00923-JRADoc
                           Doc#:#:
                                 411-2
                                     Filed:
                                        Filed:
                                            02/25/22
                                               05/04/21
                                                      175
                                                        9 of 199.
                                                             63. PageID
                                                                  PageID#:#:55
                                                                             634




        46.        Plaintiff has failed to fulfill its requirements under the loan modification
agreement.
        47.        Plaintiff has failed to implement the loan modification agreement, and it
has improperly applied my monthly payments towards the unmodified loan balance.
        48.        Plaintiffs loan servicer PHH wrongfully rejected the February 11, 2021
payment       I   made per the remittance instructions it provided as part of the loan
modification agreement.
        49.        Plaintiffs law firm has misrepresented the amount due on the loan under
the loan modification agreement in its communications with me and with the Court.
        50.        On March 30, 2021, Plaintiff filed a motion for summary judgment in this
foreclosure action, even though              I   had fully performed under the loan modification
agreement.
        51.        As a consequence of Plaintiffs breach of the loan modification agreement,




                                                                ii I
and the misrepresentations of Plaintiffs counsel, it has been necessary for me to hire a
lawyer to enforce the settlement agreement and save my home from foreclosure.

                                                            l          rt       C   {n >ra
                                                          Angela R   k 'an



        Sworn to and subscribed before me by Angela Ruckman, April             &      2021.



                           AMBER HICKMAN
                            Notary Public
[seal                       State of Ohio
                          My Comm. Expires          Notary Public
                          December 9, 2024
                                                    State of Ohio




                                                      9
Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 176 of 199. PageID #: 635




                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

   ANGELA L. RUCKMAN,                                Case No. 5:21-cv-00923-JRA

                           Plaintiff,                Judge John R. Adams

               v.

   PHH MORTGAGE CORPORATION d.b.a.
   PHH MORTGAGE SERVICES, et al.,

                           Defendants.


      PLAINTIFF ANGELA RUCKMAN’S RESPONSES TO DEFENDANT'S (CLUNK,
     HOOSE CO., L.P.A) FIRST SET OF COMBINED INTERROGATORIES, REQUEST
        FOR PRODUCTION OF DOCUMENTS AND REQUESTS FOR ADMISSION



          Plaintiff Angela L. Ruckman (“Plaintiff”), through counsel, pursuant to Fed. R. Civ. P.

   26, 33, 34, and 36, hereby responds to the Discovery Requests (the “Requests”) propounded by

   Defendant Clunk Hoose Co., L.P.A. (“Clunk”).

                                        GENERAL OBJECTIONS

          1.        Plaintiff objects to the Requests, including any and all definitions and

   instructions, to the extent they seek to impose obligations in addition to, or inconsistent with, the

   Federal Rules of Civil Procedure. Plaintiff will respond to the requests in accordance with the

   obligations imposed by the applicable rules and law.

          2.        Plaintiff objects to the Requests to the extent they seek information protected

   from disclosure by the attorney client privilege, the work-product doctrine, or any other

   applicable privileges, protections, or immunities from discovery. If, and to the extent Plaintiff




                                                                                                           EXHIBIT
                                                                                                             14
   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 177 of 199. PageID #: 636




inadvertently discloses in the litigation protected information, such inadvertent disclosure is not

intended and does not waive any privilege, protection, or immunity.

        3.      Plaintiff objects to the Requests to the extent they are overly broad, vague, unduly

burdensome, or seek a narrative response relating to a given subject. Plaintiff objects to

providing responses of such breadth on the grounds of undue burden.

        4.      Plaintiff objects to the interrogatories to the extent they seek information that is

not relevant, not reasonably calculated to lead to relevant information, will not lead to the

discovery of admissible evidence, or not proportional to the needs of the case.

        5.      Plaintiff objects to the interrogatories to the extent they seek legal conclusions or

would require Plaintiff to reach a legal conclusion in order to prepare a response.

        6.      Pursuant to Fed. R. Civ. P. 26, the Requests are deemed to be continuous in nature

until the date of the trial. Plaintiff’s investigation of this matter is ongoing, and Plaintiff reserves

the right to amend, supplement, or alter the response to any interrogatory at any time as allowed

by applicable law.

                               [This space intentionally left blank.]
   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 178 of 199. PageID #: 637




                                GENERAL INSTRUCTIONS

       Plaintiff shall not claim lack of information or knowledge as a reason for failing to admit

or deny Defendant's Discovery Requests unless Plaintiff has made reasonable inquiry and the

information known or readily obtainable is insufficient. Further, Plaintiff may not object to any

of the Discovery Requests simply because a request presents a genuine issue for trial. Finally,

these Discovery Requests are ongoing in nature and are subject to supplementation as required

by Rule 26(e) of the Federal Rules of Civil Procedure. Nothing contained herein is intended to

be, nor shall it be construed as, an admission by the Defendant, Clunk, Hoose Co., L.P.A.

                                        DEFINITIONS

The following terms shall have the meaning indicated:
   1. “Document” means agreements, contracts, memorandum, telephone logs, reports,
      records, microfilms, letters, books, pamphlets, brochures, circulars, manuals, drawings,
      invoices, receipts, sales slips, charge slips, minutes of meetings or other relevant
      materials.

   2. “The parties hereto” shall mean Defendant, Clunk, Hoose Co., L.P.A, and Plaintiff,
      Angela L. Ruckman.

   3. “Subject Property” or “Property” refers to the real estate commonly known as 837
      South Main Street, Mansfield, OH 44907.

   4. “Promissory Note” (or “Note”) refers to the Promissory Note originally executed by
      Plaintiff, Angela L. Ruckman, in favor of Ownit Mortgage Solutions, Inc. on August 24,
      2005, attached hereto as Exhibit “A.”

   5. “Mortgage Deed” (or “Mortgage”) refers to the Mortgage recorded as Book 1556, Page
      91, in the Richland County Recorder’s Office, originally executed by Defendant, Angela
      L. Ruckman, on August 24, 2005, in favor of Mortgage Electronic Registration Systems,
      Inc. solely as nominee for Ownit Mortgage Solutions, Inc., and recorded on August 26,
      2005, attached hereto as Exhibit “B.”

   6. Loan Account” refers to the account associated with the Note and Mortgage held by
      non-party HSBC Bank USA, National Association, As Trustee For Ownit Mortgage Loan
      Trust, Mortgage Loan Asset Backed Certificates, Series 2005-5 wherein Defendant, PHH
      Mortgage Corporation (“PHH”) performs credits, debits, advances, refunds, repayments,
   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 179 of 199. PageID #: 638




       and other similar monetary transactions in accordance with the terms of the Note and
       Mortgage specifically pertaining to the repayment of the funds loaned to Plaintiff at the
       time the Note and Mortgage were executed.

   7. Identify the/each/all person(s) shall mean to state the person’s name, address, title, and
      telephone number.

   8. “Federal Case” shall refer to Case Number 5:21-CV00923 in the United States District
      Court for the Northern District of Ohio, styled as Angela L. Ruckman v. PHH Mortgage
      Corporation, et al.

   9. “Foreclosure Case” shall refer to Case Number 2020 CV 0169 in the Richland County
      Court of Common Pleas, styled as HSBC Bank USA, National Association, as Trustee for
      Ownit Mortgage Loan Trust, Mortgage Loan Asset-Backed Certificates, Series 2005-5 v.
      Angela L. Ruckman, et al.

   10. “Permanent Modification” shall refer to the document attached hereto as Exhibit “C.”

   11. “Trial Modification” shall refer to the document attached hereto as Exhibit ‘D.”

   12. The statements “a complete response shall include” or “including but not limited to”
       are not intended to be subparts of the Interrogatory or Request itself; rather, those phrases
       have been included to provide clarification to those responding to the Request, for the
       purpose of limited ambiguity.


                                I.      INTERROGATORIES


   Interrogatory No. 1.
Identify all person(s) answering or responding in any way to Defendant's Interrogatories,
Request for Production of Documents and Requests for Admission propounded to Plaintiff
pursuant the definitions listed above.

Answer:

Angela L. Ruckman, who can be contacted through counsel Dann Law, 15000 Madison Avenue,
Lakewood, OH 44107. Ms. Ruckman is the Plaintiff in this matter and is a party to whom these
interrogatories are directed. Her counsel at Dann Law assisted Ms. Ruckman in the preparation
of her responses.


    Interrogatory No. 2.
Identify all persons having testimonial knowledge concerning or relating to the subject matter of
Plaintiff’s claims and/or defenses and for each person so identified state the specific subject of
the information, whether the information is based upon personal knowledge or hearsay, and
   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 180 of 199. PageID #: 639




identify any documents relating to or used to refresh the recollection of that persons knowledge
or information.

Answer:

Angela L. Ruckman, who can be contacted through counsel Dann Law, 15000 Madison Avenue,
Lakewood, OH 44107. Ms. Ruckman is the Plaintiff in this matter and is a party to whom these
interrogatories are directed. Ms. Ruckman has personal knowledge as to the facts of this matter
including damages she has suffered.

Representative(s) of PHH, to be identified through discovery, who directly worked on the Loan
in any capacity related to the allegations contained in the Complaint, or representative(s) who
have adequate knowledge of such representatives’ actions. The foregoing includes, but is not
limited to individuals who performed work, or have knowledge as to such work, in regard to the
Loan, related to:
    1. The servicing file and payment history on the Loan;
    2. The receipt, drafting, application, crediting, or handling otherwise, of payments issued to
        PHH by Plaintiff;
    3. The application or handling otherwise, of fees and charges made to the Loan;
    4. PHH’s standards, policies, and procedures relative to evaluating and responding to loss
        mitigation applications and appeals thereof from borrowers, including Plaintiff, pursuant
        to investor requirements and guidelines, including those for Plaintiff’s loan or the
        evaluation of Plaintiff’s loan for loss mitigation options;
    5. PHH’s communications with Plaintiff concerning the evaluation of Plaintiff’s loan for
        loss mitigation options or the evaluation of Plaintiff’s loan for loss mitigation options
    6. PHH’s communications with any third parties concerning the evaluation of Plaintiff’s
        loan for loss mitigation options including, but not limited to non-party HSBC Bank USA,
        National Association, as Trustee for Ownit Mortgage Loan Trust, Mortgage Loan
        Asset-Backed Certificates, Series 2005-5 (“HSBC”); and,
    7. PHH’s computer system, database, and software used in conjunction with the receipt,
        review, drafting, and mailing of responses to Plaintiff’s loss mitigation submissions or the
        evaluation of Plaintiff’s loan for loss mitigation options otherwise;
    8. PHH’s communications with any third parties concerning the fees and charges made to
        the Loan;
    9. PHH’s communications with Plaintiff concerning the fees and charges made to the Loan;
    10. Making and/or approving decisions related to the initiation and prosecution of any
        foreclosure action related to the mortgage loan at issue; and,
    11. PHH’s communications with any third parties concerning the fees and charges made to
        the Loan including but not limited to any outside counsel or HSBC.

Representative(s) of Clunk, Hoose Co., LPA (“Clunk”), to be identified through discovery, who
directly worked on Plaintiff’s mortgage loan account in any capacity related to the allegations
contained in the Complaint, or representatives who have adequate knowledge of such
representatives’ actions. The foregoing includes, but is not limited to individuals who performed
work, or have knowledge as to such work, in regard to the Loan related to:
   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 181 of 199. PageID #: 640




   1. Any communications between PHH and HSBC or any other third-party concerning loss
      mitigation efforts for the Plaintiff’s loan at issue in the Complaint;
   2. The servicing file and payment history on the Loan;
   3. Clunk’s communications with Plaintiff or any third party concerning the receipt, drafting,
      application, crediting, or handling otherwise, of payments issued to PHH by Plaintiff;
   4. Clunk’s communications with any third parties concerning fees and charges made to the
      Loan;
   5. Clunk’s communications with Plaintiff concerning the fees and charges made to the
      Loan;
   6. Clunk’s communications with Plaintiff concerning the evaluation of Plaintiff’s loan for
      loss mitigation options or the evaluation of Plaintiff’s loan for loss mitigation options
   7. Clunk’s communications with any third parties concerning the evaluation of Plaintiff’s
      loan for loss mitigation options including, but not limited to PHH and HSBC; and,
   8. Clunk’s policies and procedures to ensure and maintain compliance with the Fair Debt
      Collections Practices Act, 15 U.S.C. § 1692, et seq. (FDCPA).

Taryn Allied, a personal friend of Ms. Ruckman with whom Ms. Ruckman has discussed the
facts and damages of this matter on occasion. Ms. Allied’s contact information is 798 ½ Abri
Lane, Mansfield, OH 44905, (419) 982-0099.

Unknown employee of Park National Bank, formerly Richland Bank, who notarized permanent
modification in December 2020.

Magistrate Andrea Clark of the Richland County Court of Common Pleas, who has knowledge
of the foreclosure filings and representations at issue in this case.


    Interrogatory No. 3.
State the name, address, telephone number and substance of the testimony of each potential fact
witness for the Plaintiff.

Answer:

See Plaintiff’s response to Interrogatory No. 2.


    Interrogatory No. 4.
State the name, address, telephone number and substance of the testimony of each potential
expert witness for the Plaintiff.

Answer:

Plaintiff has not identified any such expert to date. Plaintiff reserves the right to supplement this
response.
   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 182 of 199. PageID #: 641




   Interrogatory No. 5.
Describe, in detail, each exhibit Plaintiff will be relying on at trial.

Answer:

Plaintiff has not yet selected or otherwise identified exhibits to be used at trial as discovery is
still ongoing. Further, see Plaintiff’s document production. Plaintiff reserves the right to
supplement this response.


   Interrogatory No. 6.
Describe, in detail, the factual basis behind Plaintiff’s allegations set forth in her FDCPA claim
against Defendant.

Answer:

Plaintiff objects to this interrogatory as it calls for a legal conclusion or otherwise requires
Plaintiff to reach a legal conclusion in order to prepare a response.

Plaintiff objects to this interrogatory as it seeks information and/or documents that are obtainable
from some other source that is more convenient, less burdensome, or expensive, since PHH
already has possession, custody, control, and/or access to the requested information and/or
documents.

                                                        Signing as to objection:

                                                        /s/ Daniel M. Solar
                                                        Daniel M. Solar (0085632)

Without waiving such objections, see Plaintiff’s Complaint.


   Interrogatory No. 7.
Identify the date, form and subject matter of all communications between Plaintiff and
Defendant, Clunk, Hoose Co., L.P.A.

Answer:

Plaintiff objects to this request because it seeks information that is not reasonably calculated to
lead to the discovery of admissible evidence, is overly broad, unduly burdensome, oppressive,
and not proportional to the needs of the case.

Plaintiff objects to this request because it seeks information and/or documents that are obtainable
from some other source that is more convenient, less burdensome, or expensive, since PHH
already has possession, custody, control, and/or access to the requested information and/or
documents.
   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 183 of 199. PageID #: 642




                                                     Signing as to objection:

                                                     /s/ Daniel M. Solar
                                                     Daniel M. Solar (0085632)

Without waiving such objections, see Plaintiff’s document production.


    Interrogatory No. 8.
Describe, in detail, the factual basis behind Plaintiff’s allegations set forth in her complaint
stating that Defendant’s actions in moving for summary judgment in the Foreclosure Case
constitutes the use of false representations or deceptive means to collect or attempt to collect on
the Loan.

Answer:

Plaintiff objects to this interrogatory as it calls for a legal conclusion or otherwise requires
Plaintiff to reach a legal conclusion in order to prepare a response.

Plaintiff objects to this interrogatory as it seeks information and/or documents that are obtainable
from some other source that is more convenient, less burdensome, or expensive, since PHH
already has possession, custody, control, and/or access to the requested information and/or
documents.

                                                     Signing as to objection:

                                                     /s/ Daniel M. Solar
                                                     Daniel M. Solar (0085632)

Without waiving such objections, see Plaintiff’s Complaint and Plaintiff’s document production.
Further, Plaintiff had executed and accepted the Permanent Modification and had remitted all
payments due thereunder to PHH as of the filing of the motion for summary judgment in the
Foreclosure Case. There was therefore no basis to move for summary judgment as any payments
that PHH or Clunk may claim Plaintiff failed to make were refused or otherwise rejected by
PHH.


    Interrogatory No. 9.
Describe, in detail, the factual basis behind Plaintiff’s allegations set forth in her complaint
stating that Defendant’s actions in moving for summary judgment in the Foreclosure Case
constitutes the use of unfair or unconscionable means to collect or attempt to collect on the Loan.

Answer:

Plaintiff objects to this interrogatory as it calls for a legal conclusion or otherwise requires
   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 184 of 199. PageID #: 643




Plaintiff to reach a legal conclusion in order to prepare a response.

Plaintiff objects to this interrogatory as it seeks information and/or documents that are obtainable
from some other source that is more convenient, less burdensome, or expensive, since PHH
already has possession, custody, control, and/or access to the requested information and/or
documents.

                                                      Signing as to objection:

                                                      /s/ Daniel M. Solar
                                                      Daniel M. Solar (0085632)

Without waiving such objections, see Plaintiff’s Complaint and Plaintiff’s document production.
Further, Plaintiff had executed and accepted the Permanent Modification and had remitted all
payments due thereunder to PHH as of the filing of the motion for summary judgment in the
Foreclosure Case. There was therefore no basis to move for summary judgment as any payments
that PHH or Clunk may claim Plaintiff failed to make were refused or otherwise rejected by
PHH.



    Interrogatory No. 10.
Describe, in detail, the factual basis behind Plaintiff’s allegations set forth in her complaint
stating that Defendant’s actions in moving for summary judgment in the Foreclosure Case
constitutes the use of conduct, the natural consequence of which is to harass, oppress, or abuse
any person in connection with the collection of a debt of unfair or unconscionable means to
collect or attempt to collect on the Loan.

Answer:

Plaintiff objects to this interrogatory as it calls for a legal conclusion or otherwise requires
Plaintiff to reach a legal conclusion in order to prepare a response.

Plaintiff objects to this interrogatory as it seeks information and/or documents that are obtainable
from some other source that is more convenient, less burdensome, or expensive, since PHH
already has possession, custody, control, and/or access to the requested information and/or
documents.

                                                      Signing as to objection:

                                                      /s/ Daniel M. Solar
                                                      Daniel M. Solar (0085632)

Without waiving such objections, see Plaintiff’s Complaint and Plaintiff’s document production.
Further, Plaintiff had executed and accepted the Permanent Modification and had remitted all
   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 185 of 199. PageID #: 644




payments due thereunder to PHH as of the filing of the motion for summary judgment in the
Foreclosure Case. There was therefore no basis to move for summary judgment as any payments
that PHH or Clunk may claim Plaintiff failed to make were refused or otherwise rejected by
PHH.


    Interrogatory No. 11.
Describe, in detail, the factual basis behind Plaintiff’s allegations set forth in her complaint
stating that Defendant made misstatements and misrepresentations regarding the status of her
payments.

Answer:

Plaintiff objects to this interrogatory as it calls for a legal conclusion or otherwise requires
Plaintiff to reach a legal conclusion in order to prepare a response.

Plaintiff objects to this interrogatory as it seeks information and/or documents that are obtainable
from some other source that is more convenient, less burdensome, or expensive, since PHH
already has possession, custody, control, and/or access to the requested information and/or
documents.

                                                     Signing as to objection:

                                                     /s/ Daniel M. Solar
                                                     Daniel M. Solar (0085632)

Without waiving such objections, see Plaintiff’s Complaint.


    Interrogatory No. 12.
Describe, in detail, the factual basis behind Plaintiff’s allegations set forth in her complaint
stating that she has suffered actual damages in association with the Federal and Foreclosure
Cases. A complete response would include a list of the nature and amount of each actual damage
Plaintiff’s alleges she has suffered.

Answer:

Plaintiff objects to this request because it seeks information and/or documents that are obtainable
from some other source that is more convenient, less burdensome, or expensive, since PHH
already has possession, custody, control, and/or access to the requested information and/or
documents.

                                                     Signing as to objection:

                                                     /s/ Daniel M. Solar
                                                     Daniel M. Solar (0085632)
   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 186 of 199. PageID #: 645




Without waiving such objection, see Plaintiff’s document production. See also, Plaintiff’s
response to Interrogatory No. 3. Furthermore, Plaintiff seeks statutory damages for each and
every alleged statutory violation, as well as actual damages resulting from such, and attorneys’
fees and costs in an amount yet to be specifically determined. Plaintiff is still in the process of
itemizing actual damages and will supplement pursuant to Court Order. Damages to date include,
but are not limited to:
    1. Statutory damages from PHH for each violation of the applicable provisions of
        Regulation X of the Real Estate Settlement Procedures Act (RESPA), as claimed in
        Count Two of the Complaint, in the amount of One Thousand Dollars ($1,000.00).
    2. Actual damages in an amount yet to be specifically determined, including, but not limited
        to:
            a. Due to the delay in the implementation of the modification at issue (the
                “Modification”), Plaintiff was caused to incur improper fees and charges imposed
                on the loan at issue (the “Loan”) including late fees as well as other similar such
                fees including other default servicing related fees for which Plaintiff is personally
                obligated or which otherwise negatively impacts any equity in her home to which
                she is entitled;
            b. Loss of time and money for continued defense of the foreclosure action filed in
                the Richland County Court of Common Pleas, Case No. 2020 CV 0169 (the
                “Foreclosure”) which would have been dismissed much sooner but for Clunk’s
                actions in mishandling the loss mitigation processes concerning the Loan and
                otherwise making misrepresentations about the status of Plaintiff’s payments
                remitted under the Loan;
            c. Legal fees, costs, and expenses incurred in defense of the Foreclosure since
                Clunk’s wrongful conduct including the preparation of and filing of motions in
                defense of the motion for summary judgment and in attempts to have the Court
                enforce the Modification—such fees total $21,872.50 and expenses total $179.42;
                and,
            d. Severe emotional distress driven by Clunk’s actions and by the tangible fear that
                Clunk’s and PHH’s refusal to properly handle the loss mitigation process related
                to the Loan will result in the imminent loss of her home to foreclosure sale, which
                has resulted in frustration, loss of sleep, anxiety, depression, embarrassment, and
                other significant emotional distress above and beyond the emotional distress
                caused by the Foreclosure from which she was suffering prior to the conduct
                alleged in this complaint.


    Interrogatory No. 13.
Describe, in detail, the factual basis behind Plaintiff’s allegations set forth in her complaint
stating that she has incurred attorney’s fees and costs in association with the Federal and
Foreclosure Cases. A complete response would include a list of the nature and amount of each
cost and the attorney’s fee that Plaintiff alleges she has incurred.

Answer:
   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 187 of 199. PageID #: 646




See Plaintiff’s document production.

   Interrogatory No. 14.
Describe, in detail, the factual basis behind Plaintiff’s allegations that she has suffered severe
emotional distress as a result of Defendant filing a motion for summary judgment in the
Foreclosure Case.

Answer:

Plaintiff objects to this request because it seeks a narrative better suited for Plaintiff’s testimony
at deposition.

                                                      Signing as to objection:

                                                      /s/ Daniel M. Solar
                                                      Daniel M. Solar (0085632)

Without waiving such objection, see Plaintiff’s document production. Further, Plaintiff provides
the following narrative:

       181 steps or 452 feet is what separated my daughter and I for a period of time
       from September of 2012 to February 2013. Not by choice. 181 steps from my
       back door to the inside of her building to her apartment door. At one point
       seemed so close.

        She was diagnosed 7/2/2012 unexpectedly, out of nowhere when she was 18 with
       one of the rarest forms of Leukemia. While in the hospital for a mandatory stay to
       begin induction treatment for a clinical trial, I had to find her a safe and sterile
       place to live, as it's "her" body producing the cancer. Together we had rescue
       birds. She could not return to our home, due to their dust and bathroom habits. I
       began for the first time having panic attacks. Untreated, officially undiagnosed,
       but I knew, and had to be strong for her and had to keep it hidden the best I could
       from her. Crying and screaming in parking garages were common for cancer
       mom's. Security guards carried lots of Kleenex for us, and would give gestures to
       clean your face when needed before going back in. Knowing she would be
       released in a few weeks, I was scrambling, one morning while standing at my
       kitchen window it dawned on me, cause I was staring at the apartments behind my
       house. I called the owner and she said she would have an apartment in a week or
       2. I rushed to the hospital, the doctors approved the idea, my daughter was thrilled
       to be close to home. I rushed home and called the landlord back, made
       arrangements and then signed the lease. I had to watch my daughter quit her job
       because of Leukemia. Then had to watch her call her college and put her classes
       on hold because of Leukemia. Basically watched her put her life on hold. Now I
       have to watch her shop for her first apartment from a hospital bed on a cancer
Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 188 of 199. PageID #: 647




   floor with a prepaid visa card. Everything from spoons to a couch and everything
   in between. Nothing like I ever pictured for her. I always pictured great things for
   her, as she was a rainbow baby as they call it these days. She was a high risk
   pregnancy. A pregnancy that they didn't think that I would ever conceive. Yet here
   she was.

   Prior to her getting sick she had been staying with my mom briefly as she was a
   typical teenager with the I know everything about life and learned she didn't when
   things didn't go well with the boyfriend. So instead of coming home to I told you
   so, she was at my mom's. When she got sick though, it was me she needed.
   Wanted. Asked for. It was I that was there. She fought hard. I watched her endure
   poisons after poisons. I watched her hair fall out. Come in. Change colors. Then
   repeat. I watched her gain weight. Lose weight and repeat. Be admitted. Blood
   transfusions. Platelet transfusions. Bone marrow testing. Spinal chemo
   procedures. PICC line placement every 4-6 weeks as her body rejected a port
   placement 2x. I watched her go through hell. Inside I'm going through hell. Panic
   attacks along with her, but I'm mom so I have to be stronger. Eventually she got
   discharged and got to come home. 181 steps from me. She came in, cried, loved
   her apartment. Was there 45min, then I had to rush her back to Columbus as her
   PICC line started leaking when I flushed it. Something I would have to do
   everyday for her. She had to be admitted to have it changed and cultured to ensure
   no infection. A few days later she returned home, 181 steps away. Every day I
   could stand at my kitchen window and see her living room window. At night if I
   was up, I could see if she was up, because I could see her living room or bedroom
   light on. I used to text or call and tell her to go to bed. In the evenings, it was
   nothing to just have my backdoor swing open and she would come bouncing in
   with her bald head or wearing one of her silly hats, a face mask on, a disposable
   gown, sometimes a Kroger bag and raid my fridge or cabinets. Sometimes just to
   see the birds for her daily limit of 15 mins if her ANC levels were high enough. If
   her levels were low, the birds would Skype with her and dance. She massively
   decorated for all holidays. That Christmas of 2012 she had snuck over while I was
   at work and took some of the Christmas decorations for her apartment to go with
   her first Christmas tree. As sick as she was she tried to put a few lights up here at
   the house even though I protested. I now wish I took pictures, or helped her put
   them all up, even though this was her thing for years. Her rule was do not touch
   the decorations! But I didn't know this was the last Christmas. The doctors
   seemed confident rarest but easiest to treat. When it snowed, I made sure to
   snowblow and keep those 181steps clear for her to walk. She had ups and downs
   with treatment. Never knew what to expect. One day at a time. Then 2/6/2013 she
   was finally 3 months negative for Leukemia. The fight isn't over, but a huge battle
   won, faced another 2 1/2 yes of treatment. Knew Leukemia could return any day
   as it's her body that produces it. Her life can go back to some normal. She can go
   back to college part time. She will begin the next phase of chemo in a week.
   Planned a celebration party for the weekend. The next day when she didn't answer
Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 189 of 199. PageID #: 648




   her phone most of the day, I went to her apartment and I found her deceased.
   Treatment killed her.

   We may have had a few issues thanks to a boyfriend that quickly turned ex, and
   teenage growing pains. But the last 8 months of her life, we were closer than ever,
   inseparable, that was my best friend. I was eventually diagnosed with PTSD,
   Depression and Anxiety.
   My house was our home. 181 steps briefly separated us. But she knew where
   home always was from 2005 on when we moved back from Michigan. This is
   where she recovered from her first surgery. This is where she had her first
   boyfriend. Parked her first car. Dressed up for every homecoming and prom.
   Planted every flowerbed. Buried every pet. Had yearly Halloween bashes. Fought
   with me every day on cleaning her room. Drove me crazy on insisting there
   needed to be 6 different kinds of shampoo and body washes in the shower at all
   times. Learned how to drive and almost hit the garage and house on several
   occasions. This is where she decorated the house for every holiday and one year
   got into a Christmas light war with a new neighbor and it resulted in her dragging
   out the Halloween lights to add more. The neighbor admitted defeat when she did
   that. So many more memories. This house is all I have left. It's all I have left of
   her, it contains our memories. When she passed, her belongings were moved and
   stored here.

   During the process of the unknowing outcome with the modification. Being Jan
   29th 2021 it was said everything was being finalized to magistrate Clark. Then
   come March a payment was rejected, then having to hire an attorney. Everyday I
   had to pass her flower gardens I have maintained, worried will this spring be the
   last time I see them bloom. Worried who will take the birds who have behaviors
   from being abused. Nobody wanted them. That's why we started taking them to
   begin with. Her little rhubarb patch planted so I would bake her pies. Where do I
   put her stuff I haven't touched since she passed. Plus my stuff. My grandsons
   stuff. This is where his room is now when he comes. How do I explain this to
   him? How will this affect work? How do I afford to move? I've been making my
   payments so I have money to spare. How do we go from it's a done deal to now
   foreclosure status? Part of PTSD, Depression and Anxiety is you isolate and stay
   to yourself. So you keep symptoms low. I don't have anyone to help. All alone. I
   have severe health issues going on. No extra money. Now might lose my house
   that was said in court in January that I've done everything I need to do, but now
   the mortgage company is changing their mind. Mixed with my diagnosis,
   combined with the last connection to my deceased daughter, I was extremely
   mentally, and emotionally overwhelmed from learning the first payment was
   rejected in March until August when my lawyer got the judgment dismissed. If it
   wasn't for the strong connect of the house to my daughter I may have just given
   up the house. But that's why I fought so hard to keep it. There is still an after
   effect of damage. It's not like an instant sigh of relief it's over. With my diagnosis
   it's something that stays and is a process that has to be worked through in my
  Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 190 of 199. PageID #: 649




       brain. As we process safety, relief, comfort and things of this stressful nature
       differently. It takes time, faith and patience. Someday we come to realize the
       damage is done and is now over, we are safe and we can finally heal. I hope my
       time is near.

       Physically, mentally and emotionally overall, I became more isolated. My
       depression became worse. I stopped going to church. Lost my faith in God and
       humanity. I became less attentive with upkeep around my home. Repairs and
       upgrades I no longer had interest in. I didn't attend to the flower beds as normal
       due to the increased depression. My stress level and anxiety was and still is worse.
       The pets/rescues who already had behaviors picked up on it, which caused their
       behaviors to be worse. I no longer was the fake it til you make it provider for my
       clients. Had more of the " hurry up and get my hours in with each client and due
       the bare minimum". We're as before I went out of my way and would eat hours
       and mileage to make sure needs were met. I didn't spend much time with my
       grandson anymore for fear of breaking down in front of him and having to explain
       I was losing my home. My anxiety was now worse. I only would go to places on
       my own where I knew certain staff would be working. I no longer was working as
       much as I could because of my anxiety and depression. My ulcer became worse at
       times when my anxiety and stress levels were high. Then I didn't want to eat. I
       have low blood sugar, so I have to eat, so there were days it hurt to eat. Sleeping
       became almost impossible. I was only sleeping 2-3 hours a night. I started having
       severe headaches from stress and anxiety. I cried a lot. Got angry a lot. Which
       neither is good for anxiety and depression. My medications were changed several
       times with no success. Eventually it has now led to my overall health declining. It
       is true, stress can make you sick. Long term damage this has hurt me financially.
       Has damaged my credit. Which in turn affects my mental and emotional well
       being.


   Interrogatory No. 15.
Describe, in detail, any medical provider’s diagnosis of Plaintiff’s emotional distress, mental
health or any other related diagnosis that was a result of Defendant filing the motion for
summary judgment in the Foreclosure Case.

Answer:

See Plaintiff’s document production. Any medical records not provided therein have been
requested and Plaintiff will supplement such production as applicable.


    Interrogatory No. 16.
Describe, in detail, any medical provider’s diagnosis of Plaintiff’s emotional distress, or any
other related diagnosis, relating to Plaintiff’s emotional and mental health in the five years
leading up to the filing of the Foreclosure Case.
   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 191 of 199. PageID #: 650




Answer:

See Plaintiff’s document production. Any medical records not provided therein have been
requested and Plaintiff will supplement such production as applicable.


    Interrogatory No. 17.
Describe, in detail, the factual basis behind Plaintiff’s allegations that she properly executed the
Permanent Modification and submitted it to PHH in December 2020. A complete response will
state what date she executed the Permanent Modification, what method she used to send the
Permanent Modification to PHH, and what date she sent the Permanent Modification to PHH.

Answer:

Plaintiff had her signature notarized in early December 2020 at a Park National Bank, previously
Richland Bank, branch located at either 460 West Cook Road, Mansfield, OH 44907 or 50
Marion Avenue, Mansfield, OH 44903. Due to COVID-19 protocols, Plaintiff was not able to
enter the interior of the bank branch to meet with the notary face-to-face and had the agreement
notarized through the drive-thru. Plaintiff is unable to identify the notary who notarized the
modification. Plaintiff did not maintain a copy of the executed modification for her records and
sent her only copy to PHH in December 2020 via the United States Postal Service immediately
upon having her signature notarized. Plaintiff made attempts to obtain the identity of the specific
notary, but was informed that each notary working at the bank branches maintains their own
individual notary journals and the bank has been experiencing higher than usual turnover.


   Interrogatory No. 18.
Identify the date that Plaintiff allegedly got the Permanent Modification notarized in December
2020 along with the physical location Plaintiff went to get the Permanent Modification notarized
and the identity of the notary public who notarized the Permanent Modification.

Answer:

See Plaintiff’s response to Interrogatory No. 18.
   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 192 of 199. PageID #: 651




                 II.    REQUEST FOR PRODUCTION OF DOCUMENTS



    Request for Production No. 1.
Produce any and all documents tending to support Plaintiff’s claims for damages, if made,
regardless of how they are asserted against Defendant, Clunk, Hoose Co., L.P.A.

Answer:

See Plaintiff’s document production.


   Request for Production No. 2.
Produce any and all documents that were utilized in any way by Plaintiff to respond to
Defendant's Discovery Requests.

Answer:

The request for all documents upon which Plaintiff “utilized in any way” is overbroad.

Plaintiff objects to this request because it seeks information and/or documents that are obtainable
from some other source that is more convenient, less burdensome, or expensive, since PHH
already has possession, custody, control, and/or access to the requested information and/or
documents.

                                                     Signing as to objection:

                                                     /s/ Daniel M. Solar
                                                     Daniel M. Solar (0085632)

Without waiving such objections, see Plaintiff’s document production.


   Request for Production No. 3.
Produce any and all documents related in any way to the Plaintiff’s responses to Defendant's
Discovery Requests.

Answer:

The request for all documents “related in any way” to Plaintiff’s responses is overbroad.

Plaintiff objects to this request because it seeks information and/or documents that are obtainable
from some other source that is more convenient, less burdensome, or expensive, since PHH
already has possession, custody, control, and/or access to the requested information and/or
documents.
   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 193 of 199. PageID #: 652




                                                      Signing as to objection:

                                                      /s/ Daniel M. Solar
                                                      Daniel M. Solar (0085632)

Without waiving such objections, see Plaintiff’s document production.


   Request for Production No. 4.
Produce any and all written communications, transcripts of communications and notes from oral
communications between Plaintiff and Defendant, Clunk, Hoose Co., L.P.A.

Answer:

Plaintiff objects to this request because it seeks information and/or documents that are obtainable
from some other source that is more convenient, less burdensome, or expensive, since PHH
already has possession, custody, control, and/or access to the requested information and/or
documents.

                                                      Signing as to objection:

                                                      /s/ Daniel M. Solar
                                                      Daniel M. Solar (0085632)

Without waiving such objection, see Plaintiff’s document production.


   Request for Production No. 5.
Produce any and all documents tending to support Plaintiff’s allegations set forth in her
complaint stating that she has suffered actual damages in association with the Federal and
Foreclosure Cases.
Answer:
Plaintiff objects to this request as it is unduly vague as to the meaning of “tending to support”.

                                                      Signing as to objection:

                                                      /s/ Daniel M. Solar
                                                      Daniel M. Solar (0085632)

Without waiving such objection, see Plaintiff’s document production.


   Request for Production No. 6.
Produce any and all documents tending to support Plaintiff’s allegations set forth in her
   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 194 of 199. PageID #: 653




complaint that she has incurred attorney’s fees and costs in association with the Federal and
Foreclosure Cases.
Answer:
Plaintiff objects to this request as it is unduly vague as to the meaning of “tending to support”.

                                                      Signing as to objection:

                                                      /s/ Daniel M. Solar
                                                      Daniel M. Solar (0085632)

Without waiving such objection, see Plaintiff’s document production.


   Request for Production No. 7.
Produce any and all documents tending to support Defendant’s allegations that she has suffered
severe emotional distress as a result of Defendant filing a motion for summary judgment in the
Foreclosure.
Answer:
Plaintiff objects to this request as it is unduly vague as to the meaning of “tending to support”.

                                                      Signing as to objection:

                                                      /s/ Daniel M. Solar
                                                      Daniel M. Solar (0085632)

Without waiving such objection, see Plaintiff’s document production.


   Request for Production No. 8.
Produce any and all medical reports relating to Plaintiff within the past five years.
Answer:
See Plaintiff’s document production. Any medical records not provided therein have been
requested and Plaintiff will supplement such production as applicable.


   Request for Production No. 9.
Produce a copy of the Permanent Modification that Plaintiff allegedly executed in December
2020.
Answer:
Plaintiff objects to this request because it seeks information and/or documents that are obtainable
from some other source that is more convenient, less burdensome, or expensive, since PHH
presumably already has possession, custody, control, and/or access to the requested information
   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 195 of 199. PageID #: 654




and/or documents.

                                                       Signing as to objection:

                                                       /s/ Daniel M. Solar
                                                       Daniel M. Solar (0085632)

Without waiving such objections, see Plaintiff’s response to Interrogatory Nos. 17 and 18.
Plaintiff does not have a copy of this document as she sent the only copy directly to PHH.


   Request for Production No. 10.
Produce a copy of any exhibits Plaintiff will be relying on at trial.
Answer:
Plaintiff has not yet selected or otherwise identified exhibits to be used at trial as discovery is
still ongoing. Further, see Plaintiff’s document production. Plaintiff reserves the right to
supplement this response.
   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 196 of 199. PageID #: 655




                           III.    REQUESTS FOR ADMISSION


  Request for Admission No. 1.
Admit that Plaintiff was in default of the Note and Mortgage when the Foreclosure was filed.

Answer:

Admit.


   Request for Admission No. 2.
Admit that Plaintiff did not execute and/or send to PHH an executed Permanent Modification in
December 2020.

Answer:

Deny. See Plaintiff’s response to Interrogatory Nos. 17 and 18.


  Request for Admission No. 3.
Admit that Plaintiff did not execute and/or send to Defendant an executed Permanent
Modification in December 2020.

Answer:

Plaintiff admits that she did not send an executed Permanent Modification directly to Clunk in
December 2020 as she sent such Permanent Modification directly to PHH, Clunk’s client in the
Foreclosure.


   Request for Admission No. 4.
Admit that Plaintiff did not send payments relating to the Trial Modification or Permanent
Modification through one of the payment methods set forth in the Trial Modification or
Permanent Modification documents.

Answer:

Admit to the extent that the payments were sent through CheckFreePay rather than Western
Union or MoneyGram, but denied to the extent that the funds were not remitted with the
appropriate reference information, codes, and otherwise necessary information listed in the Trial
Modification and Permanent Modification through CheckFreePay so as to effectuate a proper
transfer of funds.
   Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 197 of 199. PageID #: 656




  Request for Admission No. 5.
Admit that Plaintiff sent payments through CheckFreePay and not Western Union.

Answer:

Admit.

   Request for Admission No. 6.
Admit that Plaintiff reviewed the terms of the Permanent Modification with an attorney in
December 2020.

Answer:

Admit.


  Request for Admission No. 7.
Admit that Plaintiff made a counteroffer to the terms contained within the Permanent
Modification in December 2020.

Answer:

Plaintiff objects to this request as it calls for a legal conclusion or otherwise requires Plaintiff to
reach a legal conclusion in order to prepare a response.

                                                       Signing as to objection:

                                                       /s/ Daniel M. Solar
                                                       Daniel M. Solar (0085632)

Subject to and without waiving such objections, admit to the extent that Plaintiff inquired as to
the possibility of obtaining a modification without a balloon payment, but denied to the extent
that any such inquiry constituted a counteroffer that precluded Plaintiff’s acceptance of the
Permanent Modification and denied as to any implication that Plaintiff did not properly accept
the Modification.


  Request for Admission No. 8.
Admit that, in December 2020, Plaintiff stated her intention of re-applying for a loan
modification that did not include a balloon payment.

Answer:

Admit.
Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 198 of 199. PageID #: 657




                                        Respectfully submitted,

                                        /s/ Daniel M. Solar
                                        Daniel M. Solar (0085632)
                                        Marc E. Dann (0039425)
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                                        Counsel for Plaintiff Angela L. Ruckman
  Case: 5:21-cv-00923-BMB Doc #: 41 Filed: 02/25/22 199 of 199. PageID #: 658




                              CERTIFICATE OF SERVICE

       I certify that an exact copy of the foregoing document was sent via electronic mail on

December 10, 2021:

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      Counsel for Defendant Clunk, Hoose Co. LPA


                                                 /s/ Daniel M. Solar
                                                 Daniel M. Solar (0085632)
